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                     UNITED STATES DISTRICT COURT

                          DISTRICT OF NEW JERSEY

 FRANK HALL, Individually and on          )   No. 3:18-cv-01833-FLW-TJB
 Behalf of All Others Similarly Situated, )
                                          )   CLASS ACTION
                          Plaintiff,      )
                                          )   FIRST AMENDED COMPLAINT
       vs.                                    FOR VIOLATIONS OF THE
                                          )
                                          )   FEDERAL SECURITIES LAWS
 JOHNSON & JOHNSON, ALEX
 GORSKY, DOMINIC CARUSO,                  )
 SANDRA PETERSON, CAROL                   )
 GOODRICH, JOAN CASALVIERI,               )
 PH.D., MICHAEL SNEED, and TARA )
 GLASGOW,                                 )
                                          )
                          Defendants. )
                                          )   DEMAND FOR JURY TRIAL




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 I.      INTRODUCTION
         1.   Long marketed as an ethical pillar of American business, Johnson &

 Johnson (“J&J” or the “Company”) has worked tirelessly over the years to build a

 reputation as the “Baby Company.” Inextricably intertwined with this reputation is

 Johnson’s Baby Powder, “one of the most familiar and trusted products in the world,”

 according to J&J. Considered by J&J to be a “‘sacred cow,’” a “‘flagship product’,”

 an “institution,” and “a primary link to the positive J&J name in the public mind,”

 Johnson’s Baby Powder symbolizes J&J’s legacy of being a “lifelong friend of the

 family” and has long been associated with purity and cleanliness. But hidden from the

 public (and investors) was the reality that Johnson’s Baby Powder was contaminated

 with cancer-causing asbestos – a fact that J&J concealed through a highly-organized,

 decades-long campaign of deceit.1

         2.   Prior to and during the period from February 22, 2013 through December

 13, 2018 (the “Class Period”), defendants engaged in a scheme to defraud investors

 and issued false and misleading statements in order to conceal the truth regarding the

 Company’s talc and Baby Powder. Specifically, defendants intentionally concealed

 that: (i) J&J’s talc and talcum powder products were contaminated with asbestos, as

 J&J had been repeatedly informed; (ii) J&J had attempted to find ways to remove


 1
    The U.S. federal government has made clear that there is no safe level of asbestos
 exposure. Even trace amounts are considered dangerous.


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 asbestos minerals from its talc; (iii) J&J purposely avoided the use of testing methods

 that could detect the asbestos present in the Company’s talc, and (iv) J&J had

 influenced and manipulated regulators and scientists in order to protect the

 Company’s flagship product and reputation.

         3.   During the Class Period, the Company was facing product liability

 litigation over its Baby Powder and the product’s alleged association with ovarian

 cancer. As defendants knew, Johnson’s Baby Powder was crucial to “the positive J&J

 name in the public mind” and critical to J&J’s reputation as a trustworthy company.

 With the Company’s flagship product and very identity at stake, defendants made

 material misstatements and omissions regarding the Company’s talc and talcum

 powder products, its true litigation and reputational exposure, and its management and

 decision-making processes.

         4.   During the Class Period, defendants repeatedly claimed that J&J’s talc

 products had “a long history of safe use” and promised that the products are, and

 always had been, free of asbestos. But while defendants claimed that the Company’s

 cosmetic powder products have been safe “[f]or over 100 years,” and that “regular

 testing conducted since the 1970s” had confirmed the absence of asbestos, defendants

 knew that J&J’s talc and talcum powders had long been contaminated with asbestos.

 In fact, from at least 1971 to the 2000s, the Company’s raw talc and finished powders

 repeatedly tested positive for asbestos, and Company executives, mine managers,


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 scientists, doctors and lawyers discussed the asbestos contamination, but failed to

 disclose it to regulators or the public.

         5.   Defendants also concealed what they recognized internally, that talc had

 not been used safely for over 100 years, that some scientific sources “could be

 interpreted as suggesting a causal effect” between ovarian cancer and talc, and that

 “[e]ven some of the studies [J&J] cite[d] send mixed messages.” And while

 defendants assured investors that J&J’s “talc products are, and always have been, free

 of asbestos,” internally J&J admitted that “we cannot say ‘always.’”

         6.   Defendants’ assurances regarding the Company’s asbestos testing were

 also false and misleading, as J&J’s asbestos testing “since the 1970s” had not

 “confirmed” that the talc or powders were “asbestos free.” While defendants

 represented during the Class Period that J&J used “a sophisticated battery of tests

 designed to ensure . . . safety,” the truth was that J&J intentionally avoided

 sophisticated “concentration techniques” for testing, which J&J knew were necessary

 for finding asbestos in talc. In fact, J&J’s own consultant had informed the Company

 that “larger amounts of sample” must be tested to find asbestos, and that

 “preconcentrat[ing] the impurities prior to examination” “was considered essential to

 the success of any suggested procedure.” But because J&J knew that a concentration

 method would show asbestos in the Company’s talc, J&J determined that the method

 “may be too sensitive,” leading the Company to “avoid promotion of this approach,”


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 as J&J “really want[ed] to exclude concentration techniques.” Indeed, when the U.S.

 Food and Drug Administration (“FDA”) later requested proposals for

 “‘sophisticated’” testing techniques that would lead to “concentration procedures,”

 J&J found it to be “‘disturbing,’” as the techniques would make “many talcs on all

 markets . . . hard pressed in supporting purity claims.”

         7.   Throughout the Class Period, defendants also misrepresented the

 Company’s internal policies and concealed J&J’s long history of infiltrating and

 undermining regulatory processes. According to defendants, J&J “has always taken

 questions about the safety” of Johnson’s Baby Powder “extremely seriously,”

 particularly because it is a product “that families have trusted for generations.” In

 truth, J&J had lied to the FDA about its talc and undermined the activities of certain

 public health officials and doctors it branded as “‘Antagonistic Personalities.’”

         8.   Rather than being “guided by the medical facts and science when it

 comes to [its] products,” or “always put[ting] . . . safety first in everything that [it

 does],” J&J has long been driven by the objective of protecting the (false) image of

 safety of Johnson’s Baby Powder. Indeed, J&J strove “to neutralize [and] hold in

 check data . . . generated by investigators who question the safety of talc.” And while

 a December 1977 – January 1978 report illustrates J&J’s knowledge that both its Baby

 Powder and talc contained asbestos, that same report also shows that the Company

 had set out “[t]o monitor and defend against consumerist, scientific and regulatory


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 attitudes/trends which could impact adversely on the safety image and marketability

 of cosmetic talcs.” Even while J&J knew that its talc and Baby Powder contained

 unsafe asbestos, it had nonetheless set forth on a mission “[t]o generate or provide . . .

 data to support and reinforce the safety of our baby powder.”

         9.    In September 2017, the Company faced its first trial alleging the presence

 of asbestos in Johnson’s Baby Powder, brought by a plaintiff-consumer with

 mesothelioma. On September 21, 2017, Bloomberg reported on documents from the

 1970s that had been unsealed in the talc litigation, reporting that “J&J was alerted to

 [the] risk of asbestos in talc in [the] ‘70s.” At the same time, however, the article

 reported that J&J documents showed “tests of its talc stretching back to at least 1972

 found no trace of asbestos,” and reiterated defendants’ promise that J&J’s “talc

 products are, and always have been, free of asbestos.” The Bloomberg article also

 quoted defendants as claiming that “‘ [h]istorical testing of samples by the FDA’” as

 well as “‘numerous independent’” laboratories and scientists “‘have all confirmed the

 absence of asbestos in our talc products.’” Defendants’ vigorous denials in the

 Bloomberg article (and throughout the Class Period) prevented investors from learning

 the truth and maintained inflation in J&J’s stock price. But through a series of partial

 disclosures the relevant truth would leak out and cause the stock price to decline.

         10.   For example, on February 5, 2018, investors were informed that “experts

 [were] anticipating the release of numerous damaging internal company documents”


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 from J&J relating to asbestos in its Baby Powder. The Company’s stock declined

 over 5% in response, and numerous financial analysts and commentators attributed the

 decline to the news. But defendants continued to defend J&J’s talc products, falsely

 reassuring consumers and investors once again that the products “are, and always have

 been, free of asbestos” and that this was shown by “‘decades of monitoring, testing

 and regulation dating back to the 1970s.’”

         11.   Then, on July 12, 2018, investors were stunned when a jury awarded a

 $4.69 billion verdict to 22 plaintiffs alleging that asbestos in J&J’s products caused

 their ovarian cancer. As numerous news outlets reported, J&J’s stock price dropped

 in response to the verdict. In order to continue their fraudulent scheme, and stem the

 decline in J&J’s stock price, defendants claimed that the verdict “was the product of a

 fundamentally unfair process” in which “the evidence in the case was simply

 overwhelmed by the prejudice” J&J purportedly suffered.

         12.   Finally, on December 14, 2018, Reuters published a bombshell report

 entitled “Powder Keg: Johnson & Johnson knew for decades that asbestos lurked in

 its Baby Powder” (the “Reuters report”).         The Reuters report disclosed new

 information and new analysis, including internal J&J documents “reported to the

 public for the first time.” In addition to revealing J&J’s knowledge of asbestos

 contamination, Reuters disclosed J&J’s “successful efforts to influence U.S.

 regulators’ plans to limit asbestos in cosmetic talc products and scientific research on


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 the health effects of talc.” The report also detailed how J&J had purposely avoided

 concentration techniques and how J&J knew that such methods could find asbestos in

 its talc products. In response to the Reuters report, J&J’s stock plunged 10%, wiping

 away nearly $40 billion in market value in a single day.

         13.   In response to the Reuters report’s revelations, the U.S. government has

 taken action. For example, on December 14, 2018, U.S. Senator Ed Markey requested

 that the FDA “immediately investigate these allegations and determine whether

 Johnson & Johnson’s actions have placed at risk the public’s health and safety.” On

 January 28, 2019, U.S. Senator Patty Murray sent J&J a letter requesting documents

 related to the “alleged decades-long effort by Johnson & Johnson to potentially

 mislead regulators and consumers about the safety” of Johnson’s Baby Powder. And,

 on February 20, 2019, J&J disclosed that it had received “preliminary inquiries and

 subpoenas” from the U.S. Department of Justice (“DOJ”) and the U.S. Securities and

 Exchange Commission (“SEC”) to produce documents regarding this securities class

 action lawsuit and the safety of its talc-containing products.

         14.   As a result of defendants’ conduct alleged herein, J&J’s stock traded at

 artificially inflated prices during the Class Period. The truth concealed by defendants’

 scheme has slowly leaked out and caused economic damages to investors.




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 II.     JURISDICTION AND VENUE
         15.   The claims asserted herein arise under and pursuant to §§10(b) and 20(a)

 of the Securities Exchange Act of 1934 (the “1934 Act”) (15 U.S.C. §§78j(b) and

 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17 C.F.R. §240.10b-5).

         16.   This Court has jurisdiction over the subject matter of this action pursuant

 to 28 U.S.C. §1331 and §27 of the 1934 Act.

         17.   Venue is proper in this District pursuant to §27 of the 1934 Act and 28

 U.S.C. §1391(b). Many of the acts charged herein, including the preparation and

 dissemination of materially false and misleading information, occurred in substantial

 part in this District.

         18.   In connection with the acts alleged in this complaint, defendants, directly

 or indirectly, used the means and instrumentalities of interstate commerce, including,

 but not limited to, the mails, interstate telephone communications and the facilities of

 the New York Stock Exchange (“NYSE”), the world’s largest stock exchange by

 market capitalization.

 III.    PARTIES
         19.   Lead Plaintiff San Diego County Employees Retirement Association

 (“SDCERA” or “plaintiff”) purchased J&J common stock during the Class Period and

 was damaged by the conduct alleged herein. See Ex. 1. SDCERA, which operates

 under the direction and governance of an independent Board of Retirement,



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 administers retirement and associated benefits for more than 43,000 active, deferred,

 and retired members on behalf of the County of San Diego and other participating

 employers.

         20.   Defendant Johnson & Johnson develops, manufactures, and sells health

 care products. According to J&J’s filings with the SEC, its “primary focus is products

 related to human health and well-being.”          It has three business segments:

 Pharmaceutical (including its Janssen Pharmaceutica subsidiaries), Medical Devices,

 and Consumer (including Johnson’s Baby Care products).            J&J maintains its

 headquarters at One Johnson and Johnson Plaza, New Brunswick, New Jersey 08933.

 The Company’s stock trades on the NYSE under the ticker symbol “JNJ.”

         21.   Defendant Alex Gorsky (“Gorsky”) is, and throughout the Class Period

 was, the Chairman of the Board and Chief Executive Officer (“CEO”) of J&J. He has

 served as CEO since April 26, 2012 and Chairman since December 28, 2012. Gorsky

 began his career at J&J in 1988, served as Vice President (“VP”) of Marketing at

 J&J’s Janssen Pharmaceutica (“Janssen”) unit from 1998 to 2001, and then as

 President of Janssen from 2001 to 2003.        Gorsky left J&J for Novartis, Inc.

 (“Novartis”) in 2004, but returned to J&J in 2008, serving in various leadership

 positions prior to being selected as CEO.

         22.   Defendant Dominic Caruso (“Caruso”) was Chief Financial Officer

 (“CFO”) of J&J through much of the Class Period. He became CFO in 2007, and


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 served as Executive VP since April 2016. On March 20, 2018, J&J announced

 Caruso’s decision to retire in September 2018, ending his 19 year-career at J&J.

         23.   Defendant Sandra (“Sandi”) Peterson (“Peterson”) was Group Worldwide

 Chair at J&J from 2012 to October 2018. Known as a corporate “fixer,” Peterson was

 brought in to fix the quality and supply chain issues that J&J had faced leading up to

 the Class Period. Peterson was the first outsider to ever join the Company’s Executive

 Committee.

         24.   Defendant Carol Goodrich (“Goodrich”) is, and throughout the Class

 Period was, the Director of Corporate Media Relations at J&J. Goodrich worked on

 the corporate webpage regarding talc on J&J’s “Our Safety & Care Commitment”

 website in 2013 and made public statements on behalf of J&J from 2016 through

 2018.

         25.   Defendant Joan Casalvieri, Ph.D. (“Casalvieri”) was Director of

 Toxicology and Skincare, at J&J Consumer Inc. (“JJCI”). J&J’s extensive efforts to

 defend talc from scientific and regulatory scrutiny in 2005 were conducted under her

 direction, and led to the National Toxicology Program (“NTP”) withdrawing talc from

 consideration as a possible carcinogen. Casalvieri was featured and quoted on J&J’s

 website in 2015.




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         26.   Defendant Michael Sneed (“Sneed”) has been J&J’s Executive VP of

 Global Corporate Affairs & Chief Communication Officer since 2012. He is also a

 member of J&J’s Executive Committee. Sneed has worked at J&J since 1983.

         27.   Defendant Tara Glasgow (“Glasgow”) was VP of Research and

 Development (“R&D”) for the Baby franchise at J&J’s consumer division. She first

 joined J&J in 1994. Glasgow made public statements on behalf of J&J from 2015

 through 2017.2

 IV.     RELEVANT NON-PARTIES

         28.   William (“Bill”) Ashton (“Ashton”) was a long-time employee of J&J

 who was deeply involved in many of the Company’s activities surrounding talc and

 Johnson’s Baby Powder. He was present at the Company from at least 1969 into the

 2000s.

         29.   Sarah L. Colamarino (“Colamarino”) first joined J&J in 1989 and is

 currently the Company’s VP of Corporate Equity & Partnerships. She was VP of

 Corporate Communication from 2008 to July 2011, which included working on

 communications to shareholders. In 2004, Colamarino learned that Johnson’s Baby

 Powder tested positive for asbestos.




 2
   The defendants identified in ¶¶21-27 are referred to herein as the “Individual
 Defendants.”


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         30.   The Center for Regulatory Effectiveness (“CRE”) is an industry-funded

 lobbying organization. According to J&J’s long-time talc supplier, the CRE “assists

 mainly corporations with advice and intervention in federal regulatory issues that

 threaten their business,” with a staff that “is comprised mainly of former federal

 government officials and lawyers who understand and intervene in the regulatory

 system.” The CRE was pivotal in J&J and its talc supplier’s efforts to influence and

 manipulate the NTP.

         31.   The Cosmetic, Toiletry, & Fragrance Association (“CTFA”) (now known

 as the Personal Care Products Council) is a national trade association representing the

 interests of the cosmetic and toiletry industry. The CTFA has long served as a buffer

 for J&J’s talc-related activities.

         32.   The Food and Drug Administration (“FDA”) is a federal agency within

 the U.S. Department of Health and Human Services (“HHS”). According to the

 federal government’s website, USA.gov, the FDA “is responsible for protecting the

 public health by assuring the safety, efficacy, and security” of various products,

 including food, drugs, and cosmetics.

         33.   Dr. John Hopkins (“Hopkins”) is a toxicologist who worked for J&J from

 1976 to 2000. He joined the Medical Department of J&J in 1976, eventually

 becoming the Head of the Department. In or around 1990, Hopkins became J&J’s




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 R&D Director in the United Kingdom.              Most recently, he has served as the

 Company’s corporate representative in trials related to J&J’s talcum powders.

         34.   Imerys Talc America, Inc. (“Imerys”) is the current supplier of talc to

 J&J. It was previously known as Luzenac America (“Luzenac”) and owned by Rio

 Tinto Minerals (“Rio Tinto”).

         35.   The International Agency for Research on Cancer (“IARC”) is an agency

 of the World Health Organization (“WHO”). It reviewed talc as a possible carcinogen

 and concluded in 2006 that “perineal use of talc-based body powder is possibly

 carcinogenic to humans.” Prior to that decision, J&J attempted to get its own

 representatives involved in the IARC review process but failed to do so. As J&J

 recognized internally, “[i]t is VERY difficult to have any impact on the IARC.”

         36.   Dr. Steve Mann (“Mann”) was Director of Toxicology at J&J Consumer

 & Personal Products Worldwide in the early 2000s. Mann was very involved in the

 Company’s talc-related activities under the direction of defendant Casalvieri,

 especially with regards to the IARC and the NTP. In 2004, he was notified that an

 independent laboratory had found asbestos in Johnson’s Baby Powder.

         37.   The National Toxicology Program (“NTP”) is an interagency program of

 HHS headquartered at the National Institute of Environmental Health Sciences

 (“NIEHS”), and supported by NIEHS, the FDA’s National Center for Toxicological

 Research, and the National Institute for Occupational Safety and Health (“NIOSH”) of


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 the Centers for Disease Control and Prevention. The NTP is responsible for preparing

 the Report on Carcinogens (“RoC”), a document that lists substances “either known or

 reasonably anticipated to be human carcinogens.” The RoC is published every two

 years after the NTP’s review process.

         38.   Dr. Susan Nicholson (“Nicholson”) has been an employee at J&J since

 2006. From March 2015 to May 2018, she was VP of Safety Surveillance and Risk

 Management at the Office of Consumer Medical Safety at J&J. During that time, she

 spent months reviewing the safety of talc, including reviewing hundreds of papers on

 talc and ovarian cancer.

         39.   Lorena Telofski (“Telofski”) is a long-time employee of J&J, beginning

 in 1979. As of 2017, Telofski was Associate Director of R&D at JJCI, with a focus on

 Johnson’s Baby products.

         40.   Dr. Joanne Waldstreicher (“Waldstreicher”) is Chief Medical Officer

 (“CMO”) at J&J.       She became CMO in the period of late 2012/early 2013.

 Waldstreicher met with Nicholson in November 2015 to do a review of the issues

 surrounding talc, including potential asbestos contamination.

         41.   Windsor Minerals was J&J’s subsidiary mining operation in Windsor,

 Vermont until it was sold in 1989 to Cyprus Minerals (“Cypress”).




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 V.      COMPREHENSIVE STATEMENT OF THE CASE

         A.    Background
         42.   Johnson & Johnson is a healthcare conglomerate with three core

 businesses: Pharmaceutical, Medical Devices, and Consumer. Incorporated in 1887,

 J&J has grown exponentially over the years and considers itself to be “the world’s

 largest and most broadly based healthcare company.” Publicly, J&J has credited its

 longevity and success to the Company’s “Credo.” First written over 75 years ago,

 shortly before J&J became a publicly traded company, “Our Credo” delineates J&J’s

 responsibilities to medical professionals, patients, and parents, as well as to its

 employees, communities, and shareholders. Engraved in an eight-foot sandstone slab

 weighing some 30,000 pounds that is proudly displayed in the lobby of J&J’s

 corporate headquarters, “Our Credo” is “ubiquitous” within J&J offices, appearing on

 desktops, bookshelves, walls, and hallways. It states in part that J&J’s “first

 responsibility is to the doctors, nurses and patients, to mothers and fathers and all

 others who use our products and services. In meeting their needs everything we do

 must be of high quality.”

         43.   Along with the Company’s “Credo,” Johnson’s Baby Powder stands out

 as a symbol of J&J’s history and legacy. Recognized by J&J as a “‘flagship product’”

 and “‘sacred cow’” amongst the Company’s other offerings, Johnson’s Baby Powder

 is easily among “the top one or two products that people think of when they think of



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 J&J.” Not only does each bottle prominently display the Company’s name, but

 according to J&J’s own internal documents, the fragrance of Johnson’s Baby Powder

 is “the most widely recognized fragrance in the United States.”3

         44.   The storied past of Johnson’s Baby Powder helps to further explain why

 J&J has considered the product to be its “‘sacred cow.’”4 “[T]he Company’s baby

 products business was born” when Johnson’s Baby Powder “made its debut in 1893,

 [and] went on the market in 1894.” A 2007 J&J blog post explains:

         Johnson’s Baby Powder was a success, and the Company began
         expanding its line of baby products to include creams, soaps, and more.
         Over time, Johnson’s Baby Powder, with its instantly recognizable scent,
         became one of the most familiar and trusted products in the world.

         45.   After World War I, J&J conducted “the largest ad campaign in its

 history” in order to promote the Company’s Baby Powder, which then became

 “trusted” by parents and associated “with the parent-infant bond”:




 3
     In an August 15, 2017 deposition, J&J corporate representative Hopkins admitted
 that Johnson’s Baby Powder was a flagship product and that “the baby powder is
 easily the top one or two products that people think of when they think of J&J.” He
 also admitted that “[i]n so far as Johnson’s Baby Powder was a sacred cow, an
 institution, a franchise, a flagship, a cornerstone of Johnson & Johnson’s business, it
 would be very, very bad for business if it ever came out that the baby powder or any
 of Johnson & Johnson’s talc products ever contained asbestos.”
 4
    Merriam-Webster defines “sacred cow” as “one that is often unreasonably immune
 from criticism or opposition.” Similarly, Dictionary.com defines “sacred cow” as “an
 individual, organization, institution, etc., considered to be exempt from criticism or
 questioning.”


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         With the rapid growth of advertising in the Nineteen-teens after World
         War I, Johnson & Johnson advertised Baby Powder with the largest ad
         campaign in its history, with the result that the powder – and the
         Company’s other baby products – really took off and became trusted
         components of the way families across the world cared for their
         children. The products, by their very use, promoted close interaction
         between parents and their babies, and became associated in people’s
         minds with the parent-infant bond.

         46.   As a result, J&J has long been known as “the Baby Company,” even as it

 has acquired other brands and products:

         Generations of families have used these products to care for their
         children, and consumer identification with them has been so strong that,
         despite the depth and breadth of its product lines, the Company has
         enjoyed a longstanding reputation as “the Baby Company.”

 And as an internal memorandum from 1966 emphasized, “Baby Powder represents the

 cornerstone of [the Company’s] baby products franchise.”

         47.   J&J has worked hard over the years to preserve the wholesome image of

 its flagship product. At least as far back as the 1970s, the Company told doctors and

 nurses how J&J’s Baby Powder was an “institution,” passed down in daily rituals

 from parent to child:

               JOHNSON’S Baby Powder is an institution. For many years it
         has been a familiar sight in millions of homes, used by millions of
         parents in caring for young children. Its sweet-smelling fragrance has
         become associated with freshness, comfort, and cleanliness.

         48.   Exploiting these memories and associations, J&J has historically urged

 people of all ages to “[t]hink of us as a lifetime friend of the family” and to continue

 to use Johnson’s baby products after childhood – promising that “[a]ll those good


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 comfortable feelings you felt when you were young stay with you as an adult.” Even

 today, J&J regularly reminds the public of the legacy and supposed benefits of

 Johnson’s Baby Powder. For example, on a 2016 webpage entitled “The Facts on

 talcum powder safety,” J&J boasted:

                If you’ve ever cared for a baby, you’ve probably had
         JOHNSON’S Baby Powder in your home. Baby powder made from
         cosmetic talc is one of the JOHNSON’S brand’s oldest products and a
         longtime part of baby care rituals. It is hypoallergenic, helps eliminate
         friction and is clinically proven to be gentle and mild for your baby’s
         skin. The clean, classic scent is comforting and familiar for parents
         and children alike.

         49.   Despite all of the Company-promoted associations with sentimental

 rituals and memories, Johnson’s Baby Powder is essentially just ground up minerals

 with a bit of “fragrance.” The principle ingredient of the Company’s Baby Powder

 and talcum powder products is talc, a naturally occurring mineral that is first mined

 and then ground into powder form.5

         50.   Talc can be naturally contaminated with asbestos, as the two can develop

 together within the same ore bodies. Asbestos is the commercial term used to

 5
    Johnson & Johnson has sold two principal talcum powder products over the years:
 Johnson’s Baby Powder and Shower to Shower. Valeant Pharmaceuticals
 International Inc. bought Shower to Shower from J&J in 2012.

    From the mid-1960s until 1989, J&J’s talc was largely supplied by its own
 subsidiary, Windsor Minerals, and came from its Vermont mining operation. As a
 1966 J&J memorandum illustrates, J&J historically had “a large investment in a talc
 mine.” Currently, Johnson’s Baby Powder sold in the U.S. contains talc that is
 imported from mines in China and supplied by Imerys.


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 describe minerals developing naturally as bundles of long, thin fibers that are flexible

 and easily separable, rather than as solid rock. These “asbestiform” minerals include

 chrysotile, tremolite asbestos, actinolite asbestos, anthophyllite asbestos, amosite, and

 crocidolite. Asbestos fibers can cause fatal cancers and wreak absolute havoc on

 human tissue, even when present in such small quantities that they are invisible

 without sophisticated detection methods and equipment. The U.S. federal government

 has made clear that there is no known safe level of exposure to asbestos. Even trace

 amounts are considered dangerous.6

         B.    The Early Years – Amidst Health Concerns Regarding
               Asbestos and Talc, J&J Begins Its Decades-Long Scheme to
               Conceal the Truth
         51.   Concerns about asbestos and its potential effects on human health grew

 during the 1960s, and as a result of this heightened awareness, questions about the

 safety of talc-based products and their potential asbestos contamination began to be

 raised in earnest in the early 1970s. Despite being repeatedly informed of the

 presence of asbestos in the Company’s talc and talcum powder, J&J lied to the public,

 6
    Tremolite, actinolite, and anthophyllite minerals can also develop naturally as
 larger rocks, i.e., “non-asbestiform.” Importantly, however, these rock formations can
 be broken down by industrial processes such as grinding, leading to “cleavage
 fragments.” These fragments can have substantially similar characteristics as
 naturally occurring asbestos, with the potential to pose the same health risks as
 “asbestiform” minerals. In addition, according to Richard Zazenski (“Zazenski”),
 long-time employee of J&J’s talc supplier, “if a deposit contains ‘non-asbestiform’
 tremolite, there is also asbestiform tremolite naturally present as well.” In other
 words, where there is tremolite there is asbestos present.


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 influenced regulators, and purposely avoided testing methods that could detect the

 trace amounts of asbestos that the Company knew were present.

               1.     J&J Recognizes Internally that Its Talc Is
                      Contaminated and that It Could Lead to a Public
                      “Furor” and Litigation
         52.   By 1969, J&J had already recognized that asbestos contamination posed a

 direct threat to the Company’s iconic brand and raised the specter of litigation

 exposure. In a 1969 memorandum, Dr. T.M. Thompson (“Thompson”) of J&J noted

 the general concerns that had previously been raised about the safety of Johnson’s

 Baby Powder, including by Robert Wood “General” Johnson II (“General Johnson”),

 son of J&J co-founder Robert Wood Johnson.7 Thompson indicated that General

 Johnson and numerous pediatricians had “express[ed] concern” about potential

 “adverse effects on the lungs of babies or mothers.” Thompson then went on to admit

 that J&J’s talc contained “unavoidable trace amounts” of tremolite, and that these

 structures could penetrate deep inside the lungs:

         [W]e have occasionally received inquiries from various individuals,
         including General Johnson and several pediatricians, expressing concern
         over the possibility of the adverse effects on the lungs of babies or
         mothers who might inhale any substantial amounts of our talc
         formulations. In the past, we have replied to the effect that since our talc
         is essentially all of the platelet-type of crystalline structure, and is of a
         size which would not be likely to enter the pulmonary alveoli, we would

 7
    General Johnson, who served as chairman of the Company from 1932-1963, has
 been credited with turning J&J into the largest health-care company in the world. He
 also wrote J&J’s celebrated Credo.


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         not regard the usage of our powders as presenting any hazard.
         Obviously, if we do include Tremolite in more than unavoidable trace
         amounts, this sort of negation of such inquiries could no longer pertain.

         53.   Thompson also acknowledged to other Company personnel, including

 Ashton, that “if it became known that [its] talc formulations contained any significant

 amount of Tremolite,” J&J could face “such a furor” that it could be “more or less

 compelled to remove [tremolite] from the formulation”:

         Some years ago, we were faced with a more or less serious problem
         resulting from what we consider to have been an unjust accusation of
         danger due to the presence of a small amount of boric acid in our talc.
         This created such a furor that we were more or less compelled to
         remove boric acid from the formulation. It is conceivable that a similar
         situation might eventually arise if it became known that our talc
         formulations contained any significant amount of Tremolite.

 Thompson further warned that the Company could face litigation over tremolite in its

 talc, and he suggested that the Company’s law department be involved:

         Since the usage of these products is so widespread, and the existence of
         pulmonary disease is increasing, it is not inconceivable that we could
         become involved in litigation in which pulmonary fibrosis or other
         changes might be rightfully or wrongfully attributed to inhalation of our
         powder formulations. It might be that someone in the Law Department
         should be consulted with regard to the defensibility of our position in
         the event that such a situation could ever arise.

               2.     J&J Tells the Public that the Company’s Baby
                      Powder Contains No Asbestos, but Numerous
                      Internal Documents and J&J’s Own Efforts to
                      Remove the Asbestos Show Otherwise
         54.   In June 1971, J&J attempted to put concerns about its talc to rest by

 issuing a statement to the New York Daily News and New York Post:


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                Johnson & Johnson takes great care to assure the purity of its
         products, even to the extent of mining and processing our own talc for
         use in baby powder. Our fifty years of research knowledge in this area
         indicates that there is no asbestos contained in the powder
         manufactured by Johnson & Johnson.

         55.   Contrary to J&J’s public assurance, however, the Company already knew

 that its talc contained asbestos. Indeed, a little over a month after J&J’s June 1971

 press release assuring based on “fifty years of research knowledge” that the powder

 contained “no asbestos,” a July 1971 memorandum by J&J’s Wilson Nashed noted

 that “[t]he talc used in JOHNSON’S Baby Powder” came from a Vermont mine

 containing “trace amounts of fibrous minerals (tremolite/actinolite).” While the talc

 went through a “washing process,” “three independent consulting laboratories”

 showed that the resulting talc still had “traces of fibrous minerals”:

                The talc used in JOHNSON’S Baby Powder is obtained from a
         selected mine in Vermont where the ore consists mainly of platy talc
         with only trace amounts of fibrous minerals (tremolite/actinolite). It is
         free of chrysotile fibers which may be called “pure asbestos” by the
         layman.

                The ore undergoes a careful purifying process which includes a
         36-step washing process to maximize its content of high lubricity platy
         talc and to remove or substantially reduce any traces of fibrous minerals
         which may be present in the unrefined ore. The resulting talc has been
         shown by three independent consulting laboratories[] to contain
         negligible traces of fibrous minerals and no chrysotile fibers.

         56.   Then, in 1972, University of Minnesota professor Thomas E. Hutchinson

 (“Professor Hutchinson”) tested talcum powder samples received from J&J and an

 outside laboratory, and he found chrysotile in a Shower to Shower sample – or what


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 he described as “incontrovertible asbestos” in a lab note. While J&J submitted testing

 results to the FDA and claimed that they “clearly show[ed]” “no chrysotile asbestos,”

 J&J withheld the findings of Professor Hutchinson.

         57.   In August 1972, J&J was informed by Dr. Weissler, Director of the

 Division of Cosmetics at the FDA, that a sample of J&J’s Shower to Shower talcum

 powder product had been sent to Sperry Rand, an outside laboratory facility, and that

 the report “was that asbestos fibers could be detected.” J&J attempted to discredit the

 results, asking Dr. Weissler about the facility’s experience and potential for lab

 contamination, but internally admitted the potential presence of tremolite fibers in its

 products:

         The report from Sperry Rand was that asbestos fibers could be detected
         in the sample. Dr. Weissler said that he has in front of him photographs
         of 6 fields at 12,000X magnification showing fibers with length to width
         ratios of 10-to-1 to 50-to-1 . . . .

               I asked Dr. Weissler if the Sperry Rand facility handles minerals.
         He said yes, they do a lot of work with chrysotile. I asked him, “Have
         they reported to you the normal background contamination in their
         samples. As you recall, this was the problem in Mt. Sinai’s
         laboratories.” He said no; however, he feels that the man who did the
         work is conservative and would not have reported chrysotile unless he
         was sure. I asked him if he has assured himself that the fibers were not
         tremolite which could be present in trace amounts. He said the fibers
         are characteristic of chrysotile and not tremolite.

         58.   Other internal documents from the 1970s also demonstrate J&J’s

 awareness of its asbestos contamination problem. For example, a February 1973

 Company memorandum illustrates that J&J consultant Fred Pooley was working on a


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 process to remove tremolite from talc, which Tom Shelley (“Shelley”), Director of

 J&J’s Central Research Laboratories, considered to be potentially a “valuable patent”

 for J&J. But after a little over a month of contemplation, Shelley determined that it

 could be in J&J’s best interest to “keep the whole thing confidential” rather than “let

 the whole world know” that J&J was trying to remove asbestos from its talc:

         [W]e will want to carefully consider the Pooley patents re asbestos in
         talc. It’s quite possible that we may wish to keep the whole thing
         confidential rather than allow it to be published in patent form and thus
         let the whole world know.

         59.   Then, in August 1973, J&J was informed that the Dutch Consumer

 Organization had found asbestos in Johnson’s Baby Powder.               J&J asked the

 organization to not make its findings public. A December 13, 1973 letter from J&J’s

 operation in the Netherlands, with “asbestos in baby powder” as the subject, stated:

               During the month August the Dutch Consumer Organization has
         informed us that they have determined asbestos in JOHNSON’s Baby
         Powder.

               According to their first test the content was 1.59%.

                On our request they have tested another sample and the result of
         this second test was 0.3%.

               During the period August/November we have had continuous
         contacts with them and we have supplied them with all the data and
         comments we received from Johnson & Johnson U.S.A. and Johnson &
         Johnson U.K.

               We also asked them clearly not to make any publications about
         asbestos in baby powder, before we agreed with their findings.




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                 Because they did not accept our arguments against their method
         of testing we have proposed a discussion between our experts and theirs.

                We have tried this several times.

         60.    By 1974, J&J was also authorizing asbestos-destruction experiments in

 Colorado. An April 1974 memorandum containing notes on a visit with the Colorado

 School of Mines details J&J’s authorization of experiments to establish the destruction

 of tremolite and chrysotile in the presence of Vermont talc, and to “[d]etermine

 whether or not fibrous structure is retained or destroyed in above.” Once again, J&J

 was considering turning a profit on the asbestos contamination , as the experiments

 were “to be run on [the] low key,” “up to [the] point where we can file patent

 protection.”

                3.    J&J Sets out to Influence Regulators and Purposely
                      Avoids “Essential” Asbestos Testing Methods
         61.    Knowing that there were “unavoidable trace amounts” of tremolite

 (asbestos) in its talc, J&J also knew that it would likely fail in finding a way to

 completely eliminate asbestos from its talc. This made it even more critical that J&J

 prevent the asbestos contamination from becoming public knowledge. The Company

 embarked on a campaign to undermine scrutiny by public health officials and doctors,

 branded internally in November 1972 as “Antagonistic Personalities.” These

 individuals included the Director of the Environmental Protection Agency (“EPA”) of

 New York City, an FDA official “who [was] seeking recognition within the FDA” and

 “seem[ed] particularly anxious to condemn talc,” and a doctor at the Mt. Sinai

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 Hospital and others in his department with “the same mental attitude,” including Dr.

 Arthur Langer (“Langer”), who had told J&J of his finding of asbestos in J&J’s

 “baby talc” the year prior in a November 1971 letter.8

         62.   In defending its flagship product, J&J paid particular attention to the

 FDA and directly sought to influence it. For example, in October 1973, J&J analyzed

 a proposed FDA regulation regarding the method for determining the presence of

 asbestos in food and drugs, determining that while the method of analysis would

 “show that our talc is acceptable,” “if they change the method, we may have

 problems.” J&J then contributed to a December 1973 letter from the CTFA to the

 FDA arguing that it was “premature for FDA to impose its proposed optical method

 and place a limit on asbestos in talc for food use.”

         63.   Meanwhile, J&J purposely avoided essential testing methods. As J&J’s

 own consultant, Colorado School of Mines, confirmed in December 1973, looking for

 trace amounts of asbestos in talc is like trying to find a “‘needle in a haystack,’” and

 so requires looking at an increasing amount of talc. In order to do this, a method of

 preconcentrating any asbestos content is “essential”:

               As the impurity level becomes very low (≪1%), it is necessary to
         examine increasingly larger amounts of sample in order to detect the
         impurity. As a result of the requirement to detect the proverbial “needle

 8
    Reuters would report in December 2018 that “Langer said he told J&J lawyers who
 visited him last year that he stood by all of his findings,” which included “trace
 amounts of chrysotile asbestos” in J&J’s talc.


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         in a haystack,” we have evolved a procedure which preconcentrates the
         impurities prior to examination.

                                     *      *       *

                The objective of this work was to develop a procedure to screen
         talc for the presence of chrysotile and tremolite-actinolite asbestos
         minerals. Based on past experiences with detecting and identifying
         minerals when present at low levels, a concentration of the phases to be
         detected was considered essential to the success of any suggested
         procedure. Once concentrated the impurities could be detected by
         conventional methods of examination.

         64.   A May 1973 J&J report entitled “Proposed Specs for Analyzing Talc for

 Asbestos” illustrates that J&J knew that asbestos was in the Company’s talc and that

 concentration methods would allow laboratories to find it, making such methods “too

 sensitive” for J&J’s taste:

                England is considering method of preconcentrating the asbestos so
         as to be able to analyze by X-ray. They find no “asbestos” by doing this
         with Italian talc. They find (Pooley) 0.05% of a tremolite-type in
         Vermont.

                                     *      *       *

         Preconcentration of Asbestos followed by X-Ray Diffraction Analysis
         (Pooley Method)

               Dr. Pooley has developed two techniques for preconcentration of
         chrysotile and tremolite in talc followed by X-ray diffraction
         analysis. . . . The second technique developed also by Dr. Pooley
         involves preconcentration of tremolite in talc (different procedure)
         followed by X-ray diffraction analysis. This technique has not been
         written up yet, but evidently when applied to Vermont talc, 0.05% of
         tremolite-type is found. The limitation of this method is that it may be
         too sensitive.




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         65.   J&J’s purposeful avoidance of sophisticated testing methods is further

 evidenced in a February 1975 internal J&J memo to the Company’s British operation,

 attaching “minutes of the CTFA task force on methodology for the detection of

 asbestos in talc” and stating that J&J was looking at these methods “very quietly” “to

 avoid promotion of this approach”:

                We are presently practicing and evaluating the Pooley flotation
         method so we are not in the position to recommend it at this time.
         Besides, we feel that a detectability limit with our two present methods
         of 0.5% to 1% is reasonable . . . . Our major problem with the Pooley
         procedure is that since one can continually recycle the tailings
         (concentrate) given enough time, it is possible to arrive at levels of
         detectability of asbestos in talc in the ppm range – at what stage of
         recycling do you stop? We really want to exclude concentration
         techniques in any proposed analytical procedure and are really looking
         at this method very quietly so that we will be informed and up-to-date
         with this area of technology. We want to avoid promotion of this
         approach.

         66.   A November 1976 J&J memorandum from Ashton declared that

 separation and concentration techniques were “disturbing,” as their implementation

 would make the talc industry “hard pressed in supporting purity claims” and could

 “open up new problem areas with asbestos and talc minerals”:

                Attached is a copy of a disturbing proposal request which the
         FDA has currently made available to qualified bidders. The scope of the
         work is the Separation of Asbestos in Foods, Drugs and Talc for
         Identification and Determination.

               I find this proposal more disturbing than other proposals up to
         now because it aims at separation and isolation of asbestos from a wide
         scope of products and animal tissues. Up to now, our main problems
         have had to do with identification, whereas, now it looks like the FDA is


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         getting into separation and isolation methodology which will mean
         concentration procedures. As I have pointed out many times, there are
         many talcs on all markets which will be hard pressed in supporting
         purity claims, when ultra sophisticated assay separation and isolation
         techniques are applied. Chances are that this FDA proposal will open up
         new problem areas with asbestos and talc minerals.

         67.   To this day, J&J has not adopted a concentration method for testing its

 talc despite the Company’s knowledge that this would allow detection of asbestos in

 its talc and talcum powders when present in trace amounts.

               4.    J&J Monitors and Defends Against Science and
                     Regulations
         68.   During the 1970s, while J&J worked to avoid the use of sophisticated and

 “essential” testing methods on its products, the Company also set out to defend its

 Baby Powder’s image by undermining scientific studies and research. An internal

 memorandum from March 1975 (“March 1975 memorandum”) illustrates that J&J’s

 initial approach “with respect to sponsorship of talc safety studies” had been

 defensive, with J&J “initiat[ing] studies only as dictated by confrontation.” The

 March 1975 memorandum recognized that this approach “has allowed us to neutralize

 or hold in check data already generated by investigators who question the safety of

 talc.” Much like an ostrich with its head in the sand, J&J’s “principal advantage” with

 this approach was that it “minimize[d] the risk” of J&J itself inadvertently generating

 “scientific data which may be politically or scientifically embarrassing.” Activities

 proposed under this approach included (i) involvement in a study “directed towards



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 demonstrating that pulmonary function is not impaired by exposure to cosmetic grade

 talc,” and (ii) funding “Johnson & Johnson’s monitoring of the NIOSH Harvard Study

 of Vermont Talc Workers” and J&J’s “analytical and statistical verification of the data

 to be gathered.”

         69.   But the March 1975 memorandum also acknowledged the weaknesses of

 this defensive strategy:

         [T]his approach leaves the talc franchise and the company image open to
         repeated erosion by prior public disclosure of suspected hazards and
         adversary politicking. Also, there exists a danger that the latent period
         for generating J&J data might be too great for the data to be effective.

         70.   Thus, the March 1975 memorandum proposed “a more anticipative

 approach” that had been discussed at the Talc Advisory Group:

         We would carry out other reasonable safety studies to continue our
         contradiction of generated negative data and to anticipate questions on
         safety which will probably be raised. This philosophy offers maximal
         leverage for defending the product . . . .

         71.   An August 1977 J&J “Status Report” on the “Defense of Talc Safety”

 provided an update on “the talc safety defense program” that J&J had been

 conducting. Noting that cosmetic talcs had not suffered “disruptive influences” in the

 past two months, J&J recognized the effectiveness of “the various J&J sponsored

 studies [that had] been disseminated effectively” to the United Kingdom and U.S.

 scientific and medical communities:

               The past two months have seen no disruptive influences and to the
         contrary, the cosmetic talcs have enjoyed confirming reassurance from


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         several independent authoritative sources that they are assessed to be free
         of hazard for normal consumer use.

              We attribute this growing opinion to the fact that (1) the existence
         of CTFA’s self-regulating cosmetic grade talc specification has become
         common knowledge and that (2) favorable data from the various J & J
         sponsored studies have been disseminated effectively to the scientific
         and medical communities in the U.K. and U.S.

         72.   An internal J&J report regarding the Company’s “Special Talc Study,”

 for the period of December 1977 – January 1978, illustrates J&J’s continued efforts of

 creating research and data that could be used to protect “the safety image” of

 Johnson’s Baby Powder:

         OBJECTIVE:

               To monitor and defend against consumerist, scientific and
         regulatory attitudes/trends which could impact adversely on the safety
         image and marketability of cosmetic talcs.

               To generate or provide necessary data to support and reinforce
         the safety of our baby powder.

         73.   The “Special Talc Study” report also explains how J&J was again

 informed that its Baby Powder and talc were contaminated with asbestos. “A visit

 was made” to a facility to preview “a new instrument” that “detects and counts

 airborne fibers in the presence of high concentrations of non-fibrous particles.”

 Johnson’s Baby Powder and J&J’s talc were tested with this device, and the “results

 indicat[ed] our talc and product are well below the current 2 fibers/cc permitted for

 asbestos,” as “JBP” (Johnson’s Baby Powder) had come back with 0.08 fibers/cc and

 J&J’s V-66 Talc had come back with 0.28 fibers/cc.

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         C.    1980s to 2000s – J&J Faces a New Battlefront in the War to
               Defend Its Flagship Product: the Association Between the
               Use of Talcum Powder and Ovarian Cancer
         74.   Beginning in the 1980s, J&J faced a growing body of research finding

 evidence of an association between talcum powder usage for personal hygiene and

 ovarian cancer. Notably, because J&J had convinced the world that the Company’s

 talcum powders were asbestos-free, the public health research focused on the question

 of whether there was a connection between ovarian cancer and the talc itself.

         75.   Knowing that public health researchers were bringing increased attention

 to talc and that this could threaten J&J’s concealment of its talc’s asbestos

 contamination, J&J sold its Hammondsville mine, which had served as the primary

 source of talc for J&J’s flagship product since 1966, to Cyprus in 1989. J&J did this

 shortly after destroying most of the records of the Hammondsville mining operation.

 A November 23, 1993 J&J memorandum explains:

         The specifics of the mining operation at Hammondsville are uncertain, as
         most of the pre-Luzenac records were destroyed by the mine
         management staff just prior to the J&J divestiture and the Cyprus
         purchase. However, several former Hammondsville miners are still
         employed at the Ham mine, and they provided us with useful information
         as to the nature of the underground works.

         76.   Meanwhile, a March 1992 internal memorandum at J&J’s talc supplier

 illustrates that it was common knowledge at the Vermont mining operation that

 asbestiform minerals were present. Indeed, the memorandum illustrates that there was




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 “certainly visible tremolite and actinolite in specific zones,” and that “Cyprus staff

 report past tremolite from the Hammondsville and Clifton deposits”:

         Vermont talcs are derived from altered serpentine – a natural host for
         asbestiform minerals. There is certainly visible tremolite and actinolite
         in specific zones of the Vermont deposits – fibrous tremolite was
         identified by the writer in exposures and cores at the East Argonaut and
         Black Bear mines. Cyprus staff report past tremolite from the
         Hammondsville and Clifton deposits.

         77.   As researchers examined talc as a potential carcinogen, government

 interest in talc returned and NIOSH nominated talc for study by the NTP. In 1993, the

 NTP reported finding evidence of talc’s “carcinogenic activity” in an inhalation study

 performed with rodents. With public health researchers and regulators moving closer

 to discovering J&J’s massive cover-up, the Company took aggressive action to

 conceal the asbestos contamination of its talc and talcum powders.

               1.     Through Falsehoods and Manipulation, J&J and Its
                      Industry Cohorts Successfully Prevent Talc from
                      Being Listed in the “10th Report on Carcinogens”
         78.   As government interest in talc grew, J&J set out to stay “at the forefront

 of cosmetic talc” and have “worldwide oversight on talc issues.” An August 1993

 internal memorandum from Donald Jones to John Hopkins stated:

                John, I’m sure you’ve heard that FDA asked ISRTP to organize a
         talc safety symposium. The request is a follow-up to both the 1992 NTP
         findings regarding talc and the 1992 Harlow paper resurfacing the
         ovarian cancer connection to cosmetic talc use first proposed by Cramer.

                                      *     *       *



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         [A]s part of a strategy to keep J&J at the forefront of cosmetic talc, and
         to insure that we have worldwide oversight on talc issues, Mary Ann
         Cook and I are organizing a Worldwide Talc Steering Committee.

         79.   At the same time, J&J also continued to receive dire warnings regarding

 its talcum powder’s association with ovarian cancer. For example, in a November 10,

 1994 letter from the Cancer Prevention Coalition, J&J’s CEO at the time, Ralph

 Larson, was alerted to the scientific evidence of an association between talcum

 powder and ovarian cancer:

         Dear Mr. Larson,

               A wide range of scientific studies dating back to the 1960s shows
         conclusively that the frequent use of talcum powder in the genital area
         poses a serious risk of ovarian cancer.

                Dr. Bernard Harlow, a leading ovarian cancer researcher from
         Harvard Medical School, published a comprehensive study in 1992 of
         the link between talc and ovarian cancer. The study found a threefold
         increase of ovarian cancer in women who used talc in the genital area as
         a daily habit.

                                      *      *       *

               Furthermore, the U.S. National Toxicology Program has recently
         confirmed that talc is carcinogenic.

         80.   By September 1997, J&J was participating in industry representations

 that J&J’s own consultant described as “inept,” “inaccurate,” and “outright false,” all

 in an effort to conceal the asbestos contamination of its flagship product. In a letter

 from Alfred Wehner (“Wehner”) to J&J’s Manager of Preclinical Toxicology Michael




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 Chudkowski (“Chudkowski”), J&J was warned of the troubling posture it was taking

 along with its industry allies:

         Several investigators have independently reported talc particles in
         ovarian tissue. Simply citing the Battelle study and stating that it
         “demonstrated that talc does not translate (sic!) through the cervix to the
         uterine cavity and beyond does not address the problem . . . . All in all,
         in my opinion an inept response.

               The problem with the response statement dated July 8, 1992, is
         more serious. The last sentence in the second paragraph states: “Finally,
         human studies on talc and cancer in industrial settings have shown that
         industrial exposure to talc, both by skin contact and inhalation, even at
         levels thousands of times higher than lifetime consumer exposure,
         presents no significant risk.” This statement is outright false.

                                       *     *       *

                The response statement dated November 17, 1994, is just as bad.
         The second sentence in the third paragraph reads: “The workshop
         concluded that, although some of these studies suggest a weak
         association might exist, when taken together the results of the studies are
         insufficient to demonstrate any real association.” This statement is also
         inaccurate, to phrase it euphemistically. At that time there had been
         about 9 studies (more by now) published in the open literature that did
         show a statistically significant association between hygienic talc use and
         ovarian cancer. Anybody who denies this risks that the talc industry
         will be perceived by the public like it perceives the cigarette industry:
         denying the obvious in the face of all evidence to the contrary.

         81.   At the same time that J&J and its allies were vehemently denying the link

 between talc and ovarian cancer in order to avoid the public discovery of the asbestos

 contamination, J&J was again informed that its talcum powder was contaminated with

 asbestos. In an April 1998 letter to Mehaffy & Weber, lawyers for JJCI, Dr. Alice

 Blount (“Blount”) stated that J&J’s talc “contains trace amounts of asbestos”:


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                Although my papers report an improved method for analysis, the
         determinations for the sample labeled I (Johnson & Johnson’s Vermont
         talc) have been done by the traditional methods as well . . . . As I told
         you, I believe that Johnson & Johnson’s Vermont talc contains trace
         amounts of asbestos which are well below those specified by OSHA.

 Blount identified J&J’s Vermont talc as the Sample I from her 1991 paper, which

 detailed her findings of asbestos “[n]eedles and fibers” in that sample and that the

 aspect ratio distribution for Sample I tracked that of tremolite asbestos.

         82.    By October 2000, the first two groups of the NTP’s review process had

 voted 13-2 in favor of listing talc in the 10th RoC. This raised the stakes considerably

 for J&J, bringing researchers and regulators one step closer to discovering J&J’s

 longstanding fraud. In response, J&J and its talc supplier worked to undermine the

 NTP, and by November 27, 2000, J&J’s talc supplier had found and proudly shared

 with J&J the “Winning Hand” in how to defeat the NTP. In an email to J&J’s

 Chudkowski attaching comments from lobbying group CRE, Luzenac’s Zazenski

 boasted that the companies now had a way to get talc out of “this NTP nonsense”:

         I’ll let you guys read this for now . . . but it’s for your eye’s only until we
         finalize it. It’s the winning hand in getting talc without asbestos
         dismissed from this NTP nonsense.

               For now, I’ll graciously accept 100% of the credit 1) finding CRE,
         2) convincing them to get involved, 3) developing the Fatal-Flaw
         Strategy[,] 4) single-handedly saving the talc business from certain
         ruin.

                All in a day’s work. All contributions to the RJZ vacation and
         retirement fund will be accepted.



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         83.   As it turns out, the “fatal flaw” was rather simple. Because many of the

 epidemiology studies linking genital talc use to ovarian cancer did not distinguish

 talcum powders produced after 1976 (which was purportedly required to be “asbestos-

 free”) from those produced before 1976, it was supposedly impossible to know

 whether the results were because of asbestos in the talc or because of the talc itself.

 As Zazenski would explain:

                The primary reason non-asbestiform talc was able to survive the
         third NTP meeting in December and not be recommended for listing was
         the introduction of doubt concerning the characterization of talc utilized
         in dusting powders cited in the epidemiology studies. All but one of the
         sixteen ovarian cancer studies would have involved the use of cosmetic
         talc and baby powder produced prior to 1976, the year that CTFA
         introduced cosmetic talc specifications requiring no asbestos.

 Two days after the draft CRE comments were shared with J&J, the CRE submitted its

 letter to the NTP, claiming that CRE “is not affiliated with any particular industry,

 company, or other entity.”

         84.   The “fatal flaw” strategy was successful, as the NTP deferred

 consideration of listing talc because “there ha[d] been considerable confusion over the

 mineral nature and consequences of exposure to talc, both containing asbestiform

 fibers and not containing asbestiform fibers.” In response to an e-mail from Mann

 referencing Zazenski’s “history with J&J on defending talc,” Zazenski would provide

 further details:

         [D]uring the 10th RoC review, the Center for Regulatory Effectiveness
         (Washington, D.C.) took an active role in ensuring that NTP was

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         conducting a proper review of talc. CRE was instrumental in helping
         divert an almost guaranteed listing for talc into a “deferral. . . .” I
         might point out that in the 10th RoC review, RG1 and RG2 voted 13-2 to
         list talc (not containing asbestos) as a carcinogen. Up until then, every
         substance nominated for listing by both RG1 and RG2 went on to be
         listed.

         85.   As J&J’s talc supplier also summarized the events internally, admitting

 that, “[w]e (the talc industry) dodged a bullet . . . based entirely on the confusion

 over the definition issue.” Of course, the cruel irony that J&J and Luzenac failed to

 mention to the NTP or the public health researchers was that the “fatal flaw” was

 illusory, as J&J’s talc and Baby Powder continued to be contaminated with asbestos.

         86.   But while J&J was able to keep talc off of the NTP’s 10th RoC, fears of

 its fraudulent scheme being revealed lingered at the Company as it faced the threat of

 the NTP post-deferral, as well as a new potential foe – the WHO’s International

 Agency for Research on Cancer, or IARC, which “[u]nlike NTP,” was “answerable to

 no one politically.” As Zazenski warned Ashton on March 26, 2002:

         We’ve been successful thus far in fending off the NTP classification of
         talc as being a potential human carcinogen. But we must also keep an
         eye out for IARC. . . . IARC reviews are not a public debate. Unlike
         NTP, IARC is answerable to no one politically (they are headquartered
         in Lyon, France of all places). As part of the World Health
         Organization, they act very independently to protect the citizens of this
         planet from ‘preventable’ diseases. . . . You might want to counsel your
         management on this potential (and not to be too complacent about the
         status of talc).




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               2.     J&J Recognizes Internally that the “Fatal Flaw” Is an
                      Illusion and Is yet Again Put on Notice that Its Baby
                      Powder Is Contaminated with Asbestos
         87.   J&J’s knowledge regarding its talc’s asbestos contamination is illustrated

 by a February 2002 email between Mann and Telofski about telling the NTP that there

 was “never” asbestos in J&J’s talc:

               [Mann to Telofski]: I’d like to tell CTFA that we are OK with
         forwarding that lit. review to NTP. Did you have a suggestion on a
         sentence that addresses the fact that our source of talc “never” had
         asbestos in it.

                                       *      *       *

         [Telofski to Mann]: I did review the lit – no surprises there and okay to
         send. I still don’t have a terrific suggestion regarding the asbestos –
         let’s handle as we discussed and I will see if I can get a better idea going
         in meantime.

 Soon after this internal struggle over the claim that Johnson’s Baby Powder “never”

 had asbestos in it, Mann and others at J&J were discussing the fragrance of Johnson’s

 Baby Powder and the sourcing of the Company’s talc. In a June 30, 2003 email with

 the subject “JB Powder w China Talc,” Mann gave his take on whether the fragrance

 would be changed: “[m]y sense is that the Baby Powder is such a ‘Scared Cow’ [sic]

 that we will just leave it alone.” Less than a year later, Mann and others at J&J

 learned that the “‘sacred cow’” still had asbestos in it.

         88.   In 2004, as part of a special report about asbestos in the community,

 KCRA TV3 of Sacramento, California had Johnson’s Baby Powder tested for asbestos

 by outside testing company Forensic Analytical. Through that testing, the news

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 channel discovered that Johnson’s Baby Powder “tested at above normal levels for

 asbestos.” A reporter for the television station informed J&J’s Marc Monseau

 (“Monseau”) of these results and enclosed a copy of the test results showing 0.20%

 Asbestos Weight Percent for Johnson’s Baby Powder. On February 24, 2004, with

 the subject “Re: Asbestos,” Monseau faxed the information to Mann. Referring to

 “the attached cover letter and lab results” from the television station, Monseau also

 told Mann, “Sarah Colamarino suggested I share with you. Can you please review?

 Sarah will be calling you shortly to discuss.”9

         89.   The same day that Mann found out that the news station had discovered

 asbestos in Johnson’s Baby Powder, he received an email from Hopkins suggesting

 how to deal with the media, following up on a prior conversation they had. Hopkins

 suggested “that it is important that you ensure compliance of the current talc with

 the CTFA Specification.” According to the email from Hopkins:

                A certificate as such from an independent source (RJ Lee) is an
         easier way of dealing with non-experts (i.e., media) than talking about
         the various kinds of mineralogy of talc. You can then enlist CTFA as a
         buffer to deal with these issues. Feel free to call anytime. Also I know
         Bill Ashton would want to help and is OK to call at home. In fact he
         would expect to be involved if his mineral expertise could be of value.



 9
    Colamarino was VP of Communications at J&J’s consumer division from 2000 to
 2004. In that position, Colamarino worked on “global issues management and crisis
 communication, . . . brand public relations programs and initiatives closely integrated
 with Johnson & Johnson reputation-building strategies.”


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         90.   J&J took its former employee’s advice to heart. In fact, according to a

 March 22, 2004 email from Julie Pier of Luzenac, J&J “frantically” called its talc

 supplier, “ask[ing] where all the data was on their product.” As it turned out, J&J’s

 talc supplier had failed for three years to do quarterly testing, without J&J ever

 noticing:

         Johnson & Johnson called us frantically, because some outside lab
         apparently found asbestos in off-the-shelf baby powder. Some expose’
         will be coming out, supposedly . . . it prompted J&J to ask us where all
         the data was on their product. I was supposed to be doing quarterly
         samples by TEM, but they were all in the backlog. Since 2001.
         Oops . . . I had to scramble and try to catch up. I worked like crazy and
         it was the source of a ‘HIPO’ (high potential for loss incident). . . . They
         are also frantically trying to find a ‘clean area’ in Penhorwood, so they
         submitted 60 samples for TEM!‼ Physically impossible to do based on
         their time frame.

         91.   As part of J&J’s “frantic” response to the KCRA TV3/Forensic

 Analytical report of asbestos in Johnson’s Baby Powder, the Company also re-

 involved Ashton, as Hopkins had suggested. Ashton was technically retired from J&J

 at this time, but he continued to come into the J&J offices in New Jersey once a week

 or every two weeks. A letter from RJ Lee addressed to Ashton at J&J’s consumer

 division in Skillman, New Jersey discusses the Forensic Analytical report:

               The methodology used by Forensic Analytical is the standard
         EPA Test Method for the determination of Asbestos in bulk building
         material. There is no supporting evidence to show what was found.
         Before this information is released you should see the following
         documents:




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                (1) The count sheets that show the number and size of the
         structures that were seen.

               (2) Photos that show if these structures are cleavage or
         asbestiform.

               (3) EDS (Energy Dispersive Spectra) to show the elements
         present and their ratio.

               (4) The SAED (Selected area Electron Diffraction) patterns to
         show the crystal system-similar to XRD.

              If you need interpretation of their documents, we would be glad to
         work with you.

         92.   Meanwhile, J&J’s talc supplier had found chrysotile asbestos fibers in its

 own testing of “Grade 96” talc in 2002 and 2003, which was destined for Johnson’s

 Baby Powder sold in Canada. Indeed, Imerys had found a chrysotile asbestos fiber in

 each of four separate samples during that time period.

               3.    Under the Direction of Defendant Casalvieri, J&J
                     Sets out to Keep Talc out of the 12th RoC
         93.   Rather than come clean about asbestos in its Baby Powder, J&J

 continued to undermine efforts by the NTP, “utiliz[ing] all [its] power to defend” its

 Baby Powder, as J&J knew that the flagship product was “a primary link to the

 positive J&J name in the public mind.” The same year that he was alerted to

 asbestos contamination of Johnson’s Baby Powder, Mann wrote an email to

 numerous individuals at J&J:

               I want to raise the level of risk to J&J from the NTP talc issue
         from Moderate to High. . . . I have had some recent conversations with
         our supplier Luzenac and our internal Talc Task Force, as well as CTFA.


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         There is a significant chance that NTP could make an unfavorable ruling
         and that would have a major ripple effect as J&J Baby Powder is a
         primary link to the positive J&J name in the public mind. I think we
         may be at the point where we need to call upon major corporate
         resources and utilize all our power to defend against this. I can discuss
         details off-line.

         94.   A few months later, a February 17, 2005 J&J email indicated that

 defendant Casalvieri was directing the project “to defend talc,” with Mann handling

 the “day-to-day” activities:

                [Corinna Hengsberger of J&J:] I know we have a project active to
         defend talc. I also saw some info [with] some news for the regulatory
         [sic] side, in the US. As talc is a significant business globally, I was
         wondering whether we need to put this on the agenda for broader
         discussion?

               [Robert Predale of J&J:] Yes – I agree we need to have broader
         discussion on talc. As you may know the talc issue is being led
         primarily from our Tox folks under the direction of Joan Casalvieri –
         Mann is the day-to-day person leading the effort.

         95.   And a February 17, 2005 email from Mann to J&J’s Hengsberger, Gerd

 Ries, defendant Casalvieri, Predale, Kathleen Wille, and Gaetan Rouleau emphasized

 the Company’s efforts to make sure talc was kept off the 12th RoC and the

 Company’s asbestos secrets stayed deeply buried:

               I have been working on several fronts to assure a good outcome,
         including both working with the CTFA Talc Interested Party Task Force,
         and independently with our major supplier Luzenac and their
         Washington, DC legal team.

               The CTFA Task Force provided extensive comments and
         documents to the NTP in July 2004 . . . . While we are waiting for the
         NTP Background Document I am working with Luzenac and outside
         epidemiology experts to develop documents that scientifically support

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         the lack of a relationship of talc and ovarian cancer. These documents
         will be submitted to NTP and for publication in the scientific literature.
         We have been proactively providing NTP all the scientific data available
         in support of talc through several channels.

                Through the CTFA and our supplier contacts we are monitoring
         closely NTP activity in this area.

         96.   In response, Gerd Ries of J&J told Casalvieri, Mann, and others that the

 “critical question” that would determine J&J’s strategy was not whether Johnson’s

 Baby Powder contained a carcinogen, but whether J&J could “prevent this

 classification”:

                The critical question that determines how we need to handle this
         case internally is what the chances are that we can prevent this
         classification. Can you offer a percentage of success?

               4.     J&J Secretly Funds a Meta-Study Concluding that
                      Talc Is Safe and Attempts to Influence the World
                      Health Organization
         97.   In order to “develop documents” supporting the safety of talc, and

 thereby protect J&J’s sacred cow from having its asbestos contamination revealed, the

 Company had set out to fund academic research and then conceal J&J’s involvement.

 A year after receiving the news that an independent lab had found asbestos in

 Johnson’s Baby Powder, Mann informed Crowell & Moring lawyer Ridge Hall

 (“Hall”) that J&J management would provide funds for “the Huncharek/Muscat

 narrative on ovarian cancer and talc.” The study, authored by Joshua Muscat




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 (“Muscat”) and Michael Huncharek (“Huncharek”), was for possible submission to

 the NTP.10

         98.   To make the study happen, J&J and Luzenac both paid for it, splitting the

 cost. However, the researchers were only retained by Crowell & Moring, concealing

 J&J’s support of the study. A February 1, 2005 email from the law firm to Mann

 makes clear that this was by design:

               As I mentioned during our discussion this morning, our plan is for
         Crowell & Moring to retain Drs. Huncharek and Muscat so as to
         preserve the benefit of the attorney work product privilege, which is
         helpful in protecting confidentiality.

         99.   Even payment to the researchers was funneled through the law firm,

 concealing J&J’s contribution entirely. As Hall explained the purpose of this plan in a

 February 28, 2005 email to Mann and others:

         To maximize the effectiveness of our use of the attorney work product
         privilege for their work, I will plan to send them a Crowell & Moring
         check in that amount, to be reimbursed to us by Luzenac and Johnson &
         Johnson in whatever proportions you agree on.

         100. By June 2005, the Company learned that the NTP had decided to let

 IARC take on the talc issue instead. In a June 28, 2005 email to at least 15 other

 individuals at J&J including defendant Casalvieri, Mann warned that IARC was



 10
    Titled “Perineal Talc Use and Ovarian Cancer: A Critical Review,” the study was
 eventually published in the European Journal of Cancer Prevention in 2008. It
 concluded that the data taken collectively “do not indicate that cosmetic talc causes
 ovarian cancer.” It contains no reference to J&J’s funding of the study.


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 difficult to manipulate, but he also stated that CTFA and J&J were doing all they

 could to influence the IARC decision by seeking to get their own experts embedded in

 the IARC process, including John Hopkins, Muscat, and Huncharek:

         It is VERY difficult to have any impact on the IARC, and this has
         recently been made even more difficult by rule changes that make
         industry input difficult and suspect. CTFA advised that the best we
         could do was to ask Dr. John Hopkins to follow a process called “Self-
         Nomination” and offer his name to IARC as a talc expert. I have asked
         John to do this and he agreed. . . . CTFA also advised that Dr. Muscat is
         already involved with another IARC committee. Dr. Muscat and
         Huncharek are experts that are working with us on white papers for NTP
         and whom we respect. CTFA will ask Dr. Muscat and Huncharek to also
         self nominate for IARC.

         101. In July 2005, Mann’s email was forwarded to additional J&J personnel

 by Susan Nettesheim (“Nettesheim”), VP of R&D at Johnson’s Worldwide as of

 December 2005. Nettesheim said it was “[g]ood news that we may be able to have

 Hopkins work with IARC.” Among the individuals receiving Nettesheim’s email was

 Neal Matheson (“Matheson”), Chief Technology Officer of J&J Consumer Companies

 from 1994 to 2007 and again from 2012 to 2014. Showing particular interest in the

 talc issue, Matheson forwarded the email chain back to Mann on August 29, 2005,

 asking “Anything new on this?” Mann reported to Matheson and Casalvieri, among

 others, that Hopkins and another J&J consultant were not invited to participate in the

 IARC process, but that Muscat, “one of the epidemiologists that worked with us in

 2000[,] has been asked to participate.” Mann explained why it was important having




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 Muscat in the IARC situation and reported back on his “latest intelligence” in the war

 with the NTP:

         Dr. Muscat is currently working with Dr. Mike Huncarek, Luzenac and
         J&J on a couple of projects related to the NTP talc review. I am very
         pleased that Dr. Muscat will be involved in the IARC process as he has
         been very helpful to us.

                My latest intelligence suggests that NTP is deferring to IARC for
         the moment, and may have even orchestrated IARC taking on the review
         of talc. We have not heard that NTP has even begun work on the
         Background Document for talc, thus this seems to confirm that they are
         waiting for IARC.

         102. After delivering the good news to Matheson and Casalvieri, Mann had to

 admit later the same day that IARC “made a liar out of [him]” by rejecting Muscat’s

 self-nomination to the working group:

         No sooner did I speak then IARC has made a liar out of me. I believed
         Dr. Muscat had been selected by IARC, because they had specifically
         asked him to submit. But, Josh [Muscat] just sent a copy of the attached
         letter he received to Rich Zazenski (Luzenac). IARC declined to include
         Dr. Muscat in the Working Group. IARC has become very sensitive
         about any industry connections.

 Matheson then responded to Mann’s first August 29, 2015 update, asking Mann: “Any

 specific actions we should consider???” In a response also received by Casalvieri,

 Mann stated: “I thought we were in pretty good shape if Joshua was involved. I’m

 exploring what now? I’ll get back to you ASAP.”




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               5.     Under the Direction of Defendant Casalvieri, J&J’s
                      Efforts to Defeat the NTP Prove Successful, but J&J
                      Fails to Manipulate IARC
         103. Although J&J was having little success against IARC, J&J finally

 defeated the NTP in October 2005, when the government withdrew talc from review

 for possible listing in the 12th RoC. An October 18, 2005 notice in the Federal

 Register shows that the NTP’s reasoning echoed the “fatal flaw” strategy which

 assumed that asbestos was no longer in cosmetic talc like J&J’s:

         It has become evident that the literature on both forms of talc, with a few
         exceptions, provides an inadequate characterization of the actual
         materials under study to enable one to reach definitive conclusions
         concerning the specific substances responsible for the range of adverse
         health outcomes reported.

         104. As alleged in ¶¶87-91, however, numerous current and former J&J

 employees knew that this “fatal flaw” was illusory, including Steve Mann, Sarah

 Colamarino, Lorena Telofski, John Hopkins, Marc Monseau, and Bill Ashton. The

 same day that the NTP withdrew talc from review, Mann sent a victory email to over

 30 individuals including defendant Casalvieri, Hopkins, Matheson, Monseau,

 Telofski, and Wehner, as well as J&J’s legal counsel, John O’Shaughnessy. In the

 celebratory message, sent less than two years after he had learned of asbestos

 contamination in Johnson’s Baby Powder, Mann made clear that the NTP decision

 on talc was “a direct result” of J&J’s efforts to manipulate the federal regulatory

 program:



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                Great news. NTP has withdrawn talc from consideration for
         listing on the 12th Report on Carcinogens. They also have not listed it
         for consideration on the 13th RoC, as they did for some other materials.
         Talc was the only material withdrawn.

              This is a direct result of our efforts in coordination with Luzenac
         and CTFA. We did it!
 In response, personnel at J&J congratulated themselves. Annie Heremans responded:

               That is good work indeed and not the only achievement this group
         has made around topics of this nature this year. It all speaks to teaming
         up the best knowledge we have in the company efficiently.

 And Gaetan Rouleau congratulated Mann and Casalvieri specifically, telling them:

 “Great job, this is a major accomplishment for J&J.”

               6.     J&J Is Again Warned of the Dangers Posed by Its
                      Flagship Product
         105. Despite J&J’s “major accomplishment” with the NTP, the Company soon

 found out that it had failed to influence the WHO, as the IARC working group

 concluded in February 2006 that perineal use of talc-based body powder is possibly

 carcinogenic to humans.        Luzenac/Rio Tinto eventually included the IARC

 categorization in its talc’s Material Safety Data Sheet (“MSDS”). By late March

 2006, the talc supplier was drafting new language for the MSDS and would soon

 begin discussing “a ‘mass distribution’ of the revised MSDS to [its] customers,”

 which Zazenski explained is “required when new and significant H&S data is

 reported.” By 2009, the MSDS from Luzenac regarding talc would include the

 following language under “Carcinogenic Status”:


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                IARC: (2006 in preparation) Has concluded that perineal use of
         talc-based body powder is possibly carcinogenic to humans (Group 2B).
         This is not a route of exposure relevant for workers and applies to one
         specific use of talc only.

               IARC: (2006 in preparation) Inhaled talc not containing asbestos
         or asbestiform fibres not classificable as a human carcinogen (Group
         3)[.]

         106. Along with the warning about ovarian cancer from J&J’s talc supplier,

 one of the Company’s own employees, Todd True (“True”), repeatedly sounded alarm

 bells. True, J&J’s Global Creative Director, wrote a series of emails expressing

 concern over selling talc for use on babies. In an April 16, 2008 email, True

 recognized that Johnson’s Baby Powder was not actually safe for babies and that it

 was therefore a “major contradiction”:

         Our current base talc product, although purchased primarily (80%) for
         adult use, is called “Baby Powder” and has instructions for use on baby
         on the back. The reality that talc is not actually safe for use around
         babies is a major contradiction.

               Have we done any research to determine the potential negative
         impact to our brand or best for baby strategy by maintaining this
         ingredient? Have we looked at replacing talc with cornstarch for our
         base powder as other brands have? What’s the value in maintaining
         talc under baby aside from cost?

         107.   In an April 18, 2008 email with the subject “Baby Powder – not for

 babies,” True illustrated the “disturbing” reality “that talc is unsafe for use on/around

 babies” and proposed moving talc out of the baby line of products:

                The reality that talc is unsafe for use on/around babies is
         disturbing. I don’t mind selling talc, I just don’t think we can continue
         to call it Baby Powder and keep it in the baby aisle.

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                                      *      *       *

         Using Our Credo as our guide, I’d like to develop a strategy with you to
         eliminate the use of talc under Johnson’s Baby.

         108. And later on April 18, 2008, J&J’s Global Creative Director True stated

 in an email that he was “on a bit of a mission to strongly consider removing talc from

 the baby aisle,” although he knew it would be controversial since the Company would

 look to the “cost implications”:

                Basically, I’m thinking it would be in the brand’s best interest to
         develop a strategy to move out of the baby aisle for our talc product and
         either create a direct Adult proposition or simply replace the talc
         ingredient with cornstarch. This would align with our Best for Baby
         charter.

                I understand this is a $70M business in the US alone, unsupported.
         So any changes are risky. However, given a number of other ingredient
         issues we are facing, this seems like an easy fix and win. I know this
         will be controversial and we’ll need to work hard to justify the cost
         implications – I also see great positives associated with it in our
         challenge to maintain Mom’s trust and deliver on our baby expertise.

         109. But rather than work with its employee to improve the safety of the Baby

 product line, J&J sent an intimidating letter to True on May 19, 2008. In the letter

 from J&J’s Ellen Kurtz (“Kurtz”), Director of Scientific Affairs at the Baby Care

 Franchise, True was cryptically told that his month-old email had “been given to

 [Kurtz]” and was chastised for making statements about the safety of talc that were

 “not accurate.” It stated in part:

         Dear Todd,



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                Your e-mail to Fred Tewell, dated 4/18/08 concerning baby
         powder has been given to me. I wish to respond to the concerns that you
         raised in that email about talc.

                The statements that you made in that email about the safety of talc
         are not accurate and your recommendations do not reflect our company’s
         involvement in and consideration of the scientific research and data
         regarding our talc used in JOHNSON’S® BABY POWDER. The safety
         and effectiveness of talc in baby powder has been shown extensively in
         numerous laboratory and clinical testing by JOHNSON’S® scientists
         and external scientific experts. In fact, babies, children and adults have
         safely used JOHNSON’S® BABY POWDER for over 100 years.

         110. J&J was also warned through internal audits showing that the testing of

 its talc for asbestos was questionable at best. An April 13, 2012 J&J Contract

 Manufacturing Audit Report of the testing facility at RJ Lee, an outside testing

 company (“Audit Report”), found numerous problems with the lab, including the

 “[c]ritical” observation of evidence pointing to “deficiencies in the document control

 process.” Further, RJ Lee did not even have J&J’s asbestos testing methods and was

 of the opinion that one of J&J’s methods was not “optimal” anyway:

         1.    Did not have TM7164, were using IP2007. . . . Notes were being
         used in lieu of the testing requirements to perform test IP2007.

         2.    Specifications/SDPs/Test Methods were not readily accessible for
         use at the point where required. More than one analyst was working
         from notes versus the testing document.

         3.     There were multiple revisions of J&J RM specifications in the
         storage drive that is to contain the most current revision of the
         specifications.

         4.     There was no current TM7024 for Asbestos [J&J’s test method]
         at the site. RJ Lee also indicated that the test method was not an
         optimal method for asbestos testing.

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         5.     Operating inspections and calibration procedures need to have
         better clarity.

         111. Just as alarming, the Audit Report noted that “particulate matter” was

 observed on equipment, “[t]here is no formal quality agreement between J&J and RJ

 Lee,” and “[t]here is no overall housekeeping process that insures cleanliness in the

 facility and laboratories.”

         D.    With Its Reputation on Thin Ice Because of Product Recalls
               and Ethical Lapses, the Company Makes Defendant Gorsky
               Its New CEO
         112. On April 26, 2012, just a few weeks after the Audit Report showing that

 J&J’s outside testing facility was unreliable, defendant Gorsky became the new CEO

 of the Company. At that time, J&J had been having numerous issues with the quality

 of its products, as the Company had faced “about 30 recalls of consumer health

 products, hip replacements and prescription drugs,” for reasons that “included

 nauseating packaging odors, wrong levels of active ingredients in pills, and glass and

 metal shards in liquid medicines.” But while Gorsky was chosen to right the ship, he

 had a history of being deeply involved with troubling corporate misconduct.

         113. For example, J&J eventually paid more than $2.2 billion to resolve

 numerous allegations of targeting elderly and child patients with off-label marketing

 of Risperdal and two other drugs, as well as paying kickbacks to medical professionals

 and Omnicare Healthcare Corporation (“Omnicare”). According to the DOJ, Gorsky

 “was actively involved in matters at issue” in the government’s fraud case, including


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 having “multiple meetings” with Omnicare about promotion of Risperdal, as well as

 approving agreements to sell drugs to Omnicare.

         114. A Law360 article, entitled “J&J Inks $2.2B Settlement For Off-Label

 Marketing, Kickbacks,” illustrated the DOJ’s opinion of the conduct that occurred

 under defendant Gorsky’s leadership:

               DOJ depicted that behavior as especially unscrupulous because
         the [FDA] had expressly refused to approve Risperdal for dementia and
         because patients with [dementia] were known by 2003 to be more
         susceptible to strokes when using [Risperdal].

                In fact, J&J and Janssen even went so far as to dilute alarming
         data from clinical trials . . . .

                Further, Janssen ignored its own data showing . . . an increased
         risk of diabetes . . . .

               Janssen managers effectively embraced off-label promotion . . . .

 According to the government, Janssen “‘recklessly put at risk the health of some of

 the most vulnerable members of society’” and showed “‘blatant disregard for

 systems and laws designed to protect public health.’”

         115. Nor was Risperdal the only time that Gorsky was involved with such

 behavior. For example, while at Novartis, Gorsky received a warning letter from the

 FDA regarding the drug Exelon that pointed to misleading risk presentations and other

 violations that “‘suggest[ed] that Exelon is safer . . . than has been demonstrated’” and

 encouraged use of the drug “‘in circumstances other than those for which the drug has

 been shown to be safe and effective.’” And Gorsky was eventually forced to sit for a


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 deposition in litigation surrounding DePuy Orthopaedics, Inc. (“DePuy”) Pinnacle hip

 implants, as the court reasoned that Gorsky had “personal involvement in the

 preparation of press releases and other official statements for the Pinnacle Device,

 presentation of information about the Pinnacle Device to medical professionals, and

 preparation of responses to news articles regarding recalls of other DePuy hip

 implants.” In December 2016, a Texas federal jury ordered J&J and DePuy to pay

 over $1 billion.

         116. By the time Gorsky became CEO of J&J in April 2012, both the

 Company and Gorsky himself were well aware that the questionable nature of J&J’s

 conduct and quality control were on the minds of investors and the media. Indeed, on

 his very first day as CEO, Gorsky faced questions from investors upset about J&J’s

 “battered image amid unprecedented product recalls and ethical lapses.” At J&J’s

 annual meeting, the investors “peppered its new CEO with questions and criticism,”

 and “raised concerns over serious side effects of some J&J prescription medicines.”

         117. To alleviate shareholder concerns, Gorsky and his predecessor

 “repeatedly stressed that J&J is sticking to the values in its corporate Credo, which

 puts patients, doctors, nurses and employees ahead of profits.” In fact, Gorsky

 assured investors that he was “‘resolute in his determination to keep our credo as the

 foundation for Johnson & Johnson.’” Spending “more than 30 minutes reviewing the

 venerable tenet, interspersing each passage” with a short story, “it was as if the


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 company was reaching into a pocket . . . to prove to investors that it had not lost its

 way.” Despite these assurances, Gorsky knew that concerns about J&J’s quality

 issues remained. Indeed, one attendee asked if Gorsky and J&J were going to take

 action “‘to ensure that Johnson & Johnson continues to be the honorable company that

 it’s always been,’” while another expressed his hope that Gorsky would “‘lead us back

 to the point where we will all be happy to hear the name Johnson & Johnson on the

 evening news.’”

         118. Gorsky and J&J had received this message loud and clear, and on

 September 13, 2012, the Company announced that “corporate fixer” Sandra Peterson

 would join J&J on December 1, 2012 in order to oversee the consumer unit and

 Global Supply Chain, along with Information Technology. The decision to bring in

 defendant Peterson was especially noteworthy, as it was the first time in the

 Company’s history that it had invited an outsider to join its executive committee

 rather than promoting from its own ranks. In an article entitled “J&J Recruits Bayer

 Executive,” the Wall Street Journal would report:

         Ms. Peterson’s hiring is the first major personnel move by new Chief
         Executive Alex Gorsky since he took the helm in April. It is also a
         departure from J&J’s tradition of looking inward to fill the ranks of
         executives.

               People familiar with Mr. Gorsky’s thinking say he believes J&J
         could benefit from an outsider’s perspective, and the hire shows the
         premium he puts on fixing the consumer and supply chain issues once
         and for all.


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                                     *     *       *

               Mr. Gorsky wooed Ms. Peterson for several months, according to
         a person familiar with the hiring. J&J completed its pursuit of Ms.
         Peterson in late August, when she accepted its proposed pay package and
         told Bayer, another person said.

         119. But as the events of the Class Period would show, Peterson could not fix

 the Company’s troubling history of knowingly exposing babies and mothers to a

 potent carcinogen and conducting a well-orchestrated campaign to cover it up.

         E.    The Class Period Begins – in the Face of Lawsuits Linking
               Its Talcum Powder to Ovarian Cancer, J&J Conceals the
               Company’s True Litigation Exposure and Reputational
               Risk

         120. At the same time that Gorsky, Peterson, and J&J were working to retain

 the trust of investors and consumers, the Company was beginning to face litigation

 brought by consumers alleging that the talc in J&J’s Baby Powder and Shower to

 Shower products had contributed to their ovarian cancer. While these allegations

 concerned the talc itself, defendants knew that J&J’s products were contaminated with

 asbestos, and that the Company’s longstanding misinformation campaign to deceive

 and manipulate researchers and regulators was at risk. Were the truth to be revealed,

 it could prove devastating to the Company’s efforts of preserving the public’s trust.

 As J&J’s counsel admitted on June 6, 2018:

         [Johnson’s Baby Powder is] an important product because the signature
         of the founders are on every bottle. And they know that this is about
         trust. This is about the trust of Johnson & Johnson. Because they know
         that the people who use this product are mothers and babies. And these
         are Johnson & Johnson’s customers. So this is about trust.

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 Facing the distinct possibility of old skeletons finally being dragged out of the closet,

 defendants made numerous false and misleading statements to investors and the

 public.

         121. On February 22, 2013, the first day of the Class Period, J&J filed its 2012

 Form 10-K with the SEC. Despite J&J’s long history with asbestos contamination and

 continued failure to use proper testing methodology, defendants told investors that

 J&J “remain[ed] committed” to “improving existing products” and “delivering high

 quality”:

               Research activities represent a significant part of the Company’s
         businesses. Research and development expenditures relate to the
         processes of discovering, testing and developing new products,
         improving existing products, as well as demonstrating product efficacy
         and regulatory compliance prior to launch. The Company remains
         committed to investing in research and development with the aim of
         delivering high quality and innovative products.11

         122. Defendants also represented that the warnings and instructions

 accompanying the Company’s products were adequate:

                Certain subsidiaries of Johnson & Johnson are involved in
         numerous product liability cases. The damages claimed are substantial,
         and while these subsidiaries are confident of the adequacy of the
         warnings and instructions for use that accompany the products at
         issue, it is not feasible to predict the ultimate outcome of the litigation.12

 11
    Substantially similar fraudulent statements were also made in the Company’s 10-
 Qs for the first, second, and third quarters of 2013.
 12
    Substantially similar fraudulent statements were also made in the Company’s 10-
 Qs for the first, second, and third quarters of 2013.


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         123. Then, on April 25, 2013, almost one year to the day after defendant

 Gorsky became CEO, J&J introduced a new corporate branding campaign at its

 annual shareholder meeting. Set to continue indefinitely and cost at least an estimated

 $20-30 million, the branding campaign was part of J&J’s efforts to “‘get past some of

 the challenges [it] had as a business.’” As defendant Sneed, J&J’s VP of Global

 Corporate Affairs, admitted, “‘[t]he reputation of J&J is very important to us. We

 take it very seriously. We have a lot of data that we look at, both externally and

 internally.’”

         124. But in working tirelessly to protect that reputation, J&J also told

 investors that it had “‘made great strides’” in “‘really get[ting] past some of the

 challenges we’ve had as a business.’” According to Sneed, the Company had “‘really

 embraced transparency,’” as it had “‘a great story to tell’” and wanted to help people

 “‘understand the values behind J&J’” and “‘make sure we have a full conversation

 about who J&J is.’” Sneed boasted of J&J’s admirable conduct, assuring investors

 that “‘when we do make mistakes, we own up to those mistakes.’” And according to

 Sneed, the new ad campaign focused on “‘what people do when they care

 unconditionally for others,’” which “‘comes out of the history of J&J.’”

         125. J&J further boasted of its “quality initiative” during a July 16, 2013

 conference call regarding the Company’s results for the second quarter of 2013

 (“2Q13”). According to defendant Peterson, J&J’s “quality effort [was] across the


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 enterprise, across all of our businesses,” since J&J was “trying to ensure that we have

 the highest standard of quality for the safety and care of our patients and consumers.”

 In addition, Peterson promised that “as we’ve gone through all of this work, we have

 identified corrective actions, and we’ve immediately taken those corrective actions.”

 Peterson also told investors that “early warning systems” were being put “in place” so

 that “if we think there may be something going on with a product,” “we identify it

 early and we go out and correct it.” Finally, Peterson assured investors that the

 Company was “ensuring that all of our external suppliers . . . are thoroughly reviewed,

 are thoroughly managed, and that they are living up to our quality standards.”

         126. Then, in October 2013, J&J experienced the first jury verdict in favor of a

 plaintiff linking J&J’s purportedly “asbestos-free” baby powder to ovarian cancer.

 While the jury did not award damages, J&J knew it could face a “furor” from the

 public if it were revealed that the Company’s powders contained asbestos. In order to

 maintain its fraudulent scheme, J&J emphasized the safety of its talc on its “Our

 Safety & Care Commitment” website.13 Defendant Goodrich personally worked on

 the language to be included on the website regarding talc. Indeed, an internal J&J


 13
        The web address for this web page was
 http://www.safetyandcarecommitment.com:80/ingredient-info/other/Talc. A
 “capture” of the webpage as it appeared on January 7, 2014 was accessed through
 the Internet Archive, located at archive.org/web. The historical page says it “was
 last modified on December 11, 2013.”



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 document that was created on October 7, 2013, with the filename “Talc website copy

 10 7 13.doc” was modified by defendant Goodrich and was also held in her files. See

 Ex. 2.

          127. According to J&J and defendant Goodrich on the website, “[f]ew

 ingredients have demonstrated the same performance, mildness and safety profile as

 cosmetic talc, which has been used for over 100 years” and has “a long history of

 safe use.” J&J and Goodrich also assured investors and the public that J&J’s “talc is

 carefully selected, processed and tested to ensure that [it] is asbestos free” and that

 this has been “confirmed by regular testing conducted since the 1970s.”

          128. But J&J’s own internal draft of this language, held in the files of

 defendant Goodrich, illustrates its false and misleading nature. In fact, while the

 website represented that cosmetic talc had “a long history of safe use” after being

 “used for over 100 years,” the draft language had actually refuted this claim and

 recognized that the use was not safe, as the copy for the website contained the

 following edit: “Talc has over 100 years of safe use in personal care products.” In

 addition, the copy for the website admitted that “I don’t think we can link cosmetic

 talc to 100 years of use.” Finally, the draft language contained the admission that

 when it came to J&J’s “talc-based consumer products,” J&J “cannot say [they have]

 ‘always’” been asbestos free.




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         129. In addition, defendants knew of but failed to disclose the many findings

 of asbestos in J&J’s talc and powders, J&J’s efforts to remove tremolite from its talc,

 and the Company’s continued failure to use proper testing techniques.

         130. In further support of the Company’s flagship product, J&J and Goodrich

 boasted on the website that “more than 30 years of research by independent

 researchers, scientific review boards and global regulatory authorities” supported the

 Company’s purported “confidence in using talc.” The website further emphasized that

 “[v]arious agencies and governmental bodies have examined whether talc is a


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 carcinogen” and that “none have concluded that it is.” Finally, defendants relied on

 the purported “[m]any research papers and epidemiology studies” that “have been

 published since the early 1990s,” representing that “these studies have found talc to

 be safe.”

         131. But these promises were also false and misleading. While J&J and

 Goodrich asserted that “more than 30 years of research” supported the safety of talc

 and that studies “since the early 1990s . . . have found talc to be safe,” they omitted

 what they recognized internally – that there were other scientific sources that were not

 included on the website because “they [were] not as definitive or supportive and could

 be interpreted as suggesting a causal effect,” including from such preeminent

 organizations as the American Cancer Society and IARC. See Ex. 2. Indeed, in the

 draft language for the website, a “NOTE TO CAROL/JAY” specifically informed

 defendant Goodrich that “[e]ven some of the studies we cite send mixed messages.”

 Goodrich was even informed that one of the studies cited by J&J actually

 acknowledged that “‘perineal talc use may modestly increase the risk of invasive

 serous ovarian cancers.’”




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         132. In addition, the representations by J&J and Goodrich on the website

 regarding “more than 30 years of research” and “agencies and governmental bodies”

 supporting the safety of talc were false and misleading because they omitted J&J’s

 longstanding scheme to influence and manipulate researchers and regulators, as well

 as J&J’s knowledge of asbestos in the Company’s talc and powders.

         133. Along with J&J’s “Our Safety & Care Commitment” website, defendants

 continued to cover up its true reputational risk and litigation exposure through investor

 calls and SEC filings. On a January 21, 2014 conference call regarding J&J’s fourth

 quarter of 2013 (“4Q13”) and Fiscal Year (“FY13”) results, defendant Gorsky

 promised that J&J had been “doing whatever it takes to ensure that we continue to

 earn the trust of consumers and patients around the world.” He also boasted that

 J&J’s “Chief Medical and Chief Quality Officers are setting new benchmarks for

 medical safety,” which included a new approach to “monitoring the use of our end

 market products” to “ensur[e] that they are safe.”

         134. These statements were false and misleading and omitted material

 information. While Gorsky claimed that J&J had been “doing whatever it takes” to

 earn the trust of consumers, including ensuring the safety of the Company’s products,

 the truth was that defendants were continuing the Company’s longstanding fraudulent

 scheme by concealing the asbestos contamination and J&J’s purposeful campaign to

 influence and manipulate regulators and scientists.


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         135. And on February 21, 2014, J&J filed its 2013 10-K with the SEC (“2013

 10-K”), again representing that J&J was “improving existing products” and that the

 Company “remain[ed] committed” to “delivering high quality.”14

         F.    As Ovarian Cancer Litigation Spreads, Defendants
               Continue to Conceal J&J’s True Reputational and
               Litigation Exposure

         136. Talc-related litigation against J&J began to increase in 2014, as two

 federal class actions were filed in May of that year, alleging that the Company failed

 to warn of health risks associated with its talcum powder products. And by June

 2014, J&J faced similar allegations brought by the Attorney General of Mississippi, as

 well as in an action filed on behalf of dozens of plaintiffs in Missouri state court.

 With claims regarding ovarian cancer mounting, defendants stepped up their efforts to

 conceal J&J’s true reputational and litigation exposure stemming from the Company’s

 longstanding knowledge of asbestos contamination, as well its decades-long campaign

 to cover it up.

         137. During a JPMorgan Healthcare Conference on January 12, 2015,

 defendant Gorsky promised that J&J’s “number-one priority in dealing with patients

 and consumers” was “[q]uality and safety” and that “over the last few years,” J&J

 had “addressed any of the outstanding issues that we were facing.”

 14
    The same or substantially similar fraudulent statements were made in the
 Company’s Form 10-Ks for 2014 and 2015, as well as in the Company’s Form 10-Qs
 for the first and second quarters of 2014.


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         138. Then, on February 5, 2015, defendant Glasgow posted to a webpage from

 J&J entitled “Making Every Moment Matter,” where she boasted that J&J was

 “tak[ing] our research to the next level by looking at all the science . . . that help our

 babies thrive and grow.” According to Glasgow, VP of R&D at JJCI, J&J was

 looking at ways to “make the little moments – like bath time” “mean so much more”

 through nurturing “your baby’s ability to learn.”

         139. A few months later, at an April 23, 2015 Shareholders Meeting,

 defendant Gorsky set out to defend J&J’s reputation as the “Baby Company” by

 assuring investors that J&J was “committed to helping mothers and babies”:

         Johnson & Johnson is committed to helping mothers and babies, we
         never want to forget the needs of the world’s smallest patients.
                                      *      *       *

         [C]aring inspires us day in and day out as we strive to make a
         difference for people who count on us the most. And as the world’s
         largest and best healthcare company in the world, we’re committed to
         reaching more people in more places in more ways. We’re helping
         people ultimately live longer, healthier, and happier lives.

         140. These statements were false and misleading and contained material

 omissions. In truth, rather than making sure that J&J had “addressed” the countless

 disturbing facts regarding Johnson’s Baby Powder, defendants continued the

 Company’s longstanding fraudulent scheme in order to protect J&J’s flagship product

 by concealing the presence of dangerous asbestos. As Gorsky admitted during the

 April 23, 2015 Annual Shareholders Meeting, “our consumer, our iconic consumer


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 brands have been, and continue to be, perhaps the greatest connection that we have

 with people, with consumers all over the world.”

         141. While defendants boasted of (i) providing parents “an opportunity to

 nurture [their babies’] ability to learn,” (ii) being “committed to helping mothers and

 babies,” and (iii) “helping people ultimately live longer, healthier, and happier lives,”

 they omitted that J&J had knowingly provided parents the opportunity to unwittingly

 expose their babies to a known carcinogen. And although defendants represented that

 “[q]uality and safety” were J&J’s “number-one priority,” they omitted J&J’s

 longstanding fraudulent scheme and storied history of prioritizing the image of its

 Baby Powder’s safety, rather than addressing the reality of its Baby Powder’s asbestos

 contamination. Similarly, while Glasgow represented that J&J was “looking at all the

 science . . . that help our babies thrive and grow,” the truth was that J&J continued to

 disregard the numerous findings of asbestos in its talcum powder and failed to

 implement adequate asbestos testing methods.

         142. By December 25, 2015, J&J had updated its “Our Safety & Care

 Commitment” webpage regarding talc.15 Even though J&J had admitted internally

 that cosmetic talc could not be linked to 100 years of safe use, defendants emphasized

 15
    The       web        address     for      this      web       page        was
 http://www.safetyandcarecommitment.com/ingredient-info/other/talc. A “capture” of
 the webpage as it appeared on December 25, 2015 was accessed through the Internet
 Archive, located at archive.org/web. The historical page says the “site was last
 modified on December 10, 2015.”


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 the “long history of safe use” of talc and promised that “[w]ith over 100 years of use,

 few ingredients have the same demonstrated . . . safety profile as cosmetic talc.” And

 despite the Company’s internal knowledge of asbestos contamination, defendants

 claimed that it was a “misperception[]” “that talc products contain asbestos.”

 Defendants even referenced J&J “ask[ing] outside experts for an independent

 perspective” and “carefully assess[ing] all available data on talc,” but claimed that

 based on this review, consumers “can feel confident” in the safety of talc. In truth,

 defendants knew or recklessly disregarded J&J’s history of asbestos contamination in

 its talc and powders. Rather than disclose the truth, defendants boasted on the “Our

 Safety & Care Commitment” website that the talc used for J&J’s products “is

 carefully selected and processed to be asbestos-free,” and that J&J “confirm[s] this

 with regular testing.” They even promised that J&J’s talc products are “precisely

 mill[ed]” “to decrease the potential to be inhaled or absorbed into the body,” while

 failing to disclose that the talc and powders had repeatedly been found to contain

 asbestos.

         143. In addition, J&J continued to rely on the defenses it had worked so hard

 to create over the previous decades, claiming that “more than 30 years of research by

 independent scientists, review boards and global authorities” supported the safety of

 talc, omitting J&J’s longstanding scheme to influence and manipulate researchers and

 regulators and its internal recognition that the science was unclear at best. Indeed,


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 while defendants relied on the FDA, they failed to disclose that J&J had assured the

 FDA that no asbestos had been detected when in fact J&J insiders had acknowledged

 the asbestos contamination. Similarly, defendants boasted that “[c]osmetic talc is not

 included in the most recent Report on Carcinogens,” but they omitted the Company’s

 own admission that talc’s absence from the RoC was a “direct result” of J&J’s efforts

 at influencing the process. And despite J&J’s knowledge that its Baby Powder was

 contaminated with asbestos, defendants falsely claimed that talc used in consumer

 products “is required to be asbestos-free and has been since the 1970s.”

         144. J&J’s updated “Our Safety & Care Commitment” website also contained

 a personalized statement from defendant Casalvieri. According to Casalvieri, she and

 J&J “‘want[ed] to assure women and caregivers who use our talc products that

 numerous studies support its safety,’” including “‘assessments by external experts

 in addition to our company testing.’” Casalvieri emphasized that the “‘[m]any

 research papers and epidemiology studies [that] have specifically evaluated talc and

 perineal use’” “‘have found talc to be safe.’”

         145. But Casalvieri’s assurances were false and misleading. In relying on

 “‘numerous studies’” supporting the safety of J&J’s talcum powders, Casalvieri failed

 to mention the numerous occasions of asbestos being found in the Company’s talc and

 powders and J&J’s tireless efforts to influence the literature and regulators –

 information that she knew or recklessly disregarded as the person with direct


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 oversight over the continuation of these efforts in 2005. Indeed, a February 2005

 email chain illustrates that Casalvieri was directing the project which was “active to

 defend talc,” with Mann handling the “day-to-day” activities.

         146. While Casalvieri claimed that “external experts” supported the safety of

 talc, she failed to disclose that J&J had “work[ed] with Luzenac and outside

 epidemiology experts to develop documents that scientifically support the lack of a

 relationship of talc and ovarian cancer” – efforts that she had been informed of

 through a February 2005 email. Similarly, she was informed through an August 2005

 email that Muscat, one of the authors of the secretly funded study, had worked with

 J&J back in 2000 and that Muscat was working with “Huncharek, Luzenac and J&J

 on a couple of projects related to the NTP talc review.” And an October 2004 email

 informed Casalvieri of some of the details of Luzenac’s Rich Zazenski’s “history with

 J&J on defending talc,” including the submission of analysis “under CTFA letterhead”

 to Dr. Olden of NTP. The email further informed Casalvieri that Zazenski had written

 a paper with J&J’s Ashton and Chudkowski for a workshop with the International

 Society of Regulatory Toxicology and Pharmocology/FDA about “the 1992 NTP

 Inhalation Study and growing concerns about the association of talc and ovarian

 cancer.” In the October 2005 celebratory email about the NTP withdrawing its

 consideration of talc, J&J’s Gaetan Rouleau congratulated Casalvieri specifically,

 along with Mann, as the NTP’s withdrawal of talc from consideration was “a major


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 accomplishment for J&J.” Finally, on the website, Casalvieri admitted that it was her

 job “‘to make certain a product is safe by assessing whether any ingredient in that

 product poses a risk.’”

         G.    After a Jury Finds J&J Liable for Damages in an Ovarian
               Cancer Lawsuit, Defendants Continue to Lie to Investors
               and the FDA

         147. In February 2016, a Missouri state jury returned a verdict against J&J for

 failure to warn, negligence, and conspiracy and awarded $72 million in damages to

 the estate of Jacquiline Fox, a long-time user of J&J’s talcum powders and a victim of

 ovarian cancer. This verdict was reportedly the first to award damages to a plaintiff

 linking ovarian cancer and J&J’s talc products, and it included an award of $62

 million in punitive damages. Rather than disclose its longstanding fraudulent scheme,

 J&J continued to cover it up.

         148. In a February 23, 2016 Reuters article about the recent verdict, defendant

 Goodrich stated, “‘We . . . firmly believe the safety of cosmetic talc is supported by

 decades of scientific evidence.’” And on February 24, 2016, J&J created a page on its

 website, entitled “The Facts About Talc Safety,” which made the familiar claim that

 “[w]ith over 100 years of use, few ingredients have the same demonstrated . . . safety

 profile as cosmetic talc.” But as alleged above, defendants J&J and Goodrich knew

 that cosmetic talc could not be linked to 100 years of safe use. ¶128. On the website,




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 J&J presented numerous other false and misleading statements as purported “[f]acts”

 about talc, including the following:

              “JOHNSON’s talc products do not contain asbestos.”

              It is a “misperception . . . that JOHNSON’s Baby Powder contains talc
               made with asbestos.”

              “Since the 1970s, talc used in consumer products has been required to be
               asbestos-free.”

              “The grade of talc used in cosmetics is of high purity . . . and is free from
               asbestos and asbestiform fibers.”

              “Cosmetic grade talc is only mined from select deposits from certified
               locations . . . .”

              “Cosmetic grade talc is . . . milled to relatively large, non-respirable
               particles size.”

              “Our sources for talc undergo comprehensive qualification.”

              “The incoming talc is routinely evaluated . . . .”

              “The incoming talc is . . . evaluated using a sophisticated battery of tests
               designed to ensure quality, safety, and compliance with all global
               standards.”

              “The safety of talc is based on a long history of safe use and decades of
               research by independent researchers and scientific review boards.”

         149. Once again, these statements were materially false and misleading. In

 truth, (i) J&J had acknowledged asbestos contamination of its talc and talcum

 powders, (ii) J&J had tried to find a way to remove the tremolite from its talc, (iii) J&J

 purposely failed to use concentration methods that were required to actually detect the

 asbestos, and (iv) J&J had successfully influenced and manipulated regulators and


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 researchers in order to defend the talc’s safety image. Furthermore, defendant

 Goodrich knew through her work on the “Our Safety & Care Commitment” website

 that “[t]he safety of talc” was not supported by “decades of research,” as some sources

 “could be interpreted as suggesting a causal effect” and “[e]ven some of the studies

 [cited by J&J] send mixed messages.” ¶131.

         150. At the same time that J&J was misleading investors and the public

 regarding its talcum powder products, the Company continued its decades-long

 scheme to mislead and influence regulators. On February 25, 2016, only a few days

 after the $72 million verdict against J&J, the FDA made the following written request

 to JJCI:

         “Please provide all safety literature and data regarding talc, including
         data in support of the safety of this active ingredient and data that shows
         potential harmful effects for this active ingredient, by March 17, 2016.”

         151. J&J responded to this request on March 17, 2016 through a letter from

 Jethro Ekuta, VP of Regulatory Affairs North America at JJCI. In the letter, J&J

 addressed asbestos specifically, claiming that “[n]o asbestos-form structures have ever

 been found during any testing” of JJCI Body Powders:

              For Body Powders, JJCI uses talc which meets the USP
         monograph. . . .

                The USP permits the use of either Infrared Absorption or X-Ray
         Diffraction to evaluate for asbestos-form structures. If positive results
         are obtained, then Optical Microscopy is used as the definitive test. JJCI
         uses a combination of X-Ray Diffraction, Optical Microscopy, and
         Transmission Electron Microscopy (TEM).


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               As a second impurity check, talc used worldwide for JJCI Body
         Powders is periodically sent to an independent test lab for a full
         comparative evaluation. No asbestos-form structures have ever been
         found during any testing.

         152. This response to the FDA was false and misleading, as it omitted that J&J

 had been told repeatedly that its talc and talcum powders contained asbestos.

         153. In its submission to the FDA, J&J also boasted that “[c]osmetic talc is not

 included in the most recent (2014) Report on Carcinogens, published by the US NTP.”

 But J&J omitted what it had admitted internally – that the NTP’s withdrawal of talc as

 a possible candidate for the Report on Carcinogens was “a direct result” of J&J’s

 teaming with its industry cohorts to manipulate the process.

         154. J&J also told the FDA that its “confidence in using talc [was] based on

 more than 100 years of safe use and more than 30 years of research by independent

 researchers, scientific review boards and global regulatory authorities.” But J&J

 omitted what it had acknowledged internally – that “we cannot say ‘always,’” talc

 could not be linked to 100 years of safe use, and studies actually sent “mixed

 messages” on the association between talc and ovarian cancer.

         H.    As J&J Is Hit with Additional Ovarian Cancer Verdicts,
               Defendants Continue to Conceal the Asbestos
               Contamination and the Company’s Longstanding
               Fraudulent Scheme

         155. On May 2, 2016, another Missouri jury found J&J liable in an ovarian

 cancer case, awarding $55 million in damages. With knowledge of J&J’s decades-



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 long conspiracy to cover up the asbestos contamination of its Baby Powder,

 defendants again went on the offensive, promising that they “remain[ed] completely

 confident” that the Company’s talc was safe and that J&J has done “the things you

 expect from a company you trust.”

         156. On the same day as the verdict, defendant Goodrich and J&J announced

 that the Company would appeal the jury’s decision, which purportedly “[went] against

 30 years of studies by medical experts around the world that continue to support the

 safety of cosmetic talc.” But as alleged in ¶131, J&J and Goodrich knew that some of

 the information worth considering “could be interpreted as suggesting a causal effect”

 between talc and ovarian cancer, including from the American Cancer Society and

 IRAC, and that some of J&J’s own sources sent “mixed messages.” And while J&J

 and Goodrich claimed that “[m]ultiple scientific and regulatory reviews have

 determined that talc is safe for use in cosmetic products and the labeling on Johnson’s

 Baby Powder is appropriate,” they failed to disclose J&J’s exhaustive efforts to

 monitor and influence regulators and research in order to protect the safety image of

 the Company’s flagship product.

         157. Also on May 2, 2016, J&J published “A Message About Talc” on its

 website. There, defendants represented that J&J has never had any doubts about

 potential hazards with its talc, as the Company “first offered” its Baby Powder “more

 than 100 years ago because we were confident in the safety of talc,” and defendants


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 “remain[ed] completely confident in its safety.” In truth, however, defendants knew

 that J&J had been repeatedly informed of asbestos in the Company’s talc and talcum

 powders and that the Company had worked tirelessly to conceal this information for

 decades.

         158. J&J’s “Message About Talc” was also false and misleading for numerous

 other reasons. According to defendants, J&J “has always taken questions about the

 safety of our products extremely seriously.” Recognizing that “families have trusted”

 Johnson’s Baby Powder “for generations,” defendants represented that “[w]hen

 concerns about . . . talc and ovarian cancer were first raised,” “Johnson and Johnson

 took them very seriously and did the things you expect from a company you trust.”

 These activities purportedly included:

              Testing to ensure that the talc in JOHNSON’S® Baby Powder
               meets the highest Quality standards (US Pharmacopeia);

              Engaging with the FDA, regulatory agencies, and governments
               around the world;

              Monitoring studies and all available information examining the
               safety of talc; and

              Talking with independent consultants from outside our company
               about their point of view on the safety of talc.

         159. In truth, J&J had acted in a manner vastly different than what any

 reasonable person would “expect from a company you trust.” As detailed above,

 while J&J did test its talc, the test methods chosen were purposely inadequate and

 unable to detect trace amounts of asbestos. And while J&J “[e]ngag[ed]” with

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 regulatory bodies and consultants and “[m]onitor[ed] studies,” defendants omitted that

 J&J had long conducted these activities to influence such work, which would prevent

 the regulators and scientists from discovering the truth about J&J’s flagship product.

 Defendants also failed to disclose that “all available information examining the safety

 of talc” included the repeated findings of asbestos contamination and the Company’s

 fraudulent scheme going back decades.

         160. J&J also again relied on the defenses it had been orchestrating for

 decades – boasting that the safety of its talc was supported by “30 years of studies by

 medical experts around the world, science, research and clinical evidence.” But

 defendants once again omitted any mention of J&J’s longstanding scheme as well as

 the recognition internally that many of the studies were mixed when it came to talc

 safety.     According to defendants’ “Message About Talc” website, “various

 governmental and non-governmental agencies as well as other expert panels have

 reviewed and analyzed all available data, and none have concluded that talc can cause

 cancer.” But defendants failed to disclose that J&J had made misleading statements to

 the FDA less than two months prior to the website posting, as well as that none of the

 agencies or panels were informed of J&J’s long history with asbestos contamination.

         161. On May 10, 2016, J&J filed its Form 10-Q for the first quarter of 2016

 (“1Q16”). There, defendants disclosed that the Company faced personal injury

 litigation relating to the Company’s talcum powders and that the Company had


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 established an accrual for the defense costs. But defendants failed to disclose the

 repeated findings of asbestos in the Company’s talc, J&J’s efforts to remove tremolite

 from its talc, the Company’s purposely inadequate asbestos testing, or J&J’s

 longstanding scheme to influence and manipulate regulators and scientists.16

         162. With the ovarian cancer litigation receiving attention, J&J insisted on

 defending Johnson’s Baby Powder. On May 18, 2016, Josh Ghaim (“Ghaim”), the

 Chief Technology Officer of JJCI, assured investors that “we’re being very careful in

 terms of what raw materials we select, what type of safety studies that are needed.”

         163. And in a June 19, 2016 Houston Chronical editorial, defendant Glasgow

 repeated many of the false and misleading statements made earlier. This included the

 promise that J&J had done “the things you expect from a company you trust” when

 concerns about ovarian cancer were raised, such as testing, meeting with regulators,

 “looking closely at the studies and available information” and “talking with

 independent consultants.” She also boasted of the “purity” of J&J’s talc, which is

 “carefully select[ed]” and “process[ed] . . . to be asbestos-free,” as “confirmed

 . . . with regular testing since the 1970s.” And she claimed that 30 years of scientific

 studies and regulatory reviews have shown” that “[c]osmetic talc is safe.”



 16
    Substantially similar fraudulent statements were made in J&J’s Form 10-Qs for the
 second and third quarters of 2016, and the first three quarters of 2017 and 2018, as
 well as in J&J’s Form 10-Ks for 2016 and 2017.


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         164. But Glasgow’s editorial also made new, more personal promises about

 J&J and the safety of its talc. For example, she promised:

         As a scientist, and most importantly, as a parent, I can tell you the
         science is clear – cosmetic talc is, and has been, safe for use and that is
         the most important guiding principle for every product Johnson &
         Johnson Consumer Inc. offers to consumers and patients.

         165. As VP of R&D at JJCI, Glasgow also represented that J&J’s consumer

 division is “guided by the medical facts and science when it comes to our products.”

 In doing so, Glasgow omitted that J&J had long been guided by an intense desire to

 protect the safety image of talc and the Company, not by facts and science.

         166. On August 4, 2016, J&J filed its 10-Q for the second quarter of 2016

 (“2Q16”). There, J&J disclosed that it was not just its subsidiaries facing “numerous

 product liability claims,” but also J&J, the parent company. J&J assured investors it

 “ha[d] substantial defenses” itself.17

         167. On December 30, 2016, J&J again touted the safety and effectiveness of

 talc in its products on the Company’s “Safety and Care Commitment” website,

 representing that because “[y]our trust in our products and your confidence using them

 every day is a huge responsibility,” J&J “only use[s] ingredients . . . deemed safe by




 17
    The same or substantially similar fraudulent statements were made in J&J’s Form
 10-Qs for the third quarter of 2016, and the first three quarters of 2017 and 2018, as
 well as the Company’s Form 10-Ks for 2016 through 2017.


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 the latest science.”18 Defendants also boasted that after having “dug deep into the

 evidence and science on talc,” they concluded that research, clinical evidence,

 “decades of science,” “and 30 years of studies by medical experts around the world”

 supported talc’s safety. But defendants omitted J&J’s own recognition of its talc

 being contaminated with asbestos, as well as the Company’s purposely inadequate

 testing. And while defendants assured investors and the public that J&J “take[s] any

 questions about our product’s safety seriously,” they failed to disclose that the

 Company had responded to those questions with a long campaign to monitor and

 infiltrate scientific and regulatory processes.

         168. By January 24, 2017, J&J’s website entitled “The facts on talcum powder

 safety” contained a statement by defendant Glasgow that she and others at J&J had

 “assembled” and reviewed “all of the available data” regarding the safety of talc,

 which included “decades of conclusive, scientific, evidence-based findings.”19

 Glasgow reemphasized that J&J valued safety and that “there is no information more

 important than our research on scientific data and safety.” According to Glasgow,

 18
    The        web       address      for       this      web         page      was
 www.safetyandcarecommitment.com/Ingredients/Talc. A “capture” of the webpage
 as it appeared on December 30, 2016 was accessed through the Internet Archive,
 located at archive.org/web. The historical page says the “site was last modified on
 August 31, 2016.”
 19
    The web address for this web page was www.factsabouttalc.com. A “capture” of
 the webpage as it appeared on January 24, 2017 was accessed through the Internet
 Archive, located at archive.org/web.


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 based on “all of the available data,” “the science is clear: Cosmetic talc is, and has

 been, safe for use in consumer products.” And Glasgow promised that talc “is safe

 to use as part of your personal care routine,” as shown by “decades of conclusive,

 scientific, evidence-based findings.” In truth, however, J&J had not valued safety, as

 “the available data” showed that asbestos had been found in J&J’s talc and talcum

 powders numerous times and that the Company had intentionally used inadequate

 testing methods that were incapable of finding the asbestos in the Company’s talc.

         169. On February 27, 2017, J&J filed its 2016 Form 10-K with the SEC.

 There, defendants included general language regarding the possibility of “[p]roduct

 efficacy or safety concerns” along with potential “declining sales and reputational

 damage,” such as “damage to brand image, brand equity and consumer trust in the

 Company’s products.” Among the many general risks and uncertainties faced by the

 Company, defendants listed “significant legal proceedings,” which could “result in

 significant expenses, fines and reputational damage.” At the same time, defendants

 repeated the mantra that J&J “believes it has substantial defenses.” Defendants also

 again represented that J&J was “improving existing products” and that the Company

 “remain[ed] committed” to “delivering high quality.”20




 20
    Substantially similar fraudulent statements were made in the Company’s 2017
 Form 10-K, filed February 21, 2018.


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         170. Throughout these statements, defendants omitted the numerous findings

 of asbestos in the Company’s talc and powders, the Company’s attempts to remove

 tremolite from its talc, J&J’s purposeful and continual rejection of adequate testing

 methods, and the Company’s longstanding scheme to cover up the truth. Indeed,

 defendants simply listed the talc lawsuits as one significant area of litigation among

 many and claimed to have “substantial defenses,” failing to disclose J&J’s lengthy

 history of asbestos contamination. But while investors (and the public) were none the

 wiser, the Company’s Board of Directors was on high alert regarding the

 Company’s sacred cow.

         171. A June 6, 2017 J&J email to the Board of Directors, including defendant

 Gorsky, illustrates that an entire slide deck with the heading “‘Update on Talc

 Litigation’” and discussing “reputational risk” would be used during the June 12-13,

 2017 Board and Committee Meetings:

         To: Members of the Johnson & Johnson Board of Directors

         Re: Materials for June 12-13 Johnson & Johnson Board and
         Committee Meetings
                Materials for the June 12-13 Johnson & Johnson Board and
         Committee Meetings are now available for your review on the Board
         Portal. The following additional materials will be posted when they
         become available tomorrow:

              Ethicon/Hospital Medical Devices Update, including the Strategic
               Customer Transformation (the materials to be covered in the 9:15-
               10:15 review); and



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              A second deck under the heading of “Update on Talc Litigation”
               in Tab 7 that discusses reputational risk.

         172. After coming out victorious for the first time in an ovarian cancer trial in

 March 2017, then losing yet another one in May 2017, J&J suffered its biggest loss

 yet in the first ovarian cancer verdict coming out of California. In August 2017, the

 jury in that case awarded the plaintiff a total of $417 million in damages, including

 $347 million in punitive damages.

         173. The California verdict got the attention of financial analysts. For

 example, in an August 22, 2017 credit analyst note, “Johnson & Johnson’s Talcum

 Powder Legal Risk Heightens With Record Verdict,” Morningstar detailed the

 litigation J&J had, and still, faced:

                 On Aug. 21, a jury in the Superior Court of Los Angeles County
         awarded $417 million in damages to a California woman who used
         Johnson & Johnson’s (rating: AAA, negative) baby powder over many
         decades and said that it caused her ovarian cancer and the firm failed to
         warn her of the possible risks associated with use of the product. The
         verdict is the largest handed out in the firm’s talcum powder product
         liability litigation thus far, but it is likely to be reduced upon appeal.
         However, this outcome is a harbinger of Johnson & Johnson’s
         growing exposure to the thousands of cases outstanding in the United
         States today. Four cases have already come to decisions in Missouri
         courts over the past year or so yielding total damage awards of
         approximately $308 million, all of which are under appeal. These
         unfavorable results in the early trials may dictate the terms of a
         national settlement of the talcum powder product liability litigation, if
         the company were to pursue one. Presently, we see no negative effect
         on the current rating as the company has substantial liquidity to
         manage this caseload, with around $13 billion in cash and short-term
         investments as of June 30 and free cash flow averaging nearly $17
         billion annually over the next five years, in our estimation.

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         174. In analyzing the caseload and a potential national settlement, Morningstar

 did not know about J&J’s longstanding fraudulent scheme to conceal asbestos

 contamination, which would increase J&J’s potential liability through additional lines

 of talc litigation, including lawsuits alleging that mesothelioma was caused by the

 asbestos, and lawsuits alleging that ovarian cancer was caused by the asbestos (rather

 than the talc itself).

         175. The media also took notice of the litigation. For example, The Star

 newspaper published an article attempting to address the safety concerns, entitled

 “Does talcum powder cause cancer and should you stop using it?” The article quoted

 the oft-repeated mantra found on J&J’s website, that “‘the safety of cosmetic talc is

 supported by decades of scientific evidence.’”

         176. With the large verdict catching the attention of analysts and the media,

 defendant Gorsky was forced to address the talc litigation at a September 6, 2017

 Wells Fargo Healthcare Conference. There, Gorsky assured investors that J&J always

 puts safety first and that the safety of talc was clearly demonstrated by clinical

 information, control data, and “100 years of experience.” Gorsky also illustrated that

 he was paying close attention to the proceedings, as he went on to discuss events in

 specific jurisdictions and referenced “the data” providing the confidence in “the

 position that we’re taking”:

         [W]e always put patient and consumer safety first in everything that we
         do. That being said, we think that the significant amount of clinical

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         information, control data in this category, both from agencies, such as
         the NCI as well as the FDA, clearly demonstrates the safety of talc, and
         by the way, from more than a 100 years of experience. That being said,
         we were disappointed with some of the early results, for example, in St.
         Louis. We’re encouraged by some of the recent rulings out of Supreme
         Court regarding those venues. We’ve also been encouraged by some of
         the earlier findings in New Jersey. We were disappointed with the first
         outcome in California but, nonetheless, we feel that we have some
         strong ground on the field going forward. And again, we remain,
         based upon the data, confident of the position that we’re taking.

         177. Despite Gorsky’s assurances, the Company had clearly not “always put

 patient and consumer safety first in everything” it did. Rather, J&J had concealed

 asbestos contamination of its talcum powders for decades. Indeed, even in 2017,

 rather than being focused primarily on safety risks, Gorsky and the other board

 members’ primary focus regarding the talc litigation was on “reputational risk,” as

 illustrated by the June 2017 email to the Board.

         178. And while Gorsky again invoked the science and regulatory defenses the

 Company had spent decades building and boasted of having “some strong ground on

 the field going forward” “based upon the data” and “more than a 100 years of

 experience,” he knew or recklessly disregarded that the Company’s data actually

 showed repeated findings of asbestos contamination, J&J’s attempts at developing

 methods to remove it, and the Company’s purposeful use of inadequate testing

 methods, as well as the Company’s successful efforts to manipulate regulators and

 researchers.




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         I.    J&J Faces Its First Trial Involving Allegations of Asbestos
               in Talcum Powder Causing Mesothelioma

         179. By September 2017, a trial was set to begin in a case against J&J brought

 by Tina Herford, who alleged that she had developed mesothelioma because of

 exposure to asbestos contained in J&J’s talcum powder products through 1993 (the

 “Herford case”). As stated in a September 14, 2017 Bloomberg article entitled

 “Johnson & Johnson’s Newest Talc Problem? Asbestos,” it was “the first suit to go to

 trial alleging some J&J talc products made decades ago were contaminated with

 asbestos.” Relying on analysis by Professor Jean Eggen of Widener University

 Delaware Law School, the Bloomberg article opined that “many more cases are likely

 on the way,” but that they would be “both easier and harder to litigate” than the

 ovarian cancer cases or traditional asbestos cases. A key difficulty for the asbestos

 contamination claims would be proving “‘actual exposure to asbestos in the talc.’”

         180. While the Bloomberg article contained the plaintiff’s lawyer’s

 representation that there was asbestos in the talc and that J&J hid the information, it

 also provided another lawyer’s view that “the plaintiffs’ scientists in these cases are

 engaging in ‘pseudo-science.’” In addition, the article emphasized the Company’s

 continued denials:

                Johnson & Johnson declined to comment either on Herford’s suit
         or the litigation generally. But a statement on the company’s website
         says: “Since the 1970s, talc used in consumer products has been
         required to be asbestos-free, so Johnson’s talc products do not contain
         asbestos.”

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 What Bloomberg did not know, and what J&J continued to conceal, was that J&J’s

 talc products had repeatedly been found to contain asbestos.

         181. On September 21, 2017, Bloomberg published a second article entitled

 “J&J Was Alerted to Risk of Asbestos in Talc in ‘70s, Files Show.” Reporting on

 documents unsealed in a St. Louis ovarian cancer case brought by more than 50

 women against J&J (the “Ingham case”), the article opined that the documents “add

 another dimension” to the St. Louis plaintiffs’ claims and noted that J&J was also

 facing over 5,000 ovarian cancer lawsuits nationwide:

         The talc used by J&J to make its products “is not now, nor has it ever
         been, free from asbestos and asbestiform fibers,” according to the lawsuit
         filed on behalf of more than 50 women in St. Louis.

               The unsealed documents add another dimension to the claims
         against J&J as it defends itself from more than 5,000 suits across the
         U.S. blaming its baby powder products for causing women to develop
         ovarian cancer.

         182. The article cites a May 1974 recommendation by the director of research

 and development at J&J’s Windsor mine that the Company use certain systems “‘to

 provide protection against what are currently considered to be materials presenting a

 severe health hazard and are potentially present in all talc ores in use at this time.’”

 The article also discusses a 1973 J&J report stating that “‘sub-trace quantities’” of two

 minerals are occasionally “‘identifiable and these might be classified as asbestos

 fiber,’” as well as a training memorandum telling employees to assure anyone

 concerned about potential asbestos that the Baby Powder is asbestos free. Finally, it


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 discusses how in 1974, J&J got an Italian talc supplier to stop distributing English-

 language versions of a booklet mentioning trace amounts of asbestos in the talc, but

 the article also provides J&J’s contention that testing at the Italian mine “showed no

 evidence of asbestos at the site.”

         183. In order to neutralize any concern over the released documents and

 convince investors that the St. Louis plaintiffs’ theory was meritless, defendants

 insisted that Johnson’s Baby Powder has always been free of asbestos.              The

 Bloomberg article reported on J&J documents showing that “tests of its talc stretching

 back to at least 1972 found no trace of asbestos,” along with the following

 assurances from J&J:

         FDA Requirements
               “The U.S. Food and Drug Administration requires specific testing
         to ensure that cosmetic talcum powder is free of asbestos,” Ernie
         Knewitz, a spokesman for J&J, said in an emailed statement.

               “We are confident that our talc products are, and always have
         been, free of asbestos, based on decades of monitoring, testing and
         regulation,” Knewitz said. “Historical testing of samples by the FDA,
         numerous independent laboratories, and numerous independent scientists
         have all confirmed the absence of asbestos in our talc products.”

                                      *     *       *

               New Brunswick, New Jersey-based J&J has said the plaintiffs’
         allegations aren’t supported by valid scientific evidence, pointing to a
         New Jersey state court decision last year tossing out two cases.

               The unsealed files were used as part of an April pre-trial
         deposition given by Joanne Waldstreicher <https://www.jnj.com/office-
         chief-medical-officer>, J&J’s chief medical officer since 2013. Under

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         questioning by plaintiffs’ lawyer Mark Lanier, Waldstreicher
         maintained that J&J’s baby powder products are asbestos free. We
         have experts that assure there’s no asbestos in our talc,” she told the
         lawyer.

         J.    J&J Continues to Defend Its Flagship Product, but the
               Truth Leaks Out

               1.     September 27, 2017 Disclosure
         184. On September 27, 2017 a press release by Bernstein Liebhard LLP

 signaled to J&J investors that plaintiffs in ovarian cancer lawsuits throughout the

 country were looking to add asbestos allegations to their ovarian cancer claims. The

 press release, entitled “Talcum Powder Lawsuit Plaintiffs Claim Unsealed Documents

 Show Johnson & Johnson Knew of Talc-Asbestos Danger in 1970s, Bernstein

 Liebhard LLP Reports,” stated in part:

                Plaintiffs pursuing talcum powder lawsuits in Missouri state court
         claim that newly unsealed documents show that Johnson & Johnson has
         known since the 1970s that its talc-based powders contained asbestos
         fibers, which could increase the risk of ovarian cancer in women who
         used the products for daily feminine hygiene. (Case No. 1522-CC10417,
         Circuit Court, City of St. Louis, Missouri)

                “Our Firm is representing women who allegedly developed
         ovarian cancer due to Johnson & Johnson’s talcum powder products.
         These documents are of great interest to our clients, and we will
         continue to monitor the Missouri litigation for any other developments
         that could impact their claims,” says Sandy A. Liebhard, a partner at
         Bernstein Liebhard LLP, a nationwide law firm representing victims of
         defective medical devices, drugs and consumer products. The Firm is
         offering free legal reviews to women who were diagnosed with ovarian
         cancer that may be associated with Johnson & Johnson’s Baby Powder
         and Shower-to-Shower products.



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         185. In response to the news, J&J’s stock price declined from a close of

 $130.94 on September 26, 2017 to a close of $129.75 on September 27, 2017. An

 event study has determined that this decline was statistically significant.21

         186. Analysts at Jefferies illustrated that the talc litigation was material to

 investors in an October 11, 2017 report in which they largely dispelled the concerns

 but noted that they would “continue to watch [the talc litigation] with interest”:

         Talc litigation still a focus for investors

               We continue to receive questions on Talcum powder from
         investors given litigation in several different jurisdictions and relentless
         media attention on it. Whilst there are ongoing cases surrounding the
         potential cancer risks associated with talc, only a handful of cases have
         received a verdict. Johnson and Johnson have stated that they are not
         seeing a significant impact to the business and have highlighted that talc
         powder represents only 0.3% of sales on an enterprise basis. The FDA
         requires manufacturers of talc products to specifically take steps to
         avoid contamination with asbestos and that talc is used in a wide variety
         of other products including chewing gum, food processing, make up,
         soaps, pill manufacturing, antiperspirants, etc.

                One of the highest profile rulings was in August 2017, where a
         California jury found in favour of the plaintiff and awarded $70m in
         compensatory damages plus a further $347m in punitive damages for a
         total of $417m. Many investors have become nervous of the potential

 21
    An event study isolates the stock price movement attributable to a company (as
 opposed to market-wide or industry-wide movements) and then examines whether the
 price movement on a given date is outside the range of typical random stock price
 fluctuations observed for that stock. If the isolated stock price movement falls outside
 the range of typical random stock price fluctuations, it is statistically significant. If
 the stock price movement is deemed statistically significant, it indicates that the stock
 price movement cannot be attributed to market and sector factors, or to random
 volatility, but rather was caused by new company-specific information.


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         size of total damages that could be awarded against Johnson & Johnson,
         given that there are approximately 6,000 women and their families suing
         the company. We note that in other cases, which have awarded damages
         against Johnson & Johnson the level of damages was generally much
         smaller. It should also be noted that Johnson & Johnson is seeking to
         appeal and overturn negative verdicts received to date and has won
         positive verdicts in some jurisdictions.

         Scientific evidence appears to support JNJ on talc litigation

               We note that Johnson & Johnson appears to have several large
         studies, as well as the FDA and National Cancer Institute on its side
         regarding the safety of talc. Against this, older studies in the literature
         have made associations between talc and ovarian cancer in women and
         the International Agency for research on Cancer classified talcum
         powder as a possible human carcinogen if used in the female genital area
         in 2006. A key point to some of the litigation to date has not been
         whether talc is carcinogenic, but as to whether Johnson & Johnson
         concealed evidence from the public that it might be.

                 Overall, we do not find the overall situation regarding talc
         litigation for Johnson & Johnson to be a major concern for us at present,
         though we continue to watch it with interest.

         187. Adding to the confusion for investors, J&J obtained a victory in October

 2017 when the $417 million ovarian cancer verdict was thrown out by a judge in

 California. Then, on November 16, 2017, a jury in the Herford case returned a verdict

 in favor of J&J. Celebrating its victories, J&J once again touted that Johnson’s Baby

 Powder does not contain asbestos.

         188. Then, on January 16, 2018, Fair Warning published a story entitled

 “Baby Powder Battles: Johnson & Johnson Internal Documents Reveal Asbestos




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 Worries” (the “Fair Warning story”).22 The story was based on internal J&J

 memoranda and FDA documents showing that J&J was aware of the possibility of an

 issue with asbestos back in the 1970s. For example, Fair Warning referenced internal

 documents recognizing “‘potential asbestos content,’” and occasional “‘sub-trace

 quantities’” of what “‘might be classified as asbestos fiber.’” It also references a 1974

 document from J&J’s mining operation that recognized the need to ensure that

 asbestos was not present in the talc, as such materials were “‘a severe health hazard’”

 and were “‘potentially present in all talc ores in use at [that] time.’”

         189. According to the Fair Warning story, while the documents “raise

 questions about J&J’s candor on the incendiary topic of asbestos and talc,” they

 “don’t settle the safety issue.” Indeed, in recounting “an asbestos scare” in the 1970s

 in which researchers “reported finding asbestos in a number of popular talc-based

 powders and cosmetics,” Fair Warning reported that “[i]t turned out that the reports of

 contamination were somewhat exaggerated.” Fair Warning also cited documents

 regarding J&J’s discussions with the FDA in the 1970s, along with J&J’s position in

 1974 that if a baby powder contained 1% asbestos content, that would be a

 theoretically safe level of exposure as it “would be far less than the legal limit for an

 asbestos miner, the main standard then in place.” The Fair Warning story also



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      This story was republished by Salon.com on February 4, 2018.


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  reported that J&J “has said its powders are perfectly safe, and could not have

  caused mesothelioma.”

          190. While the Fair Warning story focused almost exclusively on the 1970s

  “[w]orries,” it also mentioned that “[c]oncern has flickered over the years.” It cited

  Dr. Alice Blount’s 1991 paper in which she reportedly “said she had found asbestos

  fibers in some talc samples, including in a sample of Johnson’s Baby Powder.” But

  Blount had not actually identified which products had been tested in her 1991 paper,

  instead referring to them as Sample A through Sample O. It was only an unexplained,

  handwritten page at the end of the copy linked to by Fair Warning that decoded the

  samples in Blount’s paper, raising questions regarding the accuracy of the results

  reported by Fair Warning.

          191. Importantly, the Fair Warning article emphasized J&J’s claims that

  asbestos had never been found in Baby Powder. Indeed, the Fair Warning story

  stated that the FDA had tested talc products and samples in 2009-2010, including

  Johnson’s Baby Powder, and that “[n]o asbestos was detected in any of the products

  or samples.” And while Fair Warning referred to purported asbestos findings by

  plaintiffs’ trial experts in mesothelioma cases “[t]argeting the deep pockets,” it also

  reported on J&J’s professed innocence:

                Reports of asbestos contamination have [“]never been proven to
          be correct,” declared John Hopkins, a toxicologist and former J&J
          executive.


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                Defense lawyers made a plausible case for a different cause of
          Herford’s mesothelioma: the aggressive radiation treatments she
          received for breast cancer in 1998. Therapeutic radiation is one of the
          only suspected causes of mesothelioma other than asbestos.

                Following its victory, J&J blasted the “baseless theory” that its
          powders could be harmful. “Johnson’s Baby Powder has been around
          since 1894 and it does not contain asbestos or cause mesothelioma,”
          according to the company’s statement.

                2.     January 30, 2018 Disclosure

          192. On January 30, testimony began in a new trial against J&J (the “Lanzo

  trial”), this time in New Jersey state court. The plaintiff, Stephen Lanzo, alleged that

  he developed mesothelioma on account of his exposure to Johnson’s Baby Powder

  containing asbestos. After the market had closed, Law360 posted a story on the trial

  entitled, “No Asbestos In J&J Talc, NJ Jury Told in Mesothelioma Case.” The article

  stated in part:

                 The plaintiffs have asserted that Johnson & Johnson and an
          Imerys predecessor were aware that talc contained asbestos in the
          1970s, around the time when Lanzo was born. For example, an attorney
          for the plaintiffs, Moshe Maimon of Levy Konigsberg LLP, on Monday
          cited a 1975 report in which the predecessor company allegedly said it
          found asbestos in the Johnson & Johnson powder.

                 Instead of warning the public about the asbestos or using corn
          starch instead of talc, Johnson & Johnson “got together with other
          companies that were selling talc and they chose to call the asbestos
          something else – I guess on the theory that if you don’t call it asbestos,
          then it can’t cause asbestos-related diseases,” Maimon told jurors in his
          opening statement.




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          193. In response to this disclosure, J&J’s stock dropped 3% from a close of

  $142.43 on January 30, 2018 to a close of $138.19 on January 31, 2018. An event

  study has determined that this decline was statistically significant.

                3.     February 5, 2018 Disclosure
          194. On February 5, 2018, Mesothelioma.net posted a story entitled “Johnson

  & Johnson Mesothelioma Trial Likely to Expose Company Documents” (the

  “Mesothelioma.net article”). Referring to the proceedings against J&J in New Jersey,

  the article reported that “experts are anticipating the release of numerous damaging

  internal company documents”:

                 As a new mesothelioma lawsuit against Johnson & Johnson
          proceeds in a New Jersey courtroom, experts are anticipating the
          release of numerous damaging internal company documents. These
          memos and reports show that as long ago as the early 1970s, company
          officials were questioning each other about the impact of asbestos, and
          specifically about how much asbestos an infant might inhale if the
          company’s baby powder contained a 1% concentration of the carcinogen.
          This type of documentation is likely to weigh heavily against the
          consumer products giant as they assert in court that their product has
          always been completely asbestos free.

          195. As a result of this information, the Company’s stock declined over 5%,

  from a close of $137.68 on February 2, 2018 to a close of $130.39 on February 5,

  2018, the following trading day. An event study has determined that this decline was

  statistically significant.

          196. Publications from news outlets and analysts illustrate that the stock drop

  was in response to the Mesothelioma.net article. For example, a February 5, 2018


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  CNBC article entitled “Johnson & Johnson falls on report that lawsuits could expose

  potentially damaging documents” (the “2018 CNBC article”) reported:

                Shares of Johnson & Johnson fell Monday on a report that
          court proceedings could expose potentially damaging documents.

                J&J is facing numerous lawsuits claiming its talc products such as
          Johnson’s Baby Powder caused cancer. The company has insisted its
          baby powder does not contain asbestos and causes neither mesothelioma
          nor ovarian cancer.

                                      *      *      *

                J&J’s stock fell 5 percent on Monday. Jefferies analyst Jared
          Holz said the report reads poorly, but he doubts it will have a real
          impact.

                In a note to investors, Wells Fargo analyst Larry Biegelsen said
          the concerns on the talc lawsuits “appear overblown.”

                Even if J&J settled all 5,500 cases for $280,000 per case (the
          highest amount among liability cases in the drug and device sectors the
          firm has tracked), the total liability to J&J would be $1.5 billion, he
          wrote. At the end of the fourth quarter, J&J had $18.4 billion of cash
          and marketable securities.

          197. And according to a February 5, 2018 post on benzinga.com, traders were

  circulating the Mesothelioma.net article, which caused the price to decline:

          J&J Shares Fall 3.3%, Quickly Rebound From Lows But Still Down
          ~2.5% For Session; Traders Circulate Mesothelioma.net Article
          ‘Johnson & Johnson Mesothelioma Trial Likely to Expose Company
          Documents’

               This headline-only article is meant to show you why a stock is
          moving, the most difficult aspect of stock trading.

          198. As referenced in the 2018 CNBC article, analysts at Wells Fargo reported

  that while the concerns “‘appear[ed] overblown,’” the drop in J&J stock was “partly

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  due to concerns about ongoing litigation over allegations that its talcum powder

  products are unsafe for use because they contain asbestos”:

          JNJ: Talc Litigation Concerns Appear Overblown

               Summary. JNJ shares were down 5.3% on Feb 5 (vs 4.1% for the
                S&P 500) partly due to concerns about ongoing litigation over
                allegations that its talcum power [sic] products are unsafe for use
                because they contain asbestos which can cause mesothelioma.
                JNJ issued a statement intraday defending the safety of its talc
                products noting that the products have been free of asbestos, based
                on decades of monitoring, testing and regulation dating back to
                the 1970s. According to JNJ, there are 5,500 talc cases
                nationwide and these include both ovarian cancer and
                mesothelioma claims. The only verdict in a mesothelioma case
                thus far was ruled in favor of JNJ. In addition, there have been a
                number of ovarian cancer cases which have been overturned in
                favor of JNJ. Based on prior high profile product liability cases in
                the drug and device sectors, we believe any potential settlement
                would be manageable for JNJ . . . . Even if all 5,500 talc cases
                settled for $280,000 per case (the highest per case settlement
                amount among the cases we’ve tracked), the total liability to JNJ
                would be $1.5B. At the end of Q4 2017, JNJ had $18.4B of cash
                and marketable securities.

          199. Finally, a February 2018 report by CrispIdea Research stated that

  “[c]urrently, JNJ has been facing a litigation on its baby powder product which has

  led to the recent decline in its stock price. It might result [in] further decline in stock

  performance and growth.” It also stated that “[d]ue to the recent downfall in stock

  prices and the litigations faced by the company, its P/E is now around the 18x band.”

          200. To keep the full truth from being exposed and maintain inflation in the

  stock price, defendants continued to deny that J&J had any problem with its Baby



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  Powder and again falsely promised that its talc products “‘always have been’”

  asbestos free. The 2018 CNBC article quoted a J&J spokesman:

                 In a statement, a J&J spokesman pointed to a California judge
          ruling in favor of J&J in November in a lawsuit by a woman who said
          she developed mesothelioma after using the company’s talc-based
          products. He said the company would continue to defend its position in
          future cases.

                “We are confident that our talc products are, and always have
          been, free of asbestos, based on decades of monitoring, testing and
          regulation dating back to the 1970s,” he said. “Historical testing of
          samples by the FDA, numerous independent laboratories, and
          numerous independent scientists have all confirmed the absence of
          asbestos in our talc products.”

                4.     February 7, 2018 Disclosure
          201. On February 7, 2018, the Beasley Allen Law Firm published a press

  release entitled “New Johnson & Johnson, Imerys Documents Reveal More Cancer

  Links to Talc, Asbestos, Heavy Metals,” with the byline “Ovarian cancer victims

  demand answers amid growing findings from J&J trials”:

                 New information highlighting the links between talc, asbestos,
          heavy metals and cancer continue to surface as ovarian cancer victims
          use the legal system to press Johnson & Johnson for answers about the
          health risks of its popular talcum powder products, including Johnson’s
          Baby Powder and Shower To Shower.

                 Lawsuits filed by ovarian cancer and mesothelioma victims are
          revealing never-before-seen documents from Johnson & Johnson and
          talc supplier, Imerys, that shed light on just how prevalent asbestos and
          heavy metals are in the talc used in Baby Powder. The documents also
          show the corporations’ response to growing concerns about cancer risks.

               “Over the last 90 days, we’ve seen a dramatic increase in
          document production from Johnson & Johnson and Imerys,” said

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          attorney Ted Meadows, principal at the Beasley Allen law firm and co-
          lead counsel in litigation on behalf of thousands of women diagnosed
          with ovarian cancer. “These documents are highly relevant to our claims
          that Johnson & Johnson and Imerys have known about these risks for a
          long, long time.”

                 Cancer victims suing J&J and Imerys argue that the corporations
          failed to provide warning labels on talc products despite knowing for
          decades about talc’s link to cancer. Although numerous cases have
          already been tried, the corporate giants continue to reveal more hidden
          information, adding to a growing body of knowledge about the safety
          of talc products and their response.

                “Even though we’ve already gone to trial against these companies
          on numerous occasions, they are just now getting around to turning
          over documents that are proving to be very significant in these cases,”
          Mr. Meadows said.

          202. In response, J&J’s stock declined nearly 4%, from a close of $131.42 on

  February 7, 2018 to a close of $126.36 on February 8, 2018. An event study has

  determined that this decline was statistically significant.

          203. To hide the truth, maintain the stock price and protect the Company’s

  reputation at all costs, defendants again invoked the Company’s Credo and falsely

  claimed that defendants were living up to it. Indeed, on February 26, defendant

  Gorsky told investors that the Company’s Credo “formed . . . the strategy outline for

  Johnson & Johnson in everything we do.”

                5.     Defendants Continue to Mislead Investors, as J&J
                       Relaunches Its Baby Product Line and Defendant
                       Peterson Unexpectedly Retires

          204. In April 2018, the jury in the Lanzo trial found J&J and its talc supplier

  liable for the plaintiff’s mesothelioma, ultimately awarding a total verdict of $117

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  million. In response, J&J promised investors that the full evidence had not been

  reviewed. As reported by the New York Daily News:

                 J&J denied that its products contain cancer-causing toxins and
          says it plans to appeal.

                 “Johnson’s Baby Powder has been used for more than 120 years
          and it does not contain asbestos or cause mesothelioma,” said
          spokeswoman Carol Goodrich. “We believe that once the full evidence
          is reviewed, this decision will be reversed.”

          205. On April 26, 2018, defendant Gorsky again invoked the Company’s

  Credo at J&J’s Annual Shareholders Meeting, promising investors that “Our Credo”

  has “stood the test of time,” with J&J “liv[ing] into those responsibilities it outlines

  each and every day.” According to Gorsky, J&J “ha[d] continued to advance with the

  evolution of science and technology” and was “committed to meeting the needs” of

  “mothers and fathers and all others who use our products.” Boasting that J&J has

  “been focused on . . . health and well-being,” Gorsky promised that “we will always

  put the needs and well-being of the people we serve first.” In truth, Gorsky knew that

  J&J had not lived up to its Credo and was not putting “the needs and well-being” of

  people first. Nor had J&J advanced “with the evolution of science and technology,”

  as the Company never adopted concentration methods for testing its talc for asbestos

  despite knowing that this was required, while knowingly exposing consumers to a

  recognized carcinogen.




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          206. In a desperate attempt to preserve the reputation of its Baby Powder and

  itself, J&J announced in May 2018 that it was relaunching its iconic Johnson’s Baby

  product line. On May 16, 2018, defendant Gorsky made himself available for an

  interview with CNBC, in which he boldly claimed that J&J had “taken out many of

  the concerning . . . ingredients, that . . . mothers didn’t want in their products,”

  promising that “when it comes to babies, safety [and] high quality has got to be first

  and foremost in everything that we do.” Gorsky also boasted of J&J’s “clinical data

  and information,” shared “with the broader community,” showing that the Company’s

  talcum powder is safe. In truth, Gorsky knew or recklessly disregarded that J&J’s talc

  had long been contaminated with asbestos.

          207. Also on May 16, 2018, defendants made numerous false and misleading

  statements to investors at the Consumer and Medical Devices Business Review. For

  example, Gorsky proclaimed that “we’re not afraid to acknowledge areas that we

  need to fix” and professed J&J’s desire “to talk about that [and] learn from them to

  make us better going forward.”        Indeed, despite the Company’s longstanding

  campaign to cover up risks inherent in its talc products and its continued refusal to

  admit to its errors when it came to talc and asbestos, Gorsky promised that he and J&J

  had an “absolute commitment [to] hold ourselves accountable and . . . fulfill all of our

  Credo responsibilities where we always keep the customer and patients at the center of

  everything we do.”


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          208. Meanwhile, at that same May 16, 2018 conference, Global Chief

  Technology Officer Josh Ghaim claimed that when it came to Johnson’s Baby, “our

  ingredients have . . . always been safe.” Jorge Mesquita (“Mesquita”), Executive VP

  and Worldwide Chair of JJCI promised that “we’ve been through this extensively,

  and we are 100% sure that our talc product is safe.” Mesquita similarly promised on

  May 21, 2018 that “‘[w]e are absolutely certain that science shows that our talcum

  product is safe.’”

          209. At a May 21, 2018 conference, defendant Peterson represented that the

  Company’s global supply chain had been largely fixed, and that she had ensured

  “we’ve got the right quality and compliance in all of our manufacturing sites

  around the world, both internal and external.” But Peterson knew or recklessly

  disregarded that the talc being supplied was improperly tested for asbestos, including

  that J&J never adopted a concentration method for its testing. Indeed, as the person

  brought in to fix quality issues at J&J, Peterson had access to the 2012 Audit Report

  of outside testing facility RJ Lee, which found numerous serious problems with the

  asbestos testing being done and noted that RJ Lee did not think J&J’s testing method

  was “optimal.”

          210. On May 28, 2018 the Wall Street Journal reported J&J’s promise that its

  talc product “‘does not contain asbestos or cause mesothelioma.’” Once again, J&J

  relied on its defenses that it had carefully curated over the previous decades, as the


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  Wall Street Journal reported J&J’s position that “over the past 50 years, multiple

  scientific evaluations, including from the [FDA], have been conducted and ‘none

  have found that the talc in Johnson’s Baby Powder contains asbestos.’”

          211. Then, on June 22, 2018, a little over two months after the first jury

  verdict against J&J in a case alleging harm from asbestos in the Company’s talcum

  powders, J&J suddenly announced the retirement of corporate fixer defendant

  Peterson, effective October 1, 2018. Having been the first outsider ever to join J&J’s

  executive committee, Peterson was leaving when her objective of fixing J&J’s quality

  and supply chain issues was actually far from complete. And rather than have a

  replacement ready, J&J moved numerous executives around to make up for her

  departure.

          212. The timing of Peterson’s departure was particularly odd because she had

  taken on an additional management role a year prior, and had just presented at the J&J

  analyst meeting. A June 22, 2018 “Flash Comment” by Wells Fargo analysts

  expressed surprise over Peterson’s abrupt exit:

          The timing of the announcement was unexpected given her presentation
          at the JNJ analyst meeting in May and her relatively short tenure with the
          company. . . .

          . . . Ms. Peterson joined JNJ a little over 5 years ago with responsibility
          for turning around Consumer, and improving the company’s IT and
          supply chain. Her portfolio has grown since to include, among other
          things, leading the Hospital Medical Device business as of June 2017.
          Ms. Peterson’s relatively short tenure at JNJ and even shorter tenure
          leading Medical Devices makes her departure a surprise to us.

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                 6.    July 12, 2018 Disclosure: J&J Is Hit with a $4.69
                       Billion Talcum Powder Verdict but Claims It Was the
                       Product of a Fundamentally Unfair Process and that
                       J&J’s Talc Is Safe
          213. On July 12, 2018, J&J suffered its biggest loss to date in its defense of its

  “‘sacred cow’” – a $4.69 billion jury verdict against the Company, including $4.14

  billion in punitive damages in the Ingham trial. This was the first trial against J&J in

  which the plaintiffs alleged that their ovarian cancer was caused by asbestos in the

  talc, rather than by the talc itself.

          214. As a result of this widely reported verdict, the Company’s stock price

  declined over 1%. An event study has determined that this decline was statistically

  significant.

          215. Market commentators and analysts recognized that the nearly $5 billion

  verdict caused the stock price decline. In an article entitled “J&J’s $4.69 Billion Talc

  Loss Hands Investors a What-Next Moment,” Bloomberg reported:

                  Johnson & Johnson slipped as investors began to assess the
          potential long-term costs to the company of the legal saga surrounding
          its talc products.

                On Thursday, a jury ordered the company to pay $4.69 billion to
          women who claimed asbestos in the products caused them to develop
          ovarian cancer, marking the sixth-largest product-defect verdict in U.S.
          history.

                The award – $4.14 billion in punitive damages and $550 million to
          compensate 22 women and their families – was a drag on J&J shares,
          which fell 0.7 percent to $126.83 at 10:00 a.m. in New York, even as
          major market indexes were little-changed.


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          216. Numerous media outlets reported that J&J’s stock price was affected by

  the jury’s decision. For example, in an article entitled “Jury orders J&J to pay $4.7

  billion in Missouri asbestos cancer case,” Reuters reported:

                 A Missouri jury on Thursday ordered Johnson & Johnson (JNJ.N)
          to pay a record $4.69 billion to 22 women who alleged the company’s
          talc-based products, including its baby powder, contain asbestos and
          caused them to develop ovarian cancer.

                                     *       *     *

                J&J shares fell $1.31, or 1 percent, to $126.45 in after-hours
          trading following the punitive damages award. They had risen $1.52
          during regular trading.

          217. Other news outlets reported similarly. For example, a Fast Company

  article reported that “Johnson & Johnson’s stock drops after ovarian cancer fight

  results in $4.7B ruling.” According to the report, “[a]lready, Johnson & Johnson is

  reeling from the decision; its stock is down nearly 3% in premarket trading.” Fortune

  stated that J&J’s “shares fell 1.9% following the ruling.” And in a report entitled

  “Why Johnson & Johnson Was Down 2% This Morning,” Market Realist reported

  that the Company’s stock “was trading 2% lower during pre-market trading on news

  that the company must pay $4.7 billion.”

          218. According to a report by The Street, J&J “shares tumbled Friday” after

  the jury verdict, as “Johnson & Johnson shares were marked 1.21% lower at the

  opening of trading in New York to change hands at $126.22 each, a move that extends

  its year-to-date decline to 11%.” Meanwhile, a July 13, 2018 report by Barron’s


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  entitled “Updated: J&J Slumps on $4.7 Billion Award to Cancer Patients” stated:

  “Shares of Johnson & Johnson (JNJ) are falling on Friday, on news that the

  company’s been ordered to pay a large fine related to claims that its baby powder

  caused cancer. . . . J&J is down 1.4% to $125.85 this morning.”

          219. Desperate to preserve public perception of the Company and its Baby

  Powder, J&J told investors that the verdict “was the product of a fundamentally unfair

  process.” In a July 12, 2018 corporate statement, J&J promised that “the evidence in

  the case was simply overwhelmed by the prejudice” J&J had suffered during the

  proceeding, and J&J “remains confident that its products do not contain asbestos

  and do not cause ovarian cancer.” Indeed, J&J effectively promised investors that

  the verdict would be reversed on appeal, representing that “the multiple errors in this

  trial were worse than those in the prior trials which have been reversed.”

          220. Similarly, Bloomberg reported on July 12, 2018 that defendant Goodrich

  had stated in an email that the verdict “‘was the product of a fundamentally unfair

  process,’” and that “‘the evidence in the case was simply overwhelmed by the

  prejudice’” of the proceeding. Goodrich also blamed “‘multiple errors’” in the

  proceeding for the verdict and again promised that J&J’s products were asbestos-free

  and did not cause ovarian cancer.

          221. Then, on July 17, 2018, defendant Gorsky made numerous false and

  misleading statements to investors during the Company’s second quarter of 2018


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  (“2Q18”) Earnings Call. With investors concerned over the allegations and recent

  verdict surrounding J&J’s talcum powder, Gorsky promised that “we are always

  guided by our credo” and that “[o]ur credo is as relevant today as the day it was

  written,” with J&J “remain[ing] committed to fulfilling our credo responsibilities.”

  According to Gorsky, J&J was “inspired by our credo and we live in the

  responsibilities it outlines each and every day.” Gorsky addressed the Company’s

  attempt at “revitalizing our baby business,” promising that the products in that

  portfolio are “science-based and professionally endorsed products.”          In truth,

  however, Gorsky knew that J&J had not acted in accordance with the Credo but rather

  had put the Company’s own reputation above the safety of consumers. While Gorsky

  promised the Company’s baby products were “science-based,” he knew or recklessly

  disregarded that Johnson’s Baby Powder contained asbestos – a recognized

  carcinogen.

          222. During the July 17, 2018 call, Gorsky also addressed “the recent St.

  Louis talcum powder lawsuit and verdict” specifically. He assured investors that “we

  remain confident that our products do not contain asbestos and do not cause

  ovarian cancer,” and vowed to appeal the verdict. Gorsky further insisted that

  “preeminent scientific and regulatory bodies . . . have fully reviewed the full body of

  scientific evidence on multiple occasions and found that it does not support the

  allegation that talc causes ovarian cancer.” But as Gorsky knew or recklessly


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  disregarded, J&J had a long history of misleading scientific and regulatory bodies

  examining talc and concealing the dangers inherent in the Company’s talcum powder.

                7.    December 14, 2018 Disclosure: Reuters Investigative
                      Report Reveals New Information and Declares that
                      “Johnson & Johnson Knew for Decades that Asbestos
                      Lurked in Its Baby Powder”
          223. On December 14, 2018, Reuters published a highly detailed investigative

  report entitled, “Powder Keg: Johnson & Johnson knew for decades that asbestos

  lurked in its Baby Powder” (the “Reuters report”) See Ex. 3. There, the well-

  respected news organization directly refuted defendants’ false statements and

  provided never-before-seen internal J&J documents that detailed J&J’s knowledge of

  the asbestos in the Company’s talcum powder and J&J’s longstanding fraudulent

  scheme to cover it up. The report disclosed new information and new analysis,

  including that:

                 A Reuters examination of many of those [J&J] documents, as well
          as deposition and trial testimony, shows that from at least 1971 to the
          early 2000s, the company’s raw talc and finished powders sometimes
          tested positive for small amounts of asbestos, and that company
          executives, mine managers, scientists, doctors and lawyers fretted over
          the problem and how to address it while failing to disclose it to
          regulators or the public.

                The documents also depict successful efforts to influence U.S.
          regulators’ plans to limit asbestos in cosmetic talc products
          and scientific research on the health effects of talc.

                 A small portion of the documents have been produced at trial and
          cited in media reports. Many were shielded from public view by court
          orders that allowed J&J to turn over thousands of documents it


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          designated as confidential. Much of their contents is reported here for
          the first time.

          224. Among the many details revealed by Reuters, the report provided

  investors with the full internal draft of J&J’s “Our Safety & Care Commitment”

  website, with the metadata showing that defendant Goodrich had worked on the

  communication and even had the draft language in her files. This document

  evidenced J&J’s internal recognition that the use of talc for over 100 years was not

  safe, as the copy for the website contained the following edit: “Talc has over 100

  years of safe use in personal care products.” In addition, the copy for the website

  admitted that “I don’t think we can link cosmetic talc to 100 years of use,” and

  defendants J&J and Goodrich acknowledged internally what they had concealed from

  investors – that “we cannot say ‘always’” when it comes to asbestos not being in

  J&J’s talcum powder products.

          225. The draft language also demonstrated defendants’ knowledge that the

  science on talc and ovarian cancer was not clearly in J&J’s favor, acknowledging that

  there were other scientific sources that were not included on the website because “they

  [were] not as definitive or supportive and could be interpreted as suggesting a causal

  effect,” including from such preeminent organizations as the American Cancer

  Society and IARC. See Ex. 2. Indeed, in the draft language for the website, a “NOTE

  TO CAROL/JAY” specifically informed defendant Goodrich that “[e]ven some of the

  studies we cite send mixed messages.” Goodrich was even informed that one of the

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  studies cited by J&J actually acknowledged that “‘perineal talc use may modestly

  increase the risk of invasive serous ovarian cancers.’”

          226. Contrary to defendants’ repeated assurances about the historical safety of

  talc, the Reuters report also provided new details of J&J’s early awareness of the

  dangers of tremolite in the Company’s talc:

          [I]n an April 9, 1969, memo to a company doctor, Ashton said it was
          “normal” to find tremolite in many U.S. talc deposits. He suggested
          J&J rethink its approach. “Historically, in our Company, Tremolite has
          been bad,” Ashton wrote. “How bad is Tremolite medically, and how
          much of it can safely be in a talc base we might develop?”

                 Since pulmonary disease, including cancer, appeared to be on the
          rise, “it would seem to be prudent to limit any possible content of
          Tremolite . . . to an absolute minimum,” came the reply from another
          physician executive days later.

                The doctor told Ashton that J&J was receiving safety questions
          from pediatricians. Even Robert Wood Johnson II, the founder’s son
          and then-retired CEO, had expressed “concern over the possibility of
          the adverse effects on the lungs of babies or mothers,” he wrote.

                “We have replied,” the doctor wrote, that “we would not regard
          the usage of our powders as presenting any hazard.” Such assurances
          would be impossible, he added, “if we do include Tremolite in more
          than unavoidable trace amounts.”

                The memo is the earliest J&J document reviewed by Reuters that
          discusses tremolite as more than a scratchy nuisance. The doctor urged
          Ashton to consult with company lawyers because “it is not
          inconceivable that we could become involved in litigation.”

          227. The Reuters report also corrected defendants’ statements about early talc

  testing and J&J’s interaction with the FDA. Indeed, contrary to the September 21,

  2017 Bloomberg article stating that “[d]ocuments provided by J&J show tests of its

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  talc stretching back to at least 1972 found no traces of asbestos,” the Reuters report

  disclosed that “at least three tests by three different labs from 1972 to 1975 had found

  asbestos in [J&J’s] talc – in one case at levels reported as ‘rather high’”:

                In 1976, as the U.S. Food and Drug Administration (FDA) was
          weighing limits on asbestos in cosmetic talc products, J&J assured the
          regulator that no asbestos was “detected in any sample” of talc
          produced between December 1972 and October 1973. It didn’t tell the
          agency that at least three tests by three different labs from 1972 to 1975
          had found asbestos in its talc – in one case at levels reported as “rather
          high.”

          228. The Reuters report also provided numerous other facts belying

  defendants’ fraudulent promises about J&J’s talc. Examples include:

               The July 1971 admission of J&J’s Wilson Nashed that the Company’s
                talc had “trace amounts of ‘fibrous minerals (tremolite/actinolite)’”;

               University of Minnesota Professor Thomas E. Hutchinson’s finding of
                “‘incontrovertible asbestos’” in a Shower to Shower sample in 1972,
                which J&J failed to mention in a submission to the FDA;

               J&J’s creation of a list of “‘Antagonistic Personalities’” in 1972, which
                included Mount Sinai researcher Dr. Arthur Langer, who had told J&J in
                1971 that his team had found “a ‘relatively small amount’ of chrysotile
                asbestos” in J&J’s talc, and who, according to Reuters, “said he told
                J&J lawyers who visited him last year [i.e., 2017] that he stood by all of
                his findings”;

               J&J’s program in 1973 under the direction of Tom Shelley that was
                directed at finding a way to remove tremolite from talc and considered
                seeking patents on the processes, but eventually recognized that “we may
                wish to keep the whole thing confidential rather than allow it to be
                published in patent form and thus let the whole world know”;

               J&J October 1973 recognition that “our talc is acceptable” under a
                regulation proposed by FDA, but “if they change the method, we may
                have problems”;

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               The 1992 Cyprus Minerals report stating that “Cyprus staff report past
                tremolite from the Hammondsville” deposit, which Reuters reported as
                having been “the primary source of Baby Powder talc from 1966 until its
                shutdown in 1990”;

               The 1993 J&J memorandum revealing that “records of the
                Hammondsville mine, the main source of Baby Powder talc from 1966
                until 1990, were destroyed by mine managers while J&J still owned the
                business”;

               The 1998 letter to J&J’s legal counsel from Dr. Alice Blount, which
                confirmed that she had found “trace amounts of asbestos” in “Johnson &
                Johnson’s Vermont talc”;

               That “[i]n 2002 and 2003, Vermont mine operators found chrysotile
                asbestos fibers on several occasions in talc produced for Baby Powder
                sold in Canada. In each case, a single fiber was recorded – a finding
                deemed ‘BDL’ – below detection limit.”

          229. And contrary to defendants’ many references to the FDA’s purported

  conclusion that talc is safe, Reuters reported that FDA Commissioner Scott Gottlieb

  “‘recognize[s] the concern’” and “[h]e said the agency’s policing of cosmetics in

  general – fewer than 30 people regulating a ‘vast’ industry – was ‘a place where we

  think we can be doing more.’” Indeed, “Gottlieb said the FDA planned to host a

  public forum in early 2019 to ‘look at how we would develop standards for evaluating

  any potential risk.’”

          230. In addition to these disclosures, Reuters reported that J&J had never

  adopted a concentration method for its asbestos testing, even after being informed that

  it was “[t]he best way to detect asbestos in talc,” and even after J&J’s own researchers

  used such a method to successfully identify asbestos in Vermont talc:


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                 The best way to detect asbestos in talc was to concentrate the
          sample and then examine it through microscopes, the Colorado School
          of Mines Research Institute told J&J in a Dec. 27, 1973, report. In a
          [May 1973] memo, a J&J lab supervisor said the concentration
          technique, which the company’s own researchers had earlier used to
          identify a “tremolite-type” asbestos in Vermont talc, had one limitation:
          “It may be too sensitive.”

                                       *      *      *

          [T]he company never adopted the Colorado lab’s 1973
          recommendation that samples be concentrated before examination
          under a microscope. And the talc samples that were subjected to the
          most sensitive electron microscopy test were a tiny fraction of what was
          sold. For those and other reasons, J&J couldn’t guarantee its Baby
          Powder was asbestos-free when plaintiffs used it, according to experts,
          including some who testified for plaintiffs.

                As early as 1976, Ashton, J&J’s longtime talc overseer,
          recognized as much in a memo to colleagues. He wrote that talc in
          general, if subjected to the most sensitive testing method, using
          concentrated samples, “will be hard pressed in supporting purity
          claims.” He described this sort of testing as both “sophisticated” and
          “disturbing.”

          231. The Reuters report also revealed that J&J had purposely set out to

  manipulate scientists and regulators. Indeed, the report provided:

                By 1977, J&J appeared to have tamped down concerns about the
          safety of talc. An internal August report on J&J’s “Defense of Talc
          Safety” campaign noted that independent authorities had deemed
          cosmetic talc products to be “free of hazard.” It attributed “this growing
          opinion” to the dissemination to scientific and medical communities in
          the United States and Britain of “favorable data from the various J&J
          sponsored studies.”

          232. And in a companion piece entitled “A guiding hand on talc safety

  research,” Reuters reported on J&J’s strategy for influencing scientific research,


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  including the March 1975 memorandum stating that J&J had been able “‘to neutralize

  or hold in check data already generated by investigators who question the safety of

  talc.’” Reuters further reported:

                 J&J’s effort to protect its iconic Baby Powder franchise by
          shaping research was led by physician and scientist executives. An
          early 1970s study of 1,992 Italian talc miners shows how it worked: J&J
          commissioned and paid for the study, told the researchers the results it
          wanted, and hired a ghostwriter to redraft the article that presented the
          findings in a journal.

                 The effort entailed other attempts to influence research, including
          a U.S. government study of the health of talc workers in Vermont. J&J’s
          Windsor Minerals Inc. subsidiary, one of several mine operators
          involved in the study, developed a relationship with the U.S. National
          Institute of Occupational Safety and Health researchers to “even
          influence the conclusions” through suggestions of “subjective
          interpretations,” according to a 1973 Windsor Minerals memo.

          233. In response to the Reuters report, J&J’s stock plummeted 10%, dropping

  from a closing price of $147.84 the day before to a closing price of $133.00. An event

  study has determined that this decline was statistically significant.

          234. Financial analysts and market commentators recognized that the Reuters

  report revealed new information and caused the stock price decline. According to a

  CNBC article entitled “J&J shares plunge 10% after report that the company knew for

  decades about asbestos in baby powder,” the report by Reuters “drove the company’s

  shares down more than 10 percent Friday.” A second article by CNBC, entitled

  “Johnson & Johnson loses $39.8 billion in market value in one day after report

  claims it knew about asbestos in its baby powder” reported:


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                 Johnson & Johnson lost $39.8 billion in market value Friday,
          suffering its worst trading day in more than 15 years, after Reuters said
          the company knew for decades that its baby powder contained asbestos –
          an allegation the company denied.

                                       *     *       *

                Friday’s report spooked the Street and drove J&J’s shares down
          10.04 percent to close at $133 a share, losing about $39.8 billion of its
          market value.

          235. On December 14, 2018, following the Reuters report, analysts at the

  Center for Financial Research and Analysis LLC (“CFRA”) lowered their opinion on

  J&J from “buy” to “hold” and dropped their price target by $30 per share. The CFRA

  analysts based this analysis on the new information and new analysis disclosed by the

  Reuters report and stated, “we expect a negative impact from recent allegations of

  cancer-causing asbestos in certain products.” The CFRA report made clear that the

  new information and analysis revealed by Reuters would cause “significant

  damage” to J&J’s “valuable brand name” because consumer trust is “critical” to

  J&J’s success:

          Reporting surfaced today alleging JNJ did not disclose to the FDA that
          asbestos had sometimes been found in its baby powder ingredients dating
          back to the 1970s. JNJ vehemently denies this, but either way, we expect
          significant damage will unfold for JNJ’s valuable brand name in
          consumer products and medical devices, which has been built over
          decades. The Consumer and Medical Devices segments generate 39% of
          profits, and the brand name and accompanying consumer trust are
          critical for their success. We see today’s news potentially impacting
          sales of everything from baby shampoo to prosthetic hips. Given these
          elevated risks, we no longer feel JNJ shares are attractive at recent
          prices.


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          236. Financial analysts at UBS and Wells Fargo also recognized that the

  Reuters report caused the stock price decline. On December 14, 2018, Wells Fargo

  stated that “JNJ shares are down ~10% (vs -1% for the S&P 500) this morning,

  following a Reuters article that suggests the company knew about asbestos in its baby

  powder for decades but never told the FDA.” And, that same day, UBS analysts

  stated:

                JNJ shares are down ~10% after Reuters published an article this
          morning . . . stating that internal JNJ company documents showed that its
          baby talc powder had historically tested positive for low levels of
          asbestos on a number of occasions and that the company concealed this
          information from the FDA in 1970s.

          237. Other analysts also explicitly recognized that the Reuters report disclosed

  new information – including internal Company documents, “reported to the public for

  the first time.” For example, on December 14, 2018, Credit Suisse analysts stated that

  they had spoken with J&J investor relations executives that day and J&J stated that the

  Company’s litigation risk was purportedly unchanged by the Reuters revelations

  because, “[w]hile the documents that the Reuters article cited may be reported to the

  public for the first time,” the internal Company documents, “have been used in

  previous court cases.”23 Similarly assessing J&J’s litigation risk, on December 14,



  23
    Credit Suisse also noted that according to J&J investor relations executives, the
  Company had “communicated with the author for weeks prior to the publication of the
  Reuters article.”


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  2018, financial analysts at Leerink noted that: “documents cited in the article had not

  been previously shared with the public.”

          238. A December 21, 2018 report by Bloomberg entitled “J&J’s Tainted-Talc

  Risk Expands as Cancer Trials Triple in 2019” illustrated the dire situation for J&J

  going forward:

                Johnson & Johnson paid a steep price this year for claims that its
          celebrated baby powder was contaminated with asbestos. Problem is,
          2019 could be even worse.

                 A jury ordered the company in July to pay $4.69 billion to 22
          women who blamed the talc-based product for causing their ovarian
          cancer. The prospect of similar judgments helped erase $45 billion in
          J&J’s market value, with the shares headed for their biggest annual loss
          in a decade.

                                      *      *      *

                 Investor concern over litigation risk has grown following media
          reports of internal documents showing company officials have known
          since the 1970s that some of the talc used in baby powder contained
          asbestos.

          239. A January 12, 2019 Seeking Alpha article recognized that the damage

  from the Reuters report threatened to reach far beyond J&J’s Baby Products, stating

  that “J&J needs to guard against ‘reputational contagion,’ the risk that loss of

  confidence in Baby Powder could bleed over into how consumers, shareholders and

  others view the company more broadly.” In an effort to do damage control and

  support the Company’s stock price, J&J published full-page newspaper ads defending

  itself, announced a $5 Billion stock buyback, and made a video regarding talc


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  featuring defendant Gorsky. In addition, Gorsky appeared on CNBC’s “Mad Money”

  program, where he continued to deny asbestos contamination in the Company’s talc.

          240. Still, J&J could no longer conceal its failure to live up to its storied Credo

  and financial analysts linked the Reuters report’s revelations to J&J’s Credo

  statements. For example, as explained in the January 12, 2019 Seeking Alpha article:

          [T]he documented asbestos contamination of J&J talc that Reuters
          investigated had occurred over a lengthy period of time and involved
          counter-credo J&J decisions, making it difficult to imagine J&J was not
          aware of any issues at some point. It also makes the effort at absolving
          itself unseemly.

                 Some of J&J’s messages in its recent campaign to combat the talc
          issue actually omit key details regarding findings on talc and, in certain
          instances, are undermined by other evidence, according to a Reuters
          review of the company’s statements.

          241. And on January 25, 2019, a CFRA report provided further rationale for

  CFRA’s lowered opinion of J&J and highlighted the importance of Baby Powder to

  J&J’s overall reputation:

                 Brand-name reputation is critically important for the success of
          the Consumer segment, in our view. JNJ’s Consumer products often
          face several low-price competing products. The trust in a brand name
          can make a big difference in sales, especially when it comes to health
          care products that one puts in or on their body or a loved one’s body.

                 Due to the importance of brand power and consumer trust, we
          think allegations from a Reuters story published in December 2018
          could have a meaningful negative impact on JNJ’s Consumer
          segment, as well as the Medical Devices segment to a lesser extent.
          The report alleges that JNJ did not disclose to the FDA that asbestos had
          sometimes been found in its baby powder dating back to the 1970s. JNJ
          vehemently denies the allegations and is defending itself in court in
          related cases, as well as putting forth a major public relations campaign

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          to defend the safety of its baby powder and other products. Regardless,
          we think more reporting is likely to come out over the next year on this
          subject. And whether the reports have merit or not, we think there is a
          material risk that the more the issue is in the news, the less trust
          consumers will have in JNJ’s brands.

          242. The new information revealed by the Reuters report directly refuted

  defendants’ repeated denials, as well as defendants’ continued insistence that science

  was on J&J’s side. As a February 14, 2018 Seeking Alpha article noted, the Reuters

  report “revealed that JNJ executives were aware of the presence of asbestos in the

  company’s raw and finished talc powders & attempted to conceal the findings from

  the public.” The Seeking Alpha article further explained how J&J was able to hide the

  truth from investors until the Reuters report revelations:

                The happy-go-lucky attitude of JNJ longs regarding the ongoing
          talcum powder/asbestos lawsuits was an understandable phenomenon.
          Scientific findings showed a tenuous connection between talc and
          asbestos with conflicting data, a perfect recipe for long incredulity.
          Reuters journalists left very little room for skepticism, however,
          following the special report published in December.

                                       *      *      *

                Documents highlighted in the Reuters report show that JNJ
          executives were not only aware of numerous internal and external reports
          of asbestos in JNJ talc powders, but actively stifled the findings without
          remedy.

          243. And, a February 20, 2019 Reuters article also described the impact that

  the new information and new analysis in the December 14 Reuters report had on J&J’s

  stock price:



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                 A Reuters report on Dec. 14 revealed that Johnson & Johnson
          knew for decades that small amounts of asbestos, a known carcinogen,
          had been occasionally found in its talc and powder products, according
          to tests from the 1970s to the early 2000s – information it did not
          disclose to regulators or the public.

                The Reuters article prompted a selloff in Johnson & Johnson
          shares, erasing about $40 billion from the company’s market value in
          one day, and a public relations crisis as the healthcare conglomerate
          faced widespread questions about the possible health effects of one of its
          most iconic products.

          K.    The Aftermath
          244. By publicly revealing new details and new analysis of J&J’s longstanding

  knowledge of asbestos in its baby powder and talc, the Reuters report has created a

  crisis for J&J.

          245. For example, on December 14, 2018, U.S. Senator Ed Markey, a member

  of the Environment and Public Works Committee, requested that the FDA

  “immediately investigate these allegations and determine whether Johnson &

  Johnson’s actions have placed at risk the public’s health and safety.”

          246. On December 19, 2018, J&J’s motion to overturn the $4.69 Billion

  verdict in the Ingham case was denied. According to an article by Bloomberg entitled

  “J&J Shares Fall After Judge Refuses to Overturn Talc Verdict,” J&J stock “fell as

  much as 2.3 percent after a judge refused to throw out a $4.69 billion verdict finding

  the company’s baby powder is tainted with cancer-causing asbestos.”

          247. A Law360 article outlines the rationale behind the Missouri judge’s

  decision:

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                 “First, substantial evidence was adduced at trial of particularly
          reprehensible conduct on the part of defendants, including that
          defendants knew of the presence of asbestos in products that they
          knowingly targeted for sale to mothers and babies, knew of the damage
          their products caused and misrepresented the safety of these products
          for decades,” the judge said. “Second, defendants’ actions caused
          significant physical harm and potential harm, including ovarian cancer in
          plaintiffs or plaintiffs’ decedents.”

          248. And on January 28, 2019, U.S. Senator Patty Murray, Ranking Member

  of the Committee on Health, Education, Labor, and Pensions, sent defendant Gorsky a

  letter requesting documents related to the “‘alleged decades-long effort by Johnson &

  Johnson to potentially mislead regulators and consumers about the safety’” of Baby

  Powder, as revealed by the Reuters report.

          249. By February 13, 2019, J&J’s talc supplier, Imerys, filed for Chapter 11

  bankruptcy protection. According to a Bloomberg article entitled, “Imerys Talc Units

  File Bankruptcy as Cancer-Suit Risk Soars,” “J&J shares fell as much as 0.7 percent

  on the bankruptcy filing,” and “[t]he bankruptcy will probably have a negative impact

  on Johnson & Johnson in thousands of talc lawsuits as Imerys won’t be able to

  contribute much capital to potential settlements.”

          250. And, on February 20, 2019, J&J disclosed in its 2018 Form 10-K that the

  Company had received “preliminary inquiries and subpoenas” from Senator Patty

  Murray, the DOJ, and the SEC to produce documents regarding this securities class

  action lawsuit, as well as a shareholder derivative suit, two Employee Retirement




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  Income Security Act of 1974 class action lawsuits, and the product liability

  multidistrict litigation.

          251. According to the Wall Street Journal, “[a] J&J spokesman said the

  inquiries were related to news reports in December about product-liability lawsuits

  against the company, which caused J&J’s stock price to fall sharply.” The Wall Street

  Journal also acknowledged that Johnson’s Baby Powder “plays an important role

  shaping J&J’s reputation” and that “[t]he talc-powder litigation threatens J&J’s

  carefully cultivated image.”

          252. In response to the disclosure of the SEC and DOJ subpoenas, J&J’s stock

  price suffered further decline.

  VI.     DEFENDANTS’ MATERIALLY FALSE AND MISLEADING
          STATEMENTS AND OMISSIONS

          A.    February 2013 False and Misleading Statements

          253. On February 22, 2013, J&J filed its Form 10-K with the SEC for the

  fiscal year ended December 30, 2012 (“2012 10-K”), which was signed by defendants

  Gorsky and Caruso. According to defendants, J&J “remain[ed]” committed” to

  “delivering high quality” and “improving existing products”:

          Research and Development
                Research activities represent a significant part of the Company’s
          businesses. Research and development expenditures relate to the
          processes of discovering, testing and developing new products,
          improving existing products, as well as demonstrating product efficacy
          and regulatory compliance prior to launch. The Company remains


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          committed to investing in research and development with the aim of
          delivering high quality and innovative products.

          254. Exhibit 13 to the 2012 10-K disclosed that some of J&J’s subsidiaries

  were involved in product liability litigation, but also represented that the warnings and

  instructions accompanying their products were adequate:

          Certain subsidiaries of Johnson & Johnson are involved in numerous
          product liability cases. The damages claimed are substantial, and while
          these subsidiaries are confident of the adequacy of the warnings and
          instructions for use that accompany the products at issue, it is not
          feasible to predict the ultimate outcome of litigation. The Company has
          established product liability accruals in compliance with ASC 450-20
          based on currently available information, which in some cases may be
          limited. Changes to the accruals may be required in the future as
          additional information becomes available.

          255. J&J’s statements, as alleged in ¶¶253-254, were false and misleading

  when made. While defendants boasted of “improving existing products,” being

  “committed to investing in research and development with the aim of delivering high

  quality . . . products,” and having “adequate” warnings, they omitted that (i) asbestos

  had repeatedly been found in the Company’s talc and powders (¶¶55-57, 59, 64, 73,

  76, 81, 87-92, 223, 227-228), (ii) J&J had attempted to find ways to remove tremolite

  from its talc (¶¶58, 60, 228), and (iii) J&J never adopted concentration methods that

  could detect the asbestos (¶¶63-67, 230).

          B.    April 2013 False and Misleading Statements

          256. On April 25, 2013, Forbes reported on comments made by J&J’s VP of

  global corporate affairs, Michael Sneed, at J&J’s annual shareholder meeting:


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                 “One of the things that we wanted to be sure to do is move to
          really get past some of the challenges we’ve had as a business,” said
          Michael Sneed, VP of global corporate affairs. “We’ve made great
          strides in that and we want to make sure we have a full conversation
          about who J&J is. We’re not perfect but we want people to understand
          that when we do make mistakes, we own up to those mistakes and we
          want people to understand the values that are behind J&J.”

                 J&J ranked No. 6 of America’s 150 most reputable companies this
          year, dropping from No. 3 last year, according to The Reputation
          Institute.

                “We certainly are not oblivious to the rankings,” Sneed said. “The
          reputation of J&J is very important to us. We take it very seriously. We
          have a lot of data that we look at, both externally and internally,” he said.
          “I wouldn’t say there was any one thing that precipitated [the campaign],
          and we certainly don’t do these things just for rankings. Reputation is
          something that’s born out of actions. The reputation is a reflection of
          people’s perspective on the actions that we do take.”

                The corporate campaign is the first global one, will continue
          indefinitely and will cost an estimated $20 million to $30 million for the
          remainder of the year.

                 It comes at a time when many businesses such as Nestle, Unilever
          UN +0% and Procter & Gamble PG +1.22% recognize the value of
          corporate branding in an increasingly transparent and accessible world
          driven by social media. “We’ve really embraced transparency because
          we think we’ve got a great story to tell,” Sneed said. “It has made us
          even more committed to making sure that we’re part of the conversation
          wherever that conversation happens. Clearly, more of that conversation
          happens online and in the digital space. We love that things happen in
          real time. We get jazzed at being part of that,” he said, adding that
          employees, particularly the younger ones, are excited by the company’s
          involvement in social media, and “have become ambassadors for the
          brand.”

                Sneed also pointed out that J&J has a history of doing corporate
          campaigns – for example, the Campaign for Nursing’s Future, which has
          been running for 10 years.


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                “As we were thinking about what else we wanted to do, we
          thought it was important to reconnect with customers, healthcare
          professionals, and reconnect them to J&J and really [help them]
          understand the values behind J&J. The campaign is about celebrating
          the people who do the work of caring for others and in a selfless
          manner.”

               The central theme of the new ads, the first from TBWA LA, is
          love – “an expression of what people do when they care
          unconditionally for others,” Sneed said. “That comes out of the history
          of J&J.”

          257. Defendants’ statements, as alleged in ¶256, that J&J had “‘really

  embraced transparency’” and was trying to “‘have a full conversation about who J&J

  is’” to help customers, healthcare professionals, and others “‘understand the values

  behind J&J,’” that J&J had a history of and was driven by “‘car[ing] unconditionally

  for others’” and that it had “‘own[ed] up to [its] mistakes,’” and that J&J made “‘great

  strides’” in “‘really get[ting] past’” the quality issues the Company faced, were false

  and misleading. In truth, defendants were continuing the longstanding campaign to

  conceal the dangers inherent in the Company’s talcum powders. Indeed, defendants

  failed to disclose that (i) asbestos had repeatedly been found in the Company’s talc

  and powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had

  attempted to find ways to remove tremolite from its talc (¶¶58, 60, 228), (iii) J&J

  never adopted concentration methods that could detect the asbestos (¶¶63-67, 230),

  and (iv) J&J had purposely influenced and manipulated regulators and scientists in




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  order to protect the Company’s flagship product and reputation (¶¶61- 62, 68-72, 78,

  80, 82-86, 93-104, 223, 227, 231-232).

          C.    May 2013 False and Misleading Statements

          258. On May 3, 2013, J&J filed its Form 10-Q with the SEC for the first

  quarter of 2013 (“1Q13 10-Q”).           According to defendants, J&J “remain[ed]

  committed” to “delivering high quality” and “improving existing products”:

          Research and Development Expense

                 Research and development activities represent a significant part of
          the Company’s business. These expenditures relate to the processes of
          discovering, testing and developing new products, improving existing
          products, as well as ensuring product efficacy and regulatory compliance
          prior to launch. The Company remains committed to investing in
          research and development with the aim of delivering high quality and
          innovative products.

          259. J&J’s 1Q13 10-Q disclosed that some of J&J’s subsidiaries were

  involved in product liability litigation, but also represented that the warnings and

  instructions accompanying their products were adequate:

                 Certain subsidiaries of Johnson & Johnson are involved in
          numerous product liability cases. The damages claimed are substantial,
          and while these subsidiaries are confident of the adequacy of the
          warnings and instructions for use that accompany the products at
          issue, it is not feasible to predict the ultimate outcome of litigation. The
          Company has established product liability accruals in compliance with
          ASC 450-20 based on currently available information, which in some
          cases may be limited. Changes to the accruals may be required in the
          future as additional information becomes available.

          260. Defendants’ statements, as alleged in ¶¶258-259, were false and

  misleading. While defendants boasted of “improving existing products,” being

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  “committed to investing in research and development with the aim of delivering high

  quality . . . products,” and having “adequate” warnings, they omitted that (i) asbestos

  had repeatedly been found in the Company’s talc and powders (¶¶55-57, 59, 64, 73,

  76, 81, 87-92, 223, 227-228), (ii) J&J had attempted to find ways to remove tremolite

  from its talc (¶¶58, 60, 228), and (iii) J&J never adopted concentration methods that

  could detect the asbestos (¶¶63-67, 230).

          D.    July 2013 False and Misleading Statements

          261. During a July 16, 2013 conference call regarding the Company’s 2Q13

  results, J&J provided more assurance to investors that J&J paid careful attention to the

  safety of its products and that as part of a “quality initiative,” the Company was

  identifying problems early and was correcting them:

          [Sandy Peterson, Group Worldwide Chairman:] [O]ur quality effort is
          across the enterprise, across all of our businesses, our manufacturing
          sites as well as all of our R&D sites, because they are under the scope of
          trying to ensure that we have the highest standard of quality for the
          safety and care of our patients and consumers. So, when we launched
          the quality initiative a number of years ago, the focus really was on
          ensuring that we’ve got consistent quality standards. . . .

          . . . And we have, obviously as we’ve gone through all of this work, we
          have identified corrective actions, and we’ve immediately taken those
          corrective actions. . . . We’re putting in place processes and systems so
          that we have early warning systems in place to understand if we think
          there may be something going on with a product. So we identify it
          early and we go out and correct it.

                In addition to that, an important component of all of this is how
          we’re managing our global supply chain. So, one of the very important
          changes that we have been making with our global supply chain is


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          ensuring that all of our external suppliers – so, our material suppliers
          – are thoroughly reviewed, are thoroughly managed, and that they are
          living up to our quality standards. And in that process in the last three
          years we’ve actually consolidated our external manufacturing, our
          external material suppliers by about one-third. So we have one-third less
          than we had three years ago. That means that we have an ability to
          manage them much more effectively, and ensure that we are reviewing
          their quality of their products coming into our facilities.

          262. Defendants’ statements, as alleged in ¶261, that J&J was “trying to

  ensure . . . the highest standard of quality for . . . safety” identifying problems early

  and correcting them “immediately,” and “ensuring that [its] . . . external suppliers

  [were] living up to [J&J’s] quality standards” were false and misleading. In truth,

  defendants were continuing the Company’s campaign to conceal the dangers inherent

  in its talcum powders. Indeed, Peterson failed to disclose that (i) asbestos had

  repeatedly been found in the Company’s talc and powders (¶¶55-57, 59, 64, 73, 76,

  81, 87-92, 223, 227-228), (ii) J&J had attempted to find ways to remove tremolite

  from its talc (¶¶58, 60, 228), (iii) J&J never adopted concentration methods that could

  detect the asbestos (¶¶63-67, 230), and (iv) J&J had purposely influenced and

  manipulated regulators and scientists in order to protect the Company’s flagship

  product and reputation (¶¶61-62, 68-72, 78, 80, 82-86, 93-104, 223, 227, 231-232).

          E.    August to November 2013 False and Misleading Statements

          263. On August 1, 2013, J&J filed its 2Q13 Form 10-Q with the SEC.

  According to defendants, J&J “remain[ed] committed” to “delivering high quality”

  and “improving existing products”:

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          Research and Development Expense

                 Research and development activities represent a significant part of
          the Company’s business. These expenditures relate to the processes of
          discovering, testing and developing new products, improving existing
          products, as well as ensuring product efficacy and regulatory compliance
          prior to launch. The Company remains committed to investing in
          research and development with the aim of delivering high quality and
          innovative products.24

          264. J&J’s 2Q13 10-Q disclosed that some of J&J’s subsidiaries were

  involved in product liability litigation, but also represented that the warnings and

  instructions accompanying their products were adequate:

                 Certain subsidiaries of Johnson & Johnson are involved in
          numerous product liability cases. The damages claimed are substantial,
          and while these subsidiaries are confident of the adequacy of the
          warnings and instructions for use that accompany the products at
          issue, it is not feasible to predict the ultimate outcome of litigation. The
          Company has established product liability accruals in compliance with
          ASC 450-20 based on currently available information, which in some
          cases may be limited. Changes to the accruals may be required in the
          future as additional information becomes available.25

          265. Defendants’ statements, as alleged in ¶¶263-264, were false and

  misleading. While defendants boasted of “improving existing products,” being

  “committed to investing in research and development with the aim of delivering high

  quality. . . products,” and having “adequate” warnings, they omitted that (i) asbestos


  24
     These statements were also made in J&J’s third quarter of 2013 (“3Q13”) Form
  10-Q, filed November 4, 2013.
  25
     These statements were also made in J&J’s 3Q13 Form 10-Q, filed November 4,
  2013.


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  had repeatedly been found in the Company’s talc and powders (¶¶55-57, 59, 64, 73,

  76, 81, 87-92, 223, 227-228), (ii) J&J had attempted to find ways to remove tremolite

  from its talc (¶¶58, 60, 228), and (iii) J&J never adopted concentration methods that

  could detect the asbestos (¶¶63-67, 230).

          F.    January 2014 False and Misleading Statements

          266. By January 7, 2014, J&J’s “Our Safety & Care Commitment” website

  stated the following26:

                 Few ingredients have demonstrated the same performance,
          mildness and safety profile as cosmetic talc, which has been used for
          over 100 years by millions of people around the world. Talcum powder
          is made from the mineral, talc. In a powder form, talc helps reduce
          friction, making it useful for keeping skin dry and helping to prevent
          rashes. Talc is a common natural ingredient found in cosmetic products
          such as baby powder and adult body and facial powders, and in a range
          of other consumer products such as toothpaste, chewing gum, and
          aspirin.

                JOHNSON’S® Baby talc products are made using U.S.
          Pharmacopeial (USP) grade talc to ensure it meets the highest-quality,
          purity and compliance standards. Our talc is carefully selected,
          processed and tested to ensure that [it] is asbestos free, as confirmed by
          regular testing conducted since the 1970s.

                                       *      *      *

          At the Johnson & Johnson Family of Consumer Companies, our
          confidence in using talc is based on a long history of safe use and
          more than 30 years of research by independent researchers, scientific
          review boards and global regulatory authorities. Various agencies and
          governmental bodies have examined whether talc is a carcinogen, and
  26
         Our Safety & Care Commitment, Johnson & Johnson Family of Consumer
  Companies, http://www.safetyandcarecommitment.com:80/ingredient-
  info/other/Talc.

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          none have concluded that it is. These include the U.S. Food and Drug
          Administration (FDA) and National Toxicology Program, part of the
          U.S. Department of Health and Human Services.

                                      *      *      *

          Many research papers and epidemiology studies have been published
          since the early 1990s studying talc and perineal use and these studies
          have found talc to be safe. A detailed meta-analysis done by Muscat in
          2007, reviewed all available data and showed no cause and effect
          relationship between perineal use and ovarian cancer.27

          267. Defendants’ statements, as alleged in ¶266, were false and misleading.

  As alleged in ¶¶128 and 224, defendants J&J and Goodrich knew that talc did not

  have “a long history of safe use” after being “used for over 100 years,” as the draft

  language for the website in Goodrich’s possession illustrated that the 100 years of use

  was not safe and even noted that “I don’t think we can link cosmetic talc to 100 years

  of use.” And while the website boasts of talc’s “long history of safe use,” creating the

  impression that J&J’s talc has always been asbestos-free, as alleged in ¶¶128 and 224,

  Goodrich’s own draft admits that “we cannot say ‘always.’” In addition, these

  statements, as well as the representations regarding talc’s “safety profile” and

  “purity,” the representation that “[o]ur talc is carefully selected, processed and tested

  to ensure that [it] is asbestos free,” and the representation that “regular testing

  conducted since the 1970s” confirmed that J&J’s talc was asbestos free, were false


  27
     Citing Muscat, Perineal talc use and ovarian cancer risk: a case study of scientific
  standards in environmental epidemiology, Eur. J. of Cancer Prevention, Nov. 11,
  2011, http://www.ncbi.nlm.nih.gov/pubmed/21712717.


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  and misleading as they omitted that (i) asbestos had repeatedly been found in the

  Company’s talc and powders(¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii)

  J&J had attempted to find ways to remove tremolite from its talc (¶¶58, 60, 228), and

  (iii) J&J never adopted concentration methods that could detect the asbestos (¶¶63-67,

  230).

          268. Defendants’ representations, as alleged in ¶266, that “more than 30 years

  of research by independent researchers, scientific review boards and global regulatory

  authorities” supported the safety of talc, that studies “since the early 1990s . . . have

  found talc to be safe,” and that “none” of the “[v]arious agencies and governmental

  bodies” have concluded that talc is a carcinogen, were false and misleading. As

  alleged in ¶¶131 and 225, J&J acknowledged internally that other scientific sources

  not included on the website were actually “not as definitive or supportive and could be

  interpreted as suggesting a causal effect” and that “[e]ven some of the studies we cite

  send mixed messages.” And as alleged in ¶¶131 and 225, J&J knew that one of the

  studies cited by J&J even admitted that “‘perineal talc use may modestly increase the

  risk of invasive serous ovarian cancers.’” In addition, the statements omitted that (i)

  asbestos had repeatedly been found in the Company’s talc and powders, (¶¶55-57, 59,

  64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had attempted to find ways to remove

  tremolite from its talc (¶¶58, 60, 228), (iii) J&J never adopted concentration methods

  that could detect the asbestos (¶¶63-67, 230), and (iv) J&J had purposely influenced


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  and manipulated regulators and scientists, including the FDA and NTP, in order to

  protect the Company’s flagship product and reputation (¶¶61-62, 68-72, 78, 80, 82-86,

  93-104, 223, 227, 231-232).

          269. On a January 21, 2014 conference call discussing J&J’s 4Q13 and FY13

  results, defendant Gorsky told investors that J&J’s Chief Medical and Chief Quality

  Officers were “setting new benchmarks for medical safety” and were ensuring the

  Company’s products were safe:

                 Our Chief Medical and Chief Quality Officers are setting new
          benchmarks for medical safety and implementing a more consistent
          global approach for monitoring the use of our end market products that
          is very patient- and consumer-centric for ensuring that they are safe
          and performing as expected and as intended. While we’re pleased with
          the progress that we’ve made here, we’re not yet satisfied and we’ll keep
          doing whatever it takes to ensure that we continue to earn the trust of
          consumers and patients around the world.

          270. Defendants’ statements, as alleged in ¶269, that J&J had done and would

  continue to do “whatever it takes to ensure . . . the trust of consumers and patients,”

  including “setting new benchmarks for medical safety” and “ensuring that the

  Company’s products “are safe,” were false and misleading. In truth, defendants were

  continuing the longstanding campaign to conceal the dangers inherent in the

  Company’s talcum powders. Indeed, defendants failed to disclose that (i) asbestos

  had repeatedly been found in the Company’s talc and powders (¶¶55-57, 59, 64, 73,

  76, 81, 87-92, 223, 227-228), (ii) J&J had attempted to find ways to remove tremolite

  from its talc (¶¶58, 60, 228), (iii) J&J never adopted concentration methods that could

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  detect the asbestos (¶¶63-67, 230), and(iv) J&J had purposely influenced and

  manipulated regulators and scientists in order to protect the Company’s flagship

  product and reputation (¶¶61-62, 68-72, 78, 80, 82-86, 93-104, 223, 227, 231-232).

          G.    February to October 2014 False and Misleading Statements

          271. On February 21, 2014, J&J filed its 2013 10-K with the SEC. Signed by

  defendants Gorsky and Caruso, the 2013 10-K again represented that J&J

  “remain[ed]” committed” to “delivering high quality” and “improving existing

  products”:

          Research and Development
                 Research and Development activities represent a significant part
          of the Company’s business. [Research and development] expenditures
          relate to the processes of discovering, testing and developing new
          products, improving existing products, as well as ensuring product
          efficacy and regulatory compliance prior to launch. The Company
          remains committed to investing in research and development with the
          aim of delivering high quality and innovative products.

          272. Exhibit 13 to the 2013 10-K disclosed that some of its subsidiaries were

  involved in product liability litigation, but also represented that the subsidiaries had

  “substantial defenses”:

                Certain subsidiaries of Johnson & Johnson are involved in
          numerous product liability claims and lawsuits involving multiple
          products. Claimants in these cases seek substantial compensatory and,
          where available, punitive damages. While these subsidiaries believe
          they have substantial defenses, it is not feasible to predict the ultimate
          outcome of litigation. The Company has established product liability
          accruals in compliance with ASC 450-20 based on currently available
          information, which in some cases may be limited. Changes to the


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          accruals may be required in the future as additional information becomes
          available.

          273. On May 2, 2014, J&J filed its first quarter of 2014 (“1Q14”) Form 10-Q

  with the SEC. According to defendants, J&J “remain[ed]” committed” to “delivering

  high quality” and “improving existing products”:

          Research and Development Expense

          Research and development activities represent a significant part of the
          Company’s business. These expenditures relate to the processes of
          discovering, testing and developing new products, improving existing
          products, as well as ensuring product efficacy and regulatory compliance
          prior to launch. The Company remains committed to investing in
          research and development with the aim of delivering high quality and
          innovative products.

          274. J&J’s 1Q14 10-Q disclosed that some of J&J’s subsidiaries were

  involved in product liability litigation, but also represented that the subsidiaries had

  “substantial defenses”:

                Certain subsidiaries of Johnson & Johnson are involved in
          numerous product liability claims and lawsuits involving multiple
          products. Claimants in these cases seek substantial compensatory and,
          where available, punitive damages. While these subsidiaries believe
          they have substantial defenses, it is not feasible to predict the ultimate
          outcome of litigation. The Company has established product liability
          accruals in compliance with ASC 450-20 based on currently available
          information, which in some cases may be limited. Changes to the
          accruals may be required in the future as additional information becomes
          available.28



  28
     These statements were also made in J&J’s 2Q14 and third quarter of 2014
  (“3Q14”) Form 10-Qs (filed August 1, 2014 and October 30, 2014, respectively).


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          275. On August 1, 2014, J&J filed its second quarter of 2014 (“2Q14”) Form

  10-Q with the SEC. According to defendants, J&J “remain[ed]” committed” to

  “delivering high quality”:

          Research and Development Expense

                The Company remains committed to investing in research and
          development with the aim of delivering high quality and innovative
          products.

          276. Defendants’ statements, as alleged in ¶¶271-275, were false and

  misleading. While defendants boasted of “improving existing products,” being

  “committed to investing in research and development with the aim of delivering high

  quality . . . products,” and of J&J’s subsidiaries having “substantial defenses,” they

  omitted that (i) asbestos had repeatedly been found in the Company’s talc and

  powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had attempted to

  find ways to remove tremolite from its talc (¶¶58, 60, 228), (iii) J&J never adopted

  concentration methods that could detect the asbestos (¶¶63-67, 230), and (iv) J&J had

  purposely influenced and manipulated regulators and scientists in order to protect the

  Company’s flagship product and reputation (¶¶61-62, 68-72, 78, 80, 82-86, 93-104,

  223, 227, 231-232).

          H.    January to February 2015 False and Misleading Statements

          277. During a JPMorgan Healthcare Conference on January 12, 2015,

  defendant Gorsky stated:



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          Quality and safety, our number-one priority in dealing with patients and
          consumers. We’ve made a number of changes over the last few years,
          frankly to make sure that we addressed any of the outstanding issues
          that we were facing, but also more importantly to set us up for a
          benchmark going forward.

          278. On February 5, 2015, defendant Glasgow created a page on J&J’s

  website entitled “Making Every Moment Matter.”               She represented that J&J

  understood and cared about the needs of babies and that J&J “look[ed] at all the

  science” “that help our babies thrive and grow”:

                 As a mom, I understand the need for other moms and dads to
          treasure the precious moments throughout the day we get to spend with
          our children. From bath time to bedtime, all of these moments turn into
          our very own special rituals and serve as a way to bond and develop a
          relationship with our little ones. What may come as a surprise to some is
          how all of these everyday interactions serve as the perfect opportunity to
          stimulate your baby’s senses, which we believe can have a positive
          impact on their development.

                 Working on JOHNSON’S®, I’ve had the chance to meet parents
          all over the world and look at the unique rituals and practices between
          them and their baby. What I found to be universal is the desire for
          families to raise happy, healthy babies.

                 As the first baby care brand to commit to advancing the science
          of baby’s skin, we feel, as scientists, an obligation to continue to take
          our research to the next level by looking at all the science – even
          beyond the science focused on cleansing – that help our babies thrive
          and grow. It’s why I am so excited about the new and existing research
          we are sharing that reveals the importance of multi-sensorial experiences
          that can lead to happy, healthy baby development.

                 By age three, 85% of a baby’s brain is developed so it’s no
          surprise that every experience leading up to this time helps to shape their
          brain. From the nighttime cuddles to the bath time bubble splashing
          sessions, all of these interactions are giving you an opportunity to
          nurture your baby’s ability to learn, think, love and grow. And even

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          more interesting is how the brain’s processes for learning are enhanced
          when multiple senses are stimulated versus just using one. It’s why I
          spend a lot of time looking at how touch and smell work together so we
          can help families make the little moments – like bath time (and what I
          like to call a sensorial playground ) – mean so much more.

                 Looking into the future, JOHNSON’S® has earmarked millions of
          dollars over the next three years to advance new research and will
          continue to partner with leading experts in the space to uncover even
          more about the “science of the senses.”

          279. Defendants’ statements, as alleged in ¶277, that “[q]uality and safety

  [were J&J’s] number-one priority” and that J&J had “addressed any of the outstanding

  issues that [it was] facing,” were false and misleading. In truth, J&J continued its

  longstanding fraudulent scheme to protect the image of Baby Powder’s safety and the

  Company’s reputation, concealing that (i) asbestos had repeatedly been found in the

  Company’s talc and powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii)

  J&J had attempted to find ways to remove tremolite from its talc (¶¶58, 60, 228), (iii)

  J&J never adopted concentration methods that could detect the asbestos (¶¶63-67,

  230), and (iv) J&J had purposely influenced and manipulated regulators and scientists

  in order to protect the Company’s flagship product and reputation (¶¶61-62, 68-72, 78,

  80, 82-86, 93-104, 223, 227, 231-232).

          280. Defendants’ statements, as alleged in ¶278, that J&J “continue[d] to take

  [its] research to the next level by looking at all the science . . . that help our babies

  thrive and grow” and that J&J “help[ed] families make the little moments – like bath

  time” serve as “an opportunity to nurture your baby’s ability to learn,” were similarly


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  false and misleading. Instead of “looking at all the science” or helping families

  nurture their babies, J&J had provided parents with the opportunity to unwittingly

  expose their children to asbestos, while the Company continued to reject appropriate

  testing methods and ignored the multiple findings of asbestos in its talc powders.

  Defendants concealed that (i) asbestos had repeatedly been found in the Company’s

  talc and powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had

  attempted to find ways to remove tremolite from its talc (¶¶58, 60, 228), (iii) J&J

  never adopted concentration methods that could detect the asbestos (¶¶63-67, 230),

  and (iv) J&J had purposely influenced and manipulated regulators and scientists in

  order to protect the Company’s flagship product and reputation(¶¶61-62, 68-72, 78,

  80, 82-86, 93-104, 223, 227, 231-232).

          281. On February 24, 2015, J&J filed its 2014 10-K with the SEC (“2014 10-

  K”). Signed by defendants Gorsky and Caruso, the 2014 10-K again represented that

  J&J “remain[ed]” committed” to “delivering high quality” and “improving existing

  products”:

          Research and Development

                Research activities represent a significant part of the Company’s
          businesses. Research and development expenditures relate to the
          processes of discovering, testing and developing new products,
          improving existing products, as well as demonstrating product efficacy
          and regulatory compliance prior to launch. The Company remains
          committed to investing in research and development with the aim of
          delivering high quality and innovative products.


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          282. Exhibit 13 to the 2014 10-K disclosed that some of its subsidiaries were

  involved in product liability litigation, but also represented that the subsidiaries “have

  substantial defenses”:

                  Certain subsidiaries of Johnson & Johnson are involved in
          numerous product liability claims and lawsuits involving multiple
          products. Claimants in these cases seek substantial compensatory and,
          where available, punitive damages. While these subsidiaries believe
          they have substantial defenses, it is not feasible to predict the ultimate
          outcome of litigation. The Company has established product liability
          accruals in compliance with ASC 450-20 based on currently available
          information, which in some cases may be limited. In addition, product
          liability accruals can represent projected product liability for thousands
          of claims around the world, each in different litigation environments and
          with different fact patterns. Changes to the accruals may be required in
          the future as additional information becomes available.

          283. Defendants’ statements, as alleged in ¶¶281-282, were false and

  misleading. While defendants boasted of “improving existing products,” being

  “committed to investing in research and development with the aim of delivering high

  quality . . . products,” and of J&J’s subsidiaries having “substantial defenses,” they

  omitted that, (i) asbestos had repeatedly been found in the Company’s talc and

  powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had attempted to

  find ways to remove tremolite from its talc (¶¶58, 60, 228), (iii) J&J never adopted

  concentration methods that could detect the asbestos (¶¶63-67, 230), and (iv) J&J had

  purposely influenced and manipulated regulators and scientists in order to protect the

  Company’s flagship product and reputation(¶¶61-62, 68-72, 78, 80, 82-86, 93-104,

  223, 227, 231-232).

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          I.    April 2015 False and Misleading Statements

          284. At an April 23, 2015 Shareholders Meeting, defendant Gorsky assured

  investors that J&J was taking care of mothers and babies:

          Johnson & Johnson is committed to helping mothers and babies, we
          never want to forget the needs of the world’s smallest patients.
                                      *     *       *

          Caring inspires us day in and day out as we strive to make a difference
          for people who count on us the most. And as the world’s largest and
          best healthcare company in the world, we’re committed to reaching more
          people in more places in more ways. We’re helping people ultimately
          live longer, healthier, and happier lives.

          285. Defendants’ statements, as alleged in ¶284, were false and misleading.

  Instead of being committed to mothers and babies, helping people live longer and

  happier lives, or “striv[ing] to make a difference for people,” defendants were

  continuing J&J’s longstanding fraudulent scheme to protect the image of Baby

  Powder’s and the Company’s reputation, concealing that (i) asbestos had repeatedly

  been found in the Company’s talc and powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92,

  223, 227-228), (ii) J&J had attempted to find ways to remove tremolite from its talc

  (¶¶58, 60, 228), (iii) J&J never adopted concentration methods that could detect the

  asbestos (¶¶63-67, 230), and (iv) J&J had purposely influenced and manipulated

  regulators and scientists in order to protect the Company’s flagship product and

  reputation(¶¶61-62, 68-72, 78, 80, 82-86, 93-104, 223, 227, 231-232). Despite the




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  numerous red flags raised internally at the Company, J&J continued to sell its talcum

  powders and failed to use proper methods for testing its talc.

          J.    May to October 2015 False and Misleading Statements

          286. On May 1, 2015, J&J filed its first quarter of 2015 (“1Q15”) Form 10-Q

  with the SEC. Defendants disclosed that some of J&J’s subsidiaries were involved in

  product liability litigation, but also represented that the subsidiaries had “substantial

  defenses”:

                  Certain subsidiaries of Johnson & Johnson are involved in
          numerous product liability claims and lawsuits involving multiple
          products. Claimants in these cases seek substantial compensatory and,
          where available, punitive damages. While these subsidiaries believe
          they have substantial defenses, it is not feasible to predict the ultimate
          outcome of litigation. The Company has established product liability
          accruals in compliance with ASC 450-20 based on currently available
          information, which in some cases may be limited. In addition, product
          liability accruals can represent projected product liability for thousands
          of claims around the world, each in different litigation environments and
          with different fact patterns. Changes to the accruals may be required in
          the future as additional information becomes available.29

          287. Defendants’ statements, as alleged in ¶286, were false and misleading.

  While defendants boasted of J&J’s subsidiaries having “substantial defenses,” they

  omitted that (i) asbestos had repeatedly been found in the Company’s talc and

  powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had attempted to


  29
      These statements were also made in J&J’s second quarter of 2015 (“2Q15”) and
  third quarter of 2015 (“3Q15”) Form 10-Qs (filed July 31, 2015 and October 30, 2015,
  respectively).


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  find ways to remove tremolite from its talc (¶¶58, 60, 228), (iii) J&J never adopted

  concentration methods that could detect the asbestos (¶¶63-67, 230), and (iv) J&J had

  purposely influenced and manipulated regulators and scientists in order to protect the

  Company’s flagship product and reputation(¶¶61-62, 68-72, 78, 80, 82-86, 93-104,

  223, 227, 231-232).

          K.    December 2015 False and Misleading Statements

          288. As of December 25, 2015, the Company had updated its website entitled

  “Our Safety & Care Commitment,” stating the following:

                  Any amount of talc used in a consumer product is required to be
          asbestos-free and has been since the 1970s – though misperceptions
          still exist that talc products contain asbestos, a substance with links to
          cancer. JOHNSON’S® Baby Powder products contain only U.S.
          Pharmacopeial (USP) grade talc which meets the highest quality, purity
          and compliance standards. The talc used in all our global products is
          carefully selected and processed to be asbestos-free, and we confirm
          this with regular testing. The U.S. Food and Drug Administration
          (FDA) has also tested and confirmed the purity of our talc.

                Another misperception is that talc in baby powder can be easily
          inhaled or absorbed into the body. We always recommend not using talc
          around a baby’s face or mouth, and to further protect your baby, we
          precisely mill our JOHNSON’S talc products to a relatively large size
          to decrease the potential to be inhaled or absorbed into the body.

          Decades of Safety

                 Our confidence in using talc reflects more than 30 years of
          research by independent scientists, review boards and global
          authorities, which have concluded that talc can be used safely in
          personal care products. Various government agencies and other
          bodies also have examined talc to determine the potential for any safety
          risks, and none have concluded that there are safety risks. In fact, no


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          regulatory agency has ever required a change in labeling to reflect any
          safety risk from talc powder products.

                                       *     *       *

                 Among the agencies that have examined talc are the U.S.
          Department of Health and Human Services and the U.S. FDA. As
          recently as 2014, the FDA again reviewed the safety data on talc and did
          not find “any new compelling literature data or new scientific evidence.”

                Cosmetic talc is not included in the most recent Report on
          Carcinogens, which is published by the U.S. National Toxicology
          Program (NTP). NTP is a globally-recognized program and is formed
          from parts of several different government agencies, including the
          National Institutes of Health (NIH), the Centers for Disease Control and
          Prevention (CDC), and the Food and Drug Administration (FDA).

                 In addition to government health authorities, our own toxicology
          teams are also responsible for evaluating any new research published on
          talc, and at times we may ask outside experts for an independent
          perspective on new or existing studies. We have carefully assessed all
          available data on talc and consumers can feel confident that the
          overwhelming body of research and clinical evidence continues to
          support the safety of cosmetic talc.

                                       *     *       *

          Our Position on Talc
                  At Johnson & Johnson Consumer Inc., our confidence in using
          talc is based on a long history of safe use and more than 30 years of
          research by independent researchers, scientific review boards and
          global regulatory authorities. Various agencies and governmental
          bodies have examined whether talc is a carcinogen, and none have
          concluded that it is. With over 100 years of use, few ingredients have
          the same demonstrated performance, mildness and safety profile as
          cosmetic talc.

          289. Defendants’ statements, as alleged in ¶288, were false and misleading.

  As alleged in ¶¶128 and 224, defendants J&J and Goodrich knew that talc did not


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  have “a long history of safe use” after “over 100 years of use,” as the earlier draft

  language for the website in Goodrich’s possession illustrated that the 100 years of use

  was not safe and even noted that “I don’t think we can link cosmetic talc to 100 years

  of use.” And while the website boasts of talc’s “long history of safe use,” creating the

  impression that J&J’s talc has always been asbestos-free, as alleged in ¶¶128 and 224,

  Goodrich’s own draft admits that “we cannot say ‘always.’” In addition, these

  statements – as well as the representations regarding talc’s “safety profile,” “purity,”

  and asbestos-free nature, the representation that J&J’s talc is “precisely milled” and

  “carefully selected and processed to be asbestos-free, [confirmed] with regular

  testing,” and the representation that “[a]ny amount of talc used in a consumer product

  is required to be asbestos-free and has been since the 1970s” were false and

  misleading as they omitted that: (i) asbestos had repeatedly been found in the

  Company’s talc and powders(¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii)

  J&J had attempted to find ways to remove tremolite from its talc (¶¶58, 60, 228), and

  (iii) J&J never adopted concentration methods that could detect the asbestos (¶¶63-67,

  230).

          290. Defendants’ representations, as alleged in ¶288, that: (i) “more than 30

  years of research by independent scientists, review boards and global authorities”

  supported the safety of talc, (ii) “the overwhelming body of research and clinical

  evidence” supports cosmetic talc’s safety, (iii) “consumers can feel confident” about


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  the safety of talc based on J&J’s “careful[] assess[ment] [of] all available data,” and

  (iv) “none” of the “[v]arious government agencies and other bodies” have concluded

  there are any safety risks with talc usage, were false and misleading when made. As

  alleged in ¶¶131 and 225, J&J acknowledged internally that scientific sources not

  included on the website were actually “not as definitive or supportive and could be

  interpreted as suggesting a causal effect” and that “[e]ven some of the studies we cite

  send mixed messages.” And as alleged in ¶¶131 and 225, J&J acknowledged

  internally that even one of the studies cited by J&J admitted that “‘perineal talc use

  may modestly increase the risk of invasive serous ovarian cancers.’” In addition,

  these statements, as well the statement regarding “outside experts [with] independent

  perspective[s],” omitted that (i) asbestos had repeatedly been found in the Company’s

  talc and powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had

  attempted to find ways to remove tremolite from its talc (¶¶58, 60, 228), (iii) J&J

  never adopted concentration methods that could detect the asbestos (¶¶63-67, 230),

  and (iv) J&J had purposely influenced and manipulated regulators and scientists in

  order to protect the Company’s flagship product and reputation (¶¶61-62, 68-72, 78,

  80, 82-86, 93-104, 223, 227, 231-232).

          291. Similarly, defendants’ statement regarding the FDA, as alleged in ¶288,

  was materially misleading, as the website failed to disclose that J&J had falsely

  assured the FDA that its talc and powders were free of asbestos. ¶¶56, 227-228. And


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  defendants’ statement regarding the absence of talc in the RoC omitted J&J’s own

  internal recognition that this was a “direct result” of the Company’s efforts at

  influencing regulators. ¶104.

          292. The “Our Safety and Care Commitment” website also contained the

  following statement from defendant Casalvieri, Director of Toxicology and Skincare,

  JJCI:

                 As a toxicologist in our Consumer business, my job is to make
          certain a product is safe by assessing whether any ingredient in that
          product poses a risk. We want to assure women and caregivers who use
          our talc products that numerous studies support its safety, and these
          include assessments by external experts in addition to our company
          testing. Many research papers and epidemiology studies have
          specifically evaluated talc and perineal use and these studies have
          found talc to be safe.

          293. The statements by defendant Casalvieri, as alleged in ¶292, were false

  and misleading. While Casalvieri represented that “company testing,” “numerous

  studies” and “assessments by external experts” support[ed] [talc’s] safety,” and that

  “[m]any research papers and epidemiology studies . . . have found talc to be safe,” she

  omitted that (i) asbestos had repeatedly been found in the Company’s talc and

  powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had attempted to

  find ways to remove tremolite from its talc (¶¶58, 60, 228), (iii) J&J never adopted

  concentration methods that could detect the asbestos (¶¶63-67, 230), and (iv) J&J had

  purposely influenced and manipulated regulators and scientists in order to protect the




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  Company’s flagship product and reputation (¶¶61-62, 68-72, 78, 80, 82-86, 93-104,

  223, 227, 231-232).

          L.    February 2016 False and Misleading Statements

          294. In a February 23, 2016 Reuters article, Company spokeswoman Goodrich

  was quoted:

          We have no higher responsibility than the health and safety of
          consumers, and we are disappointed with the outcome of the trial. We
          sympathize with the plaintiff’s family but firmly believe the safety of
          cosmetic talc is supported by decades of scientific evidence.

          295. But the statement by Goodrich and J&J, as alleged in ¶294, was false and

  misleading. As alleged in ¶¶131 and 225, J&J acknowledged internally that some of

  the scientific sources were actually “not as definitive or supportive and could be

  interpreted as suggesting a causal effect” between ovarian cancer and talc and that

  “[e]ven some of the studies we cite send mixed messages.” And as alleged in ¶¶131

  and 225, J&J acknowledged internally that even one of the studies cited by J&J

  admitted that “‘perineal talc use may modestly increase the risk of invasive serous

  ovarian cancers.’” In addition, the statement alleged in ¶294 was false and misleading

  in that it failed to disclose that (i) asbestos had repeatedly been found in the

  Company’s talc and powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii)

  J&J had attempted to find ways to remove tremolite from its talc (¶¶58, 60, 228), (iii)

  J&J never adopted concentration methods that could detect the asbestos (¶¶63-67,

  230), and (iv) J&J had purposely influenced and manipulated regulators and scientists

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  in order to protect the Company’s flagship product and reputation (¶¶61-62, 68-72, 78,

  80, 82-86, 93-104, 223, 227, 231-232).

          296. On February 24, 2016, J&J filed its 2015 10-K with the SEC (“2015 10-

  K”). Signed by defendants Gorsky and Caruso, the 2015 10-K again represented that

  J&J “remain[ed]” committed” to “delivering high quality” and “improving existing

  products”:

                Research activities represent a significant part of the Company’s
          businesses. Research and development expenditures relate to the
          processes of discovering, testing and developing new products,
          improving existing products, as well as demonstrating product efficacy
          and regulatory compliance prior to launch. The Company remains
          committed to investing in research and development with the aim of
          delivering high quality and innovative products.

          297. In its 2015 10-K, defendants disclosed that some of J&J’s subsidiaries

  were involved in product liability litigation, but also represented that they had

  “substantial defenses”:

                  Certain subsidiaries of Johnson & Johnson are involved in
          numerous product liability claims and lawsuits involving multiple
          products. Claimants in these cases seek substantial compensatory and,
          where available, punitive damages. While these subsidiaries believe
          they have substantial defenses, it is not feasible to predict the ultimate
          outcome of litigation. The Company has established accruals for product
          liability claims and lawsuits in compliance with ASC 450-20 based on
          currently available information, which in some cases may be limited.
          The Company accrues an estimate of the legal defense costs needed to
          defend each matter. For certain of these matters, the Company has
          accrued additional amounts such as estimated costs associated with
          settlements, damage and other losses. Product liability accruals can
          represent projected product liability for thousands of claims around the
          world, each in different litigation environments and with different fact

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          patterns. Changes to the accruals may be required in the future as
          additional information becomes available.

          298. Defendants’ statements, as alleged in ¶¶296 and 297, were false and

  misleading. While defendants boasted of “improving existing products,” being

  “committed to investing in research and development with the aim of delivering high

  quality . . . products,” and of J&J’s subsidiaries having “substantial defenses,” they

  omitted that: (i) asbestos had repeatedly been found in the Company’s talc and

  powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had attempted to

  find ways to remove tremolite from its talc (¶¶58, 60, 228), (iii) J&J never adopted

  concentration methods that could detect the asbestos (¶¶63-67, 230), and (iv) J&J had

  purposely influenced and manipulated regulators and scientists in order to protect the

  Company’s flagship product and reputation (¶¶61-62, 68-72, 78, 80, 82-86, 93-104,

  223, 227, 231-232).

          299. On February 24, 2016, J&J created a page on its website, entitled “The

  Facts About Talc Safety.” There, the Company stated:

                 Baby Powder made from cosmetic talc is one of JOHNSON’s
          oldest products and a longtime part of baby care rituals. JOHNSON’s
          Baby Powder continues to be popular with adults as well, and in many
          parts of the world, it remains an essential part of the makeup and skin
          care routines. With over 100 years of use, few ingredients have the
          same demonstrated performance, mildness and safety profile as
          cosmetic talc.

                We wanted to take this opportunity to share the facts about talc, so
          you’re well-informed.



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               JOHNSON’s talc products do not contain asbestos. A frequent
                misperception is that JOHNSON’s Baby Powder contains talc
                made with asbestos, a substance classified as cancer-causing.
                Since the 1970s, talc used in consumer products has been
                required to be asbestos-free. JOHNSON’S® Baby Powder
                products contain only U.S. Pharmacopeia (USP) grade talc, which
                meets the highest quality, purity and compliance standards.

               The safety of talc is based on a long history of safe use and
                decades of research by independent researchers and scientific
                review boards. Talc is accepted as safe for use in cosmetic and
                personal care products by the European Union, Canada and many
                other countries around the world, among them Argentina, Brazil,
                China, India, Israel, South Africa, Turkey and Indonesia. The
                U.S. Center for Disease Control (CDC), which identifies potential
                risk factors for many diseases, has not identified talc as a risk
                factor for ovarian cancer.

               The Nurses’ Health Study (2010) and the Women’s Health
                Initiative Observational Cohort (2014), the only two large-scale
                prospective studies looking at talc and ovarian cancer, found no
                causal relationship between talc and ovarian cancer.

                                      *      *      *

                 The grade of talc used in cosmetics is of high purity, comparable
          to that used for pharmaceutical applications, and is free from asbestos
          and asbestiform fibers. Cosmetic grade talc is only mined from select
          deposits from certified locations, and milled to relatively large, non-
          respirable particles size.

                                      *      *      *

                 Our sources for talc undergo comprehensive qualification. The
          incoming talc is routinely evaluated using a sophisticated battery of
          tests designed to ensure quality, safety, and compliance with all global
          standards.

          300. Defendants’ statements, as alleged in ¶299, were false and misleading

  and were not written and communicated to keep investors “well-informed.” While


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  defendants’ claimed that cosmetic talc had “over 100 years of use,” as alleged in

  ¶¶128 and 224, J&J’s own internal document acknowledges that “I don’t think we can

  link cosmetic talc to 100 years of use.” This statement was false and misleading for

  other reasons, as were the representations (i) regarding talc’s “long history of safe

  use,” “safety profile,” and “high purity,” (ii) that cosmetic talc “is free from asbestos

  and asbestiform fibers,” “only mined from select deposits from certified locations,”

  and “milled to relatively large, non-respirable particles size,” (iii) that talc used in

  consumer products “has been required to be asbestos-free” “[s]ince the 1970s,” (iv)

  that J&J’s “sources for talc undergo comprehensive qualification” and that “incoming

  talc is routinely evaluated using a sophisticated battery of tests designed to ensure . . .

  safety,” (v) J&J’s “talc products do not contain asbestos,” and (vi) that it is a

  “misperception . . . that JOHNSON’S Baby Powder contains talc made with asbestos.”

  These statements concealed that (i) asbestos had repeatedly been found in the

  Company’s talc and powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii)

  J&J had attempted to find ways to remove tremolite from its talc (¶¶58, 60, 228), (iii)

  J&J never adopted concentration methods that could detect the asbestos (¶¶63-67,

  230), and (iv) J&J had purposely influenced and manipulated regulators and scientists

  in order to protect the Company’s flagship product and reputation (¶¶61-62, 68-72, 78,

  80, 82-86, 93-104, 223, 227, 231-232). In addition, defendants’ statements created the




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  impression that J&J’s talc has always been asbestos-free, but as alleged in ¶¶128 and

  224, J&J knew internally that “we cannot say ‘always.’”

          301. Defendants’ representation, as alleged in ¶299, that “decades of research

  by independent researchers and scientific review boards” supported “[t]he safety of

  talc,” was also false and misleading, as defendants omitted that, as alleged in ¶¶131

  and 225, J&J acknowledged internally that some of the scientific sources were

  actually “not as definitive or supportive and could be interpreted as suggesting a

  causal effect” between ovarian cancer and talc and that “[e]ven some of the studies we

  cite send mixed messages.” And as alleged in ¶¶131 and 225, J&J internally

  acknowledged that one of the studies cited by J&J admitted that “‘perineal talc use

  may modestly increase the risk of invasive serous ovarian cancers.’” In addition, the

  statement about “decades of research” was false and misleading because it failed to

  disclose that (i) asbestos had repeatedly been found in the Company’s talc and

  powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had attempted to

  find ways to remove tremolite from its talc (¶¶58, 60, 228), (iii) J&J never adopted

  concentration methods that could detect the asbestos (¶¶63-67, 230), and (iv) J&J had

  purposely influenced and manipulated regulators and scientists in order to protect the

  Company’s flagship product and reputation (¶¶61-62, 68-72, 78, 80, 82-86, 93-104,

  223, 227, 231-232).




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          M.    May 2016 False and Misleading Statements

          302. On May 2, 2016, J&J and defendant Goodrich made the following

  representations in a press release posted on J&J’s website:

                 Unfortunately, the jury’s decision goes against 30 years of
          studies by medical experts around the world that continue to support
          the safety of cosmetic talc. We understand that women and families
          affected by ovarian cancer are searching for answers, and we deeply
          sympathize with all who have been affected by this devastating disease
          with no known cause. Johnson & Johnson has always taken questions
          about the safety of our products extremely seriously. Multiple
          scientific and regulatory reviews have determined that talc is safe for
          use in cosmetic products and the labeling on Johnson’s Baby Powder
          is appropriate. For over 100 years, Johnson & Johnson has provided
          consumers with a safe choice for cosmetic powder products and we will
          continue to work hard to exceed consumer expectations and evolving
          product preferences.

          303. Also on May 2, 2016, J&J published “A Message About Talc” on its

  website. In the release, J&J again promised that its talc products were safe – omitting

  any mention of asbestos – and assured that J&J “did the things you expect from a

  company you trust”:

                 30 years of studies by medical experts around the world, science,
          research and clinical evidence continues to support the safety of
          cosmetic talc. We first offered JOHNSON’S® Baby Powder as a
          product choice more than 100 years ago because we were confident in
          the safety of talc. And today, we continue to manufacture and sell
          JOHNSON’S® Baby Powder with talc because we remain completely
          confident in its safety. We remain committed to safety and innovation,
          and will continue to work hard to exceed consumer expectations and
          evolving product preferences. This commitment to innovation led to the
          introduction of JOHNSON’S® Baby Powder made with cornstarch as an
          additional option for consumers nearly forty years ago.



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                Everyone at Johnson & Johnson sympathizes deeply with the
          women and families who have been affected by ovarian cancer, a
          devastating disease with no known cause. We know the women and
          families affected are searching for answers and want to understand the
          science.

          Safety

          When concerns about an association between talc and ovarian cancer
          were first raised in the early 1980s, Johnson and Johnson took them
          very seriously and did the things you expect from a company you trust
          including:

               Testing to ensure that the talc in JOHNSON’S® Baby Powder
                meets the highest Quality standards (US Pharmacopeia)

               Engaging with the FDA, regulatory agencies, and governments
                around the world

               Monitoring studies and all available information examining the
                safety of talc

               Talking with independent consultants from outside our company
                about their point of view on the safety of talc.

                After 30 years of studies by medical experts around the world,
          science, research and clinical evidence continues to support the safety
          of cosmetic talc. Two widely-accepted, very large studies which
          followed women over a period of time – the Nurses’ Health Study by the
          Harvard School of Public Health published in 2009 and the Women’s
          Health Initiative Observational Cohort by the U.S. National Institutes of
          Health published in 2014 – found no association between talc and
          ovarian cancer. We also know that some epidemiology studies have
          reported an association between talc and ovarian cancer. However,
          various governmental and non-governmental agencies as well as other
          expert panels have reviewed and analyzed all available data, and none
          have concluded that talc can cause cancer.

                 Concerns about the possible association between cosmetic talc
          with ovarian cancer increased after recent jury verdicts in the United
          States. It is natural for trial verdicts to raise questions about the product
          involved, and it’s also important to distinguish jury verdicts – in the

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          United States – from regulatory rulings or rigorous scientific findings.
          Johnson & Johnson has always taken questions about the safety of our
          products extremely seriously, especially concerns about products like
          JOHNSON’S® Baby Powder that families have trusted for generations.
          We continue to believe in the safety of JOHNSON’S® Baby Powder
          containing talc and we trust our consumers to make their own decisions –
          which are why we want to provide the scientific support for the safety of
          talc. Our goal is always to meet our consumer’s needs and we are
          fortunate to have had this opportunity for more than 130 years.

          304. Defendants’ statements, as alleged at ¶¶302-303, that “Johnson &

  Johnson has provided consumers with a safe choice for cosmetic powder products”

  “[f]or over 100 years,” and that J&J first sold Baby Powder “more than 100 years ago

  because we were confident in the safety of talc” and “we remain completely confident

  in its safety,” were false and misleading. In truth, as alleged in ¶¶128 and 224,

  defendant J&J acknowledged internally that its talcum powders had not been “safe”

  for over 100 years, and indeed, J&J could not even “link cosmetic talc to 100 years of

  use.” The statements also created the impression that J&J’s talc has historically been

  safe, when in fact J&J knew that when it came to asbestos in the Company’s talcum

  powders, it could not say it was “‘always’” asbestos-free. ¶¶128 and 224. These

  statements were false and misleading because they omitted that: (i) asbestos had

  repeatedly been found in the Company’s talc and powders (¶¶55-57, 59, 64, 73, 76,

  81, 87-92, 223, 227-228), (ii) J&J had attempted to find ways to remove tremolite

  from its talc (¶¶58, 60, 228), (iii) J&J never adopted concentration methods that could

  detect the asbestos (¶¶63-67, 230), and (iv) J&J had purposely influenced and


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  manipulated regulators and scientists in order to protect the Company’s flagship

  product and reputation (¶¶61-62, 68-72, 78, 80, 82-86, 93-104, 150-54, 223, 227, 231-

  232).

          305. Defendants’ statements, as alleged in ¶¶302-303, that (i) “30 years of

  studies by medical experts around the world” “science, research and clinical evidence”

  “support the safety of cosmetic talc,” (ii) “[m]ultiple scientific and regulatory reviews

  have determined that talc is safe . . . and the labeling on Johnson’s Baby Powder is

  appropriate,” and (iii) out of “various governmental and non-governmental agencies”

  and “expert panels,” “none have concluded that talc can cause cancer” even after they

  “reviewed and analyzed all available data,” were false and misleading. As alleged in

  ¶¶131 and 225, J&J knew that some scientific sources “could be interpreted as

  suggesting a causal effect” and that “[e]ven some of the studies [it] cite[d] send mixed

  messages.” Further, as alleged in ¶¶131 and 225, J&J knew that research it cited had

  actually determined that “‘perineal talc use may modestly increase the risk of invasive

  serous ovarian cancers.’” These statements were also false and misleading because

  they omitted that: (i) asbestos had repeatedly been found in the Company’s talc and

  powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had attempted to

  find ways to remove tremolite from its talc (¶¶58, 60, 228), (iii) J&J never adopted

  concentration methods that could detect the asbestos (¶¶63-67, 230), (iv) J&J had

  purposely influenced and manipulated regulators and scientists in order to protect the


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  Company’s flagship product and reputation (¶¶61-62, 68-72, 78, 80, 82-86, 93-104,

  150-154, 223, 227, 231-232), and (v) J&J had misled the FDA less than two months

  prior (¶¶150-154).

          306. Defendants’ representations as alleged in ¶¶302 and 303 that (i) “Johnson

  & Johnson has always taken questions about the safety of [Johnson’s Baby Powder]

  extremely seriously,” (ii) J&J “remain[ed] committed to safety,” and (iii) J&J took

  “concerns about an association between talc and ovarian cancer” “very seriously and

  did the things you expect from a company you trust,” including testing, engaging with

  the FDA and other regulators, monitoring “all available information,” and “[t]alking

  with independent consultants,” were also false and misleading. These statements

  omitted that: (i) asbestos had repeatedly been found in the Company’s talc and

  powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had attempted to

  find ways to remove tremolite from its talc (¶¶58, 60, 228), (iii) J&J never adopted

  concentration methods that could detect the asbestos (¶¶63-67, 230), (iv) J&J had

  purposely influenced and manipulated regulators and scientists in order to protect the

  Company’s flagship product and reputation (¶¶61-62, 68-72, 78, 80, 82-86, 93-104,

  150-154, 223, 227, 231-232), and (v) J&J had misled the FDA less than two months

  prior (¶¶150-154).

          307. On May 10, 2016, J&J filed its 1Q16 Form 10-Q with the SEC.

  Defendants disclosed that some of J&J’s subsidiaries were involved in product


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  liability litigation, but also represented that the subsidiaries had “substantial

  defenses”:

                  Certain subsidiaries of Johnson & Johnson are involved in
          numerous product liability claims and lawsuits involving multiple
          products. Claimants in these cases seek substantial compensatory and,
          where available, punitive damages. While these subsidiaries believe they
          have substantial defenses, it is not feasible to predict the ultimate
          outcome of litigation. The Company has established accruals for product
          liability claims and lawsuits in compliance with ASC 450-20 based on
          currently available information, which in some cases may be limited.
          The Company accrues an estimate of the legal defense costs needed to
          defend each matter when those costs are probable and can be reasonably
          estimated. For certain of these matters, the Company has accrued
          additional amounts such as estimated costs associated with settlements,
          damages and other losses. Product liability accruals can represent
          projected product liability for thousands of claims around the world,
          each in different litigation environments and with different fact patterns.
          Changes to the accruals may be required in the future as additional
          information becomes available.

                                        *     *       *

                 Claims for personal injury have been made against Johnson &
          Johnson Consumer Inc. and Johnson & Johnson arising out of the use of
          JOHNSON’S® Baby Powder. The number of pending product liability
          lawsuits continues to increase, and the Company continues to receive
          information with respect to potential costs and the anticipated number of
          cases. Lawsuits have been primarily filed in state courts in Missouri and
          New Jersey. The Company has established an accrual for defense costs
          in connection with product liability litigation associated with
          JOHNSON’S® Baby Powder. Changes to this accrual may be required
          in the future as additional information becomes available.

          308. Defendants’ statements, as alleged in ¶307, were false and misleading.

  While defendants boasted of J&J’s subsidiaries having “substantial defenses” and

  disclosed the existence of talc-related litigation, they omitted that: (i) asbestos had


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  repeatedly been found in the Company’s talc and powders (¶¶55-57, 59, 64, 73, 76,

  81, 87-92, 223, 227-228), (ii) J&J had attempted to find ways to remove tremolite

  from its talc (¶¶58, 60, 228), (iii) J&J never adopted concentration methods that could

  detect the asbestos (¶¶63-67, 230), and (iv) J&J had purposely influenced and

  manipulated regulators and scientists in order to protect the Company’s flagship

  product and reputation (¶¶61-62, 68-72, 78, 80, 82-86, 93-104, 150-154, 223, 227,

  231-232).

          309. On May 18, 2016, Ghaim, the Chief Technology Officer of J&J

  Consumer, made further assurances during the Consumer and Medical Devices

  Business Review:

          I’m going to start by saying there’s a general assumption that people
          have natural is safe and most of the data we have actually that’s not true.
          So there is a balance in terms of what products, what type of safety do
          we need to continue to build.

                 And all of our products, especially when we start with Baby, the
          number of safety studies that we tend to do before we even put it in any
          of our product is a starting point. But we also understand that the natural
          trend continues to be a big opportunity.

                So we’re working to that in terms of not just picking naturals but
          make sure that there is a benefit to it, make sure that it’s safe, make sure
          that we can source it the right way because that’s one of the biggest
          challenges. You can get natural ingredients but you can’t guarantee that
          one lot to the next is actually consistently safe.

                 So for us I think we can see the trend. But at the same time we’re
          being very careful in terms of what raw materials we select, what type
          of safety studies that are needed. Because more than anything else
          safety is the number one area that we need to continue to focus.


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          310. Defendants’ representation, as alleged in ¶309, that “we’re being very

  careful in terms of what raw materials we select, what type of safety studies that are

  needed,” was false and misleading. This statement concealed that: (i) asbestos had

  repeatedly been found in the Company’s talc and powders (¶¶55-57, 59, 64, 73, 76,

  81, 87-92, 223, 227-228), (ii) J&J had attempted to find ways to remove tremolite

  from its talc (¶¶58, 60, 228), and (iii) J&J never adopted concentration methods that

  could detect the asbestos (¶¶63-67, 230).

          N.    June 2016 False and Misleading Statements

          311. On June 19, 2016, defendant Glasgow, VP of R&D at JJCI, stated the

  following in an editorial in the Houston Chronical:

          At Johnson & Johnson Consumer Inc., we are guided by the medical
          facts and science when it comes to our products. Cosmetic talc is safe,
          and 30 years of scientific studies and regulatory reviews have shown
          this to be true.

                This counters the claims of so-called experts, paid to testify on
          behalf of plaintiffs, who say decisions by juries should trump the
          overwhelming scientific data.

                 We first offered Johnson’s Baby Powder as a product choice more
          than 100 years ago. Today, we continue to manufacture and sell
          Johnson’s Baby Powder with talc because the science supports its
          safety.

                 Ovarian cancer is a devastating disease, and we recognize that
          women and families affected by this disease are searching for answers
          and want to understand the science. When concerns about an association
          between talc use and ovarian cancer were raised, we started doing the
          things you expect from a company you trust, including testing to ensure
          the talc in our products meets the highest quality standards, meeting with
          regulators and governments around the world, looking closely at the

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          studies and available information, and talking with independent
          consultants.

                  The facts are clear. The studies, science, research and clinical
          evidence have continued to support the safety of cosmetic talc. Most
          recently, two widely-accepted, very large studies which followed women
          over a long period of time – the Nurses’ Health Study by the Harvard
          School of Public Health published in 2009 and the Women’s Health
          Initiative Observational Cohort by the U.S. National Institutes of Health
          published in 2014 – found no association between talc use for feminine
          hygiene and ovarian cancer.

                 There have been some studies that reported an association between
          talc and ovarian cancer.

                 In my job as a scientist, terms and words matter when it comes to
          studies, and an “association” does not mean something causes a specific
          result. Additionally, many in the scientific community have concluded
          that the data from those studies are inconclusive because of how the
          studies were conducted. Various governmental and non-governmental
          agencies, such as the U.S. Food and Drug Administration (FDA) and
          National Cancer Institute, as well as other expert panels have reviewed
          and analyzed the available data and concluded that there is insufficient
          evidence linking talc use to ovarian cancer.

                 Johnson’s Baby Powder products contain only U.S. Pharmacopeia
          grade talc to ensure it meets the highest quality, purity and compliance
          standards. We also carefully select and process the talc used in all our
          global production to be asbestos-free, and have confirmed this with
          regular testing since the 1970s. The U.S. FDA has also independently
          tested and confirmed the purity of the talc used in our cosmetic products.

                 We trust our consumers to make their own decisions, which is
          why we will continue to provide consumers with the facts. As a
          scientist, and most importantly, as a parent, I can tell you the science is
          clear – cosmetic talc is, and has been, safe for use and that is the most
          important guiding principle for every product Johnson & Johnson
          Consumer Inc. offers to consumers and patients.




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          312. Defendants’ representations, as alleged in ¶311, that: (i) “[c]osmetic talc

  is safe,” (ii) Johnson’s Baby Powder’s talc meets “the highest” purity standard, and

  (iii) J&J “carefully select[s] and process[es] the talc used in all [its] global production

  to be asbestos-free, and have confirmed this with regular testing since the 1970s,”

  were false and misleading. These statements concealed that: (i) asbestos had

  repeatedly been found in the Company’s talc and powders (¶¶55-57, 59, 64, 73, 76,

  81, 87-92, 223, 227-228), (ii) J&J had attempted to find ways to remove tremolite

  from its talc (¶¶58, 60, 228), and (iii) J&J never adopted concentration methods that

  could detect the asbestos (¶¶63-67, 230).

          313. Defendants’ representations, as alleged in ¶311, that (i) J&J did “the

  things you expect from a company you trust” “[w]hen concerns about an association

  between talc use and ovarian cancer were raised,” including testing, meeting with

  regulators, looking at “available information,” and talking with “independent

  consultants,” (ii) J&J’s Consumer Division is “guided by the medical facts and

  science,” and (iii) safety “is the most important guiding principle for every product

  Johnson & Johnson Consumer Inc. offers to consumers and patients,” were false and

  misleading. These statements concealed that: (i) asbestos had repeatedly been found

  in the Company’s talc and powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228),

  (ii) J&J had attempted to find ways to remove tremolite from its talc (¶¶58, 60, 228),

  (iii) J&J never adopted concentration methods that could detect the asbestos (¶¶63-67,


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  230), and (iv) J&J had purposely influenced and manipulated regulators and scientists

  in order to protect the Company’s flagship product and reputation (¶¶61-62, 68-72, 78,

  80, 82-86, 93-104, 150-154, 223, 227, 231-232).

          314. Defendants’ representations, as alleged in ¶311, that: (i) “30 years of

  scientific studies and regulatory reviews” have shown that “[c]osmetic talc is safe,”

  (ii) “the science supports [Johnson’s Baby Powder’s] safety,” (iii) “[t]he facts are

  clear” that “[t]he studies, science, research and clinical evidence have continued to

  support the safety of cosmetic talc,” (iv) “the science is clear – cosmetic talc is, and

  has been, safe for use,” and (v) “[v]arious governmental and non-governmental

  agencies [including the FDA], as well as other expert panels, have reviewed and

  analyzed the available data and concluded that there is insufficient evidence linking

  talc use to ovarian cancer,” were false and misleading. As alleged in¶¶131 and 225,

  J&J knew that some scientific sources were actually “not as definitive or supportive

  and could be interpreted as suggesting a causal effect” between ovarian cancer and

  talc and that “[e]ven some of the studies we cite send mixed messages.” And as

  alleged in ¶¶131 and 225, J&J acknowledged internally that even one of the studies it

  cited had determined that “‘perineal talc use may modestly increase the risk of

  invasive serous ovarian cancers.’” In addition, the statements failed to disclose that:

  (i) asbestos had repeatedly been found in the Company’s talc and powders (¶¶55-57,

  59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had attempted to find ways to


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  remove tremolite from its talc (¶¶58, 60, 228), (iii) J&J never adopted concentration

  methods that could detect the asbestos (¶¶63-67, 230), (iv) J&J had purposely

  influenced and manipulated regulators and scientists in order to protect the

  Company’s flagship product and reputation (¶¶61-62, 68-72, 78, 80, 82-86, 93-104,

  150-154, 223, 227, 231-232), and (v) J&J had misled the FDA less than three months

  prior (¶¶150-154).

          O.    August to November 2016 False and Misleading Statements

          315. On August 4, 2016, J&J filed its second quarter of 2016 (“2Q16”) Form

  10-Q with the SEC. Defendants disclosed that J&J and some of J&J’s subsidiaries

  were involved in product liability litigation, but also represented that the Company

  had “substantial defenses”:

                  Johnson & Johnson and certain of its subsidiaries are involved in
          numerous product liability claims and lawsuits involving multiple
          products. Claimants in these cases seek substantial compensatory and,
          where available, punitive damages. While the Company believes it has
          substantial defenses, it is not feasible to predict the ultimate outcome of
          litigation. The Company has established accruals for product liability
          claims and lawsuits in compliance with ASC 450-20 based on currently
          available information, which in some cases may be limited. The
          Company accrues an estimate of the legal defense costs needed to defend
          each matter when those costs are probable and can be reasonably
          estimated. For certain of these matters, the Company has accrued
          additional amounts such as estimated costs associated with settlements,
          damages and other losses. Product liability accruals can represent
          projected product liability for thousands of claims around the world,
          each in different litigation environments and with different fact patterns.
          Changes to the accruals may be required in the future as additional
          information becomes available.


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                                        *     *       *

                 Claims for personal injury have been made against Johnson &
          Johnson Consumer Inc. and Johnson & Johnson arising out of the use of
          JOHNSON’S® Baby Powder. The number of pending product liability
          lawsuits continues to increase, and the Company continues to receive
          information with respect to potential costs and the anticipated number of
          cases. Lawsuits have been primarily filed in state courts in Missouri and
          New Jersey. The Company has established an accrual for defense costs
          in connection with product liability litigation associated with
          JOHNSON’S® Baby Powder. Changes to this accrual may be required
          in the future as additional information becomes available.

          316. On November 4, 2016, J&J filed its third quarter of 2016 (“3Q16”) Form

  10-Q with the SEC. Defendants again disclosed that J&J and some of J&J’s

  subsidiaries were involved in product liability litigation, but also represented that the

  Company had “substantial defenses”:

                  Johnson & Johnson and certain of its subsidiaries are involved in
          numerous product liability claims and lawsuits involving multiple
          products. Claimants in these cases seek substantial compensatory and,
          where available, punitive damages. While the Company believes it has
          substantial defenses, it is not feasible to predict the ultimate outcome of
          litigation. The Company has established accruals for product liability
          claims and lawsuits in compliance with ASC 450-20 based on currently
          available information, which in some cases may be limited. The
          Company accrues an estimate of the legal defense costs needed to defend
          each matter when those costs are probable and can be reasonably
          estimated. For certain of these matters, the Company has accrued
          additional amounts such as estimated costs associated with settlements,
          damages and other losses. Product liability accruals can represent
          projected product liability for thousands of claims around the world,
          each in different litigation environments and with different fact patterns.
          Changes to the accruals may be required in the future as additional
          information becomes available.

                                        *     *       *


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                 Claims for personal injury have been made against Johnson &
          Johnson Consumer Inc. and Johnson & Johnson arising out of the use of
          JOHNSON’S® Baby Powder. The number of pending product liability
          lawsuits continues to increase, and the Company continues to receive
          information with respect to potential costs and the anticipated number of
          cases. Lawsuits have been primarily filed in state courts in Missouri,
          New Jersey and California. In addition, a federal multi-district litigation
          proceeding has been created for this litigation in the District Court of
          New Jersey. The Company has established an accrual for defense costs
          in connection with product liability litigation associated with
          JOHNSON’S® Baby Powder. Changes to this accrual may be required
          in the future as additional information becomes available.

          317. Defendants’ statements, as alleged in ¶¶315-316, were false and

  misleading. While defendants boasted of having “substantial defenses” and disclosed

  the existence of talc-related litigation, they omitted that: (i) asbestos had repeatedly

  been found in the Company’s talc and powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92,

  223, 227-228), (ii) J&J had attempted to find ways to remove tremolite from its talc

  (¶¶58, 60, 228), (iii) J&J never adopted concentration methods that could detect the

  asbestos (¶¶63-67, 230), (iv) J&J had purposely influenced and manipulated regulators

  and scientists in order to protect the Company’s flagship product and reputation (¶¶61-

  62, 68-72, 78, 80, 82-86, 93-104, 150-154, 223, 227, 231-232).

          P.    December 2016 False and Misleading Statements

          318. On December 30, 2016, J&J touted the safety and effectiveness of talc in

  its products on its website30 stating in pertinent part:


  30
       See https://www.safetyandcarecommitment.com/Ingredients/Talc.


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          In our products
                 We continue to use talc in our products because decades of
          science have reaffirmed its safety. Because of its safety and
          effectiveness, we confidently include pharmaceutical grade talc in our
          products. Your trust in our products and your confidence using them
          every day is a huge responsibility – that’s why we only use ingredients
          in our products deemed safe by the latest science.

                 Science, research, clinical evidence and 30 years of studies by
          medical experts around the world continue to support the safety of
          cosmetic talc. Health authorities in the U.S. and around the world have
          reviewed the data. Talc is accepted for . . . use in countries around the
          world, including the United States, European Union, Canada, Argentina,
          Brazil, China, India, Israel, South Africa, Turkey, and Indonesia.

                 When you read a new study or expert opinion, it’s easy to be
          swayed one way or another. We take any questions about our product’s
          safety seriously and as a result have dug deep into the evidence and
          science on talc.

          319. Defendants’ statement, as alleged in ¶318, that J&J “take[s] any

  questions about [its] product’s safety seriously,” was false and misleading, as it

  concealed that: (i) asbestos had repeatedly been found in the Company’s talc and

  powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had attempted to

  find ways to remove tremolite from its talc (¶¶58, 60, 228), (iii) J&J never adopted

  concentration methods that could detect the asbestos (¶¶63-67, 230), (iv) J&J had

  purposely influenced and manipulated regulators and scientists in order to protect the

  Company’s flagship product and reputation (¶¶61-62, 68-72, 78, 80, 82-86, 93-104,

  150-154, 223, 227, 231-232), and (v) J&J had misled the FDA in 2016 (¶¶150-154).




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          320. Defendants’ assurances, as alleged in ¶318, that “decades of science have

  reaffirmed [the] safety” of “talc in [J&J’s] products,” “[s]cience, research, clinical

  evidence and 30 years of studies by medical experts around the world continue to

  support the safety of cosmetic talc,” and J&J “only use[s] ingredients in [its] products

  deemed safe by the latest science,” were false and misleading. As alleged in ¶¶131

  and 225, J&J knew that some scientific sources were actually “not as definitive or

  supportive and could be interpreted as suggesting a causal effect” between ovarian

  cancer and talc and that “[e]ven some of the studies we cite send mixed messages.”

  And as alleged in ¶¶131 and 225, J&J also knew that one of the studies it cited had

  determined that “‘perineal talc use may modestly increase the risk of invasive serous

  ovarian cancers.’” In addition, the statements failed to disclose that: (i) asbestos had

  repeatedly been found in the Company’s talc and powders (¶¶55-57, 59, 64, 73, 76,

  81, 87-92, 223, 227-228), (ii) J&J had attempted to find ways to remove tremolite

  from its talc (¶¶58, 60, 228), (iii) J&J never adopted concentration methods that could

  detect the asbestos (¶¶63-67, 230), and (iv) J&J had purposely influenced and

  manipulated regulators and scientists in order to protect the Company’s flagship

  product and reputation (¶¶61-62, 68-72, 78, 80, 82-86, 93-104, 150-154, 223, 227,

  231-232).




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          Q.    January 2017 False and Misleading Statements

          321. On January 24, 2017, J&J’s website entitled “The facts on talcum powder

  safety” contained a statement by Glasgow, the VP of R&D at J&J’s consumer

  division. There, Glasgow omitted that the Company had received numerous reports of

  asbestos in its products:

          When it comes to the safety of the products we make, we’re just like you
          ...

                We want all the information we can get. We seek out the
          guidance of experts and we monitor the latest science to see if it impacts
          any of our products. We also listen to the people who use our products
          so we can take their experiences into account. Safety is a priority for all
          of our consumer products because they go into your home and into
          ours. Safety is a value we all share.

                 With all the types of information we use to make products, there is
          no information more important than our research on scientific data
          and safety. We go beyond the findings of a single study because we
          must ensure we’ve assembled all of the available data from multiple
          scientific areas to reach conclusions based on evidence. One opinion or
          study can’t outweigh decades of conclusive, scientific, evidence-based
          findings. As a scientist and, equally important, as a parent myself, I can
          tell you the science is clear: Cosmetic talc is, and has been, safe for use
          in consumer products.

                 We are all mothers, fathers, and consumers ourselves; we
          understand and take seriously our responsibility to give you the
          information you need to make your own decisions. We created this site
          to help you find the facts about talc more easily. You’ll learn where talc
          comes from, how it is used in everyday products, and why it is safe to
          use as part of your personal care routine. We first offered
          JOHNSON’S® Baby Powder as a product choice more than 100 years
          ago. Today, our consumer division continues to manufacture and sell
          JOHNSON’S® Baby Powders with ingredients like talc and cornstarch.
          We choose to include these ingredients not simply because we’ve used
          them for decades. We include them because decades of scientific work

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          support their safety. We hope that by reviewing this collection of facts
          about talc, you’ll feel as confident in its safety and efficacy as we do.

          322. Defendants’ statements, as alleged in ¶321, that J&J made safety a

  priority and that “there is no information more important than . . . research on

  scientific data and safety,” were false and misleading. In truth, defendants had and

  were continuing to conceal the dangers inherent in the Company’s talcum powders.

  Indeed, defendants failed to disclose that: (i) asbestos had repeatedly been found in the

  Company’s talc and powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii)

  J&J had attempted to find ways to remove tremolite from its talc (¶¶58, 60, 228), (iii)

  J&J never adopted concentration methods that could detect the asbestos (¶¶63-67,

  230), (iv) J&J had purposely influenced and manipulated regulators and scientists in

  order to protect the Company’s flagship product and reputation (¶¶61-62, 68-72, 78,

  80, 82-86, 93-104, 150-154, 223, 227, 231-232), and (v) J&J had misled the FDA in

  2016 (¶¶150-154).

          323. Defendants’ statements, as alleged in ¶321, that: (i) “all of the available

  data” and “decades of conclusive, scientific, evidence-based findings” supported the

  safety of cosmetic talc, (ii) “the science is clear: Cosmetic talc is, and has been, safe

  for use in consumer products,” (iii) talc “is safe to use as part of your personal care

  routine,” and (iv) “decades of scientific work” “support[s] [talc’s] safety,” were false

  and misleading. J&J acknowledged internally that some scientific sources were

  actually “not as definitive or supportive and could be interpreted as suggesting a

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  causal effect” between ovarian cancer and talc and that “[e]ven some of the studies we

  cite send mixed messages.” ¶¶131 and 225. And as alleged in ¶¶131 and 225, J&J

  knew that one of the studies it cited had determined that “‘perineal talc use may

  modestly increase the risk of invasive serous ovarian cancers.’” In addition, the

  statements failed to disclose that: (i) asbestos had repeatedly been found in the

  Company’s talc and powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii)

  J&J had attempted to find ways to remove tremolite from its talc (¶¶58, 60, 228), (iii)

  J&J never adopted concentration methods that could detect the asbestos (¶¶63-67,

  230), and (iv) J&J had purposely influenced and manipulated regulators and scientists

  in order to protect the Company’s flagship product and reputation (¶¶61-62, 68-72, 78,

  80, 82-86, 93-104, 150-154, 223, 227, 231-232).

          R.    February 2017 False and Misleading Statements

          324. On February 27, 2017, J&J filed its 2016 10-K with the SEC, signed by

  defendants Gorsky and Caruso (“2016 10-K”). In its “Cautionary Note Regarding

  Forward-Looking Statements,” J&J included language regarding “[p]roduct efficacy

  or safety concerns”:

          Risks Related to Product Liability, Litigation and Regulatory Activity

               Product efficacy or safety concerns, whether or not based on
                scientific evidence, potentially resulting in product withdrawals,
                recalls, regulatory action on the part of the U.S. Food and Drug
                Administration (or international counterparts), declining sales and
                reputational damage.


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          325. The Company’s 2016 10-K also discussed the general risks and

  uncertainties faced by the Company, including legal proceedings:

          The Company is subject to significant legal proceedings that can
          result in significant expenses, fines and reputational damage.

                  In the ordinary course of business, Johnson & Johnson and its
          subsidiaries are subject to numerous claims and lawsuits involving
          various issues such as patent disputes, product liability and claims that
          their product sales, marketing and pricing practices violate various
          antitrust, unfair trade practices and/or consumer protection laws. The
          most significant of these proceedings are described in Note 21, “Legal
          Proceedings” under Notes to the Consolidated Financial Statements
          included in Item 8 of this Report. While the Company believes it has
          substantial defenses in these matters, it is not feasible to predict the
          ultimate outcome of litigation. The Company could in the future be
          required to pay significant amounts as a result of settlements or
          judgments in these matters, potentially in excess of accruals. The
          resolution of, or increase in accruals for, one or more of these matters in
          any reporting period could have a material adverse effect on the
          Company’s results of operations and cash flows for that period.
          Furthermore, as a result of cost and availability factors, effective
          November 1, 2005, the Company ceased purchasing third-party product
          liability insurance.

          Product reliability, safety and effectiveness concerns can have
          significant negative impacts on sales and results of operations, lead
          to litigation and cause reputational damage.

                 Concerns about product safety, whether raised internally or by
          regulators or consumer advocates, and whether or not based on scientific
          evidence, can result in safety alerts, product recalls, governmental
          investigations, regulatory action on the part of the FDA (or its
          counterpart in other countries), private claims and lawsuits, payment of
          fines and settlements, declining sales and reputational damage. These
          circumstances can also result in damage to brand image, brand equity
          and consumer trust in the Company’s products. Product recalls have in
          the past, and could in the future, prompt government investigations and
          inspections, the shutdown of manufacturing facilities, continued product


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          shortages and related sales declines, significant remediation costs,
          reputational damage, possible civil penalties and criminal prosecution.

          326. J&J’s 2016 10-K disclosed that the Company and some of its subsidiaries

  were involved in product liability litigation, but also represented that J&J had

  “substantial defenses”:

                  Johnson & Johnson and certain of its subsidiaries are involved in
          numerous product liability claims and lawsuits involving multiple
          products. Claimants in these cases seek substantial compensatory and,
          where available, punitive damages. While the Company believes it has
          substantial defenses, it is not feasible to predict the ultimate outcome of
          litigation. The Company has established accruals for product liability
          claims and lawsuits in compliance with ASC 450-20 based on currently
          available information, which in some cases may be limited. The
          Company accrues an estimate of the legal defense costs needed to defend
          each matter when those costs are probable and can be reasonably
          estimated. For certain of these matters, the Company has accrued
          additional amounts such as estimated costs associated with settlements,
          damages and other losses. To the extent adverse verdicts have been
          rendered against the Company, the Company does not record an accrual
          until a loss is determined to be probable and can be reasonably
          estimated. Product liability accruals can represent projected product
          liability for thousands of claims around the world, each in different
          litigation environments and with different fact patterns. Changes to the
          accruals may be required in the future as additional information becomes
          available.

                                        *     *       *

                Claims for personal injury have been made against Johnson &
          Johnson Consumer Inc. and Johnson & Johnson arising out of the use of
          JOHNSON’S® Baby Powder. The number of pending product liability
          lawsuits continues to increase, and the Company continues to receive
          information with respect to potential costs and the anticipated number of
          cases. Lawsuits have been primarily filed in state courts in Missouri,
          New Jersey and California. In addition, a federal multi-district litigation
          proceeding has been created for this litigation in the District Court of
          New Jersey. The Company has established an accrual for defense costs

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          in connection with product liability litigation associated with
          JOHNSON’S® Baby Powder. Changes to this accrual may be required
          in the future as additional information becomes available.

          327. The Company’s 2016 10-K also stated that J&J “remain[ed]” committed”

  to “delivering high quality” and “improving existing products”:

          Research and development expenditures relate to the processes of
          discovering, testing and developing new products, improving existing
          products, as well as demonstrating product efficacy and regulatory
          compliance prior to launch. The Company remains committed to
          investing in research and development with the aim of delivering high
          quality and innovative products.

          328. Defendants’ statements, as alleged in ¶¶324-327, were false and

  misleading. While defendants boasted of “improving existing products,” being

  “committed to investing in research and development with the aim of delivering high

  quality . . . products,” and of J&J having “substantial defenses,” they omitted that: (i)

  asbestos had repeatedly been found in the Company’s talc and powders (¶¶55-57, 59,

  64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had attempted to find ways to remove

  tremolite from its talc (¶¶58, 60, 228), (iii) J&J never adopted concentration methods

  that could detect the asbestos (¶¶63-67, 230), and (iv) J&J had purposely influenced

  and manipulated regulators and scientists in order to protect the Company’s flagship

  product and reputation (¶¶61-62, 68-72, 78, 80, 82-86, 93-104, 150-154, 223, 227,

  231-232).




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          S.    May 2017 False and Misleading Statements

          329. On May 8, 2017, J&J filed its first quarter of 2017 Form 10-Q with the

  SEC. Defendants disclosed that J&J and some of its subsidiaries were involved in

  product liability litigation, but also represented that the Company had “substantial

  defenses”:

                  Johnson & Johnson and certain of its subsidiaries are involved in
          numerous product liability claims and lawsuits involving multiple
          products. Claimants in these cases seek substantial compensatory and,
          where available, punitive damages. While the Company believes it has
          substantial defenses, it is not feasible to predict the ultimate outcome of
          litigation. The Company has established accruals for product liability
          claims and lawsuits in compliance with ASC 450-20 based on currently
          available information, which in some cases may be limited. The
          Company accrues an estimate of the legal defense costs needed to defend
          each matter when those costs are probable and can be reasonably
          estimated. For certain of these matters, the Company has accrued
          additional amounts such as estimated costs associated with settlements,
          damages and other losses. To the extent adverse verdicts have been
          rendered against the Company, the Company does not record an accrual
          until a loss is determined to be probable and can be reasonably
          estimated. Product liability accruals can represent projected product
          liability for thousands of claims around the world, each in different
          litigation environments and with different fact patterns. Changes to the
          accruals may be required in the future as additional information becomes
          available.

                                        *     *       *

                Claims for personal injury have been made against Johnson &
          Johnson Consumer Inc. and Johnson & Johnson arising out of the use of
          JOHNSON’S® Baby Powder. The number of pending product liability
          lawsuits continues to increase, and the Company continues to receive
          information with respect to potential costs and the anticipated number of
          cases. Lawsuits have been primarily filed in state courts in Missouri,
          New Jersey and California. Cases filed in federal courts in the United


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          States have been organized as a multi-district litigation in the United
          States District Court for the District of New Jersey. The Company has
          established an accrual for defense costs in connection with product
          liability litigation associated with JOHNSON’S® Baby Powder.

          330. Defendants’ statements, as alleged in ¶329, were false and misleading.

  While defendants boasted of having “substantial defenses” to talc-related litigation,

  they omitted that: (i) asbestos had repeatedly been found in the Company’s talc and

  powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had attempted to

  find ways to remove tremolite from its talc (¶¶58, 60, 228), (iii) J&J never adopted

  concentration methods that could detect the asbestos (¶¶63-67, 230), and (iv) J&J had

  purposely influenced and manipulated regulators and scientists in order to protect the

  Company’s flagship product and reputation (¶¶61-62, 68-72, 78, 80, 82-86, 93-104,

  150-154, 223, 227, 231-232).

          T.    August 2017 False and Misleading Statements

          331. On August 24, 2017, The Star newspaper published an article, “Does

  talcum powder cause cancer and should you stop using it?” The article quoted J&J’s

  website:

                In a post on their website Johnson & Johnson said, “We do
          understand your concern linked to recent media reports. We want to
          assure you, however, that we have no higher responsibility than the
          health and safety of consumers and the safety of cosmetic talc is
          supported by decades of scientific evidence.”

                 “Since the early 1990s, many research papers and epidemiology
          studies have evaluated talc and perineal use and these studies have found
          talc to be safe.


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                  “In fact, the Nurses’ Health Study (2010) and the Women’s Health
          Initiative Observational Cohort (2014), the only two large-scale
          prospective studies looking at talc and ovarian cancer, found no causal
          relationship between talc and ovarian cancer.”

          332. Defendants’ representation, as alleged in ¶331 that “the safety of

  cosmetic talc is supported by decades of scientific evidence” was false and

  misleading, as it omitted that J&J knew that some scientific sources were “not as

  definitive or supportive and could be interpreted as suggesting a causal effect”

  between ovarian cancer and talc and that “[e]ven some of the studies we cite send

  mixed messages.” ¶¶131 and 225. And as alleged in ¶¶131 and 225, J&J knew that

  one of the studies it cited had determined that “‘perineal talc use may modestly

  increase the risk of invasive serous ovarian cancers.’” In addition, the statements

  were false and misleading because they omitted that: (i) asbestos had repeatedly been

  found in the Company’s talc and powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223,

  227-228), (ii) J&J had attempted to find ways to remove tremolite from its talc (¶¶58,

  60, 228), (iii) J&J never adopted concentration methods that could detect the asbestos

  (¶¶63-67, 230), (iv) J&J had purposely influenced and manipulated regulators and

  scientists in order to protect the Company’s flagship product and reputation (¶¶61-62,

  68-72, 78, 80, 82-86, 93-104, 150-154, 223, 227, 231-232), and (v) J&J had misled

  the FDA in 2016 (¶¶150-154).

          333. On August 3, 2017, J&J filed its second quarter of 2017 Form 10-Q with

  the SEC. Defendants disclosed that J&J and some of J&J’s subsidiaries were involved

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  in product liability litigation, but also represented that the Company had “substantial

  defenses”:

                  Johnson & Johnson and certain of its subsidiaries are involved in
          numerous product liability claims and lawsuits involving multiple
          products. Claimants in these cases seek substantial compensatory and,
          where available, punitive damages. While the Company believes it has
          substantial defenses, it is not feasible to predict the ultimate outcome of
          litigation. The Company has established accruals for product liability
          claims and lawsuits in compliance with ASC 450-20 based on currently
          available information, which in some cases may be limited. The
          Company accrues an estimate of the legal defense costs needed to defend
          each matter when those costs are probable and can be reasonably
          estimated. For certain of these matters, the Company has accrued
          additional amounts such as estimated costs associated with settlements,
          damages and other losses. To the extent adverse verdicts have been
          rendered against the Company, the Company does not record an accrual
          until a loss is determined to be probable and can be reasonably
          estimated. Product liability accruals can represent projected product
          liability for thousands of claims around the world, each in different
          litigation environments and with different fact patterns. Changes to the
          accruals may be required in the future as additional information becomes
          available.

                                        *     *       *

                 Claims for personal injury have been made against Johnson &
          Johnson Consumer Inc. and Johnson & Johnson arising out of the use of
          body powders containing talc, primarily JOHNSONS® Baby Powder.
          The number of pending product liability lawsuits continues to increase,
          and the Company continues to receive information with respect to
          potential costs and the anticipated number of cases. Lawsuits have been
          primarily filed in state courts in Missouri, New Jersey and California.
          Cases filed in federal courts in the United States have been organized as
          a multidistrict litigation in the United States District Court for the
          District of New Jersey. The Company has established an accrual for
          defense costs in connection with product liability litigation associated
          with body powders containing talc.



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          334. Defendants’ statements, as alleged in ¶333, were false and misleading.

  While defendants boasted of having “substantial defenses” to talc-related litigation,

  they omitted that: (i) asbestos had repeatedly been found in the Company’s talc and

  powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had attempted to

  find ways to remove tremolite from its talc (¶¶58, 60, 288), (iii) J&J never adopted

  concentration methods that could detect the asbestos (¶¶63-67, 230), and (iv) J&J had

  purposely influenced and manipulated regulators and scientists in order to protect the

  Company’s flagship product and reputation (¶¶61-62, 68-72, 78, 80, 82-86, 93-104,

  150-154, 223, 227, 231-232).

          U.    September to November 2017 False and Misleading
                Statements

          335. On September 6, 2017, defendant Gorsky addressed the talc litigation at a

  Wells Fargo Healthcare Conference. There, Gorsky assured investors that J&J always

  puts safety first and that the safety of talc was clearly demonstrated by clinical

  information, control data, and “100 years of experience”:

          [W]e always put patient and consumer safety first in everything that we
          do. That being said, we think that the significant amount of clinical
          information, control data in this category, both from agencies, such as
          the NCI as well as the FDA, clearly demonstrates the safety of talc, and
          by the way, from more than a 100 years of experience. That being said,
          we were disappointed with some of the early results, for example, in St.
          Louis. We’re encouraged by some of the recent rulings out of Supreme
          Court regarding those venues. We’ve also been encouraged by some of
          the earlier findings in New Jersey. We were disappointed with the first
          outcome in California but, nonetheless, we feel that we have some


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          strong ground on the field going forward. And again, we remain,
          based upon the data, confident of the position that we’re taking.

          336. Defendants’ representation, as alleged in ¶335, that “the safety of talc”

  was “clearly demonstrate[d]” by “more than a 100 years of experience,” was false and

  misleading. In truth, as alleged in ¶¶128 and 224, defendant J&J acknowledged

  internally that its talcum powders had not been “safe” for more than 100 years, and

  indeed, J&J could not even “link cosmetic talc to 100 years of use.” The statements

  also created the impression that J&J’s talc has historically been safe, when in fact J&J

  knew that when it came to asbestos in the Company’s talcum powders, it could not say

  it was “‘always’” asbestos-free. ¶¶128 and 224. This statement was also false and

  misleading because: (i) asbestos had repeatedly been found in the Company’s talc and

  powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had attempted to

  find ways to remove tremolite from its talc (¶¶58, 60, 228), and (iii) J&J never

  adopted concentration methods that could detect the asbestos (¶¶63-67, 230).

          337. Defendants’ representations, as alleged in ¶335, that: (i) “the safety of

  talc” was “clearly demonstrate[d]” by “the significant amount of clinical information

  [and] control data in this category,” including from the FDA, (ii) J&J “always put[s]

  patient and consumer safety first in everything that [it does],” and (iii) J&J believed it

  “ha[d] some strong ground on the field going forward” in the talc litigation and

  “remain[ed], based upon the data, confident of the position [it was] taking,” were false

  and misleading. These statements concealed that: (i) asbestos had repeatedly been

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  found in the Company’s talc and powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223,

  227-228), (ii) J&J had attempted to find ways to remove tremolite from its talc (¶¶58,

  60, 228), (iii) J&J never adopted concentration methods that could detect the asbestos

  (¶¶63-67, 230), (iv) J&J had purposely influenced and manipulated regulators and

  scientists in order to protect the Company’s flagship product and reputation (¶¶61-62,

  68-72, 78, 80, 82-86, 93-104, 150-154, 223, 227, 231-232), and (v) J&J had misled

  the FDA in 2016 (¶¶150-154).

          338. On September 14, 2017, a Bloomberg article entitled “Johnson &

  Johnson’s Newest Talc Problem? Asbestos” quoted J&J’s website:

                 Johnson & Johnson declined to comment either on Herford’s suit
          or the litigation generally. But a statement on the company’s website
          says: “Since the 1970s, talc used in consumer products has been
          required to be asbestos-free, so Johnson’s talc products do not contain
          asbestos.”

          339. On September 21, 2017, Bloomberg published an article titled “J&J Was

  Alerted to Risk of Asbestos in Talc in ‘70s, Files Show,” which cited additional

  statements from J&J:

          FDA Requirements
                “The U.S. Food and Drug Administration requires specific testing
          to ensure that cosmetic talcum powder is free of asbestos,” Ernie
          Knewitz, a spokesman for J&J, said in an emailed statement.

                “We are confident that our talc products are, and always have
          been, free of asbestos, based on decades of monitoring, testing and
          regulation,” Knewitz said. “Historical testing of samples by the FDA,
          numerous independent laboratories, and numerous independent scientists
          have all confirmed the absence of asbestos in our talc products.”

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                                       *      *      *

                New Brunswick, New Jersey-based J&J has said the plaintiffs’
          allegations aren’t supported by valid scientific evidence, pointing to a
          New Jersey state court decision last year tossing out two cases.

                The unsealed files were used as part of an April pre-trial
          deposition given by Joanne Waldstreicher <https://www.jnj.com/office-
          chief-medical-officer>, J&J’s chief medical officer since 2013. Under
          questioning by plaintiffs’ lawyer Mark Lanier, Waldstreicher
          maintained that J&J’s baby powder products are asbestos free. We
          have experts that assure there’s no asbestos in our talc,” she told the
          lawyer.

          340. On November 16, 2017, Law360 published an article entitled “J&J, Talc

  Supplier Not Liable For Woman’s Asbestos Illness,” citing statements by J&J:

                J&J spokesperson Carol Goodrich told Law360 on Thursday that
          the company stands behind the safety of its baby powder, which it
          believes is being vindicated in recent court decisions.

                “We are pleased with today’s verdict and believe that the
          dismissal of talc lawsuits in New Jersey and verdict reversals in Missouri
          and California have forced plaintiff attorneys to pivot to yet another
          baseless theory,” she said. “Johnson’s Baby Powder has been around
          since 1894 and it does not contain asbestos or cause mesothelioma or
          ovarian cancer.”

          341. Also on November 16, 2017, Reuters published a statement by J&J in the

  article entitled “Johnson & Johnson wins California lawsuit claiming asbestos in talc

  caused cancer”:

                 J&J in a statement welcomed the verdict. J&J said it believed that
          setbacks dealt to individuals pursuing ovarian cancer cases had “forced
          plaintiff attorneys to pivot to yet another baseless theory.”




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                “Johnson’s Baby Powder has been around since 1894 and it
          does not contain asbestos or cause mesothelioma or ovarian cancer,”
          J&J said.

          342. Defendants’ statement, as alleged in ¶339, that J&J’s “‘talc products are,

  and always have been, free of asbestos,’” was false and misleading because, as alleged

  in ¶¶128 and 224, J&J knew internally that “we cannot say ‘always.’” Similarly,

  defendants’ reference to Johnson’s Baby Powder having “‘been around since 1894’”

  coupled with the representation that “‘it does not contain asbestos or cause

  mesothelioma or ovarian cancer’” created the impression that the Baby Powder had

  always been asbestos-free, while J&J acknowledged that “we cannot say ‘always.’”

  In addition, as alleged in ¶¶128 and 224, defendant Goodrich knew that the Baby

  Powder had not been safe for the past 100 years and even had in her possession

  internal discussion stating that “I don’t think we can link cosmetic talc to 100 years of

  use.” These statements, along with defendants’ representations that J&J’s “talc

  products do not contain asbestos” and that J&J’s “baby powder products are asbestos

  free,” were false and misleading because they concealed that (i) asbestos had

  repeatedly been found in the Company’s talc and powders (¶¶55-57, 59, 64, 73, 76,

  81, 87-92, 223, 227-228), (ii) J&J had attempted to find ways to remove tremolite

  from its talc (¶¶58, 60, 228), and (iii) J&J never adopted concentration methods that

  could detect the asbestos (¶¶63-67, 230).




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          343. Defendants’ statements, as alleged in ¶¶338-340, that: (i) J&J’s “‘experts

  . . . assure there’s no asbestos in [its] talc,’” (ii) “the plaintiffs’ allegations [weren’t]

  supported by valid scientific evidence” and amounted to a “‘baseless theory,’” (iii)

  “decades of monitoring, testing and regulation” assured that J&J’s “‘talc products are,

  and always have been, free of asbestos,’” and (iv) “‘talc used in consumer products

  has been required to be asbestos-free’” “‘[s]ince the 1970s,’” were false and

  misleading. These statements concealed that: (i) asbestos had repeatedly been found

  in the Company’s talc and powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228),

  (ii) J&J had attempted to find ways to remove tremolite from its talc (¶¶58, 60, 228),

  (iii) J&J never adopted concentration methods that could detect the asbestos (¶¶63-67,

  230), and (iv) J&J had purposely influenced and manipulated regulators and scientists

  in order to protect the Company’s flagship product and reputation (¶¶61-62, 68-72, 78,

  80, 82-86, 93-104, 150-154, 223, 227, 231-232). The statement regarding plaintiffs’

  allegations not being “supported by valid scientific evidence” was false and

  misleading for the additional reason that J&J knew that in fact some scientific sources,

  including IARC and the American Cancer Society, were actually “not as definitive or

  supportive and could be interpreted as suggesting a causal effect” between ovarian

  cancer and talc and that “[e]ven some of the studies [J&J] cite[d] send[s] mixed

  messages.” ¶¶131 and 225. For example, as alleged in ¶¶131 and 225, J&J knew one




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  of the studies it cited had concluded that “‘perineal talc use may modestly increase the

  risk of invasive serous ovarian cancers.’”

          344. On November 2, 2017, J&J filed its third quarter of 2017 Form 10-Q with

  the SEC. Defendants acknowledged that J&J and some of J&J’s subsidiaries were

  involved in product liability litigation, but also represented that the Company had

  “substantial defenses”:

                  Johnson & Johnson and certain of its subsidiaries are involved in
          numerous product liability claims and lawsuits involving multiple
          products. Claimants in these cases seek substantial compensatory and,
          where available, punitive damages. While the Company believes it has
          substantial defenses, it is not feasible to predict the ultimate outcome of
          litigation. The Company has established accruals for product liability
          claims and lawsuits in compliance with ASC 450-20 based on currently
          available information, which in some cases may be limited. The
          Company accrues an estimate of the legal defense costs needed to defend
          each matter when those costs are probable and can be reasonably
          estimated. For certain of these matters, the Company has accrued
          additional amounts such as estimated costs associated with settlements,
          damages and other losses. To the extent adverse verdicts have been
          rendered against the Company, the Company does not record an accrual
          until a loss is determined to be probable and can be reasonably
          estimated. Product liability accruals can represent projected product
          liability for thousands of claims around the world, each in different
          litigation environments and with different fact patterns. Changes to the
          accruals may be required in the future as additional information becomes
          available.

                                        *     *       *

                Claims for personal injury have been made against Johnson &
          Johnson Consumer Inc. and Johnson & Johnson arising out of the use of
          body powders containing talc, primarily JOHNSONS® Baby Powder.
          The number of pending product liability lawsuits continues to increase,
          and the Company continues to receive information with respect to


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          potential costs and the anticipated number of cases. Lawsuits have been
          primarily filed in state courts in Missouri, New Jersey and California.
          Cases filed in federal courts in the United States have been organized as
          a multidistrict litigation in the United States District Court for the
          District of New Jersey. The Company has established an accrual for
          defense costs in connection with product liability litigation associated
          with body powders containing talc.

          345. Defendants’ statements, as alleged in ¶344, were false and misleading.

  While defendants boasted of having “substantial defenses” to the talc-related

  litigation, they omitted that: (i) asbestos had repeatedly been found in the Company’s

  talc and powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had

  attempted to find ways to remove tremolite from its talc (¶¶58, 60, 228), (iii) J&J

  never adopted concentration methods that could detect the asbestos (¶¶63-67, 230),

  and (iv) J&J had purposely influenced and manipulated regulators and scientists in

  order to protect the Company’s flagship product and reputation (¶¶61-62, 68-72, 78,

  80, 82-86, 93-104, 150-154, 223, 227, 231-232).

          V.    January 2018 False and Misleading Statements

          346. On January 16, 2018, Fair Warning published a story entitled “Baby

  Powder Battles: Johnson & Johnson Internal Documents Reveal Asbestos Worries.”

  Fair Warning reported that J&J “has said its powders are perfectly safe, and could

  not have caused mesothelioma.”

          347. Fair Warning also reported additional false and misleading statements

  made by J&J:



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                Reports of asbestos contamination have “never been proven to
          be correct,” declared John Hopkins, a toxicologist and former J&J
          executive.

                Defense lawyers made a plausible case for a different cause of
          Herford’s mesothelioma: the aggressive radiation treatments she
          received for breast cancer in 1998. Therapeutic radiation is one of the
          only suspected causes of mesothelioma other than asbestos.

                Following its victory, J&J blasted the “baseless theory” that its
          powders could be harmful. “Johnson’s Baby Powder has been around
          since 1894 and it does not contain asbestos or cause mesothelioma,”
          according to the company’s statement.

          348. Defendants’ statements, as alleged in ¶347, that Johnson’s Baby Powder

  has “‘been around since 1894’” and that “‘it does not contain asbestos or cause

  mesothelioma,’” were false and misleading, creating the false impression that the

  Baby Powder had always been asbestos-free, while the Company recognized

  internally that it could not say “‘always.’” ¶¶128 and 224. This statement was also

  false and misleading because it concealed that: (i) asbestos had repeatedly been found

  in the Company’s talc and powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228),

  (ii) J&J had attempted to find ways to remove tremolite from its talc (¶¶58, 60, 228),

  and (iii) J&J never adopted concentration methods that could detect the asbestos

  (¶¶63-67, 230).

          349. Similarly, defendants’ representations, as alleged in ¶¶346-347, that it

  was a “‘baseless theory’” that the Company’s products could be harmful, that reports

  of asbestos contamination “‘have “never been proven to be correct,”‘“ and that J&J’s

  “powders are perfectly safe, and could not have caused mesothelioma,” were false and

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  misleading. These statements concealed that: (i) asbestos had repeatedly been found

  in the Company’s talc and powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228),

  (ii) J&J had attempted to find ways to remove tremolite from its talc (¶¶58, 60, 228),

  (iii) J&J never adopted concentration methods that could detect the asbestos (¶¶63-67,

  230), and (iv) J&J had purposely influenced and manipulated regulators and scientists

  in order to protect the Company’s flagship product and reputation (¶¶61-62, 68-72, 78,

  80, 82-86, 93-104, 150-154, 223, 227, 231-232).

          W.    February to April 2018 False and Misleading Statements

          350. On February 5, 2018, in an article entitled “Johnson & Johnson falls on

  report that lawsuits could expose potentially damaging documents,” CNBC quoted a

  J&J spokesman:

                 In a statement, a J&J spokesman pointed to a California judge
          ruling in favor of J&J in November in a lawsuit by a woman who said
          she developed mesothelioma after using the company’s talc-based
          products. He said the company would continue to defend its position in
          future cases.

                “We are confident that our talc products are, and always have
          been, free of asbestos, based on decades of monitoring, testing and
          regulation dating back to the 1970s,” he said. “Historical testing of
          samples by the FDA, numerous independent laboratories, and
          numerous independent scientists have all confirmed the absence of
          asbestos in our talc products.”

          351. Defendants’ statement, as alleged in ¶350, that J&J’s “‘talc products are,

  and always have been, free of asbestos,’” was false and misleading because, as alleged

  in ¶¶128 and 224, J&J knew internally that it could not “say ‘always.’” This


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  statement, along with defendants’ representation, as alleged in ¶350, that “decades of

  monitoring [and] testing” “‘dating back to the 1970s’” supported the notion that the

  products have “‘always . . . been . . . free of asbestos,’” were false and misleading

  because they concealed that (i) asbestos had repeatedly been found in the Company’s

  talc and powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had

  attempted to find ways to remove tremolite from its talc (¶¶58, 60, 228), and (iii) J&J

  never adopted concentration methods that could detect the asbestos (¶¶63-67, 230).

          352. Defendants’ statements, as alleged in ¶350, that: (i) “‘the absence of

  asbestos in our talc products’” had been “‘confirmed’” by “‘[h]istorical testing of

  samples by the FDA, numerous independent laboratories, and numerous independent

  scientists,’” and (ii) “‘decades of . . . regulation dating back to the 1970s’” assured

  that J&J’s “‘talc products are, and always have been, free of asbestos’” were also false

  and misleading. These statements concealed that: (i) asbestos had repeatedly been

  found in the Company’s talc and powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223,

  227-228), (ii) J&J had attempted to find ways to remove tremolite from its talc (¶¶58,

  60, 228), (iii) J&J never adopted concentration methods that could detect the asbestos

  (¶¶63-67, 230), (iv) J&J had purposely influenced and manipulated regulators and

  scientists in order to protect the Company’s flagship product and reputation (¶¶61-62,

  68-72, 78, 80, 82-86, 93-104, 150-154, 223, 227, 231-232), and (v) J&J had misled

  the FDA in 2016 (¶¶150-154).


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          353. On February 21, 2018, J&J filed its 2017 10-K with the SEC, signed by

  defendants Gorsky and Caruso (“2017 10-K”). In its “Cautionary Note Regarding

  Forward-Looking Statements,” J&J included language regarding “[p]roduct efficacy

  or safety concerns”:

          Risks Related to Product Liability, Litigation and Regulatory Activity

               Product efficacy or safety concerns, whether or not based on
                scientific evidence, potentially resulting in product withdrawals,
                recalls, regulatory action on the part of the U.S. Food and Drug
                Administration (or international counterparts), declining sales and
                reputational damage.

          354. The Company’s 2017 10-K also discussed the general risks and

  uncertainties faced by the Company, including legal proceedings:

          The Company is subject to significant legal proceedings that can
          result in significant expenses, fines and reputational damage.

                 In the ordinary course of business, Johnson & Johnson and its
          subsidiaries are subject to numerous claims and lawsuits involving
          various issues such as patent disputes, product liability and claims that
          their product sales, marketing and pricing practices violate various
          antitrust, unfair trade practices and/or consumer protection laws. The
          most significant of these proceedings are described in Note 21, “Legal
          Proceedings” under Notes to the Consolidated Financial Statements
          included in Item 8 of this Report. While the Company believes it has
          substantial defenses in these matters, it is not feasible to predict the
          ultimate outcome of litigation. The Company could in the future be
          required to pay significant amounts as a result of settlements or
          judgments in these matters, potentially in excess of accruals. The
          resolution of, or increase in accruals for, one or more of these matters in
          any reporting period could have a material adverse effect on the
          Company’s results of operations and cash flows for that period.
          Furthermore, as a result of cost and availability factors, effective



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          November 1, 2005, the Company ceased purchasing third-party product
          liability insurance.

          Product reliability, safety and effectiveness concerns can have
          significant negative impacts on sales and results of operations, lead
          to litigation and cause reputational damage.

                 Concerns about product safety, whether raised internally or by
          litigants, regulators or consumer advocates, and whether or not based on
          scientific evidence, can result in safety alerts, product recalls,
          governmental investigations, regulatory action on the part of the FDA (or
          its counterpart in other countries), private claims and lawsuits, payment
          of fines and settlements, declining sales and reputational damage. These
          circumstances can also result in damage to brand image, brand equity
          and consumer trust in the Company’s products. Product recalls have in
          the past, and could in the future, prompt government investigations and
          inspections, the shutdown of manufacturing facilities, continued product
          shortages and related sales declines, significant remediation costs,
          reputational damage, possible civil penalties and criminal prosecution.

          355. J&J’s 2017 10-K acknowledged that the Company and some of its

  subsidiaries were involved in product liability litigation, but also represented that J&J

  had “substantial defenses”:

                  Johnson & Johnson and certain of its subsidiaries are involved in
          numerous product liability claims and lawsuits involving multiple
          products. Claimants in these cases seek substantial compensatory and,
          where available, punitive damages. While the Company believes it has
          substantial defenses, it is not feasible to predict the ultimate outcome of
          litigation. The Company has established accruals for product liability
          claims and lawsuits in compliance with ASC 450-20 based on currently
          available information, which in some cases may be limited. The
          Company accrues an estimate of the legal defense costs needed to defend
          each matter when those costs are probable and can be reasonably
          estimated. For certain of these matters, the Company has accrued
          additional amounts such as estimated costs associated with settlements,
          damages and other losses. To the extent adverse verdicts have been
          rendered against the Company, the Company does not record an accrual
          until a loss is determined to be probable and can be reasonably

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          estimated. Product liability accruals can represent projected product
          liability for thousands of claims around the world, each in different
          litigation environments and with different fact patterns. Changes to the
          accruals may be required in the future as additional information becomes
          available.

                                       *     *       *

                 Claims for personal injury have been made against Johnson &
          Johnson Consumer Inc. and Johnson & Johnson arising out of the use of
          body powders containing talc, primarily JOHNSONS® Baby Powder.
          The number of pending product liability lawsuits continues to increase,
          and the Company continues to receive information with respect to
          potential costs and the anticipated number of cases. Lawsuits have been
          primarily filed in state courts in Missouri, New Jersey and California.
          Cases filed in federal courts in the United States have been organized as
          a multidistrict litigation in the United States District Court for the
          District of New Jersey. The Company has established an accrual for
          defense costs in connection with product liability litigation associated
          with body powders containing talc.

          356. The Company’s 2017 10-K also stated that J&J “remain[ed]” committed”

  to “delivering high quality” and “improving existing products”:

          Research and development expenditures relate to the processes of
          discovering, testing and developing new products, upfront payments and
          milestones, improving existing products, as well as demonstrating
          product efficacy and regulatory compliance prior to launch. The
          Company remains committed to investing in research and development
          with the aim of delivering high quality and innovative products.

          357. Defendants’ statements, as alleged in ¶¶353-356, were false and

  misleading. While defendants boasted of “improving existing products,” being

  “committed to investing in research and development with the aim of delivering high

  quality . . . products,” and of J&J having “substantial defenses,” they omitted that: (i)

  asbestos had repeatedly been found in the Company’s talc and powders (¶¶55-57, 59,

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  64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had attempted to find ways to remove

  tremolite from its talc (¶¶58, 60, 228), (iii) J&J never adopted concentration methods

  that could detect the asbestos (¶¶63-67, 230), and (iv) J&J had purposely influenced

  and manipulated regulators and scientists in order to protect the Company’s flagship

  product and reputation (¶¶61-62, 68-72, 78, 80, 82-86, 93-104, 150-154, 223, 227,

  231-232).

          358. On February 26, 2018, at the Committee Encouraging Corporate

  Philanthropy CEO Investor Forum, defendant Gorsky told investors:

          I think the real special sauce at Johnson & Johnson is our credo. And to
          think that, that document – and, again, this thing was written more than
          75 years ago. In fact, this is the 75th anniversary of Our Credo. Long
          before corporate social responsibility was in the day-to-day lexicon or
          vernacular, and the fact that the son of our founder took the time to write
          this out in such an eloquent way, a little over 300 words, talking about
          commitments, I think it’s just incredibly inspiring. And it’s really
          formed kind of the value system, the backdrop and in fact, I’d say the
          strategy outline for Johnson & Johnson in everything we do.

          359. On April 12, 2018, the New York Daily News reported on statements

  made by defendant Goodrich, in response to the Lanzo trial verdict:

                 J&J denied that its products contain cancer-causing toxins and
          says it plans to appeal.

                 “Johnson’s Baby Powder has been used for more than 120 years
          and it does not contain asbestos or cause mesothelioma,” said
          spokeswoman Carol Goodrich. “We believe that once the full evidence
          is reviewed, this decision will be reversed.”

          360. Then, on April 26, 2018, at J&J’s Annual Shareholders Meeting,

  defendant Gorsky told investors:

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                And Our Credo, it dates back to 1943, authored by the then
          Chairman Robert Wood Johnson II, the son of one of the founding
          Johnson brothers. And it was right before Johnson & Johnson became a
          public company. And on that day, at that moment, Johnson & Johnson’s
          moral compass as a family, as a company, was formally documented,
          and that has sustained us for these past 75 years.

                Our Credo, well, it stood the test of time, unyielding in
          challenging times and unforgotten in times of great success. It balances
          opportunity with responsibility. And we are united and inspired by Our
          Credo, and we live into those responsibilities it outlines each and every
          day. It reminds us that our very first responsibility is to customers and
          patients. And it compels us to deliver on our responsibilities to our
          employees, our communities, our environment and to you, our
          shareholders. And it’s because of our strong credo foundation and being
          broadly based in health care that we are committed to profoundly
          changing the trajectory of health for humanity.

                 To accomplish this, we intend to: first, invest in areas for enduring
          long-term impact; position our businesses to deliver strong, consistent
          and sustainable results; lead with agility and a sense of urgency needed
          to tackle the world’s changing needs; to create life-enhancing
          innovations, all while empowering and inspiring diverse employees and
          an inclusive culture; and continue to use our reach and size for good.
          Now through the many decades of change that we’ve seen in the health
          care industry’s experience, Johnson & Johnson has continued to
          advance with the evolution of science and technology, whether it was
          through our pioneering development of sterile surgery at the turn of the
          20th century or today, as we develop a differentiated robotic-assisted
          surgery platform in orthopaedics [sic] or build novel regimens to boost T
          cells and train them to recognize and actually attack cancer and focus to
          create a preventive vaccine for HIV/AIDS.

          361. At the April 26, 2018 Shareholders Meeting, Gorsky also told investors:

                Now at Johnson & Johnson, we are committed to meeting the
          needs of our stakeholders, as defined in Our Credo, the doctors, the
          nurses and patients and the mothers and fathers and all others who
          use our products; our employers, our suppliers, and the communities in
          which we live and work. We’re also committed to providing positive


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          economic impact wherever we do business as well as delivering a fair
          return to our shareholders.

                 Now our people and our partners have been focused on that one
          thing, the thing that is the most important, the most personal to every
          individual and every family on earth: their health and well-being. And
          for the second year in a row, we were named to the annual Fortune
          Magazine Change the World List, which spotlights the 50 top global
          companies that have had a positive social impact through their activities
          that are part of their core business strategy.

                                       *     *       *

          We recognize that to lead the next frontier of health, well, it’s a big
          commitment. But we are ready, willing and able to take on this task.
          Guided by our purpose-driven strategies and values that are rooted in
          our credo, we will always put the needs and well-being of the people we
          serve first.

          362. Defendants’ statements, as alleged in ¶¶358, 360-361, that (i) its Credo

  was “the value system, the backdrop and in fact . . . the strategy outline for Johnson &

  Johnson in everything” it does, (ii) its Credo “stood the test of time, unyielding in

  challenging times and unforgotten in times of great success,” (iii) J&J is “united and

  inspired by Our Credo, and we live into those responsibilities it outlines each and

  every day,” (iv) J&J is “committed to meeting the needs of our stakeholders, as

  defined in Our Credo, the doctors, the nurses and patients and the mothers and fathers

  and all others who use our products,” (v) J&J has “been focused on that one thing, the

  thing that is the most important, the most personal to every individual and every

  family on earth: their health and well-being,” and (vi) J&J “will always put the needs

  and well-being of the people we serve first,” were false and misleading. In truth,


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  defendants had and continued to conceal that: (i) asbestos had repeatedly been found

  in the Company’s talc and powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228),

  (ii) J&J had attempted to find ways to remove tremolite from its talc (¶¶58, 60, 228),

  (iii) J&J never adopted concentration methods that could detect the asbestos (¶¶63-67,

  230), (iv) J&J had purposely influenced and manipulated regulators and scientists in

  order to protect the Company’s flagship product and reputation (¶¶61-62, 68-72, 78,

  80, 82-86, 93-104, 150-154, 223, 227, 231-232), and (v) J&J had misled the FDA in

  2016 (¶¶150-154).

          363. Defendant Goodrich’s statements, as alleged in ¶359, that (i) “‘Johnson’s

  Baby Powder has been used for more than 120 years and it does not contain asbestos

  or cause mesothelioma,’” and (ii) “‘once the full evidence is reviewed, [the Lanzo

  verdict] will be reversed,’” were false and misleading. In truth, as alleged in ¶¶128

  and 224, Goodrich knew that J&J’s talcum powders had not been “safe” for over 100

  years, and indeed, J&J could not even “link cosmetic talc to 100 years of use.”

  Goodrich also knew that when it came to asbestos in the Company’s talcum powders,

  they could not “say ‘always’” asbestos free. ¶¶128 and 224. These statements were

  false and misleading because they omitted that: (i) asbestos had repeatedly been found

  in the Company’s talc and powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228),

  (ii) J&J had attempted to find ways to remove tremolite from its talc (¶¶58, 60, 228),

  (iii) J&J never adopted concentration methods that could detect the asbestos (¶¶63-67,


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  230), and (iv) J&J had purposely influenced and manipulated regulators and scientists

  in order to protect the Company’s flagship product and reputation (¶¶61-62, 68-72, 78,

  80, 82-86, 93-104, 150-154, 223, 227, 231-232).

          364. Defendant Gorsky’s statement, as alleged in ¶360, that J&J “has

  continued to advance with the evolution of science and technology” was false and

  misleading because it concealed that J&J: (i) never adopted concentration methods

  that could detect the asbestos in J&J’s talcum powders (¶¶63-67, 230), and (ii)

  continued to sell its talcum powders despite knowing that asbestos had repeatedly

  been found in the Company’s talc and powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92,

  223, 227-228).

          X.    May 2018 False and Misleading Statements

          365. On May 1, 2018, J&J filed its Form 10-Q with the SEC for the first

  quarter of 2018. Defendants disclosed that J&J and some of J&J’s subsidiaries were

  involved in product liability litigation, but also represented that the Company had

  “substantial defenses”:

                  Johnson & Johnson and certain of its subsidiaries are involved in
          numerous product liability claims and lawsuits involving multiple
          products. Claimants in these cases seek substantial compensatory and,
          where available, punitive damages. While the Company believes it has
          substantial defenses, it is not feasible to predict the ultimate outcome of
          litigation. The Company has established accruals for product liability
          claims and lawsuits in compliance with ASC 450-20 based on currently
          available information, which in some cases may be limited. The
          Company accrues an estimate of the legal defense costs needed to defend
          each matter when those costs are probable and can be reasonably

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          estimated. For certain of these matters, the Company has accrued
          additional amounts such as estimated costs associated with settlements,
          damages and other losses. To the extent adverse verdicts have been
          rendered against the Company, the Company does not record an accrual
          until a loss is determined to be probable and can be reasonably
          estimated. Product liability accruals can represent projected product
          liability for thousands of claims around the world, each in different
          litigation environments and with different fact patterns. Changes to the
          accruals may be required in the future as additional information becomes
          available.

                                       *     *       *

                 Claims for personal injury have been made against Johnson &
          Johnson Consumer Inc. and Johnson & Johnson arising out of the use of
          body powders containing talc, primarily JOHNSONS® Baby Powder.
          The number of pending product liability lawsuits continues to increase,
          and the Company continues to receive information with respect to
          potential costs and the anticipated number of cases. Lawsuits have been
          primarily filed in state courts in Missouri, New Jersey and California.
          Cases filed in federal courts in the United States have been organized as
          a multidistrict litigation in the United States District Court for the
          District of New Jersey. The Company has established an accrual for
          defense costs only in connection with product liability litigation
          associated with body powders containing talc.

          366. Defendants’ statements, as alleged in ¶365, were false and misleading.

  While defendants boasted of having “substantial defenses” to talc-related litigation,

  they omitted that: (i) asbestos had repeatedly been found in the Company’s talc and

  powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had attempted to

  find ways to remove tremolite from its talc (¶¶58, 60, 228), (iii) J&J never adopted

  concentration methods that could detect the asbestos (¶¶63-67, 230), and (iv) J&J had

  purposely influenced and manipulated regulators and scientists in order to protect the



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  Company’s flagship product and reputation (¶¶61-62, 68-72, 78, 80, 82-86, 93-104,

  150-154, 223, 227, 231-232).

          367. On May 16, 2018, CNBC published a video interview with defendant

  Gorsky regarding the re-launch of J&J’s Baby Products line. In the interview,

  defendant Gorsky made the following statements:

          [Gorsky:] [I]t’s a re-launch, and we’re really focusing on . . . the
          changing needs of the Millennial mom, and we realize that over the past
          few years that we probably got a little bit behind the curve, but what
          you’re going to hear about today is how we totally reformulated the
          brand where we’re changing and making sure we’re using more natural
          ingredients. We’ve taken out many of the concerning products, or
          ingredients, that . . . mothers didn’t want in their products, things like
          surfactants, parabens, and other . . . ingredients. And we’ve also made
          sure that we’re really creating a conversation with the Millennial mom.
          So yeah, we’re really excited about the re-launch of Baby, and we think
          what it does is it makes it current, it makes it relevant, but at the same
          time it doesn’t lose . . . that basic smell, that basic touch that you expect
          from the Johnson’s Baby line.

                   [Reporter:] Well this comes after a couple years you’ve had some
          . . . pretty extreme headlines coming out of the lawsuits around the talc
          baby powder product. You know, I’ve heard from some folks they’ve
          lost trust in the brand because of those headlines that they’re seeing and
          the concerns of some link to cancer from the talc baby products. . . . I
          talked with Jorge Mesquita, your Head of Consumer, who said you
          defend the brand, the science shows there is no link to cancer and that
          wasn’t the driver behind the re-launch. But how do you keep
          consumers’ trust, perhaps win back their trust, in the midst of all these
          headlines?

                 [Gorsky:] Well look, we certainly understand that. And when it
          comes to babies, safety, high quality has got to be first and foremost in
          everything that we do. And so what we’re talking about today is how do
          we take these legacy brands and really better position them for the
          future. You know, for example, let’s start with clinical data and


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          information. You know, J&J, we have conducted more than 90% of
          the clinical trials. And the Millennial mom, they have a high
          expectation about data. They want to know, frankly, do these products
          work. Are they safe and are they effective. And the fact that we are
          able to produce that kind of information behind our brands, that we
          share it with the broader community, is really important. So those are
          some of the steps that we’re taking . . . we think to make sure the brands
          do well today but also into the future.

          368. On May 16, 2018, at the Consumer and Medical Devices Business

  Review, defendant Gorsky told investors:

                 So now what I’d like to do is take just a few moments to highlight
          the strengths and the opportunities for each of our different business
          segments. . . .

                And look, we’re not afraid to acknowledge areas that we need to
          fix. We want to talk about that, learn from them to make us better
          going forward. And we firmly believe that Johnson & Johnson is
          strongly positioned for continued and future growth.

                                       *      *      *

                 So in closing, first and foremost, I want to thank you for being
          here today and investing your time in Johnson & Johnson. . . .

                And you’ve got our absolute commitment that we’ll hold
          ourselves accountable and execute on the strategic plans that you’re
          going to hear about today, fulfill all of our Credo responsibilities where
          we always keep the customer and patients at the center of everything
          we do and ultimately profoundly change the trajectory of health for
          humanity.

          369. Also at the May 16, 2018, Consumer and Medical Devices Business

  Review, Global Chief Technology Officer Josh Ghaim told investors:

                We have designed JOHNSON’S with everything a mom wants for
          100% gentle new classics. While our ingredients have been always
          been safe, our new formulations contain no unwanted ingredients. To


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          meet the needs of new moms today, more than 90% of the ingredients in
          our formulations are natural. We have built superior experience with no-
          residue formulas, professional reassurance through dermatologist and
          pediatrician testing, all with unique claims based on our body of baby
          skin science.

          370. And at the same May 16, 2018 Conference, Executive VP and

  Worldwide Chairman Jorge Mesquita responded to a question from an analyst

  regarding talc:

                With regard to talc, sorry. What I can assure you is we’ve been
          through this extensively, and we are 100% sure that our talc product is
          safe. And we will continue to defend our brand, we will continue to
          defend our product.

          371. Defendants’ statements, as alleged in ¶¶367-368, that: (i) “when it comes

  to babies” safety and high quality are “first and foremost in everything that we do,”

  (ii), J&J is “not afraid to acknowledge areas that [it] need[s] to fix” and J&J “want[s]

  to talk about that” and “learn from them to make [itself] better going forward,” and

  (iii) J&J “hold[s] [itself] accountable” on “fullfill[ing] all of our Credo responsibilities

  where we always keep the customer and patients at the center of everything we do,”

  were false and misleading. Rather than putting safety first, acknowledging and

  learning from its mistakes, or holding themselves accountable to J&J’s Credo,

  defendants continued to conceal the truth regarding its Baby Powder, including that:

  (i) asbestos had repeatedly been found in the Company’s talc and powders (¶¶55-57,

  59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had attempted to find ways to

  remove tremolite from its talc (¶¶58, 60, 228), (iii) J&J never adopted concentration


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  methods that could detect the asbestos (¶¶63-67, 230), (iv) J&J had purposely

  influenced and manipulated regulators and scientists in order to protect the

  Company’s flagship product and reputation (¶¶61-62, 68-72, 78, 80, 82-86, 93-104,

  150-154, 223, 227, 231-232), and (v) J&J had misled the FDA in 2016 (¶¶150-154).

          372. Defendants’ statement, as alleged in ¶369, that J&J’s ingredients “have . .

  . always been safe,” was false and misleading, as J&J acknowledged internally that

  “we cannot say ‘always’” with regards to J&J’s talcum powders being asbestos-free.

  This statement, along with the statements alleged in ¶¶367 and 369, that: (i) J&J had

  “taken out many of the concerning . . . ingredients, that . . . mothers didn’t want in

  their products,” (ii) “the re-launch of Baby” makes the product line “current,” (iii)

  J&J’s large number of clinical trials show that the Baby products are safe, and (iv)

  J&J’s “new formulations contain no unwanted ingredients,” were false and misleading

  for other reasons. These statements concealed that: (i) asbestos had repeatedly been

  found in the Company’s talc and powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223,

  227-228), (ii) J&J had attempted to find ways to remove tremolite from its talc (¶¶58,

  60, 228), and (iii) J&J never adopted concentration methods that could detect the

  asbestos (¶¶63-67, 230).

          373. Defendants’ statement, as alleged in ¶370, that after going through the

  information “extensively,” J&J is “100% sure that our talc product is safe,” was also

  false and misleading. In truth, J&J knew that some scientific sources were actually


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  “not as definitive or supportive and could be interpreted as suggesting a causal effect”

  between ovarian cancer and talc and that “[e]ven some of the studies [it] cite[d]

  send[s] mixed messages.” ¶¶131 and 225. And as alleged in ¶¶131 and 225, J&J

  knew that even one of the studies cited by J&J had concluded that “‘perineal talc use

  may modestly increase the risk of invasive serous ovarian cancers.’” In addition, the

  statement was false and misleading because it failed to disclose that: (i) asbestos had

  repeatedly been found in the Company’s talc and powders (¶¶55-57, 59, 64, 73, 76,

  81, 87-92, 223, 227-228), (ii) J&J had attempted to find ways to remove tremolite

  from its talc (¶¶58, 60, 228), (iii) J&J never adopted concentration methods that could

  detect the asbestos (¶¶63-67, 230), and (iv) J&J had purposely influenced and

  manipulated regulators and scientists in order to protect the Company’s flagship

  product and reputation (¶¶61-62, 68-72, 78, 80, 82-86, 93-104, 150-154, 223, 227,

  231-232).

          374. On May 21, 2018, at the UBS Global Healthcare Conference, defendant

  Peterson discussed J&J’s global supply chain:

          We did make an announcement that we’re taking some actions to further
          optimize our network and I’ll explain to you why that is. But about 5
          years ago, we had changed our approach at JNJ to how we manage our
          supply chain around the globe to enable us to have much more global
          consistency, to drive better flexibility in our supply chain, but also to
          ensure that we’ve got the right quality and compliance in all of our
          manufacturing sites around the world, both internal and external.




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          375. Also on May 21, 2018, in an article entitled “Johnson & Johnson to

  relaunch baby-care line after its 20% sales decline,” Mesquita was quoted as stating:

  “‘We are absolutely certain that science shows that our talcum product is safe, and

  we will defend our brand and defend our product,’ Mesquita said.”

          376. And on May 28, 2018, in an article entitled “Juries Weigh Cases Over

  Alleged Harms of Johnson & Johnson Baby Powder,” the Wall Street Journal

  reported statements made by J&J:

                 Johnson & Johnson said it would appeal and “continue to defend
          the safety of our product because it does not contain asbestos or cause
          mesothelioma.” The company said over the past 50 years, multiple
          scientific evaluations, including from the U.S. Food and Drug
          Administration, have been conducted and “none have found that the
          talc in Johnson’s Baby Powder contains asbestos.”

          377. Defendants’ statement, as alleged in ¶374, that J&J now had “the right

  quality and compliance in all of [its] manufacturing sites around the world,” was false

  and misleading, as J&J had knowingly failed to adopt an effective method for testing

  its talc (¶¶63-67, 230), despite numerous occasions of asbestos being found in the

  Company’s talc and powders. ¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228.

          378. Defendants’ statements, as alleged in ¶¶375-376, that: (i) J&J is

  “absolutely certain that science shows that our talcum product is safe,” and (ii)

  Johnson’s Baby Powder “‘does not contain asbestos or cause mesothelioma,’” as

  “‘multiple scientific evaluations’” “‘over the past 50 years’” including by the FDA

  have not found asbestos in Johnson’s Baby Powder, were also false and misleading.

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  These statements concealed that: (i) asbestos had repeatedly been found in the

  Company’s talc and powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii)

  J&J had attempted to find ways to remove tremolite from its talc (¶¶58, 60, 228), (iii)

  J&J never adopted concentration methods that could detect the asbestos (¶¶63-67,

  230), (iv) J&J had purposely influenced and manipulated regulators and scientists in

  order to protect the Company’s flagship product and reputation (¶¶61-62, 68-72, 78,

  80, 82-86, 93-104, 150-154, 223, 227, 231-232), and (v) J&J had misled the FDA in

  2016 (¶¶150-154). In addition, while J&J said publicly that it was “‘absolutely certain

  that science shows’” the safety of talc, it knew that some scientific sources were

  actually “not as definitive or supportive and could be interpreted as suggesting a

  causal effect” between ovarian cancer and talc and that at least one had concluded

  that “‘perineal talc use may modestly increase the risk of invasive serous ovarian

  cancers.’” ¶¶131 and 225.

          Y.    July to August 2018 False and Misleading Statements

          379. On July 12, 2018, J&J issued a statement regarding the Ingham case

  verdict:

                 Johnson & Johnson is deeply disappointed in the verdict, which
          was the product of a fundamentally unfair process that allowed
          plaintiffs to present a group of 22 women, most of whom had no
          connection to Missouri, in a single case all alleging that they developed
          ovarian cancer. The result of the verdict, which awarded the exact same
          amounts to all plaintiffs irrespective of their individual facts, and
          differences in applicable law, reflects that the evidence in the case was
          simply overwhelmed by the prejudice of this type of proceeding.

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          Johnson & Johnson remains confident that its products do not contain
          asbestos and do not cause ovarian cancer and intends to pursue all
          available appellate remedies. Every verdict against Johnson & Johnson
          in this court that has gone through the appeals process has been
          reversed and the multiple errors present in this trial were worse than
          those in the prior trials which have been reversed.

          380. Also on July 12, 2018, Bloomberg reported on comments made by

  defendant Goodrich via email31:

                 The company will appeal, Carol Goodrich, a spokeswoman, said
          in an email. The verdict “was the product of a fundamentally unfair
          process that allowed plaintiffs to present a group of 22 women, most of
          whom had no connection to Missouri, in a single case all alleging that
          they developed ovarian cancer,’’ she said.

                 That each plaintiff and her family members were awarded $25
          million for their losses “irrespective of their individual facts, and
          differences in applicable law, reflects that the evidence in the case was
          simply overwhelmed by the prejudice of this type of proceeding,’’
          Goodrich added.

                                       *      *      *

          ‘Multiple Errors’

                 The company’s products don’t contain asbestos and don’t cause
          ovarian cancer, she said. Goodrich predicted the verdict would be
          reversed. “The multiple errors present in this trial were worse than those
          in the prior trials which have been reversed.”

          381. Defendants’ statements, as alleged in ¶¶379-380, that the verdict was “the

  product of a fundamentally unfair process” where the “evidence . . . was simply

  overwhelmed by the prejudice,” while the truth was that J&J’s products “do not

  31
     “J&J’s $4.69 Billion Talc Loss Hands Investors a What-Next Moment” (updated
  on July 13, 2018).


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  contain asbestos and do not cause ovarian cancer,” were false and misleading. In

  truth, defendants knew that: (i) asbestos had repeatedly been found in the Company’s

  talc and powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had

  attempted to find ways to remove tremolite from its talc (¶¶58, 60, 228), (iii) J&J

  never adopted concentration methods that could detect the asbestos (¶¶63-67, 230),

  and (iv) J&J had purposely influenced and manipulated regulators and scientists in

  order to protect the Company’s flagship product and reputation (¶¶61-62, 68-72, 78,

  80, 82-86, 93-104, 150-154, 223, 227, 231-232). In addition, Goodrich knew that the

  Company could not “say ‘always’” when it comes to Johnson’s Baby Powder being

  asbestos-free. ¶¶128 and 224. And while Goodrich promised that J&J’s talc did not

  cause ovarian cancer, she knew that some scientific sources were actually “not as

  definitive or supportive and could be interpreted as suggesting a causal effect”

  between ovarian cancer and talc and that at least one had concluded that “‘perineal

  talc use may modestly increase the risk of invasive serous ovarian cancers.’” ¶¶131

  and 225.

          382. On July 17, 2018, during a conference call discussing the Company’s

  2Q18 results, defendant Gorsky told investors:

                Before I provide some perspective by business segment, it’s
          important to begin where I usually do, emphasizing that we are always
          guided by our credo; and this year, we proudly celebrate its 75th
          anniversary. Our credo is as relevant today as the day it was written.
          Balancing opportunity and responsibility, we’re united and inspired by


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          our credo and we live in the responsibilities it outlines each and every
          day.

                                       *     *       *

          Additionally, we are revitalizing our baby business. In fact, beginning
          this month, our newly formulated Johnson’s Baby products have started
          to ship to retailers across the United States. We continue to strengthen
          and expand our portfolio of iconic, science-based and professionally
          endorsed products, and we have a number of planned launches in the
          second half of this year. We also believe that this will drive top line
          growth that will be met with even greater bottom line growth as we
          continue to improve our productivity and margins.

                                       *     *       *

          Regarding the recent St. Louis talcum powder lawsuit and verdict. As
          you know, our baby powder is a trusted product that we sold to families
          for over 100 years, and Johnson & Johnson is deeply disappointed in this
          verdict. Now we remain confident that our products do not contain
          asbestos and do not cause ovarian cancer, and we intend to pursue all
          available appellate remedies. In fact, every verdict against Johnson &
          Johnson in this court that has gone through the appeals process has been
          reversed.

                 Additionally, I want to emphasize that preeminent scientific and
          regulatory bodies, including the National Cancer Institute, the U.S.
          Food and Drug Administration have fully reviewed the full body of
          scientific evidence on multiple occasions and found that it does not
          support the allegation that talc causes ovarian cancer. Like previous
          appeals, we are confident that there are multiple grounds for reversal of
          this jury verdict and that, ultimately, the case will be reversed.

                                       *     *       *

          We believe in a bright and successful future, where virtually anything
          that can be imagined, can be accomplished through a laser-like focus on
          innovation, execution and our customers, which ultimately drives
          superior long-term performance. And while we’re focused on all of this,
          we also remain committed to fulfilling our credo responsibilities and
          striving to profoundly change the trajectory of Health for Humanity.


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          383. Defendants’ statement, as alleged in ¶382, that J&J is “always guided by

  our credo,” was false and misleading, as it concealed that: (i) asbestos had repeatedly

  been found in the Company’s talc and powders but J&J failed to inform the public

  (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had thought about seeking

  a profitable patent for a method of removing tremolite from its talc (¶¶58, 60), (iii)

  J&J never adopted concentration methods that could detect the asbestos despite

  knowing that it was necessary to find any asbestos present (¶¶63-67, 230), (iv) J&J

  had purposely influenced and manipulated regulators and scientists in order to protect

  the Company’s flagship product and reputation (¶¶61-62, 68-72, 78, 80, 82-86, 93-

  104, 150-154, 223, 227, 231-232), and (v) J&J had misled the FDA in 2016 (¶¶150-

  154).

          384. Defendants’ statements, as alleged in ¶382, that: (i) J&J remained

  “committed to fulfilling our credo responsibilities,” (ii) the Credo was “as relevant

  today as the day it was written,” and (iii) J&J was “inspired by our credo” and “live[d]

  in the responsibilities it outlines each and every day,” were false and misleading. In

  truth, defendants failed to live up to the Credo by continuing to conceal the truth about

  Johnson’s Baby Powder, including that: (i) asbestos had repeatedly been found in the

  Company’s talc and powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii)

  J&J had attempted to find ways to remove tremolite from its talc (¶¶58, 60, 228), (iii)

  J&J never adopted concentration methods that could detect the asbestos (¶¶63-67,


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  230), (iv) J&J had purposely influenced and manipulated regulators and scientists in

  order to protect the Company’s flagship product and reputation (¶¶61-62, 68-72, 78,

  80, 82-86, 93-104, 150-154, 223, 227, 231-232), and (v) J&J had misled the FDA in

  2016 (¶¶150-154).

          385. Defendant’s statement, as alleged in ¶382, that J&J had “science-based

  and professionally endorsed products,” was false and misleading as (i) asbestos had

  repeatedly been found in the Company’s talc and powders (¶¶55-57, 59, 64, 73, 76,

  81, 87-92, 223, 227-228) and (ii) J&J had purposely influenced and manipulated

  regulators and scientists in order to protect the Company’s flagship product and

  reputation (¶¶61-62, 68-72, 78, 80, 82-86, 93-104, 150-154, 223, 227, 231-232).

          386. Defendants’ reliance on the fact that Baby Powder has been “sold to

  families for over 100 years” and representation that J&J is “confident that our

  products do not contain asbestos and do not cause ovarian cancer,” as alleged in ¶382,

  were false and misleading. As alleged in ¶¶128 and 224, J&J had acknowledged

  internally that talc did not have 100 years of safe use and they could not “say

  ‘always’” when it comes to Baby Powder being asbestos-free. In addition, these

  statements concealed that: (i) asbestos had repeatedly been found in the Company’s

  talc and powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had

  attempted to find ways to remove tremolite from its talc (¶¶58, 60, 228), and (iii) J&J

  never adopted concentration methods that could detect the asbestos (¶¶63-67, 230).


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          387. Defendants’ statement, as alleged in ¶382, that “scientific and regulatory

  bodies” such as the FDA had “fully reviewed the full body of scientific evidence on

  multiple occasions and found that it does not support the allegation that talc causes

  ovarian cancer” was false and misleading. In truth, (i) J&J had lied to the FDA as

  recently as 2016 regarding asbestos in its talc (¶¶150-154) , and (ii) the scientific and

  regulatory bodies never had “the full body of scientific evidence” because J&J never

  disclosed that asbestos had been found in the Company’s talc and powders on

  numerous occasions. ¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228. The statement

  was also false and misleading because J&J knew that some scientific sources were

  actually “not as definitive or supportive and could be interpreted as suggesting a

  causal effect” between ovarian cancer and talc and that at least one had concluded that

  “‘perineal talc use may modestly increase the risk of invasive serous ovarian

  cancers.’” ¶¶131 and 225. Finally, the statement was false and misleading in that it

  omitted that: (i) asbestos had repeatedly been found in the Company’s talc and

  powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had attempted to

  find ways to remove tremolite from its talc (¶¶58, 60, 228), (iii) J&J never adopted

  concentration methods that could detect the asbestos (¶¶63-67, 230), and (iv) J&J had

  purposely influenced and manipulated regulators and scientists in order to protect the

  Company’s flagship product and reputation (¶¶61-62, 68-72, 78, 80, 82-86, 93-104,

  150-154, 223, 227, 231-232).


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          388. On August 2, 2018, J&J filed its 2Q18 Form 10-Q with the SEC.

  Defendants disclosed that J&J and some of J&J’s subsidiaries were involved in

  product liability litigation, but also represented that the Company had “substantial

  defenses”:

                  Johnson & Johnson and certain of its subsidiaries are involved in
          numerous product liability claims and lawsuits involving multiple
          products. Claimants in these cases seek substantial compensatory and,
          where available, punitive damages. While the Company believes it has
          substantial defenses, it is not feasible to predict the ultimate outcome of
          litigation. The Company has established accruals for product liability
          claims and lawsuits in compliance with ASC 450-20 based on currently
          available information, which in some cases may be limited. The
          Company accrues an estimate of the legal defense costs needed to defend
          each matter when those costs are probable and can be reasonably
          estimated. For certain of these matters, the Company has accrued
          additional amounts such as estimated costs associated with settlements,
          damages and other losses. To the extent adverse verdicts have been
          rendered against the Company, the Company does not record an accrual
          until a loss is determined to be probable and can be reasonably
          estimated. Product liability accruals can represent projected product
          liability for thousands of claims around the world, each in different
          litigation environments and with different fact patterns. Changes to the
          accruals may be required in the future as additional information becomes
          available.

                                        *     *       *

                 Personal injury claims alleging that talc causes cancer have been
          made against Johnson & Johnson Consumer Inc. and Johnson & Johnson
          arising out of the use of body powders containing talc, primarily
          JOHNSONS® Baby Powder. The number of pending product liability
          lawsuits continues to increase, and the Company continues to receive
          information with respect to potential costs and the anticipated number of
          cases. Lawsuits have been primarily filed in state courts in Missouri,
          New Jersey and California. Cases filed in federal courts in the United
          States have been organized as a multi-district litigation in the United


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          States District Court for the District of New Jersey. The Company has
          successfully defended a number of these cases but there have been
          verdicts against the Company, including a recent jury verdict of $4.7
          billion. The Company believes that it has strong grounds on appeal to
          overturn these verdicts. The Company has established an accrual for
          defense costs only in connection with product liability litigation
          associated with body powders containing talc.

          389. Defendants’ statements, as alleged in ¶388, were false and misleading.

  While defendants boasted of having “substantial defenses” to talc-related litigation,

  they omitted that: (i) asbestos had repeatedly been found in the Company’s talc and

  powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had attempted to

  find ways to remove tremolite from its talc (¶¶58, 60, 228), (iii) J&J never adopted

  concentration methods that could detect the asbestos (¶¶63-67, 230), and (iv) J&J had

  purposely influenced and manipulated regulators and scientists in order to protect the

  Company’s flagship product and reputation (¶¶61-62, 68-72, 78, 80, 82-86, 93-104,

  150-154, 223, 227, 231-232).

          Z.    October 2018 False and Misleading Statements

          390. On October 31, 2018, J&J filed its third quarter 2018 Form 10-Q with the

  SEC. Defendants acknowledged that J&J and some of J&J’s subsidiaries were

  involved in product liability litigation, but also represented that the Company had

  “substantial defenses”:

                Johnson & Johnson and certain of its subsidiaries are involved in
          numerous product liability claims and lawsuits involving multiple
          products. Claimants in these cases seek substantial compensatory and,
          where available, punitive damages. While the Company believes it has

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          substantial defenses, it is not feasible to predict the ultimate outcome of
          litigation. The Company has established accruals for product liability
          claims and lawsuits in compliance with ASC 450-20 based on currently
          available information, which in some cases may be limited. The
          Company accrues an estimate of the legal defense costs needed to defend
          each matter when those costs are probable and can be reasonably
          estimated. For certain of these matters, the Company has accrued
          additional amounts such as estimated costs associated with settlements,
          damages and other losses. To the extent adverse verdicts have been
          rendered against the Company, the Company does not record an accrual
          until a loss is determined to be probable and can be reasonably
          estimated. Product liability accruals can represent projected product
          liability for thousands of claims around the world, each in different
          litigation environments and with different fact patterns. Changes to the
          accruals may be required in the future as additional information becomes
          available.

                                        *     *       *

                 Personal injury claims alleging that talc causes cancer have been
          made against Johnson & Johnson Consumer Inc. and Johnson & Johnson
          arising out of the use of body powders containing talc, primarily
          JOHNSONS® Baby Powder. The number of pending product liability
          lawsuits continues to increase, and the Company continues to receive
          information with respect to potential costs and the anticipated number of
          cases. Lawsuits have been primarily filed in state courts in Missouri,
          New Jersey and California. Cases filed in federal courts in the United
          States have been organized as a multi-district litigation in the United
          States District Court for the District of New Jersey. The Company has
          successfully defended a number of these cases but there have been
          verdicts against the Company, including a recent jury verdict of $4.7
          billion. The Company believes that it has strong grounds on appeal to
          overturn these verdicts. The Company has established an accrual for
          defense costs only in connection with product liability litigation
          associated with body powders containing talc.

          391. Defendants’ statements, as alleged in ¶390, were false and misleading.

  While defendants boasted of having “substantial defenses” to talc-related litigation,

  they omitted that: (i) asbestos had repeatedly been found in the Company’s talc and

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  powders (¶¶55-57, 59, 64, 73, 76, 81, 87-92, 223, 227-228), (ii) J&J had attempted to

  find ways to remove tremolite from its talc (¶¶58, 60, 228), (iii) J&J never adopted

  concentration methods that could detect the asbestos (¶¶63-67, 230), and (iv) J&J had

  purposely influenced and manipulated regulators and scientists in order to protect the

  Company’s flagship product and reputation (¶¶61-62, 68-72, 78, 80, 82-86, 93-104,

  150-154, 223, 227, 231-232).

  VII. FRAUDULENT SCHEME AND COURSE OF BUSINESS
          392. During the Class Period, defendants had actual knowledge of the

  misleading nature of the statements they made or acted in reckless disregard of the

  true information known to them at the time. In so doing, defendants participated in a

  scheme to defraud and committed acts, practices and participated in a course of

  business that operated as a fraud or deceit on purchasers of J&J securities during the

  Class Period.

  VIII. ADDITIONAL SCIENTER ALLEGATIONS
          393. As alleged herein, defendants knew or recklessly disregarded that the

  public documents and statements issued or disseminated in the name of the Company

  were materially false and misleading and that such statements or documents would be

  issued or disseminated to the investing public: Defendants, by virtue of: (i) their

  receipt of information reflecting the true facts regarding J&J, (ii) their control over,

  and/or receipt and/or modification of J&J’s allegedly materially misleading



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  misstatements and (iii) their senior leadership roles at the Company, which made them

  privy to confidential proprietary information concerning J&J, each participated in the

  fraudulent scheme alleged herein.

          A.   Defendant Gorsky
          394. Gorsky knew or recklessly disregarded that his statements and the

  statements made by J&J in public filings with the SEC were false and misleading.32

  As alleged herein, Gorsky admitted to paying very close attention to J&J’s quality

  issues, including the allegations surrounding the Company’s talcum powders

  specifically, and he also represented that he was intensely focused on whether J&J

  was acting in accordance with its corporate Credo. These admissions included the

  following:

              At the Company’s April 2012 annual meeting, Gorsky spent over 30
               minutes on Our Credo, promising that he was determined to keep it as
               the foundation at J&J and repeatedly assuring investors that J&J was
               adhering to the corporate credo’s values. ¶¶116-117.

              On January 21, 2014, Gorsky admitted to having knowledge about
               whether the “Chief Medical and Chief Quality Officers [were] setting
               new benchmarks for medical safety” and whether J&J was “monitoring
               the use of our end market products” to “ensu[re] that they are safe.”
               ¶133.

              On January 12, 2015, Gorsky provided that “[q]uality and safety” was
               J&J’s “number-one priority” and that he and his team at J&J had “over

  32
     These include the statements alleged in ¶¶253-254, 258-259, 263-264, 269, 271-
  275, 277, 281-282, 284, 286, 296-297, 307, 315-316, 324-327, 329, 333, 335, 344,
  353-356, 358, 360-361, 365, 367-368, 382, 388, and 390.


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              the last few years” “made a number of changes . . . to make sure that we
              addressed any of the outstanding issues that we were facing.” ¶137.
              By the time Gorsky made this admission, J&J had suffered the first
              verdict linking talc to ovarian cancer and was facing mounting claims
              brought by federal class action plaintiffs, state court litigants, and the
              Attorney General of Mississippi. ¶¶126, 136. The safety of J&J’s
              talcum powders was thus a well-known “outstanding issue[].”

             On April 23, 2015, Gorsky admitted the importance of Johnson’s Baby
              Powder and the Company’s other consumer brands, noting that “our
              consumer, our iconic consumer brands have been, and continue to be,
              perhaps the greatest connection that we have with people, with
              consumers all over the world.” ¶140.

             On September 6, 2017, Gorsky admitted to paying attention to “the
              significant amount of clinical information [and] control data” involving
              talc and talcum powders, including from agencies like the National
              Cancer Institute (“NCI”) and FDA, and claimed to have sufficient
              knowledge to form an opinion on “the safety of talc.” ¶176. Gorsky
              also made clear that he had assessed sufficient data surrounding J&J’s
              talcum powders in order to form an opinion about J&J’s defense in the
              talcum powder litigation. ¶176.

             Also on September 6, 2017, Gorsky admitted to closely following the
              ovarian cancer litigation developments, referencing St. Louis as one of
              “the early results,” as well as “earlier findings in New Jersey” and “the
              first outcome in California.” ¶176.

             On May 16, 2018, Gorsky admitted to having knowledge about the
              ingredients in J&J’s Baby products and whether J&J had “taken out
              many of the concerning . . . ingredients, that . . . mothers didn’t want in
              their products.” ¶206.

             Also on May 16, 2018, Gorsky admitted to reviewing the Company’s
              “clinical data and information” regarding talc’s safety. ¶206.

             Also on May 16, 2018, Gorsky promised that he and J&J had an
              “absolute commitment [to] hold ourselves accountable and . . . fulfill all
              of our Credo responsibilities where we always keep the customer and
              patients at the center of everything we do.” ¶207.


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               On July 17, 2018, Gorsky admitted to knowing whether J&J is “always
                guided by our credo” and remains committed to it, and whether the
                Credo is still relevant. ¶221.

               Also on July 17, 2018, Gorsky admitted to having knowledge about
                J&J’s baby products, including whether they are “science-based and
                professionally endorsed.” ¶221.

               Also on July 17, 2018, Gorsky admitted to paying attention to the talc
                litigation, including whether J&J’s products contained asbestos or
                caused ovarian cancer. ¶222. In addition, Gorsky claimed to know
                whether scientific and regulatory bodies had “fully reviewed the full
                body of scientific evidence.” ¶222.

          395. Gorsky’s scienter is further bolstered by his actions which illustrate that

  he paid special attention to product quality issues, including the ongoing litigation

  surrounding J&J’s talcum powders. Indeed, as alleged in ¶¶116-118, from his first

  day on the job as CEO, Gorsky knew investors were deeply concerned over quality

  issues and J&J’s reputation.

          396. In addition, the June 6, 2017 email to Gorsky and the Board of Directors

  that included a “deck under the heading of ‘Update on Talc Litigation’ in Tab 7 that

  discusses reputational risk” illustrates that Gorsky was made aware of, and his

  attention was on, the issues surrounding talc. ¶171.

          397. Defendant Gorsky’s scienter is further evidenced by the fact that, as a

  long time executive in the consumer and pharma industries, he had a heightened

  understanding of the troubles that revelation of unethical and/or illegal business

  conduct could bring to the Company and himself. As alleged in ¶¶21, 113-114, he



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  had been “actively involved” at Janssen when “Janssen managers effectively

  embraced off-label promotion” and Janssen exhibited “especially unscrupulous”

  behavior, that “‘recklessly put at risk the health of some of the most vulnerable

  members of society’” and showed “‘blatant disregard for systems and laws.’” This

  conduct led to Janssen’s $2.2 billion settlement with the Department of Justice.

  ¶¶113-114.

          398. Similarly, as alleged in ¶115, Gorsky was warned by the FDA while he

  was at Novartis that representations made by the company “suggested that [the

  product in question was] safer . . . than ha[d] been demonstrated.” This experience

  alerted Gorsky to the importance of not making false and misleading statements

  regarding product safety. And as alleged in ¶115, Gorsky was deposed regarding

  J&J’s DePuy unit, which would later be hit with a jury verdict of over $1 billion, and

  had “personal involvement” in preparing corporate communications regarding the

  defective hip implants at issue in the case.

          B.    Defendant Caruso
          399. Caruso knew that the statements made by J&J in public filings with the

  SEC were false and misleading.33 As the Chief Financial Officer of the Company and

  a signatory to those filings, Caruso was responsible for ensuring that the statements

  33
     These include the statements alleged in ¶¶253-254, 258-259, 263-264, 271- 275,
  281-282, 286, 296-297, 307, 315-316, 324-327, 329, 333, 344, 353-356, 365, 388, and
  390.


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  contained therein were not false or materially misleading. In addition, as CFO,

  Caruso would ultimately be responsible for the Company’s assessment of the potential

  financial outcomes resulting from the talc litigation, requiring Caruso to be familiar

  with the facts and evidence in those cases. In addition, Caruso led J&J’s investor

  relations activities during the Class Period. As such, he certainly would have known

  that investors were intensely focused on quality issues throughout the Class Period.

  This, coupled with J&J’s spreading talcum powder litigation, effectively guaranteed

  that Caruso had access to the information that defendants withheld from investors

  during the Class Period.

          C.    Defendant Goodrich
          400. Goodrich knew that her statements, and corporate statements that she

  created and contributed to, as alleged in ¶¶267, 288, 294, 301, 340, 359, 380, were

  false and misleading. As alleged in ¶126, Goodrich personally worked on the

  language to be included on the “Our Safety & Care Commitment” website, which was

  available as of January 7, 2014. And while the “Our Safety & Care Commitment”

  website touted talc’s “safety profile,” “long history of safe use,” and use “for over 100

  years,” Goodrich knew that the use of talc had not actually been safe for 100+ years,

  and may not have even occurred with regards to “cosmetic talc.” ¶128. In addition,

  although the website implied that J&J’s talc products have always been asbestos-free,

  Goodrich knew that J&J could not accurately “say ‘always.’” ¶128. She also knew or


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  was reckless in making additional false misleading statements, including: (i) on May

  2, 2016, that J&J “has provided consumers with a safe choice for cosmetic powder

  products” “[f]or over 100 years,” (ii) on November 16, 2017, that “Johnson’s Baby

  Powder has been around since 1894 and it does not contain asbestos or cause

  mesothelioma or ovarian cancer,” and (iii) in April 2018, that “Johnson’s Baby

  Powder has been used for more than 120 years and it does not contain asbestos.”

  ¶¶302, 340, 359.

          401. Goodrich also knew that it was false and misleading to represent (i) on

  the “Our Safety & Care Commitment” website, that talc’s purported safety was

  supported by “more than 30 years of research,” examination by “[v]arious agencies

  and governmental bodies” supported talc’s safety, and “[m]any research papers and

  epidemiology studies” “published since the early 1990s” “have found talc to be safe,”

  (ii) on February 23, 2016, that talc’s safety is “supported by decades of scientific

  evidence,” and that J&J believed this to be true, and (iii) on May 2, 2016, that “30

  years of studies by medical experts around the world . . . continue to support”

  cosmetic talc’s safety, and that “[m]ultiple scientific and regulatory reviews have

  determined that talc is safe for use . . . and the labeling on Johnson’s Baby Powder is

  appropriate.” ¶¶266, 294, 302. As alleged in ¶131, Goodrich in fact knew that other

  scientific sources not cited on “Our Safety & Care Commitment” website could

  actually “be interpreted as suggesting a causal effect” between talc and ovarian cancer,


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  including from IARC and the American Cancer Society. She also knew that “[e]ven

  some of the studies” cited by J&J on its website sent “mixed messages,” including a

  study recognizing that “‘perineal talc use may modestly increase’” the risk of ovarian

  cancer. ¶131.

          D.    Defendant Casalvieri

          402. Casalvieri knew that her statements, as alleged in ¶292, claiming that

  scientific studies, “assessments by external experts,” and J&J’s “company testing”

  supported talc’s safety, were false and misleading. She admitted to examining

  “assessments by external experts” and having knowledge of J&J’s “company

  testing,” and emphasized that “[a]s a toxicologist in our Consumer business,” “my job

  is to make certain a product is safe.” ¶292. Thus, Casalvieri would have been

  informed of the very facts making her statement misleading. By holding herself out as

  an expert on the safety of J&J’s talc products and “assur[ing] women and caregivers

  who use our talc products” of their safety, ¶292, Casalvieri publicly represented that

  she fully understood the possible dangers of talc when making her false and

  misleading statements. Casalvieri’s scienter is further bolstered by the fact that she

  was featured on the updated “Our Safety & Care Commitment” website available as

  of December 25, 2015, which represented that “[w]e have carefully assessed all

  available data on talc,” including the “body of research and clinical evidence.” ¶288.




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          403. In addition to these admissions and representations, Casalvieri’s scienter

  is also evidenced by her direction of J&J’s fraudulent conduct in 2005. Indeed,

  Casalvieri directed J&J’s project “to defend talc,” which included “develop[ing]

  documents that scientifically support the lack of a relationship of talc and ovarian

  cancer,” including secretly funding a meta-study supportive of talc. ¶¶94-95, 97-99.

  Casalvieri also knew, but failed to disclose, that J&J had worked under her direction

  “to assure a good outcome” for talc against the NTP. ¶95. Her centrality to that effort

  is clear: she was personally congratulated for her work when the NTP withdrew talc

  from consideration as a possible carcinogen. ¶104. Casalvieri knew, but failed to

  disclose, that the decision by the NTP “was a direct result of [J&J’s] efforts in

  coordination with Luzenac and CTFA,” ¶104, efforts which she herself directed. As

  the director of the project to defend talc, Casalvieri also received detailed updates

  from Steve Mann regarding the day-to-day of these efforts, including J&J’s attempt at

  getting its own experts embedded in the IARC process. ¶¶100-102. Finally,

  Casalvieri worked closely with Mann to “defend talc” within less than a year after

  Mann was informed that Forensic Analytical and a news station had discovered

  asbestos in Johnson’s Baby Powder. ¶¶88, 94-96, 100-102. It is implausible that

  Casalvieri would not also have known of this finding.




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          E.    Defendant Peterson
          404. Peterson knew or was reckless in not knowing that her statements alleged

  in ¶¶261 and 374, were false and misleading. As alleged in ¶¶118 and 212, Peterson

  was specifically brought on to J&J’s leadership team as a “corporate fixer” just prior

  to the start of the Class Period, with an emphasis on “fixing the consumer and supply

  chain issues once and for all.” ¶118. As Group Worldwide Chair from 2012 through

  2018, Peterson led the JJCI business that produced Johnson’s Baby Powder and was

  responsible for the supply chain and quality of that product, along with other aspects

  of the business. ¶¶23, 118. During J&J’s July 16, 2013 earnings call, Peterson

  acknowledged: “I have accountability for some of the Company’s key enterprise

  functions – supply chain, including quality . . . .”

          405. During the Class Period, Peterson also represented to investors that she

  knew whether or not “all of [J&J’s] businesses” were “trying to ensure . . . the highest

  standard of quality for the safety and care of . . . patients and consumers,” and held

  herself out as knowing whether J&J had “identified corrective actions” and had

  “immediately taken those corrective actions.” ¶125. Indeed, she specifically stated

  that she was paying attention to and implementing J&J’s “processes and systems so

  that [J&J had] early warning systems” to monitor potential product problems. ¶261.

  Peterson’s role also involved overseeing details of J&J’s “global supply chain,”




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  including “ensuring that all of [J&J’s material] suppliers . . . are thoroughly reviewed,

  thoroughly managed, and that they are living up to [J&J’s] quality standards.” ¶261.

          406. Finally, Peterson’s sudden retirement in 2018 was highly suspicious and

  contributes to an inference of her scienter. As alleged in ¶¶211-212, (i) Peterson’s

  retirement was close in time to the first jury finding in favor of a plaintiff alleging

  harm from asbestos in J&J’s talcum powders, (ii) Peterson had been brought in to fix

  the JJCI business’s quality control issues but elected to retire at a time when the

  business had very serious quality control issues still unresolved, (iii) Peterson had

  taken on an additional leadership role only one year prior, (iv) J&J was required to

  shuffle various executives around as a result of Peterson’s departure to leave,

  indicating lack of a premeditated transition plan, and (v) at least one analyst following

  J&J expressed surprise at the announcement due to the strange timing.

          F.    Defendant Glasgow
          407. Glasgow knew that her statements, as alleged in ¶¶278, 311, 321, were

  false and misleading. As alleged in ¶321, on January 24, 2017, Glasgow emphasized

  that she and others at J&J meticulously assembled and reviewed all of the available

  data on the safety of talc, which included “decades of scientific work”:

                 When it comes to the safety of the products we make, we’re just
          like you. . .

          We want all the information we can get. We seek out the guidance of
          experts and we monitor the latest science to see if it impacts any of our



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          products. We also listen to the people who use our products so we can
          take their experiences into account. . . .

          [T]here is no information more important than our research on
          scientific data and safety. We go beyond the findings of a single study
          because we must ensure we’ve assembled all of the available data from
          multiple scientific areas to reach conclusions based on evidence. One
          opinion or study can’t outweigh decades of conclusive, scientific,
          evidence-based findings. As a scientist and, equally important, as a
          parent myself, I can tell you the science is clear: Cosmetic talc is, and
          has been, safe for use in consumer products.

          We are all mothers, fathers, and consumers ourselves; we understand and
          take seriously our responsibility to give you the information you need to
          make your own decisions. . . . We choose to include these ingredients
          not simply because we’ve used them for decades. We include them
          because decades of scientific work support their safety.

          408.   In addition, as alleged in ¶278, Glasgow represented that she and the rest

  of J&J “feel, as scientists, an obligation to continue to take our research to the next

  level by looking at all the science.” Glasgow held herself out as having reviewed “30

  years of scientific studies and regulatory reviews,” along with “the medical facts and

  science” regarding the Company’s talcum powder products. ¶311. Similarly, she

  represented that she had reviewed the studies, “science, research and clinic evidence”

  regarding the safety of talc. ¶311. In sum, Glasgow knew or recklessly disregarded

  the wealth of scientific information within J&J regarding the dangers of its talcum

  powders.

          G.     Defendant Sneed

          409. Sneed knew that his statements, as alleged in ¶256, were false and

  misleading. As VP of Global Corporate Affairs, Sneed was involved with J&J’s

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  public relations and knew that checking the accuracy of corporate statements was

  vitally important. Indeed, he admitted that “[t]he reputation of J&J is very important

  to us” and that “[w]e take it very seriously” when he spoke to investors on April 25,

  2013. ¶123. He also represented that he knew about (i) J&J’s efforts to “get past

  some of the challenges we’ve had as a business,” (ii) what J&J does when it makes

  “mistakes,” (iii) “the values that are behind J&J,” (iv) whether J&J “really embraced

  transparency,” and (v) whether J&J had a history of “car[ing] unconditionally for

  others.” ¶256. Thus, he knew or recklessly disregarded that his statements were false

  and misleading and omitted material information.

          H.    Additional Allegations Supporting Defendants’ Scienter
          410. In addition to the facts alleged in ¶¶394-409, defendants’ scienter is

  further established by the detailed allegations regarding the importance of Johnson’s

  Baby Powder to J&J’s overall business and reputation, J&J’s purposely inadequate

  test methods, J&J’s massive fraudulent scheme and pervasive corporate misconduct,

  and numerous red flags that the Company had received.

                1.    Johnson’s Baby Powder Was Absolutely Critical to
                      Consumers’ Trust and J&J’s Overall Business and
                      Reputation
          411. As alleged herein, J&J has repeatedly recognized the vital importance of

  Johnson’s Baby Powder for the Company’s business. Because J&J is in the business

  of selling consumer goods, drugs, and medical devices, its success depends on



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  consumer trust. And because Baby Powder is “a primary link to the positive J&J

  name in the public mind,” a recognition that the talc used in it was carcinogenic

  “would have a major ripple effect” for J&J. ¶93. Indeed, in 2018, J&J’s counsel

  admitted that Johnson’s Baby Powder “is about the trust of Johnson & Johnson,”

  because “[J&J] know[s] that the people who use this product are mothers and babies .

  . . and these are Johnson & Johnson’s customers,” so “this is about trust.” ¶120. In

  further recognition of the dire stakes, in 2017, J&J’s Board of Directors spent an entire

  slide deck on an “Update on Talc Litigation” that discussed “reputational risk.”

  ¶171.       And in sworn testimony, J&J’s longstanding corporate representative

  recognized the truth that “it would be very, very bad for business if it ever came out

  that the baby powder or any of Johnson & Johnson’s talc products ever contained

  asbestos.” ¶43 n.3.

          412. J&J has also provided additional detail regarding the heightened

  corporate concern over Johnson’s Baby Powder.              According to J&J’s own

  admissions, “despite the depth and breadth of its product lines,” the Company remains

  known as “the Baby Company.” ¶46. And Johnson’s Baby Powder has been “‘the

  cornerstone of [the] baby products franchise.’” ¶46. Indeed, J&J admitted that

  Johnson’s Baby Powder is a “‘flagship product,’” “‘sacred cow,’” “institution,” “the

  most widely recognized fragrance in the United States,” and “one of the most familiar

  and trusted products in the world.” ¶¶43-44, 47, 87. J&J’s longtime corporate


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  representative has even admitted under oath that Johnson’s Baby Powder is among

  “the top one or two products that people think of when they think of J&J.” ¶43 n.3.

          413. Other admissions by J&J illustrate the depth and reach of the public’s

  relationship with Johnson’s Baby Powder, and thus the potentially devastating impact

  to the Company’s reputation, were the truth to surface. For example, J&J admits that

  “[i]f you’ve ever cared for a baby, you’ve probably had JOHNSON’S Baby Powder in

  your home.” ¶48. Thus, if it were to come out that the Baby Powder contained

  asbestos, millions of parents would face the horrifying realization that they had

  unknowingly exposed their children to asbestos through a Johnson & Johnson product.

  The betrayal of trust for millions of consumers would be all the more disturbing

  because of J&J’s longstanding efforts to convince the public to think of J&J “as a

  lifetime friend of the family” and to create an association between Baby Powder and

  “the parent-infant bond.” ¶48.

          414. And, following the Reuters report’s revelations, financial analysts

  specifically recognized the significant negative impact to J&J’s overall business and

  reputation. For example, on December 14, 2018, CFRA lowered its opinion on J&J

  from “buy” to “hold” and dropped their price target by $30 per share. ¶235. The

  CFRA report made clear that the new information and analysis revealed by Reuters

  would cause “significant damage” to J&J’s “valuable brand name” because consumer

  trust is “critical” to J&J’s overall “success.” As CFRA explained: “We see today’s


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  news potentially impacting sales of everything from baby shampoo to prosthetic hips.

  Given these elevated risks, we no longer feel JNJ shares are attractive at recent

  prices.” And, in a January 25, 2019 report, CFRA again emphasized the importance

  of the reputational damage: “Brand-name reputation is critically important for the

  success of [J&J’s] Consumer segment, in our view.” ¶241. And, recognizing the

  significant negative impact to J&J’s overall business and reputation, CFRA noted:

  “Due to the importance of brand power and consumer trust, we think allegations from

  a Reuters story published in December 2018 could have a meaningful negative

  impact on JNJ’s Consumer segment, as well as the Medical Devices segment to a

  lesser extent.”

                2.    J&J Purposely Avoided Testing Methods Capable of
                      Finding the Asbestos in the Company’s Talc and
                      Powders
          415. As alleged herein, J&J was notified that a concentration technique was

  necessary to find any asbestos present in the talc, and it was further informed that the

  use of a concentration method had shown that there was in fact asbestos in J&J’s talc.

  ¶¶63-64, 230. Yet, J&J has never adopted a concentration method for testing its talc

  and powders for asbestos, instead finding such methods to be “disturbing” and “too

  sensitive.” ¶¶65-67, 230. J&J’s determined avoidance of methods proven capable of

  detecting trace amounts of asbestos exposes the Company’s knowledge that the talc

  was, and likely still is, contaminated with asbestos.


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                3.    J&J Conducted a Widespread, Longstanding
                      Fraudulent Scheme

          416. The sheer pervasiveness and length of the alleged corporate misconduct

  and fraudulent scheme to cover up the asbestos contamination and dangers of its

  talcum powders also demonstrates defendants’ scienter.          Examples of such

  malfeasance include the following:

   June 1971     J&J tells the public that there is no asbestos in its powder, despite
                 recognizing “unavoidable trace amounts” of tremolite in its talc
                 and admitting internally only a month later that the talc had “trace
                 amounts of fibrous minerals (tremolite/actinolite)” and that three
                 independent labs had found “fibrous minerals” in the talc. ¶¶52,
                 54-55.
   November 1972 J&J memorandum brands public health officials and doctors
                 “Antagonistic Personalities,” including one researcher who had
                 found asbestos in Baby Powder. ¶61.
   February 1973 J&J secretly works on a method to remove tremolite from its talc
                 and considers seeking profitable patents, but ultimately decides to
                 keep it secret rather than “let the whole world know.” ¶58.
   May 1973      J&J report warns that a concentration method “may be too
                 sensitive” since it finds tremolite asbestos in the Vermont talc.
                 ¶64.
   August 1973   J&J asks the Dutch Consumer Organization to not make public
                 their finding of “asbestos in JOHNSON’s Baby Powder.” ¶59.
   December 1973 J&J contributes to a CTFA letter seeking to influence the FDA
                 after recognizing that if the regulator changed the method, “we
                 may have problems.” ¶62.
   April 1974    J&J authorized secret asbestos-destruction experiments in
                 Colorado and once again considered seeking a profitable patent
                 rather than informing the public of the asbestos. ¶63.
   February 1975 J&J admits internally that it “want[s] to exclude concentration
                 techniques,” that it is “looking at this method very quietly,” and
                 that it wants “to avoid promotion of this approach.” ¶65.




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   March 1975     J&J memorandum illustrates that J&J sponsored “talc safety
                  studies” to “neutralize or hold in check data . . . generated by
                  investigators,” and that going forward J&J should carry out more
                  studies, which would provide “maximal leverage for defending
                  the product.” ¶68.
   1976           J&J assures the FDA that no asbestos had been detected in its talc
                  produced between December 1972 and October 1973, failing to
                  disclose that at least three tests from 1972-1975 had found
                  asbestos in the talc. ¶227.
   November 1976 J&J’s Ashton finds a proposal that would lead to concentration
                  methods “disturbing” because such methods would make the talc
                  industry “hard pressed in supporting purity claims.” ¶66.
   August 1977    J&J Status Report illustrates that the Company had been
                  conducting a “talc safety defense program,” which consisted of
                  “various J&J sponsored studies” disseminated to scientists and
                  medical professionals. J&J acknowledged that these studies had
                  been successful in deterring “disruptive influences.” ¶71.
   December       J&J “Special Talc Study” report illustrates J&J’s continued
   1977-January   efforts to “monitor and defend against consumerist, scientific and
   1978           regulatory attitudes/trends which could impact adversely on the
                  safety image and marketability of cosmetic talcs,” as well as to
                  “generate or provide necessary data to support and reinforce the
                  safety of our baby powder.” ¶72.
   1989           Amidst talc and ovarian cancer research, J&J sells the primary
                  source of J&J talc since 1966 and destroys most of the mine
                  records. ¶75.
   1993           With government interest in talc growing, J&J had implemented
                  “a strategy to keep J&J at the forefront of cosmetic talc, and to
                  insure that [it] ha[d] worldwide oversight on talc issues.” ¶78.
   September 1997 J&J participates in “inept,” “inaccurate,” and “outright false”
                  representations regarding talc and ovarian cancer, according to
                  J&J’s own consultant. ¶80.
   2000           J&J and its talc supplier work with lobbying group CRE to defend
                  against the NTP, using the illusory “fatal flaw” strategy and “the
                  introduction of doubt” to avoid talc being considered as a
                  carcinogen. ¶¶82-85. CRE’s submission to the NTP falsely
                  claims that it has no affiliation with any industry or company.
                  ¶83.



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   February 2002   J&J’s Mann and Telofski recognize the inconsistency between the
                   “fatal flaw” strategy (asserting that talc before 1976 had asbestos)
                   and J&J’s claim that the source of its talc “‘never’” contained
                   asbestos. ¶87.
   February 2004   Rather than inform the public that Forensic Analytical had found
                   asbestos in Johnson’s Baby Powder, J&J calls its talc supplier
                   “frantically” about the asbestos and sought advice from RJ Lee.
                   ¶¶88-91.
   October 2004    Months after learning of asbestos in Johnson’s Baby Powder,
                   Mann tells numerous J&J employees that it looks like J&J
                   “need[s] to call upon major corporate resources and utilize all our
                   power to defend against” the NTP, as an unfavorable ruling
                   “would have a major ripple effect as J&J Baby Powder is a
                   primary link to the positive J&J name in the public mind.” ¶93.
   February 2005   Defendant Casalvieri and Mann lead the project “to defend talc.”
                   ¶94. Numerous J&J employees are made aware that the project
                   was “to assure a good outcome” with the NTP, “develop
                   documents that scientifically support the lack of a relationship of
                   talc and ovarian cancer,” and “monitor[] closely NTP activity.”
                   ¶95.

                   Gerard Gries of J&J states that the “critical question” that would
                   determine J&J’s strategy is “what the chances are that we can
                   prevent [the] classification” of talc as a carcinogen. ¶96.

                   J&J works with its talc supplier to secretly fund a meta-study for
                   submission to the NTP. ¶¶97-99.
   June 2005       J&J email from Mann to 15 J&J employees details J&J’s efforts
                   to influence the IARC decision on talc by getting its own experts
                   embedded in the process. ¶100.
   July 2005       J&J’s Nettesheim (VP of R&D at Johnson’s Worldwide) shares
                   information with others at J&J about the Company’s efforts to
                   influence IARC. ¶101.




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   August 2005        J&J’s Matheson (Chief Technology Officer of the Consumer
                      division from 1994-2007 and 2012-2014) asks Mann for an
                      update regarding J&J’s efforts to influence IARC. ¶101.

                      Mann reports to Matheson, Casalvieri, and others regarding J&J’s
                      efforts to get its experts embedded in the IARC process, including
                      Hopkins. ¶¶101-102.

                      Matheson asks Mann if there are other “specific actions we
                      should consider,” and Mann reports that he is looking for what
                      else they could do to impact IARC’s process. ¶102.
   October 2005       Less than two years after learning of asbestos in Johnson’s Baby
                      Powder, Mann sends a victory email to over 30 J&J employees,
                      including Casalvieri, stating that the NTP’s withdrawal of talc
                      from consideration as a carcinogen is “a direct result of our efforts
                      in coordination with Luzenac and CTFA. We did it!” ¶104.

                      Casalvieri and Mann are specifically congratulated for their
                      “[g]reat job” and “major accomplishment for J&J.” ¶104.
   May 2008           J&J’s Ellen Kurtz shuts down True’s questioning of the safety of
                      talc. ¶109.
   March 2016         J&J tells the FDA that no “asbestos-form structures have ever
                      been found during any testing” of J&J’s talc. ¶151.

                4.    J&J Knew of Asbestos Being Found in Its Talc and
                      Powders and Received Numerous Red Flags
          417. The many asbestos findings that the Company was aware of, along with

  the many red flags received by J&J, also collectively serve as strong evidence of

  defendants’ scienter. That J&J and the Individual Defendants were unquestionably

  aware of the adverse analyses of its talc and powders is all the more certain as J&J

  was sued by numerous plaintiffs alleging that the Company’s talcum powders had

  caused their ovarian cancer and mesothelioma during the Class Period. In addition, as

  defendant Glasgow admitted, J&J had “assembled all of the available data” on talc,

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  sought out “the guidance of experts,” “monitor[ed] the latest science,” and “listen[ed]

  to the people who use [its] products.” ¶¶321, 407. Finally, as alleged in ¶¶38 and 40,

  Dr. Susan Nicholson, VP of Safety Surveillance and Risk Management, spent months

  reviewing the safety of talc, and Nicholson met with the CMO of J&J, Dr. Joanne

  Waldstreicher, in November 2015 to discuss the safety of talc and potential asbestos

  contamination. In the midst of all of this internal and external attention on its talc,

  J&J and the individual defendants either knew about or recklessly disregarded the

  numerous findings and warnings of asbestos in its products. Examples of the red flags

  defendants knew of include the following:

   1969              General Johnson and pediatricians “express[ed] concern” about
                     potential “adverse effects on the lungs of babies and mothers,” and
                     J&J knew that “a furor” could be created “if it became known”
                     that J&J’s talc “contained any significant amount of Tremolite.”
                     ¶52.

                     J&J further recognized that it “could become involved in
                     litigation.” ¶53.
   July 1971         J&J memorandum recognized that J&J’s talc had “trace amounts
                     of fibrous minerals (tremolite/actinolite)” and that three
                     independent laboratories had found “trace amounts of fibrous
                     minerals” in the talc. ¶55.
   November          Mount Sinai researcher Arthur Langer informed J&J that he found
   1971              asbestos in J&J’s “baby talc.” ¶61.
   1972              Professor Hutchinson found “incontrovertible asbestos” in a
                     Shower to Shower sample he had received from J&J. ¶56.
   August 1972       FDA informed J&J that asbestos fibers were found in J&J’s talcum
                     powder product, Shower to Shower. ¶57. J&J memorandum
                     admitted internally that tremolite fibers “could be present in trace
                     amounts.” ¶57.
   May 1973          J&J report recognized that J&J consultant Dr. Pooley found
                     tremolite asbestos in Vermont talc when using concentration

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                  method. ¶64.

   August 1973    Dutch Consumer Organization notified J&J of “asbestos in
                  JOHNSON’s Baby Powder.” J&J asked that it not be made public.
                  ¶59.
   December       J&J report illustrated that asbestos was found in Johnson’s Baby
   1977-January   Powder and J&J’s talc. ¶¶72-73.
   1978
   November       Then-CEO Ralph Larson received a letter alerting him to the
   1994           scientific evidence of an association between talc and ovarian
                  cancer. ¶79.
   September      J&J’s Chudkowski is warned that denying studies showing an
   1997           association between ovarian cancer and talc risked being
                  “perceive[d] [like] the cigarette industry: denying the obvious in
                  the face of all evidence to the contrary.” ¶80.
   April 1998     J&J’s legal counsel received a letter from Dr. Alice Blount stating
                  that she believed “Johnson & Johnson’s Vermont talc contains
                  trace amounts of asbestos,” and identifying Johnson’s Baby
                  Powder as the sample from her 1991 paper containing asbestos
                  “[n]eedles and fibers.” ¶81.
   2004           KCRA TV3 and Forensic Analytical discovered that Johnson’s
                  Baby Powder contains asbestos and J&J’s Marc Monseau, Sarah
                  Colamarino, Steve Mann, John Hopkins, and Bill Ashton are
                  notified. ¶¶88-89, 91.
   April 2008     J&J’s True recognized that “talc is not actually safe for use around
                  babies.” ¶106.
   2009           MSDS sheet from J&J’s talc supplier warned of ovarian cancer
                  risk and that talc was only “not classifiable as a human
                  carcinogen” if it did not contain asbestos. ¶105.
   April 2012     J&J Audit of RJ Lee illustrated that the outside laboratory did not
                  think J&J’s testing method was “an optimal method for asbestos
                  testing,” and the report also details numerous problems with the
                  asbestos testing facility. ¶110.
   October 2013   Draft text for J&J’s website recognized that “we cannot say
                  ‘always’” asbestos-free, talc had not been used safely for over 100
                  years, and cosmetic talc had not been used for 100 years. ¶128.

                  The draft also indicated that some studies could be read as
                  suggesting a causal effect between talc and ovarian cancer, some


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                       of J&J’s cited studies sent “mixed messages,” and one of J&J’s
                       cited studies even acknowledged the potential increase in risk from
                       talc use. ¶131.




   2017               J&J’s legal counsel visited Langer and is informed that he stood by
                      his finding of asbestos in J&J’s talc. ¶61 n.8.
   June 2017          J&J’s Board of Directors explored the “reputational risk” from the
                      talc litigation. ¶171.

  IX.      LOSS CAUSATION/ECONOMIC LOSS
           418. During the Class Period, defendants made numerous false and misleading

  statements and omissions of material facts necessary to render those statements not

  false or misleading, which artificially inflated or maintained inflation in J&J’s stock

  price.

           419. As detailed herein, defendants’ false and misleading statements and

  omissions maintained artificial inflation in the price of J&J securities by

  misrepresenting and concealing the relevant truth about J&J’s talc and talcum powder

  products, including the asbestos contamination, and the associated reputation and

  litigation risks. Lead Plaintiff and investors purchased J&J stock at these inflated

  prices and suffered damage when the price of J&J stock declined upon the revelations

  of the relevant truth.

           420. The inflation in J&J’s stock was dissipated through a series of partial

  disclosures of the relevant truth about J&J’s talc and attendant reputation and

  litigation risks. The resulting significant stock price declines upon release of truthful

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  information and related increased risks were due to firm-specific fraud-related

  disclosures, and not a result of market or industry. The following examples are not

  exhaustive because fact and expert discovery have yet to commence.

          421. As a result of disclosures on September 27, 2017, January 30, 2018,

  February 5 and 7, 2018, July 12, 2018, and December 14, 2018, J&J’s stock price

  suffered statistically significant declines. See §V.J. Individually and collectively,

  these drops removed the inflation from J&J’s stock price, causing real economic

  losses to investors who had purchased the stock during the Class Period.

          422. In sum, as detailed above, the rapid declines described herein served to

  remove artificial inflation from the price of J&J securities, and were direct and

  foreseeable consequences of the revelation of the relevant truth concealed by

  defendants.

  X.      NO SAFE HARBOR
          423. J&J’s verbal “Safe Harbor” warnings accompanying its oral forward-

  looking statements (“FLS”) issued during the Class Period, if any, were ineffective to

  shield those statements from liability.

          424. Defendants are also liable for any false or misleading FLS pleaded

  because, at the time each FLS was made, the speaker knew the FLS was false or

  misleading and the FLS was authorized and/or approved by an executive officer of

  J&J who knew that the FLS was false.


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          425. None of the alleged misstatements made by defendants were assumptions

  underlying or relating to any plan, projection or statement of future economic

  performance, nor were any of the projections or forecasts made by defendants

  expressly related to or stated to be dependent on those historic or present tense

  statements. On the contrary, the alleged misstatements concealed critical information

  about J&J’s products, conduct, and litigation and reputational exposure.

  XI.     APPLICABILITY OF PRESUMPTION OF RELIANCE:
          FRAUD ON THE MARKET
          426. Plaintiff will rely upon the presumption of reliance established by the

  fraud-on-the-market doctrine in that, among other things:

                (a)   Defendants made public misrepresentations or failed to disclose

  material facts during the Class Period;

                (b)   The omissions and misrepresentations were material;

                (c)   The Company’s stock traded in an efficient market;

                (d)   The misrepresentations alleged would tend to induce a reasonable

  investor to misjudge the value of the Company’s stock; and

                (e)   Plaintiff and other members of the Class purchased J&J stock

  between the time defendants misrepresented or failed to disclose material facts and the

  time the true facts were disclosed, without knowledge of the misrepresented or

  omitted facts.




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          427. At all relevant times, the market for J&J stock was efficient for the

  following reasons, among others:

                (a)    J&J’s stock has long been listed and actively traded on the NYSE,

  a highly efficient and automated market;

                (b)    As a regulated issuer, J&J filed periodic public reports with the

  SEC; and

                (c)    J&J regularly communicated with public investors via established

  market communication mechanisms, including through regular disseminations of

  press releases on the major news wire services and through other wide-ranging public

  disclosures, such as communications with the financial press, securities analysts and

  other similar reporting services.

  XII. CLASS ACTION ALLEGATIONS
          428. Lead Plaintiff brings this action as a class action pursuant to Rule 23 of

  the Federal Rules of Civil Procedure on behalf of all persons who purchased J&J

  publicly traded securities during the Class Period (the “Class”). Excluded from the

  Class are defendants, directors and officers of J&J and their families and affiliates.

          429. The members of the Class are so numerous that joinder of all members is

  impracticable. The disposition of their claims in a class action will provide substantial

  benefits to the parties and the Court. During the Class Period, J&J had more than 2.5

  billion shares of stock outstanding, owned by thousands of persons.


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          430. There is a well-defined community of interest in the questions of law and

  fact involved in this case. Questions of law and fact common to the members of the

  Class predominate over questions which may affect individual Class members, and

  include:

                (a)    Whether the 1934 Act was violated by defendants;

                (b)    Whether defendants omitted and/or misrepresented material facts;

                (c)    Whether defendants’ statements omitted material facts necessary in

  order to make the statements made, in light of the circumstances under which they

  were made, not misleading;

                (d)    Whether defendants knew or recklessly disregarded that their

  statements were false and misleading;

                (e)    Whether the price of J&J’s stock was artificially inflated; and

                (f)    The extent of damage sustained by Class members and the

  appropriate measure of damages.

          431. Plaintiff’s claims are typical of those of the Class because plaintiff and

  the Class sustained damages from defendants’ wrongful conduct.

          432. Plaintiff will adequately protect the interests of the Class and has retained

  counsel who are experienced in class action securities litigation. Plaintiff has no

  interests which conflict with those of the Class.




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          433. A class action is superior to other available methods for the fair and

  efficient adjudication of this controversy.

  XIII. CLAIMS FOR RELIEF

                                         COUNT I

                     For Violations of Section 10(b) of the 1934 Act
                       and Rule 10b-5 Promulgated Thereunder
                                Against All Defendants

          434. Plaintiff repeats and realleges each and every allegation set forth above in

  ¶¶1-433 as if fully set forth herein. This Count is asserted pursuant to §10(b) of the

  1934 Act and Rule 10b-5 promulgated thereunder by the SEC against all defendants.

          435. As alleged herein, throughout the Class Period, defendants, individually

  and in concert, directly and indirectly, by the use of the means or instrumentalities of

  interstate commerce, the mails and/or the facilities of national securities exchanges,

  made untrue statements of material fact and/or omitted to state material facts

  necessary to make their statements not misleading and carried out a plan, scheme and

  course of conduct, in violation of §10(b) of the 1934 Act and Rule 10b-5 promulgated

  thereunder. Defendants intended to and did, as alleged herein: (i) deceive the

  investing public, including plaintiff and members of the Class; (ii) artificially inflate

  and maintain the prices of J&J common stock; and (iii) cause plaintiff and members of

  the Class to purchase J&J common stock at artificially inflated prices.




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          436. The Individual Defendants were individually and collectively responsible

  for making the false and misleading statements and omissions alleged herein and

  having engaged in a plan, scheme and course of conduct designed to deceive plaintiff

  and members of the Class, by virtue of having made public statements and prepared,

  approved, signed and/or disseminated documents that contained untrue statements of

  material fact and/or omitted facts necessary to make the statements therein not

  misleading.

          437. As set forth above, defendants made their false and misleading statements

  and omissions and engaged in the fraudulent activity described herein knowingly and

  intentionally, or in such a deliberately reckless manner as to constitute willful deceit

  and fraud upon plaintiff and the other members of the Class who purchased J&J

  common stock during the Class Period.

          438. In ignorance of the false and misleading nature of defendants’ statements

  and omissions, and relying directly or indirectly on those statements or upon the

  integrity of the market price for J&J common stock, plaintiff and other members of

  the Class purchased J&J common stock at artificially inflated prices during the Class

  Period. But for the fraud, plaintiff and members of the Class would not have

  purchased J&J common stock at such artificially inflated prices. As set forth herein,

  when the true facts were subsequently disclosed, the price of J&J common stock

  declined and plaintiff and members of the Class were harmed and damaged as a direct


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  and proximate result of their purchases of J&J common stock at artificially inflated

  prices and the subsequent decline in the price of those securities when the truth was

  disclosed.

          439. By virtue of the foregoing, defendants are liable to plaintiff and members

  of the Class for violations of §10(b) of the 1934 Act and Rule 10b-5 promulgated

  thereunder.

                                         COUNT II

               For Violation of Section 20(a) of the 1934 Act and Rule 10b-5
              Against Defendants J&J, Gorsky, Caruso, Peterson, and Sneed

          440. Plaintiff repeats and realleges each and every allegation set forth above in

  ¶¶1-439 as if fully set forth herein. This Count is asserted pursuant to §20(a) of the

  1934 Act against defendants Gorsky and Caruso. As alleged above, J&J violated

  §10(b) of the 1934 Act and Rule 10b-5 promulgated thereunder by making false and

  misleading statements in connection with the purchase and sale of J&J common stock

  and by participating in a fraudulent scheme and course of business or conduct

  throughout the Class Period. This fraudulent conduct was undertaken with scienter

  and the Company is charged with the knowledge and scienter of each of the Individual

  Defendants who knew of or acted with deliberate and/or reckless disregard of the

  falsity of the Company’s statements and the fraudulent nature of its scheme during the

  Class Period.




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          441. As set forth above, defendants Gorsky, Caruso, and Sneed were

  controlling persons of J&J during the Class Period, and defendant Peterson was a

  controlling person of J&J through the majority of the Class Period, due to their senior

  executive positions with the Company and their direct involvement in the Company’s

  day-to-day operations. By virtue of the foregoing, defendants Gorsky, Caruso, Sneed,

  and Peterson each had the power to influence and control, and did influence and

  control, directly or indirectly, the decision making of J&J, including the content of its

  public statements.

          442. J&J had the power to control and influence the Individual Defendants and

  other Company executives through its Board of Directors and its power to hire, fire,

  supervise and otherwise control the actions of its employees and their salaries,

  bonuses, incentive compensation and other employment considerations. By virtue of

  the foregoing, J&J had the power to influence and control, and did influence and

  control, directly or indirectly, the decision making of the Individual Defendants,

  including the content of their public statements.

          443. Defendants acted knowingly and intentionally, or in such a deliberately

  reckless manner as to constitute willful fraud and deceit upon plaintiff and the other

  members of the Class who purchased J&J common stock during the Class Period.

          444. In ignorance of the false and misleading nature of the Company’s

  statements and omissions, and relying directly or indirectly on those statements or


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  upon the integrity of the market prices for J&J common stock, plaintiff and other

  members of the Class purchased J&J securities at an artificially inflated price during

  the Class Period. But for the fraud, plaintiff and members of the Class would not have

  purchased J&J common stock at artificially inflated prices. As set forth herein, when

  the true facts were subsequently disclosed, the price of J&J common stock declined

  and plaintiff and members of the Class were harmed and damaged as a direct and

  proximate result of their purchases of J&J common stock at artificially inflated prices

  and the subsequent decline in the price of those securities when the truth began was

  disclosed.

          445. By reason of the foregoing, defendants Gorsky, Caruso, Peterson, and

  Sneed are liable to plaintiff and the members of the Class as controlling persons of

  J&J in violation of §20(a) of the 1934 Act.

                                PRAYER FOR RELIEF

          WHEREFORE, plaintiff prays for judgment as follows:

          A.    Declaring this action to be a proper class action pursuant to Federal Rule

  of Civil Procedure 23;

          B.    Awarding plaintiff and the members of the Class damages and interest;

          C.    Awarding plaintiff’s reasonable costs, including attorneys’ fees; and

          D.    Awarding such equitable/injunctive or other relief as the Court may deem

  just and proper.


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                                     JURY DEMAND

          Plaintiff demands a trial by jury.

  DATED: February 28, 2019                CARELLA, BYRNE, CECCHI, OLSTEIN,
                                           BRODY & AGNELLO, P.C.
                                          JAMES E. CECCHI


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                                    Lead Counsel for San Diego County
                                    Employees Retirement Association and Lead
                                    Counsel for the Class




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               Johnson & Johnson knew for decades that
                  asbestos lurked in its Baby Powder
                                                                     A REUTERS INVESTIGATION




REUTERS/Mike Wood




   Facing thousands of lawsuits alleging that its talc caused cancer, J&J
   insists on the safety and purity of its iconic product. But internal
   documents examined by Reuters show that the company's powder was
   sometimes tainted with carcinogenic asbestos and that J&J kept that
   information from regulators and the public.

   By LISA GIRION in Los Angeles   Filed Dec. 14, 2018, 2 p.m. GMT




   Darlene Coker knew she was dying. She just wanted to know why.

   She knew that her cancer, mesothelioma, arose in the delicate membrane surrounding her lungs and other organs. She knew it
   was as rare as it was deadly, a signature of exposure to asbestos. And she knew it afflicted mostly men who inhaled asbestos dust
   in mines and industries such as shipbuilding that used the carcinogen before its risks were understood.

   Coker, 52 years old, had raised two daughters and was running a massage school in Lumberton, a small town in eastern Texas.
   How had she been exposed to asbestos? “She wanted answers,” her daughter Cady Evans said.

   Fighting for every breath and in crippling pain, Coker hired Herschel Hobson, a personal-injury lawyer. He homed in on a
   suspect: the Johnson’s Baby Powder that Coker had used on her infant children and sprinkled on herself all her life. Hobson knew
   that talc and asbestos often occurred together in the earth, and that mined talc could be contaminated with the carcinogen. Coker
   sued Johnson & Johnson, alleging that “poisonous talc” in the company’s beloved product was her killer.
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                                                                                                                                                                            
EARLY INDICATION: Cady Evans (le ) and her sister, Crystal Deckard, surrounded by pictures of their mother, Darlene Coker, whose lawsuit against Johnson & Johnson 20 years ago
was one of the first to allege that the company’s Baby Powder caused cancer. REUTERS/Mike Blake




J&J didn’t tell the FDA that at least three tests by three different labs
from 1972 to 1975 had found asbestos in its talc – in one case at
levels reported as “rather high.”


J&J denied the claim. Baby Powder was asbestos-free, it said. As the case proceeded, J&J was able to avoid handing over talc test
results and other internal company records Hobson had requested to make the case against Baby Powder.

Coker had no choice but to drop her lawsuit, Hobson said. “When you are the plaintiff, you have the burden of proof,” he said.
“We didn’t have it.”

That was in 1999. Two decades later, the material Coker and her lawyer sought is emerging as J&J has been compelled to share
thousands of pages of company memos, internal reports and other confidential documents with lawyers for some of the 11,700
plaintiffs now claiming that the company’s talc caused their cancers — including thousands of women with ovarian cancer.

A Reuters examination of many of those documents, as well as deposition and trial testimony, shows that from at least 1971 to the
early 2000s, the company’s raw talc and finished powders sometimes tested positive for small amounts of asbestos, and that
company executives, mine managers, scientists, doctors and lawyers fretted over the problem and how to address it while failing
to disclose it to regulators or the public.

The documents also depict successful efforts to influence U.S. regulators’ plans to limit asbestos in cosmetic talc products and
scientific research on the health effects of talc.

A small portion of the documents have been produced at trial and cited in media reports. Many were shielded from public view by
court orders that allowed J&J to turn over thousands of documents it designated as confidential. Much of their contents is
reported here for the first time.

The earliest mentions of tainted J&J talc that Reuters found
come from 1957 and 1958 reports by a consulting lab. They                                  RELATED CONTENT
describe contaminants in talc from J&J’s Italian supplier as
                           Case 3:18-cv-01833-ZNQ-TJB             Document 33 Filed 02/28/19 Page 270 of 284 PageID:
                                                                           656             A guiding hand on talc safety research
fibrous and “acicular,” or needle-like, tremolite. That’s one of the
six minerals that in their naturally occurring fibrous form are
classified as asbestos.
                                                                                                Read the documents cited in this article

At various times from then into the early 2000s, reports by
scientists at J&J, outside labs and J&J’s supplier yielded similar                              A er damaging Reuters report, J&J doubles down on talc
findings. The reports identify contaminants in talc and finished                                safety message
powder products as asbestos or describe them in terms typically
applied to asbestos, such as “fiberform” and “rods.”

In 1976, as the U.S. Food and Drug Administration (FDA) was weighing limits on asbestos in cosmetic talc products, J&J assured
the regulator that no asbestos was “detected in any sample” of talc produced between December 1972 and October 1973. It didn’t
tell the agency that at least three tests by three different labs from 1972 to 1975 had found asbestos in its talc – in one case at
levels reported as “rather high.”

Most internal J&J asbestos test reports Reuters reviewed do not find asbestos. However, while J&J’s testing methods improved
over time, they have always had limitations that allow trace contaminants to go undetected – and only a tiny fraction of the
company’s talc is tested.

The World Health Organization and other authorities recognize no safe level of exposure to asbestos. While most people exposed
never develop cancer, for some, even small amounts of asbestos are enough to trigger the disease years later. Just how small
hasn’t been established. Many plaintiffs allege that the amounts they inhaled when they dusted themselves with tainted talcum
powder were enough.

The evidence of what J&J knew has surfaced after people who suspected that talc caused their cancers hired lawyers experienced
in the decades-long deluge of litigation involving workers exposed to asbestos. Some of the lawyers knew from those earlier cases
that talc producers tested for asbestos, and they began demanding J&J’s testing documentation.




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 A big verdict fuels a reporter’s curiosity. REUTERS/Mike Wood



What J&J produced in response to those demands has allowed plaintiffs’ lawyers to refine their argument: The culprit wasn’t
necessarily talc itself, but also asbestos in the talc. That assertion, backed by decades of solid science showing that asbestos causes
mesothelioma and is associated with ovarian and other cancers, has had mixed success in court.

In two cases earlier this year – in New Jersey and California – juries awarded big sums to plaintiffs who, like Coker, blamed
asbestos-tainted J&J talc products for their mesothelioma.

A third verdict, in St. Louis, was a watershed, broadening J&J’s potential liability: The 22 plaintiffs were the first to succeed with a
claim that asbestos-tainted Baby Powder and Shower to Shower talc, a longtime brand the company sold in 2012, caused ovarian
cancer, which is much more common than mesothelioma. The jury awarded them $4.69 billion in damages. Most of the talc cases
                     Case 3:18-cv-01833-ZNQ-TJB        Document 33 Filed 02/28/19         Page 271 of 284 PageID:
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have been brought by women with ovarian cancer who say they regularly used J&J talc products as a perineal antiperspirant and
deodorant.

At the same time, at least three juries have rejected claims that Baby Powder was tainted with asbestos or caused plaintiffs’
mesothelioma. Others have failed to reach verdicts, resulting in mistrials.

J&J has said it will appeal the recent verdicts against it. It has maintained in public statements that its talc is safe, as shown for
years by the best tests available, and that the information it has been required to divulge in recent litigation shows the care the
company takes to ensure its products are asbestos-free. It has blamed its losses on juror confusion, “junk” science, unfair court
rules and overzealous lawyers looking for a fresh pool of asbestos plaintiffs.

"Plaintiffs’ attorneys out for personal financial gain are distorting historical documents and intentionally creating confusion in the
courtroom and in the media,” Ernie Knewitz, J&J’s vice president of global media relations, wrote in an emailed response to
Reuters’ findings. “This is all a calculated attempt to distract from the fact that thousands of independent tests prove our talc does
not contain asbestos or cause cancer. Any suggestion that Johnson & Johnson knew or hid information about the safety of talc is
false.”

J&J declined to comment further for this article. For more than two months, it turned down repeated requests for an interview
with J&J executives. On Dec. 8, the company offered to make an expert available. It had not done so as of Thursday evening.

The company referred all inquiries to its outside litigation counsel, Peter Bicks. In emailed responses, Bicks rejected Reuters’
findings as “false and misleading.” “The scientific consensus is that the talc used in talc-based body powders does not cause
cancer, regardless of what is in that talc,” Bicks wrote. “This is true even if - and it does not - Johnson & Johnson's cosmetic talc
had ever contained minute, undetectable amounts of asbestos.” He dismissed tests cited in this article as “outlier” results.

In court, J&J lawyers have told jurors that company records showing that asbestos was detected in its talc referred to talc
intended for industrial use. Other records, they have argued, referred to non-asbestos forms of the same minerals that their
experts say are harmless. J&J has also argued that some tests picked up “background” asbestos – stray fibers that could have
contaminated samples after floating into a mill or lab from a vehicle clutch or fraying insulation.

The company has made some of the same arguments about lab tests conducted by experts hired by plaintiffs. One of those labs
found asbestos in Shower to Shower talc from the 1990s, according to an Aug. 11, 2017, court report. Another lab found asbestos
in more than half of multiple samples of Baby Powder from past decades – in bottles from plaintiffs’ cupboards and acquired from
eBay, and even a 1978 bottle held in J&J’s corporate museum. The concentrations were great enough that users “would have,
more likely than not, been exposed,” the plaintiffs’ lab report presented in several cases this year concluded.

Matthew Sanchez, a geologist with consultants RJ Lee Group Inc and a frequent expert witness for J&J, dismissed those findings
in testimony in the St. Louis trial: “I have not found asbestos in any of the current or modern, what I consider modern, Johnson &
Johnson talc products,” Sanchez told the jury.

Sanchez did not return calls seeking comment. RJ Lee said it does not comment on the work it does for clients.

Since 2003, talc in Baby Powder sold in the United States has come from China through supplier Imerys Talc America, a unit of
Paris-based Imerys SA and a co-defendant in most of the talc litigation. Imerys and J&J said the Chinese talc is safe. An Imerys
spokesman said the company’s tests “consistently show no asbestos. Talc’s safe use has been confirmed by multiple regulatory
and scientific bodies.”

J&J, based in New Brunswick, New Jersey, has dominated the talc powder market for more than 100 years, its sales outpacing
those of all competitors combined, according to Euromonitor International data. And while talc products contributed just $420
million to J&J’s $76.5 billion in revenue last year, Baby Powder is considered an essential facet of the healthcare-products
maker’s carefully tended image as a caring company – a “sacred cow,” as one 2003 internal email put it.

“When people really understand what’s going on, I think it increases J&J’s exposure a thousand-fold,” said Mark Lanier, one of
the lawyers for the women in the St. Louis case.

The mounting controversy surrounding J&J talc hasn’t shaken investors. The share price is up about 6 percent so far this year.
Talc cases make up fewer than 10 percent of all personal injury lawsuits pending against J&J, based on the company’s Aug. 2
quarterly report, in which the company said it believed it had “strong grounds on appeal.”

J&J Chairman and Chief Executive Officer Alex Gorsky has pledged to fight on, telling analysts in July: “We remain confident that
our products do not contain asbestos.”

Gorsky’s comment, echoed in countless J&J statements, misses a crucial point. Asbestos, like many environmental carcinogens,
has a long latency period. Diagnosis usually comes years after initial exposure – 20 years or longer for mesothelioma. J&J talc
products today may be safe, but the talc at issue in thousands of lawsuits was sold and used over the past 60 years.
                            Case 3:18-cv-01833-ZNQ-TJB                  Document 33 Filed 02/28/19                  Page 272 of 284 PageID:
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That point is recognized in a 2013 markup of a statement for the
“Safety & Care Commitment” page of J&J’s website. The original
version conveyed a blanket assurance of safety. The edited
version was less definitive: “Our talc-based consumer products
are have always been (we cannot say “always”) asbestos free, as
confirmed by regular testing since the 1970s.”

2013




                                                                                                                                                                              
                                                                                           NEEDLES IN A HAYSTACK: Bundles (top, center) and a single fiber (bottom) that a
                                                                                           plainti s’ lab found in a 1978 bottle of Baby Powder from J&J’s corporate museum
                                                                                           show the telltale needle-like shape of asbestos. Photo courtesy of Mark Lanier.




THEN AND NOW: A 2013 markup of a statement for J&J’s website implicitly recognizes the possibility that the company’s talc could
have been tainted in earlier times.




“Safety ﬁrst”
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                                                                                659
In 1886, Robert Wood Johnson enlisted his younger brothers in an eponymous startup built around the “Safety First” motto.
Johnson’s Baby Powder grew out of a line of medicated plasters, sticky rubber strips loaded with mustard and other home
remedies. When customers complained of skin irritation, the brothers sent packets of talc.

Soon, mothers began applying the talc to infants’ diaper-chafed skin. The Johnsons took note. They added a fragrance that would
become one of the most recognizable in the world, sifted the talc into tin boxes and, in 1893, began selling it as Johnson’s Baby
Powder.

In the late 1950s, J&J discovered that talc from its chief source mine for the U.S. market in the Italian Alps contained tremolite.
That’s one of six minerals – along with chrysotile, actinolite, amosite, anthophyllite and crocidolite – that occur in nature as
crystalline fibers known as asbestos, a recognized carcinogen. Some of them, including tremolite, also occur as unremarkable
“non-asbestiform” rocks. Both forms often occur together and in talc deposits.

J&J’s worry at the time was that contaminants made the company’s powder abrasive. It sent tons of its Italian talc to a private lab
in Columbus, Ohio, to find ways to improve the appearance, feel and purity of the powder by removing as much “grit” as possible.
In a pair of reports from 1957 and 1958, the lab said the talc contained “from less than 1 percent to about 3 percent of
contaminants,” described as mostly fibrous and “acicular” tremolite.

Most of the authors of these and other J&J records cited in this article are dead. Sanchez, the RJ Lee geologist whose firm has
agreed to provide him as a witness in up to 100 J&J talc trials, has testified that tremolite found decades ago in the company’s
talc, from Italy and later Vermont, was not tremolite asbestos at all. Rather, he has said, it was “cleavage fragments” from non-
asbestiform tremolite.

J&J’s original records don’t always make that distinction. In terms of health risk, regulators since the early 1970s have treated
small fiber-shaped particles of both forms the same.

The U.S. Environmental Protection Agency, for example, “makes no distinction between fibers and (comparable) cleavage
fragments,” agency officials wrote in a response to an RJ Lee report on an unrelated matter in 2006, the year before the firm hired
Sanchez. The Occupational Safety and Health Administration (OSHA), though it dropped the non-fibrous forms of the minerals
from its definition of asbestos in 1992, nonetheless recommends that fiber-shaped fragments indistinguishable from asbestos be
counted in its exposure tests.

And as the product safety director for J&J’s talc supplier acknowledged in a 2008 email to colleagues: “(I)f a deposit contains
‘non-asbestiform’ tremolite, there is also asbestiform tremolite naturally present as well.”




                                                                                                                                 
“SACRED COW”: Today, Baby Powder accounts for only a small portion of J&J’s annual revenue, but is considered essential to the
company’s caring image. REUTERS/Mike Segar




“The lungs of babies”
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                                                               660
In 1964, J&J’s Windsor Minerals Inc subsidiary bought a cluster of talc mines in Vermont, with names like Argonaut, Rainbow,
Frostbite and Black Bear. By 1966, it was blasting and bulldozing white rock out of the Green Mountain state. J&J used the milled
powder in its cosmetic powders and sold a less-refined grade to roofing, flooring and tire companies for use in manufacturing.

Ten years after tremolite turned up in the Italian talc, it showed up in Vermont talc, too. In 1967, J&J found traces of tremolite
and another mineral that can occur as asbestos, according to a table attached to a Nov. 1, 1967, memo by William Ashton, the
executive in charge of J&J’s talc supply for decades.

J&J continued to search for sources of clean talc. But in an April 9, 1969, memo to a company doctor, Ashton said it was “normal”
to find tremolite in many U.S. talc deposits. He suggested J&J rethink its approach. “Historically, in our Company, Tremolite has
been bad,” Ashton wrote. “How bad is Tremolite medically, and how much of it can safely be in a talc base we might develop?”

Since pulmonary disease, including cancer, appeared to be on the rise, “it would seem to be prudent to limit any possible content
of Tremolite … to an absolute minimum,” came the reply from another physician executive days later.

The doctor told Ashton that J&J was receiving safety questions from pediatricians. Even Robert Wood Johnson II, the founder’s
son and then-retired CEO, had expressed “concern over the possibility of the adverse effects on the lungs of babies or mothers,”
he wrote.

“We have replied,” the doctor wrote, that “we would not regard the usage of our powders as presenting any hazard.” Such
assurances would be impossible, he added, “if we do include Tremolite in more than unavoidable trace amounts.”

The memo is the earliest J&J document reviewed by Reuters that discusses tremolite as more than a scratchy nuisance. The
doctor urged Ashton to consult with company lawyers because “it is not inconceivable that we could become involved in
litigation.”




Never “100% clean”
By the early 1970s, asbestos was widely recognized as the primary cause of mesothelioma among workers involved in producing it
and in industries that used it in their products.

Regulation was in the air. In 1972, President Richard Nixon’s newly created OSHA issued its first rule, setting limits on workplace
exposure to asbestos dust.

By then, a team at Mount Sinai Medical Center led by pre-eminent asbestos researcher Irving Selikoff had started looking at
talcum powders as a possible solution to a puzzle: Why were tests of lung tissue taken post mortem from New Yorkers who never
worked with asbestos finding signs of the mineral? Since talc deposits are often laced with asbestos, the scientists reasoned,
perhaps talcum powders played a role.

They shared their preliminary findings with New York City’s environmental protection chief, Jerome Kretchmer. On June 29,
1971, Kretchmer informed the Nixon administration and called a press conference to announce that two unidentified brands of
cosmetic talc appeared to contain asbestos.

The FDA opened an inquiry. J&J issued a statement: “Our fifty years of research knowledge in this area indicates that there is no
asbestos contained in the powder manufactured by Johnson & Johnson.”

Later that year, another Mount Sinai researcher, mineralogist Arthur Langer, told J&J in a letter that the team had found a
“relatively small” amount of chrysotile asbestos in Baby Powder.
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                                                                                                                                                                                  
ROCK STEADY: Dr Arthur Langer, who was part of a Mount Sinai team researching asbestos in talc in the 1970s, says he stands by his finding of small amounts of asbestos in Baby
Powder. REUTERS/Julia Rendleman




                                                                                                                                                                                  
SPREADING THE WORD: Jerome Kretchmer was New York City’s environmental protection chief when he announced that the Mount Sinai research team had found what appeared to
be asbestos in two unidentified brands of cosmetic talc. REUTERS/Jeenah Moon




1972
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NOTORIETY: Langer and Kretchmer ended up on an internal J&J list of “antagonistic personalities.”



Langer, Selikoff and Kretchmer ended up on a J&J list of “antagonistic personalities” in a Nov. 29, 1972, memo, which described
Selikoff as the leader of an “attack on talc.”

“I suppose I was antagonistic,” Langer told Reuters. Even so, in a subsequent test of J&J powders in 1976, he didn’t find asbestos
– a result that Mount Sinai announced.

Langer said he told J&J lawyers who visited him last year that he stood by all of his findings. J&J has not called him as a witness.

Selikoff died in 1992. Kretchmer said he recently read that a jury
had concluded that Baby Powder was contaminated with
asbestos. “I said to myself, ‘How come it took so long?’ ” he said.

In July 1971, meanwhile, J&J sent a delegation of scientists to
Washington to talk to the FDA officials looking into asbestos in
talcum powders. According to an FDA account of the meeting,
J&J shared “evidence that their talc contains less than 1%, if any,
asbestos.”

Later that month, Wilson Nashed, one of the J&J scientists who
visited the FDA, said in a memo to the company’s public
relations department that J&J’s talc contained trace amounts of
“fibrous minerals (tremolite/actinolite).”

As the FDA continued to investigate asbestos in talc, J&J sent
                                                                      TOP TESTER: Irving Seliko , who led the Mount Sinai team that investigated asbestos
powder samples to be tested at private and university labs.           and talc, was also listed among J&J’s “antagonistic personalities.” Photo courtesy of
Though a private lab in Chicago found trace amounts of                Arthur Langer
tremolite, it declared the amount “insignificant” and the samples
“substantially free of asbestiform material.” J&J reported that
finding to the FDA under a cover letter that said the “results clearly show” the samples tested “contain no chrysotile asbestos.”
J&J’s lawyer told Reuters the tremolite found in the samples was not asbestos.

But J&J’s FDA submission left out University of Minnesota professor Thomas E. Hutchinson’s finding of chrysotile in a Shower to
Shower sample – “incontrovertible asbestos,” as he described it in a lab note.

1972




NO DOUBT: In a lab note, a University of Minnesota professor recorded finding “incontrovertible asbestos” in a sample of J&J’s
Shower to Shower talc.



The FDA’s own examinations found no asbestos in J&J powder samples in the 1970s. Those tests, however, did not use the most
sensitive detection methods. An early test, for example, was incapable of detecting chrysotile fibers, as an FDA official recognized
in a J&J account of an Aug. 11, 1972, meeting with the agency: “I understand that some samples will be passed even though they
contain such fibers, but we are willing to live with it.”

By 1973, Tom Shelley, director of J&J’s Central Research Laboratories in New Jersey, was looking into acquiring patents on a
process that a British mineralogist and J&J consultant was developing to separate talc from tremolite.
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“It is quite possible that eventually tremolite will be prohibited
in all talc,” Shelley wrote on Feb. 20, 1973, to a British colleague.
Therefore, he added, the “process may well be valuable property
to us.”

At the end of March, Shelley recognized the sensitivity of the
plan in a memo sent to a J&J lawyer in New Jersey: “We will
want to carefully consider the … patents re asbestos in talc. It’s
quite possible that we may wish to keep the whole thing
confidential rather than allow it to be published in patent form
and thus let the whole world know.”

J&J did not obtain the patents.

While Shelley was looking into the patents, J&J research
director DeWitt Petterson visited the company’s Vermont
mining operation. “Occasionally, sub-trace quantities of
tremolite or actinolite are identifiable,” he wrote in an April 1973
report on the visit. “And these might be classified as asbestos
fiber.”

J&J should “protect our powder franchise” by eliminating as
many tiny fibers that can be inhaled in airborn talc dust as
possible, Petterson wrote. He warned, however, that “no final
product will ever be made which will be totally free from
respirable particles.” Introducing a cornstarch version of Baby
Powder, he noted, “is obviously another answer.”
                                                                                                                                                                  
1973                                                                                    1972: Baseball Hall of Fame slugger Harmon Killebrew plugs Baby Powder.




UNACHIEVABLE: J&J research director DeWitt Petterson warned the company that producing pure talc was impossible.



Bicks told Reuters that J&J believes that the tremolite and actinolite Petterson cited were not asbestos.

Cornstarch came up again in a March 5, 1974, report in which Ashton, the J&J talc supply chief, recommended that the company
research that alternative “for defensive reasons” because “the thrust against talc has centered primarily on biological problems
alleged to result from the inhalation of talc and related mineral particles.”




“We may have problems”
A few months after Petterson’s recognition that talc purity was a pipe dream, the FDA proposed a rule that talc used in drugs
contain no more than 0.1 percent asbestos. While the agency’s cosmetics division was considering similar action on talcum
powders, it asked companies to suggest testing methods.

At the time, J&J’s Baby Powder franchise was consuming 20,000 tons of Vermont talc a year. J&J pressed the FDA to approve an
X-ray scanning technique that a company scientist said in an April 1973 memo allowed for “an automatic 1% tolerance for
asbestos.” That would mean talc with up to 10 times the FDA’s proposed limit for asbestos in drugs could pass muster.

The same scientist confided in an Oct. 23, 1973, note to a colleague that, depending on what test the FDA adopted for detecting
asbestos in cosmetic talc, “we may have problems.”
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The best way to detect asbestos in talc was to concentrate the sample and then examine it through microscopes, the Colorado
School of Mines Research Institute told J&J in a Dec. 27, 1973, report. In a memo, a J&J lab supervisor said the concentration
technique, which the company’s own researchers had earlier used to identify a “tremolite-type” asbestos in Vermont talc, had one
limitation: “It may be too sensitive.”




“No mother was going to powder her baby with 1% of a known
carcinogen irregardless of the large safety factor.”
An FDA o icial commenting in 1975 on the talc testing method J&J backed




In his email to Reuters, J&J’s lawyer said the lab supervisor’s concern was that the test would result in “false positives,” showing
asbestos where there was none.

J&J also launched research to find out how much powder a baby was exposed to during a diapering and how much asbestos could
be in that powder and remain within OSHA’s new workplace exposure limits. Its researchers had strapped an air sampling device
to a doll to take measurements while it was powdered, according to J&J memos and the minutes of a Feb. 19, 1974, meeting of the
Cosmetic Toiletry and Fragrance Association (CTFA), an industry group.

“It was calculated that even if talc were pure asbestos the levels of exposure of a baby during a normal powdering are far below the
accepted tolerance limits,” the minutes state.

In a Sept. 6, 1974, letter, J&J told the FDA that since “a substantial safety factor can be expected” with talc that contains 1 percent
asbestos, “methods capable of determining less than 1% asbestos in talc are not necessary to assure the safety of cosmetic talc.”

Not everyone at the FDA thought that basing a detection method on such a calculation was a good idea. One official called it
“foolish,” adding, according to a J&J account of a February 1975 meeting: “No mother was going to powder her baby with 1% of a
known carcinogen irregardless of the large safety factor.”




“Misrepresentation by omission”
Having failed to persuade the FDA that up to 1 percent asbestos contamination was tolerable, J&J began promoting self-policing
as an alternative to regulation. The centerpiece of this approach was a March 15, 1976, package of letters from J&J and other
manufacturers that the CTFA gave to the agency to show that they had succeeded at eliminating asbestos from cosmetic talc.

“The attached letters demonstrate responsibility of industry in monitoring its talcs,” the cover letter said. “We are certain that the
summary will give you assurance as to the freedom from contamination by asbestos for materials of cosmetic talc products.”

In its letter, J&J said samples of talc produced between December 1972 and October 1973 were tested for asbestos, and none was
detected “in any sample.”

J&J didn’t tell the FDA about a 1974 test by a professor at Dartmouth College in New Hampshire that turned up asbestos in talc
from J&J – “fiberform” actinolite, as he put it. Nor did the company tell the FDA about a 1975 report from its longtime lab that
found particles identified as “asbestos fibers” in five of 17 samples of talc from the chief source mine for Baby Powder. “Some of
them seem rather high,” the private lab wrote in its cover letter.

Bicks, the J&J lawyer, said the contract lab’s results were irrelevant because the talc was intended for industrial use. He said the
company now believes that the actinolite the Dartmouth professor found “was not asbestiform,” based on its interpretation of a
photo in the original lab report.

Just two months after the Dartmouth professor reported his findings, Windsor Minerals Research and Development Manager
Vernon Zeitz wrote that chrysotile, “fibrous anthophyllite” and other types of asbestos had been “found in association with the
Hammondsville ore body” – the Vermont deposit that supplied Baby Powder talc for more than two decades.
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                                                                                                                                                      
FOR EVERYONE: For decades, J&J has promoted its iconic Baby Powder as a safe, gentle product for babies and adults alike.



    Zeitz’s May 1974 report on efforts to minimize asbestos in Vermont talc “strongly urged” the adoption of ways to protect “against
    what are currently considered to be materials presenting a severe health hazard and are potentially present in all talc ores in use
    at this time.”

    Bicks said that Zeitz was not reporting on actual test results.

    The following year, Zeitz reported that based on weekly tests of talc samples over six months, “it can be stated with a greater than
    99.9% certainty that the ores and materials produced from the ores at all Windsor Mineral locations are free from asbestos or
    asbestiform minerals.”

    J&J’s selective use of test results figured in a New Jersey judge’s decision this year to affirm the first verdict against the company
    in a case claiming asbestos in J&J products caused cancer. “Providing the FDA favorable results showing no asbestos and
    withholding or failing to provide unfavorable results, which show asbestos, is a form of a misrepresentation by omission,”
    Middlesex County Superior Court Judge Ana Viscomi said in her June ruling.

    “J&J respectfully disagrees with the Judge’s comments,” Bicks said. “J&J did not withhold any relevant testing from FDA.”

    The FDA declined to comment on the ruling.

    Lacking consensus on testing methods, the FDA postponed action to limit asbestos in talc. Years later, it did set limits on asbestos
    in talc used in drugs. It has never limited asbestos in cosmetic talc or established a preferred method for detecting it.

    Instead, in 1976, a CTFA committee chaired by a J&J executive drafted voluntary guidelines, establishing a form of X-ray
    scanning with a 0.5 percent detection limit as the primary test, the method J&J preferred. The method is not designed to detect
    the most commonly used type of asbestos, chrysotile, at all. The group said the more sensitive electron microscopy was
    impractical.

    The CTFA, which now does business as the Personal Care Products Council, declined to comment.

    X-ray scanning is the primary method J&J has used for decades. The company also periodically requires the more sensitive
    checks with electron microscopes. J&J’s lawyer said the company’s tests exceed the trade association standard, and they do. He
    also said that today, J&J’s X-ray scans can detect suspect minerals at levels as low as 0.1 percent of a sample.

    But the company never adopted the Colorado lab’s 1973 recommendation that samples be concentrated before examination under
    a microscope. And the talc samples that were subjected to the most sensitive electron microscopy test were a tiny fraction of what
    was sold. For those and other reasons, J&J couldn’t guarantee its Baby Powder was asbestos-free when plaintiffs used it,
    according to experts, including some who testified for plaintiffs.

    As early as 1976, Ashton, J&J’s longtime talc overseer, recognized as much in a memo to colleagues. He wrote that talc in general,
    if subjected to the most sensitive testing method, using concentrated samples, “will be hard pressed in supporting purity claims.”
    He described this sort of testing as both “sophisticated” and “disturbing.”

    By 1977, J&J appeared to have tamped down concerns about the safety of talc. An internal August report on J&J’s “Defense of
    Talc Safety” campaign noted that independent authorities had deemed cosmetic talc products to be “free of hazard.” It attributed
    “this growing opinion” to the dissemination to scientific and medical communities in the United States and Britain of “favorable
    data from the various J&J sponsored studies.”
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In 1984, FDA cosmetics chief and former J&J employee Heinz
Eiermann reiterated that view. He told the New York Times that
the agency’s investigation a decade earlier had prompted the                                         Blair Brown for Johnson's Baby …
industry to ensure that talc was asbestos-free. “So in subsequent
analyses,” he told the paper, “we really could not identify
asbestos or only on very rare occasions.”

Two years later, the FDA rejected a citizen request that cosmetic
talc carry an asbestos warning label, saying that even if there
were trace contamination, the use of talc powder during two
years of normal diapering would not increase the risk of cancer.

In 1980, J&J began offering a cornstarch version of Baby Powder
– to expand its customer base to people who prefer cornstarch,  Actress Blair Brown touts Baby Powder in this 1970s-era TV commercial
the company says.

The persistence of the industry’s view that cosmetic talc is
asbestos-free is why no studies have been conducted on the incidence of mesothelioma among users of the products. It’s also
partly why regulations that protect people in mines, mills, factories and schools from asbestos-laden talc don’t apply to babies and
others exposed to cosmetic talc – even though Baby Powder talc has at times come from the same mines as talc sold for industrial
use. J&J says cosmetic talc is more thoroughly processed and thus purer than industrial talc.

Until recently, the American Cancer Society (ACS) accepted the industry’s position, saying on its website: “All talcum products
used in homes have been asbestos-free since the 1970s.”

After receiving inquiries from Reuters, the ACS in early December revised its website to remove the assurance that cosmetic talcs
are free of asbestos. Now, it says, quoting the industry’s standards, that all cosmetic talc products in the United States “should be
free from detectable amounts of asbestos.”

The revised ACS web page also notes that the World Health Organization’s International Agency for Research on Cancer
classifies talc that contains asbestos as “carcinogenic to humans.”

Despite the success of J&J’s efforts to promote the safety of its talc, the company’s test lab found asbestos fibers in samples taken
from the Vermont operation in 1984, 1985 and 1986. Bicks said: “The samples that we know of during this time period that
contained a fiber or two of asbestos were not cosmetic talc samples.”

Then, in 1992, three years after J&J sold its Vermont mines, the new owner, Cyprus Minerals, said in an internal report on
“important environmental issues” in its talc reserves that there was “past tremolite” in the Hammondsville deposit.
Hammondsville was the primary source of Baby Powder talc from 1966 until its shutdown in 1990.

Bicks rejected the Cyprus report as hearsay, saying there is no original documentation to confirm it. Hammondsville mine
records, according to a 1993 J&J memo, “were destroyed by the mine management staff just prior to the J&J divestiture.”

Bicks said the destroyed documents did not include talc testing records.

1993




MISSING: A J&J memo reveals that records of the Hammondsville mine, the main source of Baby Powder talc from 1966 until 1990,
were destroyed by mine managers while J&J still owned the business.



In 2002 and 2003, Vermont mine operators found chrysotile asbestos fibers on several occasions in talc produced for Baby
Powder sold in Canada. In each case, a single fiber was recorded – a finding deemed “BDL” – below detection limit. Bicks
described the finding as “background asbestos” that did not come from any talc source.

In 2009, the FDA, responding to growing public concern about talc, commissioned tests on 34 samples, including a bottle of J&J
Baby Powder and samples of Imerys talc from China. No asbestos was detected.

FDA Commissioner Scott Gottlieb said the agency continues to receive a lot of questions about talc cosmetics. “I recognize the
concern,” he told Reuters. He said the agency’s policing of cosmetics in general – fewer than 30 people regulating a “vast”
industry – was “a place where we think we can be doing more.”
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Gottlieb said the FDA planned to host a public forum in early 2019 to “look at how we would develop standards for evaluating any
potential risk.” An agency spokeswoman said that would include examining “scientific test methods for assessment of asbestos.”




“Fishing expedition”
Before law school, Herschel Hobson worked at a rubber plant. There, his job included ensuring that asbestos in talc the workers
were exposed to didn’t exceed OSHA limits.

That’s why he zeroed in on Johnson’s Baby Powder after he took on Darlene Coker as a client in 1997. The lawsuit Coker and her
husband, Roy, filed that year against J&J in Jefferson County District Court in Beaumont, Texas, is the earliest Reuters found
alleging Baby Powder caused cancer.

Hobson asked J&J for any research it had into the health of its mine workers; talc production records from the mid-1940s
through the 1980s; depositions from managers of three labs that tested talc for J&J; and any documents related to testing for
fibrous or asbestiform materials.

J&J objected. Hobson’s “fishing expedition” would not turn up any relevant evidence, it asserted in a May 6, 1998, motion. In fact,
among the thousands of documents Hobson’s request could have turned up was a letter J&J lawyers had received only weeks
earlier from a Rutgers University geologist confirming that she had found asbestos in the company’s Baby Powder, identified in
her 1991 published study as tremolite “asbestos” needles.

Hobson agreed to postpone his discovery demands until he got the pathology report on Coker’s lung tissue. Before it came in, J&J
asked the judge to dismiss the case, arguing that Coker had “no evidence” Baby Powder caused mesothelioma.

Ten days later, the pathology report landed: Coker’s lung tissue
contained tens of thousands of “long fibers” of four different
types of asbestos. The findings were “consistent with exposure to
talc containing chrysotile and tremolite contamination,” the
report concluded.

“The asbestos fibers found raise a new issue of fact,” Hobson told
the judge in a request for more time to file an opposition to J&J’s
dismissal motion. The judge gave him more time but turned
down his request to resume discovery.

Without evidence from J&J and no hope of ever getting any,
Hobson advised Coker to drop the suit.

Hobson is still practicing law in Nederland, Texas. When
Reuters told him about the evidence that had emerged in recent
litigation, he said: “They knew what the problems were, and they
hid it.” J&J’s records would have made a “100% difference” in
Coker’s case.
                                                                                                                                                     
                                                                      NO SATISFACTION: Lacking the evidence she needed, Darlene Coker, here with one of
Had the information about asbestos in J&J’s talc come out             her doctors, died without ever finding out what caused her mesothelioma. Cady
earlier, he said, “maybe there would have been 20 years less          Evans/Handout via REUTERS

exposure” for other people.

Bicks, the J&J lawyer, said Coker dropped her case because “the discovery established that J&J talc had nothing to do with
Plaintiff’s disease, and that asbestos exposure from a commercial or occupational setting was the likely cause.”

Coker never learned why she had mesothelioma. She did beat the odds, though. Most patients die within a year of diagnosis.
Coker held on long enough to see her two grandchildren. She died in 2009, 12 years after her diagnosis, at age 63.

Coker’s daughter Crystal Deckard was 5 when her sister, Cady, was born in 1971. Deckard remembers seeing the white bottle of
Johnson’s Baby Powder on the changing table where her mother diapered her new sister.

“When Mom was given this death sentence, she was the same age as I am right now,” Deckard said. “I have it in the back of my
mind all the time. Could it happen to us? Me? My sister?”
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A guiding hand on talc safety research
By LISA GIRION



Johnson & Johnson developed a strategy in the 1970s to deal with a growing volume of research showing that talc miners had
elevated rates of lung disease and cancer: Promote the positive, challenge the negative.

That approach was summed up by a J&J applied research director in a “strictly confidential” March 3, 1975, memo to managers of
the baby products division, which used the talc in J&J’s signature Baby Powder.

“Our current posture with respect to the sponsorship of talc safety studies has been to initiate studies only as dictated by
confrontation,” the memo said. “This philosophy, so far, has allowed us to neutralize or hold in check data already generated by
investigators who question the safety of talc.”

1973




A J&J executive laid out the company’s policy of countering negative research about the health e ects of talc in a memo to managers.



Also, the memo said, “we minimize the risk of possible self-generation of scientific data which may be politically or scientifically
embarrassing.”

J&J’s effort to protect its iconic Baby Powder franchise by shaping research was led by physician and scientist executives. An early
1970s study of 1,992 Italian talc miners shows how it worked: J&J commissioned and paid for the study, told the researchers the
results it wanted, and hired a ghostwriter to redraft the article that presented the findings in a journal.

The effort entailed other attempts to influence research, including a U.S. government study of the health of talc workers in
Vermont. J&J’s Windsor Minerals Inc subsidiary, one of several mine operators involved in the study, developed a relationship
with the U.S. National Institute of Occupational Safety and Health researchers to “even influence the conclusions” through
suggestions of “subjective interpretations,” according to a 1973 Windsor Minerals memo.

Peter Bicks, outside counsel for J&J, told Reuters in an email that for the Vermont study, company “representatives acted in an
‘educational and advisory capacity’ to provide the researchers with a realistic study plan.”

A 1979 article in the Journal of Environmental Pathology and Toxicology detailing the findings of the study was not good news for
talc. It reported a “significant increase” in “respiratory cancer mortality” among miners. A subsequent analysis of the underlying
data published in 1988 determined that at least one of the workers died of mesothelioma, the cancer most closely associated with
asbestos.

The proposal to study the health of miners of the Italian talc used in Baby Powder for decades came from William Ashton, J&J’s
longtime talc supply chief. Ashton had obtained a summary of miners’ medical records compiled by an Italian physician, who also
happened to control the country’s talc exports.

J&J should use those records “for maximum benefit,” Ashton said in a May 8, 1973, letter to Dr Gavin Hildick-Smith, J&J’s
director of medical affairs. “It seems to me that the Italian records give us the opportunity to fortify a position on talc safety.”

At the time, the U.S. Food and Drug Administration was considering a limit on asbestos in talcs. In an Oct. 18, 1973, memo,
Hildick-Smith advised J&J: “The risk/benefit ratio of conducting an epidemiological study in these mines must be considered.”

By early 1974, the study was a go. Hildick-Smith sent money to the Italian talc exporter-physician to hire a team of researchers.
Hildick-Smith told the lead researcher in a June 26, 1974, letter exactly what J&J wanted: data that “would show that the
incidence of cancer in these subjects is no different from that of the Italian population or the rural control group.”

That is exactly what J&J got, Hildick-Smith told colleagues a few months later. At a meeting on Sept. 27, 1974, for a “Talc/powder
Safety Studies Review,” he reported the Italian study would dispel the “cancer concern associated with exposure to talc.”
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The following spring, Hildick-Smith got a draft of the Italian study from the lead researcher. It needed work to meet the “form
and style” requirements of the target journal, he told colleagues in a March 31, 1975, memo. He added that he would send it to a
scientific ghostwriter “who will hold it in confidence and rewrite it.”

The article that appeared in 1976 in the Journal of Occupational
and Environmental Medicine reported results even better than                    REUTERS INVESTIGATES
J&J had bargained for. The study found fewer lung cancer
deaths than expected, a result that the authors said supported                                More Reuters investigations and long-form narratives

“the thesis of no cancerogenic effect attributable to pure talc.”

It also found no mesothelioma, the signature cancer of asbestos                               Got a confidential news tip? Reuters Investigates o ers
                                                                                              several ways to securely contact our reporters
exposure. There is no evidence J&J manipulated or misused the
data. Experts for plaintiffs have testified that the Italian study
was too small to draw any conclusions about the incidence of
such a rare cancer. J&J’s expert witnesses have concluded the opposite.

Bicks noted that the Italian study has been updated three times – in 1979, 2003 and 2017 – “confirming the lack of association
between exposure to asbestos-free talc, lung cancer and mesothelioma.”

J&J got a lot of mileage out of the study. It was cited in a review article titled “The Biology of Talc,” published Nov. 1, 1976, in the
British Journal of Industrial Medicine. In addition to dozens of published studies, the review cited unpublished research,
including one experiment that used a doll as a proxy for infants and that supported the company’s position on the safety of talc. It
didn’t disclose that J&J had commissioned the unpublished research.

The author of the review article concluded that the “concern that has been expressed about the possible health hazard from
consumer exposure to cosmetic talc is unwarranted … There is no evidence that its normal use poses a hazard to health.”

The author was Hildick-Smith, the J&J physician executive who had overseen the Italian study and played a key role in the
company’s talc safety research. The article did not disclose his J&J connection, identifying him only as a Rutgers University
clinical assistant professor. Hildick-Smith died in 2006.



Powder Keg
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